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 Subject:Fwd:Executi
                   ondocumentsforMerger
   Date: August16,2019at10:30PM
     To: paul@ cannafornia.co
    Cc: LauriKibby lauri@kingsgardeninc.com

        Hey,wesentoutthese mergerdocswhich include a1otofstup. Laurididn'thave youremailonfile.Laurihereit
       is:paul@cannafornia.co


       Respectfully,




               @

       M kchaelKing
       Founder
       Chairman& CEO
       +1.347.996 7844
       Michael@KingsGardenlnc.com
       KingsGaràenlnccom
       Beginforwardedmessage:
        From:LauriKibby<lauri@king:gardeninc.com>
        Date:August16,2019at6:37:21PM PDT
        To:LauriKibby<lauri@king:gardeninc.comr
        Cc:SeanMcGowan <gmcgowanl kaufman-associates.coml,John Pennujpenn@kaufman-associates.  como.Nei
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        <nkaufman@ kaufm an-associates.com>,MichaelKing<Mi
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        <charlie@KingsGardenlnc.com>
        Subject:ExecutiondocumentsforMerger
         DearM em ber/stockholder:

        As promised -this isthe beginning ofthe exciting path we have alIbeen w aiting for.
         Yourquick response willsupportoureports to m ove forw ard expeditiously and w ill
        position us fora strategic transaction.

        In connection w ith the approvalby the m em bers ofKings G arden, LLC ofits proposed
        merger(the ''Merger'')with KingsGarden Inc.andthe approvalbythestockholdersof
        Kings Garden lnc.ofthe Mergerand its 2019 Equity lncentive Plan, setforth below are
        Iinkstofour(4)documents.Foryourconvenience,documents2through4 below are
        also attached to this em ail.

              JointConsentSolicitation StatementofKings Garden,LLC and Kings Garden
              Inc.,with alIannexes and exhibits thereto--foryourreview
           2. Kings Garden,LLC W ritten Consent--to be completed,signed and returned
           3. Kings Garden Inc.W ritten Consent--to be completed, signed and returned
           4. SecurityholderQ uestionnaire--to be com pleted,signed and returned
        Detailed instructions forhow to com plete, sign and return these docum entsare included
        in the JointConsentSolicitation Statement.Ifyou electto complete these documents on
        vourAndroid phone,vou m av need to download the Adobe AcrobatReader:PDF

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       Viewen Editord CreatorApp forfree from the Google Playstore.On some devices,you
       m ay need to dow nload these docum ents in orderto return them electronically.

       W e w ould appreciate yourim m ediate response.

       ThankYou
       tauki
       LauriKibby
       Co-Founder/chiefFinancialOïcer
       Kings Garden,LLC
       310-877-3110
       lauri@kingâgardeninc.com


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                                                     ANNEX G

                    W W TTEN CONSXNT OF THE HOLDERSOF CLASSA COM M ON STOCK OF
                                               KINGS GARDEN INC,

                       THIS UONSENT IS SOLICITED ON BEFIALF OF TI-IE BOARD OF DX CTORS
    Theundersigced,being a stockholderoftècord ofKingsGarden lnc., aNevadacomomtiontthe4I
                                                                                        KGI'')
    asofAugustl5,2019,heieby takesthe following action, in acMordancewith the BylawsofKdI,and
    pursuantto Sectjon-
                      /8.
                        315oftheNevadaRevisedStatutes(et NRS'')?with respectlo a11sharesofClassA
    Comm on Stock,parvalue $0.000l pershare,of KG1 lleld by'the undersigned, in connecw tion with the
    solicitation bytheBdard ofDirectorsoftheCompany ofwritlencpnsentjpursuantto Seçtion 78.315ofthe
    NRS,to theProposalsetforth below,asthesam earedescribed inthe KG1'sconsem solicitationstatement
    datedAugust14, 2019,witboutameeting,                                                            p

                                        (Placean4<X''intheappropriateboxej)
    TheBoard ofDiredorsrecom mendsthatStockholdersCONSENT to thefollowingproposals:
               Proposal
               No.1:                ToapprovetheM ergerand adopttheM ergerAgreem entincluded asAlmex B
                                    to thisjoint conscntsolicitation statement incltlding tlae KGIArticlesof
                                    Incol-poratioll(which is included as ExhibitA to the M erger Agreemént)
                                    contemplated thereby.



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               Proposal
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   MARKED ABOVEm TH RESPECTYO THEPROPOSAL.THE UNDERSIGNED WILLBEDEEMED
   TO HAVE CONSENTED TO THE PROPOSAL.




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                                                                        PLEASE RETIJRN AS FOLLOW S:

     M ark,sign anddateyourConsentand retum it:

     EM AIL:via email(or tvxtmessage attachment) to:LauriKibby,KG1's Chief FinancialOfficerat
     lauriQkinMsqardeninc.com.

     MAIL/DELW ERYSERW CE:viamailordeliveg servicetoKGI,3540N0rthAnzaRoad,Palm Springs,
     California 92262,Attn:LauriKibby,ChiefFinanclalOfficer,

     FACSN K E:viafaxto:LauriKibby,KG1'sChiefFinancialOffcerat(760)867-213l.
    lfan individual,please sign exactly as the name you provided to KGlfor its records representing your
    ClassA Comm on Stock ownership.lfa coporation,partnership,trust,Iimited liability com pany orother
    entity,please identify the entity as the nam e you provided to KGl for its records representing your
    Class A Com mon Stock ownership,cause an authorized person to sign on behalf ofthe entity,and
    clearly identify the title of such authorized person.This written consent of stockholders shallvote a1l
    sharesto which thesignatory isentitled.

     Ifyou are responding electronically and are unable to provide a manualordigitalsignam re,then KGl
     willacceptyourtyped name in the applicable signaturebox below asevidenceofyourexecution hereof.
     Individual                                      *
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     Partnership,Corporation orOtherFp/j/.p
     Entity Name!




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    stockholderofKingsGazden1
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    ''Issuer'')7.toenablctheIssuertodeterfnincwhethertheSecurityholderisqualiflcdtoinvestI
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                                                                                         f1theCommon
    Stöckalld/orSeriesA Prefentd Stock(the'Securities'')oftheIssuer.
    TobequalifiedtoinvestintheSecurities,theSecurityholdermusteither(i)bean''
                                                                            accreditedinvestor''(as
    thatterm isdefinedinRule501(a)ofRegulationD promulgatedunderSection4(a)(2)oftheSecuritiesAct
    of1933,asamendedtthe''SèeuritiesA<t''))sor(ii)have(andifapplicable,itsofficers,employees,directors
    orequityoqvnershave)eitheraloneorwithhis,heroritspurchasèrrepresentativeorreprèsentatives,ifany,
    such knowledgeand experience in financialand businessm attersthathe, sheoritisc4pableofeyaluating
    them eritsandrisksofan investmentin the Securities                                             .


    ThèIysuerwillrelyupontheaccuracyandcompletenessoftheinformationprovidedinthisQtlestionnaire
    in establishîng thatthe issualwe of thc Securittes is exempt from the registration requirements of the
    SecuritiesAct.
    A CCO RDW GLY, TH E                                     SECURITW IOLDER                                 IS         OBLIGATED                       TO         1V )0    THIS
    QUESTIOV AFRE CAREFULLY AND TO ANSW ER THE ITEM S CONTATNED HEREW
    COm LETELY m                              ACCURW ELY.
    ALL INFORMATION CONTAINED m THIS QUESTIONNAIRE W ILL BE TREATED
    CONfIDEXTIALLY.HoweveratlleSecurl    tyholderunberstandsartd qgreesîhatthe Issuerntaysharethis
    QuestionnatrewithoatpriornoticetotheSecurityholderwith suchparties, inéludingitsl:j?1,àccounting
    and financia1advisorsand potentialaequirers,asthelssuerreasop>bly beemsaypropriate,and such
    parties shallbe entitleà to rely hereon. The Securityholderunderstan4s that thls Questionnaire'is
    merqly a requestforinformation and is notan oflbrlo sell,a solicitation ofanofferto buy ora
    salo of the Seètlritiej.The Securityholdcr also understandj thatthe Securityholdermay be requtred to
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     urnish qdditionatinformation.
    PLEASE NOTE THE FOLLOW ING                                                          INSTRUCTIONS BEFORE COMTLETING
    THIS SECURIW HOLDEltQUESUONNAIRE,
    Unless instructed otlwm ise, the S4curityholder should answer eaçh question on the
    Securityholder Qurstionnaire.lfthe answerto a particnlar question is 'None''or''NotApplicable,''
    please sö statè.lfthe Securityholder Questiéntlaire does not provide stlfficient space to answer a
    question, please attath a separate schedule to your executed Queitiorlnaix that indicates whictl
    qtlestion is being apswered thereon. Persohs having questions donteming any öf tl'   te information
    requested in thisQuestionnaire should consultwith theitpllrchaser represvntative ot rypresentativeq,
    lawyer, accopntant or mpy conjatt Lapri Kibby, the Chief Finaaciql Oft
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         trvkingsaazdenincxcom or telephcmeat(310)877-31lU orJohn Pel
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    Associates,LLC,oneofthe1aw finrldiepresentingtNeIssudrviaphoneat(671)972-0042orviaemailat
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    Onecömpletèd,signedanddatedtopyoftta:SecurityholderQuestioimaireshouldbereturnedassoplias
    possibletoLàuriKith#,theChiefFjripncialOfscer(viaemailatlauria kingsgardeninccom.fax to:                                                                  .

    LavçiKibby,KG LLC'SChiefFinancialOlcerat(760)867-2l31ormailatKG LLQ 3540NorthAnza
    Road,Palm Springj,Califofnia92262)orJoltnPennviàeltlailatipenntzlcaufmM-associates.com orvia
    mailatKqtlfmall& Assoùiàtes,LLC,t90MotorParkway,Suite202,Hauppauge,Nçw York 11788                                                                                     .


   The othercopk shùuld berytained fortheSécûfityholder'sfiles.


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    PART I- FOR INDIVIDUALS
    7.PersonalData




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    2.InvestorStatus
    Tobequalifiedto investintheSecurities,theSecurityholdermusteither(i)beanAccreditedInvestor, or
    (ii) have,either alone or with yourpurchaser representative orrepresentatives, such knowledge and
    experience in financialand businessmattersthatyouarecapable ofevaluatingthemeritsand risksofsuch
    investm ent.
    Please checktheappropriaterepresentation thatappliestoyou.
    Accredited lnvestor:
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                  ). Iam anAccreditedlnvestor(asdefinedinRulc501ofRegulationD promulgatedunder
            theSecuritiesAct)because(checkallappropriatedescriptionsthatapply):
                        1 am a naturalperson whose individualnetwort
                                                                   h,orjointnetworth with my spouse,
            exceeds$1,000,000.Forpurposesofthisitem 6,''networth'
                                                                'meanstheexcessoftotal% setsatfair
            marketvalue(includingpersonalandrealproperty,butexcludingtheestimated fairmarketvalue
            ofaperson'sprimaryhome)overtoolliabilities.''Totalliabilities'excludesany mortgageonthe
            primary home in ansmountofuptothehome'sestimated fairmarketvalueaslongasthemortgage
            was incurred more than 60 daysbefore the Securitiesare acquired, butincludes(i
                                                                                         )any mortgage
            nmountinexcessofthehome'sfairmarketvalueand(ii)anymortgageamountthatwasborrowed
            duringthe60.  .day period beforetheclosing datefortheacquisition ofSecuritiesforthepurposeof
            investing in the Securities.
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            two calendaryearsand Ihave a reasonable expectation ofreaching the same income levelin the
            currentcalendaryear.Forpurposes ofthis Section 6,''income''means annualadjusted gross
            income,asreportedforfederalincometaxpulw ses,plus(i)thenmountofanytavexemptinterest
            incomereceived;(ii)theamountoflossesclalmedasalimitedpartnerinalimitedpartnership;(iii)
            anydeductionclaimedfordepletion;(iv)amountscontributedtoanIRA orKeoghretirementplan;



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               and(v)alimonà'paid;ancl(vi)anygainsexcludedfrom thecalculationofadjustedgrossincome
               ptlrsuanttotheprovisionsofSection 1202ofthelntemalRevenueCodeof1936, asamended.
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              officer or general padner of a general partner of the lssuer. (Fofpurposes offhisSection 6,
              'rexecutiye officer'.meansthe presidept;any vice presidentin charge ofaprincipalbusinessunit,
              division orfunctîon,such assales,adl uinistration orfinance;orany otherperson orpersonswho
              performts)similarpolicymakingfutlctionsforthelssuer)
    Sophisticated Investor(ifNO T an Accredited lnvestor):

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Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 14 of 405




     4.Representatlons
    lrepresentthat:
       a. 1haktsufficientu owledgeand cxperience' in sim ilarinvestmentsto ùvaluatethe meritsandrisks
          ofarlinvestmentin KingsGarden Inc-,orIhaveretaintd an attorney, accountant;financialadvisor
          orconqultantas my purchaserrepresentative.Ifapplicable,the name,employer,addressp And
          ttlephonenum berofmy pttfchaserrepresentativefollows:



           landaifapplicableamy purchaserrepresentative,have rçcçived thejointçonsentsoliçitation
           statçmentrelatingtothisoffering;an.
                                             d1and.ifapplicable,myjurchaserrepresentative,understand
           thejoiniconszntjolicitationstatementandtherisksinvolvedlnthisoffering.land,ifapplicable,
           m ypurùhaserrepresentativé,havebeen given theopportunityto ask questionsand obtainm aterial
           and relevantinfonnation from the Issuerenabling 1ne to make an infol
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           to m e.
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           the distfibution therepfjand 1w illnotsell, assignatransferor ptherwise dispose o,fany ofthe
           Securities,orany interestthereinain violationoftbeSecuritiesActorany applicablestatesecurities
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      e. Iundçotandthatthetssue:willrely upontlzecompletenessandaccuracy oftheSecurityholder's
         responsestothequestiomsinthisQuestionnaireirtestablishingthatthecontèmjlattdhallsactions
          are ekemptfrom the Sçcurities Act and hereby affirm thatal1such responses are accurate and
          complete,Iwillnptifythelssuerimmediatelyofanychangesinanyofsucbiùfontationoccurring
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   T( )bequalified toinvçstintheSècpfities,theSecurifholdçrmusîçither(i)bqap Accredited Investor, qz
   (ii)haye,andifapplicable,itsof.
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   mattersthatitisèàjableofevpluatipgthemeritsandrisksofjuçhinvestment.

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Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 15 of 405




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          lissed in'Part1,Section2 ofthisQuestionnaire.


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Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 16 of 405




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             .' The undersigmed entity is qualified to investin the Securities because it has
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           applicable,its officers,emplqyees, directors or equity owners havea either alone or wit'
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           Purchaserreprescntatlve or representatives,such knowlèdge and experiehce in financial al
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           businessmattersthatitiseapableofevaluating themeritkandrisksofstlch investm ent, asdiscussed
           in Sectlon3(a)belosv.

    3.Reprtàentations
       a. EducationalElnploymenttdaflW/tW/ley.
                                             :ExperienceofAppllcableOf-/iccryandDirectors
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          Note:Please com pleté for each sophisticated officer,director, manager or other applicgble
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    4.Representaîions
    Theundersigned entity representsthat!
          Theentity has,and ifapplicable,itsoffkers,employees,directorsorequity ownershave, ste ciept
          knowledge andexperiencein similarinvestmentstoevaluatethem eritsand êisksofan investment
          in Kings Garden lnc., or the entity has retained an attorney, accountant,fmancial advisor or
          consultant as its purchaser representative. If applicable, the name, einployer, address. and
          telephonenumberofthepurchaserrepresènmtive follows:




    Any Securitiestheentity may acquirewillbeforitsown accountforinvestmentand notwith any view to
    thedistributionthereof,andiiwillnotsell,nssigfl,transferorotherwisedisposeofanyoftheSecurities, or
    anyintetestthcrein,inviolationoftheSecuritiesActoranyapplicablestatestcuritiesIaw.
    Theentity imderstandsthat(i)>ny SecuritiesitmayacquirewillnotbercgisteredundertheSecnritiesAct
    oranyapplicqblestatesecuritieslaw andmay notbe sold orotherwisedisposed ofunlessitisregistered or
    soldorotherwisedispèsedofinatransactionthatisexemptfrom sqchregistrgtkn,and(ii)thecertificates
    representing theSecuritieswillbearappropriate legendsrestricting thetransferability thereof.
    Theenti tyunderstandsthatthelssuerwillrely uponthecom pletenessand accuracy oftheSecurityholder's
    respùftgqsto the tjuçstions in th'
                                     isQuestlonnaim in establishing thatthe contemplated transactionsare
    exemptfrom the SecuritiqsAct,qnd hemby affil'msthatal1such respontesareaccurate andcotnplete. The
    entitywillnotifytheIssuerimmedjatelyofanychangesinany ofsùchinformation occurringpriortothe
    accéptànce ofitssubscription.


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   From:PaulKingpaul@ cannafornia,co #'
 Subject:Fwd:ExecutiondocumentsforMerger
   Date:September4,2019 at3:04 PM
     To:MichaelKing michael@kingsgardeninc.com



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       -.--------

       From :Ana Prego <ana@cannaforniacbd.cOm>
       Date:Wed,Sep 4,2019at12:34 PM
       Subject:Fwd:Executi
                         on documentsforMerger
       To:PaulKing<paui@cannafornia.cco

       HiPaul.Pseasesee attached signed docs...letme know ifyouneedanythingfurther.Best, Ana Prego

              Forwarded message ---------
       ...-------

       From :AnaPrego <anaQcannaforniacbd.coml
       Date:W ed,Sep4,2019at11:15AM
       Subject:Re:Executi
                        ondocumentsforMerger
       To:PaulKing<paul@cannafornia.qp>

       HiPaul.Coming rightup...
       OnTue,Sep3,2019at4:45 PM PaulKing<paul@cannaforniaco> wrote:
        Hey Ana
          Pleaseprintandscanto me so Ican email
                 Forwardedmessage---------
          ----------

          From:MichaelKing <michael@king:gardeni
                                               nc.com>
          Date:Fri,Aug 16,2019 at10:30 PM
         Subject:Fwd:ExecutiondocumentsforMerger
         To:<paul@ cannafornia.co>
         CC:LauriKibby<lauri@ kingîgg-tdeninc.com>

         Hey,wesentoutthese mergerdocswhichincludea Iotofstup.Laurididn'thave youremailonfile. Laurihereit
         is:paul@cannafornia.co


         Respectfully,




         MichaelKing
         Founder
         Chairman& CEO
         +1.347.996.7844
         Michael@KingsGardenlnc.com
         KingsGardenlnc.com
         Beginforwarded message:
            From:LauriKibby<lauri@kingâgardeninc.com>
            Date:August16,2019at6:37:21PM PDT
            To:LauriKibby<lauri@kingâgardeninc.com>
            Cc:Sean McGowan<smcgowan@ kaufman-associatescom>, JohnPenn<jpenn@ kaufman-associatescoml Nei
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         <charli
               e@ Ki
                   ngsGardenlnc.
                               com>
         Subject'
                .ExecutiondocumentsforMefger
          DearMember/stockholder:

         As promised -this isthe beginning Ofthe exciting path we have alIbeen waiting for.
         Yourquick response willsupportourefforts to move forward expeditiously and will
         position us fora strategic transaction.

         In connection with the approvalbythe mem bers ofKings Garden,LLC ofits proposed
         merger(the''Merger'')with KingsGarden Inc,andtheapprovalbythe stockholdersof
         Kings G arden lnc.ofthe M ergerand its 2019 Equity lncentive Plan,setforth below
         are Iinkstofour(4)documents.Foryourconvenience,documents2through4 below
         are also attached to this em ail.

             1. JointConsentSolicitation Statem entofKings Garden,LLC and Kings Garden
                Inc.,w ith aIIannexes and exhibits thereto--foryourreview
             2. Kings G arden,LLC W ritten Consent--to be com pleted,signed and returned
             3. Kings G arden Inc.W ritten Consent--to be com pleted,signed and returned
             4. SecurityholderQuestionnaire--to be com pleted,signed and returned
         Detailed instructions forhow to com plete,sign and return these docum ents are
         included in the JointConsentSolicitation Statem ent.Ifyou electto com plete these
         docum ents on yourAndroid phone,you may need to download the Adobe Acrobat
         Reader:PD F Viewen Editord CreatorApp forfree from the G oogle Playstore.O n
         som e devices,you m ay need to dow nload these docum ents in orderto return them
         electronically.

         W e would appreciate your im m ediate response.

         ThankYou
         tauki
         LauriKibby
         Co-Founder/chiefFinancialOï cer
         KingsGarden,LLC
         310-877-3l10
         Iauri@king-sgardeninca
                              com


       Sincerely,
       PaulKing



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                 >       AnaPrego
           vxqx-.        ExecutiveAssitant,Cannaforni
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                         (786)218-3726 IAna@ cannaforniacBD.
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     ITEM 2.PROPERTIES




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     PhannAZ                                                      Arizona          Decemberl5,2017               358,000 $         20,000
     Phan'nAZ Retail                                              Arizona          Septemberl9-2019                2.000             2.500
     SacramentoCA                                                 California         February8,2019               43,000            12,710
     KingsGardenCA Portfolio                                      California                 Various             364,000           69.972 (3J
     EsperanzaCA                                                  California          July23.2019                 35,000            13,000 t4)
     VerticalCA Pol-tfolio                                        California                Various               79,000            17.300 t5)
     ColumbiaCareCO                                               Colorado        October30.2018                  58,000            ll,250 (6)
     LivMlellCO RetailPortfolio                                   Colorado                  Various                8.000             3,349 (7)
     TrulieveFL                                                   Florida         October23.2019                 120,000            17,000
     ParallelFL Poftfolio                                         Flolida                   Various              593.000           60-308 (81
     AscendIL                                                     Illinois       December21,2018                 165,000           41,891 C9)
     CrescoIL Portfolio                                           Illinois        October22.20l9                  90,000           45.454 (ICJJ
     CtualeafIL                                                   Illinois        October30,2019                 120,000           23.300 (11è
     PharmacannIL                                                 Illinois        October30.20l9                  66.000           27.426 t12'
     GTlIL                                                        lllinois           March 6,2020                231,000           35,833 (13)
     IlolisticMD                                                  Maryland           May 26.2017                  72.000           21.72l tl4J
     PhannacannMA                                                 Massachusetts      May31.20l8                   58,000           30,500
     HolisticMA                                                   Massachusetts       Jul),I2.20l8                55.000            l4.750 (l5)
     TrulieveMA                                                   M assachusetts      July26,2019                150,000           43,500
     Ascend MA                                                    Massachusetts           April2.2020            199,000           33,775 fltA)
     Cresco MA                                                    M assachusetts         June30,2020             118,000             8,904 tl7J
     4FrontM A                                                    Massachusetts    December17.2020                67.000            15,500
     Green PeakMl                                                 Michigan             August2.2018               56,000            15,799
     ElneraldGrowth MI                                            Michigan                June7,20l9              45,000            l0,000
     AscendM I                                                    M ichigan                July 2,2019           145,000            19,750
     LivW ellMI                                                   Michigan            October9,2019              156.000           4l.500 tl81
     GreenPeakMlRetailPortfolio                                   M ichigan                    Various            31,000            11,784 tl9)
     Cresco MI                                                    Michigan              April22.2020             115.000            10,510 (20J
     HolisticM l                                                  M ichigan         September1,2020               63,000             7,904 (21)
     VireoMN                                                      Minnesota         Novelnber8,20I7               89.000             9.7l0
     MlardinNV                                                    Nevada                 July 12,2019             43,000             9,489 (22)
     CuraleafNJ                                                   New Jersey             July l3.2020            l1l,000            l8.940 (23)
     ColumbiaCareNJPortfolio                                      New Jersey             July 16,2020             54,000            l3,033 (24)
     PharmacannNY                                                 New York         Decemberl9.2016               127,000           30.000 (25)
     VireoNY                                                      New York           October23,2017               40,000             6,717 (26)
     CuraleafND                                                   North Dakota     December20.2019                33,000            l2.l90 (27)
     PhannacannOH                                                 Ohio                March 13,2019               58,000           20,000
     VireoOH                                                      Ohio                   May 14.20l9              l1,000             3,550
     CrescoOH                                                     Ohio               Januafy 24,2020              50,000           10,600 (28)
     GTIOH                                                        Ohio               January 3I,2020             I01s000             9,566 (291
     JushiPA                                                      Pennsylvania           April6,2018              89,000           13,381 O0)
     MaitriPA                                                     Pennsylvania          April24.20l9              5l,000           2l,402 (3l)
     Green LeafPA                                                 Pennsylvania          May 20,20l9              266.000           l3,592 (32)
     Pharmacann PA                                                Pennsylvania         Atlgust9.20I9              54.000           25-730 (33)
     GTlPA                                                        Pennsylvania     November12,2019               148,000           39,600
     CuraleafPA                                                   Pennsylvania     December20a20l9                72,000           25,749 t34)
     HolisticPA                                                   Pennsylvania          June10.2020              108,000           15,007 635)
     Green LeafVA                                                 Virginia           January I5.2020              82,000           l9,750
     4izrontW A                                                   Washington       December17,2020               ll4,000           l7,500
     Total                                                                                                     5.363.000 $ 1.022,696
     (1) Includesestilnatedrentablesquarefeetatcolnpletionofconstruction.
     (2) Includespurchasepriceanddevelopmentandtenantreimbursementcolnmitmentsfundedsifany.Excludestransactioncostsanddeveloplnentand
         tenantreimbtlrsementcommitmentsnotfundedasofDecember3l.2020.
     (3) Portfolioconsistsoffourpropertiesacquired onApril16.2019.oneproperty acquired on May 12.2020andonepropeny acquiredonNovelnber
         I6.2020.Excludesavailabletenantimprovelnentallowanceof$25.0million.




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                                        EXECUTIW COM PENSATION
      Summary

              Thissectiondixussesthe compensationpaidbyKG LLC to itsexecutiveofficel'sandmanngers,andtobe
     paid by KGlto itsexecutiveolcersanddirectorsfollovingthe Merger.forthe fiscalyearsending December31.
     2019 arltlbeginning January 1,2019.respectively.
            Thefollowingtablesetsforthasununaryofallconpensationpaidtomanagcrsand executiveofticel'sofKG
      LLC,andthcPrcdecessorLLCS,forthefiscalyearsended Decembcr31,20l8and2017.

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       PrlntlpalPodtioll     e< 1)           Salary            Opti4m Awardg                Toul
      MichaelKing,Chief      20l8          $664, 461(3)         $2,758,789.
                                                                          98            $3,423,250.98
      ExecutiveOflicertzl    2017          $290
                                                ,000(4)             S0.00                 $290,000
      CharlesKieleys         2018          $466,645(5)           $270,991.38             $737.636.
                                                                                                 38
      ChiefOperating
      omcer                  2017          5203,205(6)              $0.00                 $203,205
      LauriKibbysChief       20l8          $564.654(7)          S1,
                                                                  225,888,63            $1,790,542.63
      FinancialOflicerlzl    2017          S290
                                               s000(8)             $0.00                  $290,000

               n iscolum nsetsforththctiscalyearscoveredbytbetable.Al1informationprovidedforthetiscalyears
               cndedDecember31,2018and2017areonacombine,dbasisforKG LLC andthePredecenorLLCS.

               n istabledoesnotinclude(i)anyfeespaidbyKG LLC toDesertPayrollSoluéons,LLC,aCalifornia
               limitedliabilitycompanyCDesertPayroll'')operated,andamajorityofwhichisownedby,Mr.King
               andMrs.Kibby,inconnection witllservicesprovidedbyDesertPayrolltoKG LLC andthePredecessor
               LLCS;(ii)anyinterestpaid by KG LLC pursuanttothc$8.551Notetoalimitedliabilitycompanyof
               whichM r.King,an executiveoflicerand managerofKG LLC and anexecutiveofficerand directorof
               KGI,isthemanagingmembers;and(iii)anyamountspaidbyKG LLC toM clane,inwltichMr.Kingis
               a managerand owns 25% ofthe membership intemststhercof,which in-tunzowns 66% ofthe 19533
               MclaneFacilil.
               MT.Kingreceivedcompensationequalto8664,
                                                     461,whichiscomprisedof(i)$135,000oftheamotmts

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               paidtoDuardVentures.LLC,inconnectionw'ithservicesprovidedbyDtlard Vcntures,LLC to KG LLC
               andthePredecessorLLCS;(ii)$100,0% inconnectionw101thedesir andbuildoutofafacility;and(iii)
               9 29,461,in connecvtion with M r.King'sannualsalary purslmntto hisemplom entar eementforthe
               periodin whichsuchac eementwasineffect(seeGExecutiveCompensation-Emplom entAgreements'').
      (4)      Represents$290,000 oftheamountspaid to Duard Ventures,LLC inconnection with senr
                                                                                              icesprovided
               toKG LLC andthePredectssorLLCS.




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                    L E A SE /PU R C H A SE A PPL IC A T IO N
        Com plete alIquestions.Ifany question isnotanswered orleftblank,application w illbe
                                         considered incom plete.
       Pleaseprintlegibly.M issing or illegible inform ation willcause delays.Allinform ation will
                                               beveriied.


Building Name:TRUM P             UnitNumber:             Application Date /Received:
RO YALE
Lease/Purchase                              A lication fee received:
Antici ated M ove in/Close Date:            Rent/LeaseTerm :

LastName:                                         FirstNam e:
Date ofbirth:                    SSN :                              CellPhone #:
Currentaddress:
Cit :                                             State:                              ZlP Code:
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Driver'sLictnse #                       State Issued:               Ex iration date:
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Driver'sLicense #                 State lssued:                    Ex iration date:
E-m ail:

          l8201CollinsAvenue.Sunny lslesBeach,FL 33160 * T 305.917.0300 * F 305.917.0333


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Currentem Io er:
Em lo eraddress:                                                                    How lon ,?
Phone:                             E-lnail:                           Fax:
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Nam e:                                                         Phone:
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Bank Name:                         Address:
Cit :                              State:                               ZIP Code:
Phone:                             ContactNalne:
Have ou ortheco-a Iicanteverfiled forBankru tc ?                      lfYes,when:
Haveyou ortheco-applicanteverbeen Evicted from any tenancy?    EverBroken a    EverSued?
                                                               Lease?


Nam e:                                                         Phone:
Relationshi :
Nam e:                                                         Phone:
Relationshi :

Vehicle 1M ake:                                 M odel:                    Color:
Year:                               License Plate#                         State:
Vehicle2 M ake:                                 M odel:                    Color:
Year:                               LicensePlate#                          State:

Haveyou ortheco-applicanteverbeen arrested orconvicted ofany crim e?lnclude m isdem eanors,DUI,etc.or
areany criminalchargesnow pending? YES /NO

IfYES,City:

State:


Date:




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Name:                                                              Relationshi :
Name:                                                              Relationshi :
Name:                                                              Relationshi :

lherebyauthorize l220lCollinsAvenueCondom inium AssociationdbaTrump Royaleto obtainaconsumerreport,and any
otherinformation itdeem snecessary,forthepurposeofevaluatingmyapplication.Iunderstand thatsuch information may
include,butnotIim itedto,credithistory,civilandcrim inalinformation,recordsofarrest,rentalhistory,employm ent/salary
details,vehiclesrecords.licensingrecords,and/oranyothernecessaryinformation.Iunderstandthatsubseqtlentconsumer
reportsmay beobtained and utilized underthisauthorization in connection with an update,renewal,extension orcollection
withrespectorinconnectionwiththeleaseorpurch% eofaresidenceforwhichthisapplicationwasm ade.lhereby expressly
releaseTrum p Royaleandanyprocurerorfurnisherofinform ationfi'    om anyliabilitywhat-so-everintheuse,procuremem ,or
furnishing ofsuchinform ation,andunderstandthatmy application informationmaybeprovidedtovariousIocal,state,and/or
federalgovermnentagenciesincludingw ithoutlimitation,variousIaw enforcementagencies.
l/W eful -therstatethisApplication andA uthorization wassignedbyme/usandwasnotoriginatedwith fraudulentintentby me
/usoranyotherpersonthatthesi
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                                                                             -tifyunderpenaltyofperjtlrythat
thefore oin istrueandcorrect.       .
Signature ofapplicant                                                                Date:

Signature ofco-applicant                                                             Date:




           18201CollinsAvenue.Sunny IslesBeach,FL 33160 * T 305.917.0300 * F 305.917.0333


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                                 PE T R E G IST R A T IO N
  UnitNo.                                              Date
  LegalOwnerName(*%Owner-')

  PrimaryResident/occupantNameT amily                  Lessee(ifapplicable)




  N ame:
  Type:Dog /Cat/Bird
  Breed
  Age
  W eight
  Gender
  Serviceanimallicense(ifapplicable)
  Vaccination recordsreceived:
  Picture received'
                  .

      Acknowledgement& A greem ent
      I/W e am /areaware oftheAssociation rules,regtllationsand restrictionsregarding petson the
      property and agreeto abide by them .

      Signed                                                          Date

      Signed                                                          Date




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            B A C K G R O U N D C H E C K A U T H O R IZ A T IO N
                                  FO R M
      Youare hereby authorized to release any and al1information requested w ith regardsto
      verificationofmybankaccountts),credithistory,criminalrecordhistory,employment
      verification and characterreferencesto Association'sthird-party screening com pany.This
      information isto be used formy kotlrkreditrepol-tformy /ourApplication forOcctlpancy.
      I/W e hereby waive any privileges1/W em ay havew ith respectto the said information in
      reference to itsrelease to the aforesaid party.Information obtained forthisreportisto be
      released to the screening company,Property M anager,Board ofDirectorsand the Landlord for
      theirexclusive use only.

      PLEASE IN CLUDE A COPY OF YO UR DRIVER'S LICEN SE AN D SOCIAL SECURITY
      CA RD TO CONFIRM IDENTITY.IF YOU DO NOT HAV E A SOCIAL SECURITY CARD ,
      PLEASE INCLUDE A COPY OF YO UR PASSPORT /CURRENT IDENTIFICATION CARD.

      I/W e furtherstate thisA uthorization issigned by me /usand wasnotoriginated with fraudulent
      intentbyme/usorany otherpersonandthesignaturets)below aremy/ourownproper
      signature.

      l/Wecertifyunderpenaltyofperjtlrythattheforegoingistrtleandcorrect.
      lfyou orthe co-applicanthavefalsified,deliberately m islead orom itted to mention any
      information on yourapplication,you may notbeapproved forapurchase,lease and or
      occupancy.
                                               ,                               Date
      (ApplicantNamePrinted)              (Applicant'ssignattlre)


                                                                               Date
      (ApplicantNamePrinted)              (Applicant'ssi
                                                       gnature)




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            O W N E R S /T E N A N T S A C C E SS PE R M ISSIO N
                                   FO R M
      This form isto be subm itted to theM anagelnentOffice in orderforaccessto begrantedto any
      individualorentity.FrontDesk /Receiving Desk isnotallowedto acceptchangesto existing
      accessperm issionsformsunderany circum stances.

                                                          .   the undel
                                                                      signed do hereby certify that
      wearethe owners/legalresidentsofUnitNo.                           in TRUM P ROYALE A
      CONDOMINIUM andweherebyauthorizethefollowinjindividualsand/orcompaniestoenter
      upon the property maintained by the residentialcom munlty known asTRUM P ROYA LE A
      CONDOM IN IUM .

                  GuestName                        Relationship                      Expiration Date
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         2.
         3.
         4.
         5.

      W e understand thatby signing thisA ccessPerm ission Form ,wearegranting accessw ithouta
      phone callto personslisted on thisform. Accessisgranted up to theunitonly. Asowner,we
      w illtake responsibility forproviding ourguestsand service contractorwith accessto our
      individualunitasnecessm'    y.Pursuanttothe Declaration ofCondominium forTRUM P
      ROYALE A CON DO M IN IUM and the Declaration ofCovenants,Restrictioasand Easem ents
      forTRUM P ROYALE A CON DOM IN IUM ,we willbe responsible forthe expenseofany
      m aintenance,repairsorreplacem entsrendered necessal-y by the act,neglectorcarelessnessof
      any and alIoftheforegoing persons.ln connection therewith,we do hereby irrevocably and
      unconditionally agreeto indem nify and hold harm lesstheTRUM P ROYALE A
      CON DO M IN IUM ,theAssociation,theirrespectiveaffiliates,owners,partners,successors,
      assigns,agents,directors,om cersand em ployees.from any and allclaims,Iiabilities,dalnages,
      and expensesarising from orrelated to thepresenceofany oftheforegoing personson the
      property.Accessw illnotbe granted by verbalrequest. THIS FORM IS NOT USED TO
      ALLOW ACCESS NOR ANY SERVICE TO BUILDING 'S COM M ON AREAS AND IT'S
      SERVICES.

      Owner's/'
              FenantSignature                                               Date:

      Received by M anagement                                              Date:

         I8201CollinsAvenue,Sunny IslesBeach,FL 33l60 * T 305.917.0300 * F 305.9I7.0333


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            PA C K A G E A C C E PT A N C E /R E L E A SE FO R M


      UnitNum ber


      I/W e,                                        ,by signing thisaddendum ,give Trump
      Royaleemployees,itsagentand affsliatesperm ission to sign and acceptpackagedeliveries
      addressed to Iny/ournam e and unitnum ber.

      lunderstand and agreeto hold Trump Royale,itsagent,em ployeesand affiliatesharmlessofany
      damage to delivered packagesand w illnothold them responsible forpackage dam age,m issing
      package item s,theft,etc. Residentshavean option ofrequesting apackage to be delivered and
      leftatthefrontdooroftheunit. Should Ichoosethisoption thatisavailable to m e,Iwillnot
      hold Trum p Royale,itsem ployees,itsagentand aftsliatesl'esponsible forthe package/sonce left
      atthe frontdoor.

      Iagree and understand thatany package leftwith m anagem ent/receiving m orethan 30 daysfrom
      delivery datew illbereturned to sender.

      Iagree and acknow ledge thatonly a reasonable nulnberofpackagescan be held formy unit.




      R s' entSignature                                    Date




      ResidentSignature                                    Date



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                                       RELA TED PAR'IY TR ANSACTIONS
           Otherthan asdisclosed below and elsewhere hereim no manager, executiveofficerormemberofKG LLC
   thatbentGciallyowns,orconkotsordirects,directlyorindirectly,m orethan 10% oftlw issued ClassB Units,orany
   oftheirrespective associates or affliates.has any m aterialinterest, directorindirect,in any tramu ction within the
   threeyearsbefore thedatehereofwhichhasmaterially affected orisreasonably expectedto materially affectKG LLC
   ora subsidiaryofKG LLC.

           Priorto2019,Duard Ventures,LLC providedthe serviccsofM ichaelKing and LauriKibby to KG LLC and
  each PrcdecessorLLC withouta written aveement. Duard Ventures,LLC is100% owned byM ichaelK ing and Latzri
  Kibby.KG LLC paid an agv egate ofapproximately $690,000 in 2017 and $470,000 in 2018to Duard Ventures,LLC
  ascompensation foritsand theirservices.In June 2018,KG LLC entered into employmentagreem ents,asamended,
  witheach ofM ichaelKing,taauriKibby and CharlesKieley. See'sExecutive Compensation''.

           DesertPayroll has provided and continues to provide payrollservices to KG LLC pursuantto a N yroll
  servicesagreement,datedasofJanuary 1,2018(theupayrollAgreemenf'),pursuanttowhichKG LLC isobligated
  topayDesertPayrolltenpercent(10?4)ofitsdirectcostsinexchangeforsuchpayroll-relatedservices,thoughDesert
  Payrollhistoricallyhaschargedonlytwopercent(2%).ln2018,KG LLC paidfeesofapproximately$133,010tothis
  company,andin2017nofeeswerepaidthereto.DescrtPayrollismajorityownedandmanaged byMichaelKingand
  LauziKibby.
           ln September 2018,KG LLC issued an unseclzred convertible promissory note puDuant to which ithas
  borrowed anaggregateof$8,500,000 from alimited liability company ofwhich MichaelKing, an executive oflicer
  and manager ofKG LLC and an executive officerand director ofKGI, isthe managingmcmber.The$8.551Note
  bearsinlerestata rate of4.5% perannum and matureson September30, 2023.Ifthere isa change ofcontrolin KG
  LLC,the$8.5M Noteisrequiredtoberepaid asfollows:
       * Ifatleastone-third ofthepurchaseprice pursuantto such changeofcontrolispayable in thesecuritiesofthe
           purchaserthen(i)KG LLC shallrepaythethenoutstandingprincipalandallaccruedbutunpaidintereston
           the$8.5M Noteand(ii)KG LLC ortheptlrchasershallissueorcausetobeissuedanumberofClassB Units
         ofKG LLC tothenoteholderequalto 50% oftheoutstandingprincipalbalanceand a11unpaidaccrued interest
         dueunderthe$8.5M Noteatsuchtimeofthechangeofcontrol,dividedbythepriceperClassB Unitpaid
         by such ptlrchaser.
       * lflessthan one-third ofthe purchase price plzrsuantto such change ofcontolispayable in the secuhtiesof
         the purchager,then KG LLC shallrepay the noteholderan amountequalto the then outstanding principal
         balanceanda11lmpaidaccruedintcrestofthe $8.5M Notemultipliedby 150% .
      The$8.5M Noteautomaticallyconvertsinto ClassB Uni  tsif:
      * KG LLC'Ssecuritiesare listed on any domestic or intemationalsecm ities exchange orquoted on the OTC
         Bulletin Board,the OTC M arketsor similarquotation system or assx iation, upon which the$8.5M Note
         willconvertinto anumberofClassB Unitsequalto 150% oftbethen outstanding principalbalance and al1
         unpaid accrued interestdueundertlle $8.5M Notedivided by theaverage oftheopening and closing sales
         pricesofthesectuitiesofKG LLC onthefirstdayoftadinginconnectionwit.h such listing.
      * Atmaturity,ifnochangeofcontolorpubliclis*nghasoccurred,the$8.5M Notewillconvertintoanumber
         ofKG LLC ClassB Unitsequalto 150% ofthethenoutstardingprincipalbalanceand a11unpaidaccrued
         interestdueunderthe$8.5M NotedividedbyanamountequaltothevaluationapplicableinKG LLC'Slast
           equity fnancing (with grossproceedsofnotlessthan $1,000,000)divided by the numberofissuedand
           outm ndingunitsofKG LLC on a fully dilutedbasis.

        The 19533 M claneFacility kscurrently underconso ction. KG LLC anticipatesthatsuch constnzction atthe
  19533M claneFacilitywillbecompletedbytheend of2019. The 19533 M clane Facility iscovered by a Cannabis
  Cultivation License (Adult-use-processor) with respectto prœ essing oN rations and JME hasapplied for two
  cultivation licenResand one distlibution license. KG LLC currently leases the 19533 M clane Facility from M clane
  and an Im am liated third-party,as assigneespursuantto the l9533 Lease Agreement, and KG LLC subleases such
  propertyto JM E plzrs-uantto the 19533 Sublease Agreement.Ptlrmuntto the 19533 Subleu e Aveement,(i)theterm
  oftheleaseisten(10)years,terminating on May 3l,2028,(ii)theterm mayberenewedfortwo(2)additionalfve



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    From: MichaelKing michael@duardventures.com
  Subject:Re:RevisedFinalPSIV4OperatingAgreement-CMCIMct
                                                       -aneGroupLLC .docx
    Date: February 14,2018at7:59AM
      To:DimitriyRomantsoffdromantsop@verzasca-group.com

        PrivetDima!
        1willhaveyourstoday!Your.Commitmentis3mm for250/0. Moneywil      lbe paidbackequally50/50withpriorityreturn. Yourswilljustbe
        paidbackfirst.Thenthe remainderoftheirs. 1'11callyou around 7am mytime-loam yours.Ty!
        Best,




        MichaelKing
        Principal
        +1347 996 7844
        Michael@ Duardventures.com
        Duardventures.com
       On Feb 13,2018,at7:46AM,Dimitriy Romantsoffudromantso:@verzasca-group.com> wrote:
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           CO NFIDENT4ALITY NOTICE AND DISCLAIMER
          Thisemailandanyinformationcontainedhereinareconfidentialandmaybeprivilegedorotherwise protectedfrom disclosure.
          Ifyou are nottheintended recipient,please notifythe senderimmediatelyand delete thismessage and anyattachmentfrom
          yoursystem.Anydisseminationoruseofthisinformation byaperson otherthantheintended recipientisunauthorized and may
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          enforceableandthe partiesexchange fullyexecuted agreements, contracts orleases.



         OnFeb 13,2018,at9:25AM , MichaelKingumichael@duardventures.com> wrotez
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             +13479967844
             Michael@ Duardventuresqcom
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   From:MichaelKing michael@duardventures.com #'
 Subject:O.A.,GIA,si
                   gnedbyMeade.pdf
   Date: April3O,2018at3:44 PM
     To: Dimitriy Romantsoffdromantso#@verzasca-group.com

       PIs review


       Best,




       MichaelKing
       Principal
       +1 347 996 7844
       M ichael@ Duardventurescom
       guardventurescom



           O.A.,G IA
        signed...de.pdf




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                                   OPEM TIN G AG REEM EN T
                                                   OF
                                            PS IV 4,LLC
                                a California Iim ited liability com pany

   ThisOPEM TING AGREEM ENTofPSIV 4,LLC,aCalifomialimitedliabilitycompany CW gree-
   ment'),isenteredintoeffectiveasofApril26.2018(theTsEffectiveDate''),byandamongGIA
   lnvestm ents,LLC.a D elaware lim ited liability com pany;M ICHA EL M EADE,an individual;and
   M ICHAEL KING,an individual,withreferenceto thefollowingrecitalswhich areincorporatedinto
   the
   A r eem ent:

          A.      GIA Investm ents,LLC.;M ICHAEL M EADE,an individual;and M ICHAEL K IN G,
   anindividual(each,an<tlnitialM ember'')desireto form alimitedliabilitycompanyunderthelaws
   oftheStateofCalifomiaforthepurjosesofcultivationand/ormanufactureoflegalcnnnabisinthe
   StateofCalifom iw in com pliancew ith the lawsofthe StateofCalifom iw and forthe otherpum oses
   setforth in this Agreem ent.

          B.     The M embersintend thisA r eem entto govern the com panybusinessoperationsatthe
   realpropertylocated at19533M ctaaneinPalm SpringsCalifomia (thettproperty'')forwhich the
   com pany hasrightsto lease said Property com prised ofa+/-41,040 square footindustrialbuilding.

           C. InitialM em ber,GIA Investm ents,LLC.In the eventthatthe com pany electsordesires
   to conductbusinessoperationsatany location otherthan theProperty,additionalcapitalcontribution
   rm uirem entsw illbeestablished by the company asa oondition to thelnitialM embers'referenced in
   this Section C participation in any othercom pany businessoperations.
          D . n e lnitialM embers now desire to provide forthe govem ance ofthe lim ited liability
   com pany and theconductofitsbusinessand to specify theirrelativerights and obligations.

                 N OW ,THEREFORE,in consideration oftheforegoing prem isesand the m utualcov-
   enantsherein contained,the partieshereto hereby agree asfollows:
                                    M W ICLE 1: DEFIM TIO N S
   W hileadditionaltermsaredefnedelsewhereinthisApeement,wheneverusedherein,thefollowing
   termsshallhavethemeaningssetforth below:
          çW ct''m eansthe Califom ia Revised Uniform Lim ited Liability Com pany Act,as itm ay be
   am endedfrom tim etotim e.
          ttA dditionalCapitalCond butions''m eans the CapitalConi butions,in excess ofthe lrlitial
   CapitalConz butions,m ade by any M emberpursuantto Section 4.3 below .

          ttAdjuste CapitalAccpuntDefkit''shallbe determined beforeany allocation oftheCom-
   pany'sincome,gain,loss,deductionorCodeSection705(a)(2)(B)expenditurefortheCompanyTax-
   ableYear,andmeansthedefcitbalance,ifany,in each M ember'sCapitalAccount,withthefollow-
   ingadjustments:(a)cwredittosuch CapitalAccountanyamountswhichsuchM emberiseitherobli-
   gated to restore orisdeem ed obligated to restorepursuantto thesecond to lastsentencesofRea lation


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   Sections1.704-2(j)41)and1.704-2(i)(5);and(b)debittosuchCapitalAccounttheadjustments,a1-
   locationsanddistnbutionsspecifedinsubparapaphs(4),(5)and(6)ofRegulationsSection 1.704-
   1@)(2)(ii)(d).
           dsAffiliate''ofaMembermeans(i)anyPersoncontrolling,controlledby,orundercommon
   controlwiththeMember;(ii)aPersonowningorcontrollingtenpercent(10%)ormoreoftheout-
   standingvotingsecuritiesorbeneficialinterestsoftheMembey;(iii)anomcer,director,member,or
   pmtneroftheM ember;or(iv)anymemberoftheinunediatefamilyoftheMemberorofanAm liate
   oftheM ember. W hen theAK liate isan om cer,director,m ember,orpartner,any entity forwhich
   the Am liate acts in such a capacity is also an A m liate. For pup osesof this parav aph,t'control''
   m eansthepossession,directorindirect,ofthe pow erto directorcause the direction ofthem anage-
   m entand policiesofaPerson.
           ttArticles ofOrganization''m eansthose certain Articles of œ ganization filed w ith the Cali-
   fonlia Secretary of State on behalfofthe Company on July 12,2017,including a11amendm ents
   thereto orrestatem entsthereof n e ArticlesofOrganization provide thattheCom pany isto be m an-
   aged by m ore than one m anager.
          ttBankrlzptcy''m eans institution ofany proceedings under federalor state laws for relief of
   debtors,including the filing ofa voltmtary orinvoluntary petition underthe federalblm knlptcy law ,
   whichisnotdismissedwithinonehundredtwenty(120)days;anadjudicationasinsolventorbank-
   rupt;an mssignm entofproperty forthe benefitofc'reditors;the appoinM entofa receiver,tm stee,or
   a conservator of any substantialportion of mssets;or the seizure by a sherif,receiver,trustee,or
   conservatorofany substantialportion ofu sets.
           ttcapitalAccount''means,asto any M ember,such M ember'sCapitalContributions,ifany,
   incremsedbyitsshareofProftsoftheCompany,reducedbyitsshareofLoss,andfurtherreducedby
   any D istributions to such M em ber. N otwithstanding the foregoingsthe m aintenance ofeach M em-
   ber'sCapitalAccountissubjecttotherequirementsoftheCodeandtheRegulations.
         tfapitalContribution''meansthetotalamountofmoney andthe fairmarketvalue(deter-
   minedwithoutregardto Section 7701(g)oftheCode)ofanyproperty(netofliabilitiessecuredby
   suchcondbutedpropertythattheCompanyisconsideredtoassllmeortakesubjecttounderSection
   752oftheCode)contributedtotheCompanybyanyMemberpursuanttoArticle4below,including
   InitialCapitalContributionsand A dditionalCapitalConi butions.
          Kf ode''m eansthe lnternalRevenue Code of 1986,asamended from time to time,orany
   correspondingprovisionsofsucceeding law.
           uf ompany''meansPS IV 4,LLC,aCalifolnialimite liabilitycompany,assuchlimited lia-
   bility companym ay from timeto timehereaherbeconstimted.
          <f ompany NonrecourseDeductions''meansany içnonrecourse''deductionsofthe Company
   whicharechamcterizedassuchunderRegulationSection 1.704-209.
           çr istributableProceeds''meanq,with respecttoanyperiod,a11cashreceivedbytheCompany
   duringsuchperiod,lessa11sum sexpended orreservedbytheCompanyin theconductofitsbusiness
   during such period. Forthe pum ose ofdetermining Distributable Proceeds,the sllms expended or
   reservedby theCompanyintheconductofitsbusinessshallbedeem ed to include,withoutlimiting


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   thegeneralityoftheforegoing:(i)debtserviceona11indebtednessoftheCompany,includingdebts
   tothirdpartiesandMembers;(ii)a11otheramountsexpendedinconnectionwiththeoperationofthe
   businessoftheCompany(butexcludingDistributionsl;and(iii)anyamountssetmsideforthecrea-
   tion,restoration,orincrease ofR eserves.

         tristribution''meanscmsh orthefairmarketvalueofproperty(netofliabilitiessecuredby
   suchdistributedpropertythatsuchM emberisconsideredtoassumeortakesubjecttounderSection
   752oftheCode)distributedtoMembersarisingfrom theirinterestsintheCompany,otherthanpay-
   m entsto M em bers forservices,as repam entof loans,oras reimbursem entfor expenditures m ade
   forthebeneftofthe Company in accordance w ith thisAgreem ent.
          StlnitialCapitalContribution''m eans,with respectto each M em ber,theCapitalContribution,
   ifany,requiredofsuch M emberin accordancewith Section 4.2below.
         çilnvested Capital''m eans,with respectto each M em ber,the sum ofa11CapitalContributions
   m adeby such M em berto the Com pany.
           EtM ember''m eans the InitialM embers and any otherPerson adm itted to the Com pany as a
   M em berpursuantto the tennsofthisAv eem ent,so long assuch InitialM emberorPerson rem ains
   a M em berin accordance with thisAv eem ent.
           s<M cxmberh terest''m eansthe entire ownership interestofa M em berin the Com pany atany
   padiculartim e,including the rightofsuch M em berto any and a11beneststo which a M em berm ay
   be entitled as provided in thisA v eem ent,togetherw ith the obligations ofsuch M em berto com ply
   with a1lofthe tenns and provisionsofthisA v eem ent.
          i<M emberLoan''hasthe m eaning setforth in Section 4.4 below .
          çiM ember N oc ecourse D ebt''m eans any tçpnrtner nonrecourse liability''ortE
                                                                                       partner nom '
                                                                                                   e-
   coursedebt''underRegulationSection 1.704-209(4).Subjecttotheforegoing,itmeansanyliability
   ofthe Com panyto the extentsuch liability isnonrecourse fotpurposesofRegulation Section 1.1001-
   2,and any MemberorrelatedPerson(withinthemeaningofRegulation Section 1.75.2-409)bears
   the economicrisk oflossunderRegulation Section 1.752-2 because,forexample,such M emberor
   related Person isthecreditororaguarantor.
          ççM emberNonrecourseDeductions''meansthedeductions,lossesand Section 705(a)(2)(B)
   expendituresoftheCompany,ms thecasemaybe,which arekeated asdeductions,losses,and ex-
   pendituresattributabletoanyMemberNonrecourseDebtunderRegulationSection 1.704-2(19(4).
          ddpercentageInterest''m eans,with respectto each M ember,atany particularpointin tim e,the
   percentageinterestsd forthinSection 4.1below,assuchpercentageinterestmaybeadjustedâom
   tim e to tim ein accordancew ith the term softhisAgreem ent.
           çtperson''m eansany naturalperson,lim ited liability com pany,partnership,com pany,% soci-
   ation,trust,estate orotherlegalentity.

          Q'Proftsg'and 'dO sses''m eansthenetincomeand netloss,respectively,oftheCompany for
   each TaxableYear asdeterm ined by the Com pany forfederalincom e tax purposes.



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            çdRegulations''m eanstheFederalincom etaxregulationspromulgatedundertheCode,assuch
   regulationsmaybenmended from tim etotim e,oranycorrespondingprovisionsofsucceedingReg-
   ulations.
          <t
           R eserves''m eans,withrespecttoanyfiscalperiod,fundssetisideoramountsallocateddur-
   ing such period to reserves,which shallbe m aintained in am ountsdeem ed su/ cientin theApproved
   Budgetto coverthecostsorexpensesincidentto theoperation oftheCompany andnotre% onably
   expected to be tim ely m etby future incom e ofthe Com pany.
           çt-
             faxableYear''m eansthe twelve-month period used by theCompany forreportingfederal
   andstateincometaxes(determinedwithoutregardtoSection706(c)(2)(A)oftheCode).Theinitial
   Taxable Y earfortheCom pany shallbe the calendaryear.

                                   AQTICLE 2: O RG AN IZA TION

           2.1 Form ation and Nam e.The M em bers hereby mssociate them selves as m embers in a
   lim ited liability com pany to operate underthe nam e and style ofE'PS IV 4,LLC''form ed pursuantto
   andinaccordancewiththeAct.ExceptasexpresslyprovidedinthisApeementtothecontrary,the
   rights and obligations ofthe M embers and the adm lnistration and term ination ofthe Com pany shall
   be govem ed by the laws ofthe State ofCalifom ia.

          2.2 Statutôry Com pliance.On January 29,2018 theM emberscaused to be filed onbehalf
   of the Com pany the Articles ofOrganization in the om ce of,and on the form prescribed by,the
   Califom ia Secretary ofState. From and aherthe Effective Date,thePresidentorm anaging
   m em bersshallcause to be executed,acknowledged:recorded,filed and/orpublished such otherdoc-
   um ents or instrum ents as m ay be desirable or rm ulred by 1aw to be recorded,sled or published in
   connectionwiththefonnationandoperationoftheCompany.'
                                                      I'hePresidentormana/ng
   m cxm bers shallcause to be executed and cause to be fled,recorded or published renewals,restate-
   m ents and am endm ents of the Adicles of Organization and other docum ents or instrum ents when
   required by 1âw ordeemed desimblebytheCompany.
          2.3    PersonalPropedy. A M ember's M ember Interestin the Com pany shallbe personal
   propertyfora1lpumoses. A11interestsina11property,whethertangibleorintan/ble,hom timeto
   timeownedbytheCompany(collectively,thetdcompanyPropert/),shallbedeemedownedbythe
   Com pany as an entity,and no M em ber,individually,shallhave any ownership of such Company
   Property.

          2.4    ScopeofAuthoritv.ExceptasotherwiseprovidedinthisAgreement,noM embershall
   haveany authodtyto actfor,orassumeany obligationsorresponsibility on behalfotlany other
   M em berorthe Com pany.

           2.5 Place ofBusiness.n eCom pany'sprincipalom ceshallbelocated at72100 M ar esia
   FallsDrive,Suite 2,Rancho M irage,Califom iaoratsuch otherplaceorplacesas9om timetotime
   determ ined bytheApprovaloftheM embers.

          2.6    lnformationtobeMaintainedbvCompanv.ThePresidentormana/ngmembersshall
   keep attheCompany'sprincipalplaceofbusinesssuchrecordsandinformationasm ayfrom timeto
   timeberequiredby theActandby a11otherapplicablelaws.

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           2.7 Rep'steredAgent:Registered Ofsce.'       FheCompany'sinitialregisteredagentandreg-
   istered office aresetforth in theA rticlesofOrganization. Upon Approvalofthe M embers,the Com -
   pany'sregistered agentand registeredofficemaybechanged byfilingaFonn LLC-12 Statementof
   Inform ation ora Form LLC-2 Certificate ofA m endm ent.

                               ARTICLE 3: PU RPO SES AND SCO PE

          3.1 Puposes.n epumosesoftheCompanyshallbe(1)toconducta11oftheactivities
   describedin Recital<W ''above,(2)totakeal1actionsand execute and delivera1ldocumentsand
   instrumentsnecessaryorconvenientinconnectionwithsuchactivities,and(3)totakesuch actions
   asmay otherwisebepermitted by thisAgreementormsmaybeEsApproved bytheM embers''(as
   defined below). Unlessapproved by theMembers,thebusinessoftheCompanyshallbelimited
   strictly to thepurposessetforth in this Section 3.1.

          3.2     Aoprovals. ThephrasesttApproved by the M em bers''ortçA pprovalofthe M embers''
   eachmean thevote,consent,decision,determination,judo ent,decree,instruction,authorization,
   waiver,resolutionorotherapprovalofM embersholding,intheaggregate,sixtypercent(60%)ofthe
   Pc centage Interests,each M em ber'sapprovalbeing am atterw ithin such M ember'ssole and absolute
   discretion.

          3.3 OtherA ctivities ofthe M em bers. Each M em ber m ay engage or investin any other
   com petitive ornon-com petitive activity or venture orpossess any interesttherein independently or
   withothers,NoneoftheMembers,theCompanyoranyotherPerson employedby relatedtoorin
   any way affliated with any M em berorthe Com pany shallhave any duty orobligatlon to discloseor
   ofl-
      erto the Com pany ortheM embers,orobtain forthebenestofthe Com pany orthe M em bers,any
   such otheractivity orventure orinteresttherein.N one ofthe Com patly,the M embers,the creditors
   oftheCompany orany otherPœsonhavingany interestintheCompany shallhave(i)anyclaim,
   rightorcauseofaction againstany ofthe M em bersorany otherPerson employed by,related to orin
                                                                                           .

   any way aë liated with,any oftheM embersbyreason ofany directoripdired invese entorother
   participation,whetheractiveorpmssiveinanysuch actiWtyorventureorinteresttherein,or(ii)any
   lightto any such activity orventure orinteresttherein ortheinoom eorprofitsderived thereâom .

                  AR TICLE 4: PER CEN TAG E INTER ESTS;C ON TRIBUTIO N S

         4.1     Percentaze lnterests.Each M em bershallhavethe follow ing Percentage lnterestin the
   Com pany:



   M em ber                                               Percentaeelnterest

                     M ICHAEL M EADE                                 37.5%
                     M ICH AEL KJN G                                 37.5%
                     GIA lnvesM ents.LLC                            25.0%
                         Total                                      100%



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          4.2 CapitalContributions. 'I'      he M em bers have m ade initialcapitalcontributions to the
   Company assetforth on ExhibittW ''.NoM embershallhaveanyright,power,privilegeorauthority
   or any duty,liability or obligation to m ake any CapitalContribution unlessotherwise approved by
   the M em bers.

           4.3 N o Priorities ofM em bers.Exceptas speciscallyprovided in thisAp eem ent,includ-
   ing the return to Priority M em bersmssetforth herein,no M embershallhavethe rightto withdraw or
   to reduce itscontributionsto the capitaloftheCom pany. No M embershallhave the rightto dem and
   orto receiveproperty otherthan cash in retum for itsCapitalContributions,nor shallany M ember
   havepriorityoverany otherM em ber,eitherasto the retum ofCapitalContributionsorasto Profks,
   Losses,tax item spursuantto Section 6.3,ordistributionsdescribed in Articles7 or 10.

          4.4 M emberLoans. N o M emberorAm liate shallbe required to m ake any loans oroth-
   erwise lend any ftm ds to the Com pany. A M em beror Am liate m ay m ake nonrecourke loans to the
   Com pany with the Approvalofthe M em bers,to the extentsuch M em berorA m liate reasonably de-
   terminesthatsuchloansarenecessaryoradvisableforthebusinessoftheCompany(each,attMember
   Loan'').EachMemberLoanshall(a)beseparatelyentereduponCompanybooks;(b)beevidenced
   by a negotiable prom issory notem ade by the Com pany payable to the orderofthe lending M em ber;
   (c)bearinterestatarateApprovedbytheMembers;and(d)bepayablefrom thefrstavailablepro-
   ceedsand secured by such assetsoftheCom pany msm ay beApproved by the M embers.N o M em ber
   Loansby a M embershallhaveany effecton such M em ber'sPercentagelnterest,such M em berLoans
   representing a debtofthe Com pany payable orcollectible solely from the assetsofthe Com pany in
   accordance with the term sand conditionssetforth herein.

          4.5 Lim ited Liabilitv. N o M em berwillbe bound by,orbe personally liable for,the ex-
   penses,liabilities or obligations ofthe Com pany exceptto the extentrequired by thisAv eem ent,or
   by applicable law.

          4.6 No '   Ihird PartvBenefk iaries.'I'herightofany M emberto m akeCapitalContributions
   and otherwise to do,perform,satisfy ordischarge any liabilityorobligation hereunder,ortopursue
   any otherrightorrem edy hereunderorat1aw orin equity provided,shallnotconferanyrightorclaim
   upon orotherwise inure to the benestof any creditororother third party having dealingswith the
   Company,itbeingunderstoodandagreedthattheprovisionsofthisAgeementshallbesolelyforthe
   benestotlandmaybeenforcedsolelyby,thepartiesheretoandtheirrespectivepermittedsuccessûrs
   and assia s. None ofthe rightsorobligationsofthe M embersherein setforth shallbedeemed an
   assetoftheCompany;andsuchrightsandobligationsmaynotbesold,kansferredormssignedbythe
   CompanyoranyM ember(exceptinconnectionwithas:leortransferofaMemberlnterestmadein
   accordancewiththeprovisionsofthisApeement),andmaynotbepledgedorencumberedtosecure
   any debtorotherobligation ofthe Com pany orofany ofthe M em bers.

                                ARTICLE 5: C APITAL A CCO UNTS

          5.1 Initial Capital Accounts. A n individual Capital Account shall be established and
   maintained for each M embc reflecting such M ember's InitialConi bution,ifany,m ade under
   Section 4.2.




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          5.2     SubseguentAdiustments.

               5.2.1 Increases. EachM ember'sCapitalAccountshallbeincreasedby(a)such
   M ember'sAdditionalContributionsunderSection4.2;(b)suchM ember'sshareofProfhsallocated
   tosuchMemberunderSection6.1;and(c)suchMember'sshareofanyCompanyincome,profits,or
   gain allocated to such M em berunderSection 6.2.

               5.2.2 Decreues. Each Member'sCapitalAccountshallbedecrease. d by (a)the
   amountofanyDisdbutionsmadetosuchM ember;(b)suchMember'sshareofLossesallocatedto
   such M embertmderSection 6.1;and (c)such Member'sshare ofCompany expenses,lossesor
   deductionsallocated to such M em berunderSection 6.2.

                  5.2.3    OtherAdiustments. Each M ember'sCapitalAccotmtshallalso reflectsuch
   otheradjustmentsthatmay 9om timetotimeberequiredinorderforsuch CapitalAccountstobe
   keptin strictaccordancewith Sections7044$,704(c)andotherapplicableprovisionsoftheCode
   and Regulations,a11msApprùvedbythePresident.

                          A RTIC LE 6: PR O H TS;LO SSES;Tu M ATTERS

          6.1     Allocation ofProftsand Losses.

                 6.1.1 Profits.Proftsofthe Com pany shallbe allocated am ong theM embersin the
   following orderofpriority:

                  6.1.1.1 First,to the M em bers in the reverse orderofpriority and am ountofLosses
   allocated to the M embers under Sections 6.1.2.1 tllrough 6.1.2.3,tmtil each M ember hms been
   allocated Proltsin an amountequalto the slxm ofal1Lossestheretofoye allocated to such M ember
   underSections6.1.2.1 tltrough 6.1.2.3 during the currentand allpriorTaxableY ears,lessthe sllm of
   a1lProftspreviously allocated to such M em berunderthis Section 6.1.1.1 during the currentand a11
   priorTaxable Years.

                  6.1.1.2 Second,andsubjecttosection7.2ofthisApeement,totheM embersinthe
   sam eorderofpriority and am ountofDistributableProceedsdistributed to theM embersunderSection
   7.1 untileach M em berhms been allocated Proftsin an am ountm ualto the sum ofa11Distributable
   Proceedstheretofore distributed to such M emberunderSection 7.1duringthecurrentand a11prior
   Taxable Y ears,less the sum ofa11Protits previously allocated to such M em bers undertbis Section
   6.1.1.2 duringthecurrentanda11priorTaxableYears.Allocationsto theM emberqundertltisSection
   6.1.1.2 shallbe m ade pro rata in propodion to the totale ountsofD istributable Proceedstheretofore
   receivedby each M emberunderSection 7.1.

                 6.1.1.3 n ird,and subjectto sedion 7.2 ofthisAveement,to the Members in
   proportion to theirrespective Percentage lnterests.

                   6.1.2 Losses.LossesoftheCompanyshallbeallocated amongtheM embersinthe
   following orderofpriority:

                  6.1.2.1 First,to the M em bers in the reverse orderofpriority and sm otmtofProRts
   allocated to the M embers under Sections 6.1.1.1 through 6.1.1.3,until each M em ber has been

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   allocated Lossesin an am ountequaltothesum ofa11Profhsallocate.dtosuchM emberunderSections
   6.1.1.1 through 6.1.1.3 during the currentand a11priorTaxable Years,lessthe sum ofa11Losses
   previously allocated to such M em ber under this Section 6.1.2.1 during the current and a11prior
   TaxableY ears;

                  6.1.2.2 Second,to the M em bers in proportion to their respective positive Capital
   Accountbalances,ascalculatedbymaking theadjustmentsdescribedinclauses<ç(a)''and :t(b)''of
   the defnition of t<Adjusted CapitalAccountDeticif',untileach such adjusted CapitalAccount
   balanceequalszero;and

                  6.1.2.3 Third,to the M em bersin proportion to theirrespectivePercentageInterests.

   6.2 SpecialA llocations.

                    6.2.1 Com panv M inimum G ain Charaeback. lf there is a net decrease in
   tçpartnership m inimum gain,''computed strictly in accordance with the principles of Regulation
   Section 1.704-2(d),duringanyCompanyTaxableYear,thetsminimum gainchargeback''described
   inRegulationSections1.704-249 and(g)shallapply.'I'
                                                    heallocationrequiredbythisSection6.2.1
   shallbem ade priorto any otherallocation forthe year.

                   6.2.2 M em berN onrecourse DebtM inim um Gain Chargeback. ln the eventthat
   there isa netdecremse in t<pattnernonrecourse debtm inim um gain''during any Taxable Y earoftlze
   Company,anyMemberwithashareofsuch<tpmtnernonreooursedebtminimllm gain''(determined
   tmderRegulation Section 1.704-2(i)(5))asofthcbegilmingoftheyearshallbeallocateditemsof
   incomeorgainfortheyear(and,ifnecessary,àubsequentyears)equaltosuchMember'sshareofthe
   netdecreaseinthedtpartnernonrecoursedebtminimllm gain''inaccordancewithSection 1.704-2(i).
   The allocation required by this Section 6.2.2 shallbe m ade after the allocation required by Section
   6.2.1butpriorto any otherallocation fortheyear.

                   6.2.3 Oualifed lncom e Offset. If any M ember unexpectedly receives an
   adjustment,allocationordistributiondescribedinsubparagraphs(4),(5)or(6)ofRegulationSection
   1.704-1(b)(2)(ii)(d) and such adjustment,allocation or distribution creates an Adjusted Capital
   AccountDeficitwithrespecttosuchMember,orincre%essuchMember'sAdjustedCapitalAccount
   Defkit,suchM embershallbeallocateditemsofincomeorgain(consistingofaprorataportionof
   eachitem ofincomeorgain,includingFossincomeandgainforsuchyear)inanamountandmanner
   sum cientto eliminatesuch AdjustedCapitalAccountDeficitasquickly aspossiblein accordu ce
   withRegulationSection1.704-1(b)(2)(ii)(d)anditsrmuirementsforattqualifiedincomeoFset'''Ihe
   allocationsrm uiredbythisSection6.2.3shallbem adeahertheallocationsrequiredbySections6.2.1
   and6.2.2butpriorto any otherallocation fortheyear.

                   6.2.4 Com panv Nonrecourse D eductions: M em ber N onrecourse D eductions.
   Com pany Nonrecourse D eductions shall be allocated am ong the M em bers in proportion to their
   respective Percentage Interests. M emberNonrecourse Deductionsshallbe allocated between the
   M embcsasrequiredbyRegulationSection 1.704-2(i),whichgenerallyrequiresthatsuchdeductions
   beallocatedinaccordancewiththemannerin which theM embersbeartheeconomicrisk oflosswith
   respectto the loan to wllich such M em berN onrecourse D eductions are attributable. 'l'he allocation
   ofCompanyNonrecourseDeductionsandM emberNonrecourseDeductionsrm uiredbythisSection
   6.2.4 shallbem ade beforetheallocation ofLossesrequired by Section 6.1.

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          6.3 AllocationsforTM Pup oses.A11item sofCom pany incom e,gain,lossand deduction
   forfederaland state incom e tax purposes shallbeallocated to and between theM embersin the sam e
   amounts thatthe corresponding %tbook''items ofthe Company are allocated to and between the
   MembersundertheprovisionsofSections6.1and6.2,except(a)asotherwiseallocatedunderSection
   704(c)oftheCode,and(b)asotherwiseallocatedunderRegulationSection1.704-1@)(4)(i).
         6.4 Tax Retum s.ThePresidentshall,attheexpenseoftheCom pany,causeto beprepared
   andfled a11taxretum sand statem entswhich mustbefledonbehalfoftheCompanywith anytaxing
   authorityandthePresidentshallusehisbesteflbrts(also attheexpenseoftheCompany)tocause
   suchretumsandstatementstobefiledinatimelymanner(takingintoaccounta11extensions).
          6.5 Section 754 Election. Upon Approvalofthe M em bers,the Com pany m ay m ake or
   revoke the election referred to in Section 754 oftheCode and any likeprovision ofany state incom e
   tax 1aw orany sim ilarprovision orprovisionsenacted in lieu thereof.

          6.6 Excess Nom ecourse Liabilities. Solely fotpurposesof determ ining each M em ber's
   proportionate share ofthe t%excess nonrecourse liabilities''ofthe Company,w ithin the m eaning of
   Regulation Section 1.752-3(a)(3),theMembers'interestsinCompanyProftsshallbeinproportion
   to theirrespective Percentage Interests.

          6.7    Tax DecisionsN otSpecitied. n e Company's tçtax m atters partnery''asdescribed in
   Section6231(a)(7)oftheCodetthett-l-axMattersM ember'l,shallbeMICHAELM EADE andshall
   havetheright(i)tomakeortevokeanyothertaxelectionsonbehalfoftheCompany,(ii)to ontcr
   into any aveementswith thelnternalRevenue Serviceorany statetaxing authority,and (iii)to
   commencelitigation(orsettlelitigation)involvinganytaxissuesafrectingtheCompanyoranyofits
   mssets.

          6.8 Notice of Tax Audit. 'The TM M atters M ember shallgive promptnotice to a11
   M em bersupon receiptofnoticethateitherthe Intem alRevenueService orany statetaxing authority
   intendsto exam ine the Com pany's tax returnsforany year.

           6.9 A- ounts W ithheld. A 1lam ounts withheld pursuantto the Code or any provision of
   any state,local or foreir tax 1aw with respect to any pam ent,distribution or allocation to the
   M em bersshallbekeated msam otmtsdisi buted to theM emberspursuantto Article 7 fora11purposes
   underthisAp eement.'Fhe Presidentisauthorized to witbhold 9om distributionsorwith respvctto
   allocations to the M em bers,and to pay overto any federal,state,localor foreign govem m entany
   am ountsrequired tobe so witllheld pursuantto the Code orany provisions ofany otherfederal,state,
   localorforeir law,and shallallocate any such am ountsamongtheM embers,to each M emberthe
   am ountwithheldforand onbehalfofsuch M ember.

          6.10 A llocationsUpon aTransfer.()n a transferofany M emberlnterest,Proftsand Losses
   under Sedions 6.1.1.3 and 6.1.2.3 shall be allocated between the transferor and the transferee
   according to the relative num berofdaysin the yearbefore and afterthe effective dateofthetransfer.




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                          A RTICLE 7: D ISTR IBUTIO NS TO M EM BERS

         7.1 D istributions. Distributable Proceeds,when distributed,shallbe distributed to the
   M emberspro rata in proportion to theirrespective Percentage Interests.

          7.2 Priority D istribution to InitialM emberG lA lnvestm ents.hlitialM em berGlA
   lnvestm ents shall receive 80% of the Distributable Proceeds until said M em ber has received an
   nmountequaltotheirinitialcapitalcontributionsassetforthinExhibittW ''tothisAv eement.
   M em bersM eade and King shalleach receive 10% oftheDistributable ProceedsuntilInitialM ember
   GIA hasreceivedatlamountequaltohisinitialcapitalcontributipnsmssetforth inExhibitCW ''tothis
   Apeement,atwhich timea11DistributableProceedsshallbedistributedassetforth in section 7.1.

          7.3 CapitalAccountCharae. DistributionsofDistributableProceedsto a M mnbœ under
   thisArticle 7 shallbe chargeable to such M em ber'sCapitalAccount.


              ARTICLE 8: M AN AG EM ENT AN D CON TR O L O F TH E CO M PA NY

          8.1 M anagem ent. The business,property and affairs ofthe Company shallbe m anaged
   by M anaging M em bers M ICH AEL M EADE and M ICHA EL K ING.

         8.2 GeneralAuthoritvoftheManam'nMM embers. Subjecttothelimitationssetforthin
   thisAgreement:theMana#ngM embersshallhavetheexclusiverightandauthoritytooverseeand
   m anage thebuslnessofthe Com pany,and shallhave a11ofthe rights,power,and authority generally
   conferred by 1aw ormsnecessary and advisable.

          8.3 M aiorDecisions.Notwithstanding anythingtothecontrary,contained in thisAgree-
   m ent,no actshallbe taken,sum expended,decision m ade orobligation incurred by the Com pany or
   bytheM anagerswithrespecttoamatterwithinthescopeofanyofthefollowingdecisions(collec-
   tively,thet<MajorDecisions'')withoutApprovaloftheM embers(asdefinedinsection3.2):

                  (a)    A changeincontroloftheCompany.
                  (b)    Enteringintoemplom entagreementsonbehalfoftheCompany.
                  (c)    Any substantialchange (i.e.,any proposed changes to Company's capital
   structure where such change results in a p'
                                             eater than 10% increase or decremse in the Fair M arket
   ValueofMemberInterests).
                  (d)    Authorizinganydistdbutionpayableto anyMemberinamannerotherthana
   as setforth in thisA p eem ent.

                  (e)    Issuing,redeeming,purchuing,converting,altering the classiscation of,
   altering the rights attaching to,consolidating or cancelling,any M ember Interests or otherwise
   reducing orincreasing theissued M emberInterests.

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                 (f)    The dissolution oftheCom pany.

                 (g)    lnitiateavoluntarywind-uporothem isevoluntarilyliquidatingtheCompany.
                 (h)    AmendingthisAmeementinwholeorinpart.
                 (i)    ChangingthegeneralnattlreofthebusinessoftheCompany.
                 (j)    Entering into any consolidation,amalgamation ormergerwith any entity,
   including acquiring any share capital,loan capital,securities or the assets of,such entity,or by
   enteringintoanyjointventure,partnershiporprofitshmingarrangementwithsuchentity.
                 (k)    Selling,transfening,licensing,leasing orotherwise disposing ofall,or a
   m aterialpart,oftheundertaking,businessorassetsofthe Com pany,whetherby a single transaction
   orseriesoftransactionsand whetherrelated ornot.

                 (1)    Resolvingtpenterinto aschemeofarrangementwith Company'screditors,
   applying forany adm iniskation orderin respectofCom pany,appointing anyreceiverorliquidatoror
   any othereventanalogousto any ofthese.

                 (m) Appointing the auditors,determining theaccounting period oreffecting any
   signifcant change in the accounting principles and practices adopted by Com pany or changing the
   accotm ting principles.

                 (n)    Enga/nginanytransactionwhereCompanyborrowsorlendstoathirdpady,
   guaranteesthird party obligations,orencum bers Com pany property;

                 (o) Acquiring,whetherbyformationorotherwise,anysubsidiary,ordisposingof,
   ordilutingitsinterestin,anysubsidiary(whetherdirectlyorindirectly).
                 (p)    Initiating any litigationrarbikation orotherdisputeresolution on behalfof
   Company,otherthandebtcollectionin theordmary courseofbusiness,orthesettlementofanysucll
   litigation orarbitration,whetherinitiated by Company or any third party againstCom pany.


          8.4    M eetings. A m eeting ofthe M em bersm ay be called atany tim e by any M emberby
   thegivingofatleastfiReen(15)days'noticetotheotherM embers,andifany such otherMembers
   arenotthen available,such meetingshallbeheld onthenextdatereasonably availableto theM em -
   bers,butnolaterthanfiheen(15)daysaherthedatefirstnoticedforsuchmeeting.Attherequestof
   ally M ember,any suchm eetingm aybeheldbyconferencetelephone.

          8.6    OK cers

                 8.6.1 Appoin% ent of O / cers. The M anagers m ay appoint oK cers including
   President,ChiefFinancialOë cerand Secretary.Each otxctxrsoappointed shalldevotethetimeand
   eflbrtnecessary and appropriate to the faithful pedbrm ance of a11duties of the offke held. Any

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   naturalpersonmayholdanynum berofoffices.Noo/ cerneedbearesidentoftheStateofCalifom ia
   orcitizen ofthe U nited States. The oflicers shallexercise such pow ersand perfonn such dutie:as
   specifed inthisApeementand asshallbeApproved bytheM anagersfrom timetotime.

                   8.6.2 Removal.Resim ation and Vacancv. Any o/ cermayberemovedasan of-
   ficer,eitherwith orwithoutcause,by the advance written ApprovalofM anagers. M y oK cerm ay
   resir atany timebygivingwrittennoticetotheM anagers.Anyresir ationshalltakeeffecton the
   date ofthereceiptofsuch notice oratany latertim e specified in such notice;and,unlessotherwise
   specified in such notice,theacceptanceoftheresir ation shallnotbenecessarytomakeiteffective.
   Anyresignationiswithoutprejudicetotherights,ifany,oftheCompanyunderanycontracttowhich
   the om cerisaparty.A vacancy in atly om cebecauseofdeath:resignation,rem oval,disqualifk ation
   oranyothercauseshallbefilled inthem annerprescribedin thlsApeem entforregularappointments
   to thatoo ce.

                8.6.3 SaladesofOK cers.Thesalariesand emplom entapeem ents,ifany,ofa11
   om cersand agentsofthe Com pany shallbe fixed by Approvalofthe M anagers.

                  8.6.4   President. ThePresidentshallbethechiefexecutiveoffceroftheCom pany,
   andshall,subjectto theconkoloftheManagers,shallhavetherightand authorityto overseeand
   directthe otherom cersofthe Com pany,shallm anage the businessofthe Com pany,and shallhave
   a11ofthe rights,power,and authority generally conferred by law,necessary oradvisable. The Presi-
   dentshallalso have the generalpow ersand dutiesofa chiefexecutive o/ cerorpresidentofa com -
   pany,and shallhave such otherpow ersand dutiesasApproved bytheM embersorotherwiseprovided
   in thisA v eem ent. In addition to the otherdutiesand responsibilities ofthe Presidentas setforth in
   thisAgreem ent,the Presidentshallhave the following duties:

                          (a)        'rhePresidentshallfileorcausetobeGled with theSecretaryof
   Stateofthc State ofCalifom ia an initialand subsequentannualstatem ents asrequired by the Act.

                         (b)       n ePresidentshallfleorcausetobefiled forrecordation inthe
   om ceoftheappropriateauthoritiesoftheStateofCalifornia,andineachotherjudsdictioninwhich
   theCompanyisqualifed,suchcertifcates(including,withoutlimitation,articlesoforganizationand
   tictitiousbusinessnamecertifcates)andotherdocumentsasarerequired bythestatutes,rules,or
   regulationsofsuchjurisdictions.
                      (c)     n ePresidentshallprepareorcausetobepreparedandshall5le
   onorbeforetheduedate(oranyextensionthereog anyfederal,state,andlocaltaxreturnsrequired
   to befledby theCompany.ThePresidentshallcausetheCompanytopay anytaxespayablebythe
   Com pany.

                          (d)        The Presidentshallobtain and keep in force,during the tenn
   hereof,w orkers'com pensation as required by law,public liability insurance w ith such insurers and
   in such am ounts asthe Presidentshalldeem advisable.

                          (e)        ThePresidentshallbeunderasduciarydutytotheCompanyand
   theM embersto conductthe afairsofthe Com pany in thebestinterestsofsaid pm ies,including tlle
   safekeeping anduseofa1lCompanyfundsand % setsandtheusethereoffortheexclusivebenefitof
   the Com pany.

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                  8.6.5 ChiefFinancialO fficer. 'The ChiefFinancialOfficer shallbe the treasurer
   and controllerofthe Company and shallkeep and maintain,orcause to be keptand m aintainM ,
   adequate and correctbooks and recordsofaccountsofthepropertiesand businesstransactionsofthe
   Com pany,including accounts ofits assets,liabilities,receipts,disbursem ents,gains,losses,and cap-
   ital,and shallperform such otherduties asm ay be prescribe by the President. n e ChiefFinancial
   Offcer shallalso have the generalpowers and dutiesofa chieffnancialoffcerofa com pany,and
   shallhave such otherpow ers and duties asApproved by the M anagersor othelw ise provided in this
   Ap eem ent.

                  8.6.6 Secretary. n e Secretary shallattend a11m edings ofthe M embers and shall
   recorda1ltheproceedingsofthemeetingsinabx ktobekeptforthatpurpose.TheSecretaryshallgive,
   orcamse to be giverl,notice ofa11m eetinpsoftheM em bersand shallperform such otherdutiesasm ay
   beprescribed by thePresident. The Secretary shallalso have the generalpowersand dutiesofa sec-
   retary ofa company,and shallhavesuch otherpowersand dutiesasApprovedby the M anagersor
   otherwise provided in thisA v eem ent.

          8.7    LimitationofLiability.'IhedulyappointedMana/ngMembersand/orofficersofthe
   Com pany shallnotbe liable,responsible,oraccountable in dnm agesorothem ise to theotherM em -
   bersortheCom pany forany actorom ission perform ed orom itted by itin good faith and in am anner
   remsonably believed by him orherto be within the scope ofthe authority granted to itby tltisAv ee-
   m entand in thebestinterestsoftheCom pany and the M em bers;provided,how ever,thatno M anager
   orom cershallbe relieved ofliability with respectto any claim :issue,orm attermsto which itorany
   Am liateshallhavebeenadjudge tobeliableforintentionalmlsconduct,grossnegligence,fraud,or
   bad faith in the pedbnnance ofits liduciary duty to the M embers. Exccptin such case whtwre the
   Managerorofscerisso adjudgedliable,theCompanyshallindemnifysuchM anagerandoë cer
   from andagainstanyloss,damage,orexpenses(includingreasonableattomeys'fees)incurredbyit
   in connection with the defense ofany threatened,pending,orcom pleted action orsuitby any Person
   in connection with any such actorom ission.n esatisfaction ofany obligation to indem nify and hold
   such M anager and/orom cerharmlessshallbe from and lim ited to Com pM y % sets,and no M em ber
   shallhave any personalliability on accountthereof.

                                   A RTICLE 9: A CC O UNTIN G

          9.1 BooksandRecords.TheM anagersshallcauseaccurateand completebooksandrec-
   ords to be m aintained so as to reflectthe Com pany's incom e,expenses,assets,and liabilities. A11
   books and records shallbe keptusing the tax m ethod of accounting used to determ ine Prosts and
   Losses.

          9.2    Reports.TheM anagersshallcausetobepreparedandfurnishedtoeachM ember:(a)
   monthlystatementsofcashreceiptsanddisbursements,wbichtheM anagersshallexercisea11reason-
   ableefrortstoprovideto theMemberswithin fheen(15)daysfollowingtheendofeachcalendar
   month,and(b)annualfinancialstatementspreparedinaccordancewiththetaxmethodofaccounting
   whichtheM anagersshallexercisea11reasonableeffortstoprovidetotheMemberswithinninety(90)
   days follow ing the end ofeach Com pany fiscalyear. 'Ihe fnancialstatem entsreferred to in clause
   ç@ )''oftheimmediatelyprecedingsentenceshallincludeabalancesheetoftheCompanydatedas
   oftheend oftheperiod forwhichthefnancialstatem entsarebeing prepared andarelatedstatement


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   ofincom e orlossforsuch period. Unaudited Gnancialstatem entsshallbe certified by the M anagers
   asbeing,to thebestoftheirknowledge,true,accurate,completeand reflectiveofthetinancialcon-
   dition ofthe Com pany.
           9.3 Location and ItiMhtsoflnspection. '  I'heCompany'sbooksand recordsshallbekept
   and maintained ata11timesattheprincipalofficeoftheCompany.Each M emberand itsauthorized
   agents,employeesand representatives,atsuch M ember's costand expense,shallhavetherightto
   inspect,examine and copy thebooks,records,files,and otherdocumentsoftheCompany ata11rea-
   sonable tim es. The re% onable costs ofcopying books and records,and creating duplicate com putet
   inform ation,shallbe aM em berexpense.

          9.4 Bank Accounts.TheCompany fundsshallbedeposited inbank accountsofatype,in
   fonn and nam e,and in abank orbanksmsApproved by theM anagers.


                       A RTICLE 101 DISSO LU TIO N AND TERM INATION

          10.1 Tenn and Dissolution. n eCompany shallbedissolved and terminated onlybyAp-
   provalofthe M em bers.

          10.2   D issolution.

                   10.2.1 LiquidatinM Sale.Uponthedjssolution andterminationoftheCompanypup
   suantto Section 10.1,the Company shallim m ediately com m enceto wind up its afairsand the M an-
   agersshallproceed with reasonableprpm ptnessto liquidatethebusinessoftheCompany in an orderly
   andbusinesslikemanner(tsLiquidatingSale'')andtopaytheCompany'sliabilitiesandobligationsto
   creditors(includinganyMemberwhoisacreditor),anda11expensesincurredintheliquidationshall
   bepaid,in tlw orderofpriority asfurtherdescribedin subsection 10.2.3.
                  10.2.2 Allocation ofProsts and Losses from LiquidatinR Sale. The Profts a1.1(1
   Lossesrecor ized in connection with theLiquidating Sale shallbeallocated totheM embersin the
   m annersetforth in Article6.
                  10.2.3 Distribution of Liguidation Proceeds. Following the allocations of Profits
   and Lossesrequired by subsection 10.2.2,theproceedsfrom liquidation shallbeusedordistributed,
   msthe casemaybe,asfollows:
                  10.2.3.1First,topay theexpensesofliquidation andthedebtsowedbytheCompany;

                  10.2.3.2 Second,to createa Reserve asApproved by the M em bersforthepam entof
   anycontingentorunforeseen liabilitiesorobligationsoftheCompanytandwhen,asApprovedby
   the M embers,the Reserve isno longernecessary,a11cmsh rem aining in the Reserve shallbe distrib-
   utedtotheMembersinaccordancewithsubsection 10.2.3.3below);and
                 10.2.3.3 Tllird,among the M emberspro rata,to each M emberin proportion to the
   positivebalance in such M em ber'sCapitalA ccountuntilsuch CapitalA ccountbalance equalszero;
   and

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                 10.2.3.4 Foudh,am ong the M em bers in the m anner and orderofpriority setforth in
   Section 7.1hereof.




          10.3 Dissolution Procedures.
                    10.3.1 W indinR Up. During theperiod ofwindingup oftheaffairsoftheCom pany,
   the M anagersshallm ake al1decisionsrelating to the conductofanybusinessoroperationsduring the
   w inding-up period and to the sale orotherdisposition ofthe Company Property. U pon liquidation,
   unsold Com pany assets,ifany,shallbe valued by theM anagersto determ ine the gain orlossw hich
   would have resulted ifsuch property had been sold atsuch value,and the unrecor ized Proftsor
   Lossestherefrom shallbeallocated to theM embersin accordancewith subsection 10.2.2.Ahersuch
   allocation,the assetsofthe Com pany shallbe used ordistributed,msthe case m ay be,in the m rmner
   setforth in subsection 10.2.3.

                   10.3.2 CashandNon-cashAssets.Uponliquidation,iftheCompanyPropertycon-
   sistsofboth cash and non-c% h mssets,the cash shallbe distnbuted firstand the non-cash assets shall
   be distributed second,with thenon-cmsh assetsbeing distributed usingtheirvalues,determ ined in the
   above setforth m rmner. Ifthe Com pany isto distributenon-cmsh assetsto theM embers,then,unless
   the M anagersshalldetermine otherwise,such non-cmsh u sets shallbe distdbuted to theM emberspro
   rata in accordance w ith their then respective rightsto receive Distributions. Exceptas provided in
   Section 10.4.2hereotlno Membershallbeobligatedtorepay anydeficitbalancein itsCapitalAc-
   countupon liquidation oftheCom pany,orotherwise.

                   10.3.3 Booksand Records.A 11docum entsand recordsofthe Com pmm ortruecop-
   iesofsuch docum entsorrecords,including withoutlimitation,a11financialrecords,vouchers,can-
   celed checks and bnnk statem ents,shallberetained by M ICH AEL M EAD E upon term ination ofthe
   Company;provided,however,thateachM embershallhavetheright(atitssolecostandexpense),
   duringthenormalbusinesshoursanduponre> onablenoticetoinspectand copy a11such docllments
   and records.
                  10.3.4 D issolution. A ftera11% sets ofthe Com pany have been distributed,itshall
   be deemed thatthe Company hasbeen wotmd-up,dissolved and terminated,this Ageementshall
   terminate,andthePresidentshallthereuponcausetobeexecutedand filedinthem annerprovidedby
   1aw theappropriateformsin theoë ceof,and asprescribedby,theCaliforniaSecretaryofState.



          10.4 DefkitCapitalAccounts.

                  10.4.1 N o GeneralObliMation. Exceptas provided in Section 10.4.2 below ,each
   M em bershalllook solely to the assetsofthe Com pany fora11Distributionsw ith respectto theCom -
   pany,itsCapitalCond butionsthereto,itsCapitalAccotmtanditsshareofProftsorLosses,andshall
   havenorecoursetherefor(upondissolutionorotherwise)againstanyotherM ember.Accordingly,
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   exceptasprovidedin Section 10.4.2below,iffollowingliquidation,anyMemberhmsanyAdjusted
   CapitalAccountDefcit(aherSvingeffecttoa11contributions,Distributionsandallocationsfora11
   TaxableYears,includingtheyearduringwhichtheliquidationoccurs),thensuchMembershallhave
   noobligationtomakeanyCapitalContributionwithrespecttosuchAdjustedCapitalAccountDefi-
   cit,and suchAdjustedCapitalAccountDescitshallnotbeconsideredadebtowedtotheCompany
   orto any otherPerson forany purpose whatsoever.

                 10.4.2 Elective Obligation. Any M em berm ay file with the Com pany an election to
   restorea11oraportionofanyAdjustedCapitalAccountDeficit:atanytimeduringthetenn ofthe
   Com pany;provided,however,thatsuch election willbe eFectlve only for the following Taxable
   Years:(i)theyearinwhichtheelectionisreceived;(ii)theimmediatelyprecedingyeariftheelection
   isreceivedpriortotheflingdeadlinefortheCompany'staxretums(takingintoaccountanyanda11
   extensions);and (iii)a1lyearsfollowing such election. lfeitherMemberhmsan electionin efect
   underthisSection 10.4.2andhasanAdjusted CapitalAccountDetkitatthetimeoftheliquidation
   oftheCompanyortheliquidationofitsInterestintheCompany(ahercreditingallocationsofincome
   anddebitingallocationsoflosstoitsCapitalAccount),such Membershallbeobligatedtorepayto
   theCompanyannmountequaltothelesserof(a)suchAdjustedCapitalAccountDefcit,or(b)that
   podion ofsuch Adjusted CapitalAccountDefcitwhich such Memberelected to restore. This
   am ount,upon the liquidation ofthe Com pany,shallbe paid to the creditors ofthe Com pany orbe
   distributed to the otherM em bersin accordance with theirpositive CapitalA ccotm tbalances in ac-
   cordancewith Section 1.704-1@)(2)(ii)(b)(3)oftheRegulations.Paymentofthenmotmtrequired
   hereundershallbe m ade in im m ediately available ftm dsno laterthan the end ofthe TaxableY earof
   theliquidationoftheMember'sInterestintheCompany(or,iflater,withinninety(90)daysaherthe
   dateofliquidation),or,altematively,bytheapplicableMember'sassumptionofoneormoreliabili-
   tiesoftheCompany,orportionsthereof,on orbeforesuch date.

                   10.4.2.1Liquidation/Adiustments. ForpumosesofthisSection 10.4.2,(a)thetenn
   V<liquidation''isusedinthesenseofSection 1.704-1(b)(2)(ii)(g)oftheRegulations,and(b)aliqui-
   dated M ember's CapitalA ccountshallbe determ ined aher tnking into accountal1CapitalA ccount
   adjustmentsfortheCompany'sTaxableYearduringwhichtheliquidationoccurs.
                 10.4.2.2 UnconditionalObligation. '
                                                   rheM em bersintend thatthisSection 10.4.2 shall
   constituteanunconditionalobligationtorestoredeficitsin M embers'CapitalAccountsmsdescribed
   inSection 1.704-1@)(2)(ii)(b)(3)oftheRegulations.TheRegulationsshallcontrolinthecaseofany
   conflictbetween the Regulationsand thisSection 10.4.2.

          10.5 W aiverofltiahtto Seek CourtD ecree ofDissolution.The M em bersagree thatirrep
   arabledamagewould be doneto thegoodwilland reputation oftheCompany andunre% onableex-
   pensewouldbeincurred ifatly M emberbringsan action in courttodissolvetheCompany.Accord-
   ingly,eachMemberacceptstheprovisionsunderthisAgeementasitssoleentitlementontennination
   ofitsrelationship with theCompany. Exceptaspenmtted in thisAgreerhent,each M emberhereby
   waivesand renotm cesitsrightto seek acourtdecreeofdissolution,orto seek theappoinM entby a
   courtofa liquidator forthe Com pany or to compel or seek to compela paztition of the Com pany
   Property,orany portion thereof.




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                                      A RTICLE 11: GENER AL

          11.1 Notices.Any notice,oFer,orothercommunicationrequiredordesiredtobegiven in
   writingtoanypartyshallbedeemedgivento(orxeceivedbysuchparty)(i)upondelivery,ifperson-
   allydeliveredtothatparty,or(ii)ifsentbyanationallyrecognizedcourierservice,such asFedEx,
   onthedateindicatedinthecourier'srecordsasthedateof(firstattempted)deliverytotheaddresscf
   such party setforth below.Anyparty may changeitsaddressfornoticepurposesby givingwritten
   notice to the Company and the M em bers.

          11.2 Governinz Law . This Agreem entshallbe governed by,and construed and enforced
   in accordanoewith,thelawsoftheStateofCalifornia,withoutSvingeffecttoanyprincipleordoc-
   trine regarding contlictoflaw s.

            11.3 W aiver.N o M em ber'sconsentto orw aiverof,whetherexpressorim plied,anybreach
   ordefaultby anotherM emberhereundershallbedeemedorconstruedtobeaconsenttoPrwaiverof
   any otherbreach ordefaultin the perform ance by such otherM emberofthe sam e orany otherobli-
   gations of such M ember hereunder. Failure on the partofany M ember to com plain ofany actor
   failure to acton thepartofanotherM em berorto declare such otherM em berin defaultorto pursue
   any rem edies herein provided,irrespective ofhow long such failure continues,shallnotconstim te a
   waiverby such M em berofitsrightshereunder.

           11.4 Severabilitv. lfany provision ofthisAgreem entortheapplication thereofto any Per-
   son orcircum stance shallbe invalid orunenforceableto any extent,the rem ainderoftllisAgreem ent
   and the application ofsuch provisionsto otherPersonsorcircz.m stancesshallnotbe affected thereby
   and such provisionsshallbe enfprced to the greatestextentperm itted by law .

           11.5 A rbitration. Any controversy orclaim arising outoforrelating to thisAp eem entand
   which couldbelitigated in acourtof1aw shallbesettled bybinding arbitration administeredby tlle
   Am erican Arbikation A ssociation in accordance with itsCom m ercialA rbilation Rules. Such arbi-
   tration shalltake place in Riverside,Califom ia and shallbe gov= ed by the lawsofthe State of
   Califomia,andjudn entontheawardrenderedbythearbitratormaybeenteredinanycourthaving
   jurisdictionthereof n earbitratorshallhavetheauthoritytoordersuchdiscovery,bywayofdepo-
   sition,interrogatory,documentproduction,orotherwise,asthearbitratorconsidersnecessag toafull
   and fairexplorationoftheissuesin dispute,consistentwith theexpeditednatureofarbitratlon.n e
   prevailing party shallbeentitled to arlaward ofreasonable attom eys'and expertwitnessfeesand
   costsfees. n eaward shallbeinm iting,shallbe signed bythearbitrator,and shallinclude astate-
   mentsettingforth thefndingsoffactand conclusionsof1aw supportingthedispositionofanyclaim,
   notto excavlapagelimitdetermined bythepartiesto such dispute.

          11.6 FurtherAssurances. Each party ap ees to execute such otherand furtherins% m ents
   and documentsasm aybenecessary orproperin orderto completethetransactionscontemplatedby
   thisAgreem ent.

          11.7 ComputationofTime.Ifanyperiodoftim eordatespecifed inthisAp eementwould
   otherwise end oroccuron a Saturday,Sunday orlegalholiday,itshallbedeem ed extended to end on
   the nextday following which isnota Saturday,Sunday orlegalholiday.



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            11.8 BindingAveement.Subjecttotherestrictionsontransferandencumbrancessetfo14h
   herein,this Agreem entshallinure to the benefitof and be binding upon the undersigned M em bers
   and theirrespectiveheirsand perm itted successors and assigns. W henever in thisA p eem enta ref-
   erence to any party orM em berism ade,such reference shallbe deem ed to include areference to the
   pelnnitted successorsand perm itted assignsofsuch M em ber.

           l1.9 Term inologv. A 1lpersonalpronouns used in this A greem ent,whether used in the
   m asculine,fem inine,orneuter gender,shallinclude al1othergenders;the singularshallinclude the
   plural,and viceversa. Titlesofarticles,sectionsand subsectionsare for convenience only,and nei-
   ther lim itnor am plify the provisions of the Ar eem ent itself,and a11references herein to articles,
   sectionsorsubsectionsshallreferto the corresponding al-ticle,section orsubsection ofthisAgreem ent
   unlessspecific reference ism adeto such article,section orsubsection ofanotherdocum entorinstru-
   m ent. The use of the term Stsection''in this A greem entshallbe deem ed to referto 'fsubsections''
   wheneverthe contextso requires,and vice versa.

          11.10 Counterparts. ThisA v eem entm ay be executed in one orm ore counterparts,each of
   which shallbe deem ed an original,butallofwhich togethershallconstittlte one and the sam e instru-
   m ent.

           11.11 EntireA r eem ent. ThisAgreem entcontainstheentire agreem entbetween theparties
   hereto with respectto the Com pany,and a11prior understandings,oralorin writing,by the parties
   hereto with respectto the Com pany are superseded by thisA greem ent.N o variations,m odifications,
   supplem ents,w aiversor changes herein orhereofshallbe binding upon any party hereto unlessset
   forth in a docum entduly executed by oronbehalfofsuch party.


   IN W ITNESS W HEREOF,the M em bershave executed and delivered this Operating Agreem entas
   ofthe Effective Datehereof.




                                                        M ichaelM eade

                                                        Address:
                                                        72100 M agnesiaFallsD rivepSuite 2
                                                        Rancho M irage.CA 92270



                                                        M ichaelKing

                                                        Address'
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                                                      GIA Investm ents,LLC
                                                      a Delaw are lim ited liability com pany


                                                      By:
                                                      Anastmsia Bllkharoba,itsM anaging M em ber

                                                      Address'
                                                             .




                                           EX H IBIT RA M

                              INITIAL CAPITAL C ON TRIBU TION S


                 M em ber                                        Contribution

                 G1A lnves% ents,LLC .                             $3,000,000
                 M ICH AEL M EAD E                                 $0
                 M ICH AEL KING                                    $0


   Capitallnvestm entSchedule for G lA Investm ents,LLC .:

   GlA Investm entsav eesto adhereto thefollowing ftm ding schedule fortheirallocated shares.Failure
   to investbysaiddates,witha lo-day paceperiod,m ay resultinGlA losing thdrallocated sharesin
   this com pany,atthe solediscretion ofthe rem aining partners.

                 Investm entA m ount                                         Dpv p-
                                                                                 .gjv
                 $500,000USD                                                 M ay 10,2018

                 $500,000USD                                                 June 15,2018

                 $500,000 USD                                                July 15,2018

                 $750,000USD                                                 August15,2018

                 $750.000USD                                                 September15.2018
                 $3,000,000 USD




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    DESERT PAYROLL SOLUTIONS,LLC




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       Information(Form LLC-12).)
           There has been no change in any of the inform ation contained in the
           previous com plete Statem ent of Inform ation filed with the California
           Secretary ofState.




    01/14/2021            SHAUNA W ATKINS                                 PREPARER
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                               SB A P olicy N otice

    TO : AIlSBA Employees and SBA Lenders                        CONTROL NO.: 5000-17057

    SUBJECT: RevisedGuidanceonCredit                             EFFECTIVE:   April3,2018
                    Elsewhere and OtherProvisionsin
                    SOP 50 105(J)
    SBA'SStandard Operating Procedure(SOP)50 l05(J),LenderJ/?JDeveloplnentCt
                                                                           p/zwlny
    Loan Programs,becam e effective on January 1,2018. Based on feedback received from SBA
    Lenderssince the SOP wasissued,SBA isissuing thisPolicy N otice to address lenderconcerns
    while SBA continuesto review these issues. ThisPolicy Notice revisesthe guidanceon credit
    elsewherefor7(a)and 504 loansandtheminimum equityrequirementsfor7(a)loansinvolving
    change ofownership transactionsbetween existing owners. ln addition,SBA isissuing guidance
    regarding businessesthatare involved with cannabisand theireligibility forSBA financial
    assistance.Forconsistency with thisnew guidance,SBA isalso clarifying the leasing policies
    involving such businesses. Finally,SBA isreducing the m inim um m onitoring requirem entsfor
    W orking CapitalCAplwines.

    These changesareeffective im m ediately and willcontroloverany conflicting provisionsin SO P
    50 105(J).SBA willupdatetheSOP afterithasconcluded itsreview oftheseissuesand
    determ ined whetheradditionalclarificationsare needed.

    SubpartB - 7(a)Loan Prozram

    Dem onstrate the Need forDesired Credit(Creditnotavailable elsewhere)(13 CFR j 120.101).
    Chapter2,Paragraph 1I.E.2.(page 97). ThisSOP paragraph currently providesthatlenders must
    include in the creditm em orandum a determ ination asto the availability ofcreditfrom non-
    Federalsourcesrelated to the Applicant,including butnotlim ited to the liquidity ofownersof
    10% ormore ofthe equity ofthe Applicant. Based on feedback from Lendersand Certified
    DevelopmentCompanies(CDCs),SBA isincreasingtheminimum percentageownership at
    whichownersaresubjecttopersonalliquidityconsiderationfrom 10% to201.Asareminder,
    the liquidity ofthe ownerincludesthe liquid assetsofthe owner'sspouse and any m inor
    children.

    BusinessesEnxaaed in any IllegalActivity (13 CFR j 120.1l0(h)). Chapter2.Paragraph
    111.A.8.(Page 101). ThisSOP paragraph currently providesthatbusinesses engaged in any
    activity thatisillegalunderfederal,state orlocallaw are ineligible forSBA financialassistance.
    SBA isissuing additionalguidance to specifically addressbusinessesthatderive revenue from
    marijuana-relatedactivitiesorthatsupporttheend-useofmarijuana.Thefollowingappliesto
    both7(a)and 504 loans:



    EXPIRES:4/01/2019                                                              PAG E 1 of4
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       Marijuana-RelatedBusinesses'
                                  .
       l. Becausefederal1aw prohibitsthedistributionandsaleofmarijuana,financial
       transactionsinvolvingamarijuana-relatedbusinesswouldgenerallyinvolvefundsderived
       from illegalactivity.Therefore,businessesthatderiverevenuefrom marijuana-related
       activitiesorthatsupporttheend-useofmarijuanamaybeineligibleforSBA financial
       assistance.

       2. W 'hethera businessiseligible isdetennined by thenature ofthebusiness's specific
       operations. Thefollowing businessesare ineligible:

              (a)ttDirectMarijuanaBusiness''--abusinessthatgrows,produces,processes,
                 distributes,orsellsmarijuanaormarijuanaproducts,edibles,orderivatives,
                  regardless ofthe am ountofsuch activity. This appliesto personaluse and
                  m edicaluse even ifthebusinessislegalunderlocalorstate1aw where the
                  applicantbusinessisorwillbe located.

              (b)kilndirectM arijuanaBusiness''--abusinessthatderivedanyofitsgrossrevenue
                 forthepreviousyear(or,ifastart-up,projectstoderiveanyofitsgrossrevenue
                 forthenextyear)from salestoDirectM arijuanaBusinessesofproductsor
                  services thatcould reasonably be determ ined to supportthe use,growth,
                  enhancementorotherdevelopmentofmarijuana.Examplesincludebusinesses
                  thatprovide testing services,orsellgrow lights orhydroponic equipm ent,to one
                  ormoreDirectM arijuanaBusinesses. Inaddition,businessesthatsellsmoking
                  devices,pipes,bongs,inhalants,orotherproductsthatm ay be used in connection
                  withmarijuanaareineligibleiftheproductsareprimarilyintendedordesignedfor
                  such use orifthe businessm arketsthe productsforsuch use.

              (c) Hemp-RelatedBusiness''--abusinessthatgrows,produces,processes,
                  distributesorsellsproductspurportedly m ade from kûhem p''is ineligible unless
                  the businesscan dem onstrate thatitsbusinessactivities and productsare legal
                  underfederaland state law . Exam ples oflegalhem p productsincludepaper,
                  clothing and rope.

    Leasing Partofa Building A cquired with Loan Proceeds (13 CFR j 120.131). Chapter2.
    Paraxraph V.F.I.x)(pace 1314.Currently,thisSOP paragraph providesthat,duringthelifeofan
    SBA -guaranteed loan,the borrowerm ay notlease space to abusinessthatisengaged in any
    activity thatisillegalunderfederal,state orlocallaw . Forconsistency with the changes
    identifiedaboveregardingmarijuana-relatedbusinesses,Lendersareadvisedthat,duringthelife
    ofthe SBA-guaranteed loan,aborrowerm ay notlease spaceto the ineligible businesses
    describedabovebecausethecollateralcouldbesubjecttoseizureandbecausepaymentsonthe
    SBA loan would be derived from illegalactivity. lfaborrowerdoeslease to an ineligible
    marijuana-relatedbusiness,SBA DistrictCounselshouldbeconsultedtodeterminewhataction
    should be taken.


    PAGE 2 of4                                                                 EXPIRES:4/01/2019
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    Ecluityreouirements(13CFR j'120.150(f)).Chapter4,Paragraph I.C.1.b)ii.(b)(ii)(page 174).
    ThisSOPparagraphsetsforththeminimum equityinjectionrequirementsforachangeof
    ownershiptransaction between existing owners(ttpartnerbuyouf')for7(a)loansgreaterthan
    $350,000 andloansof$350,000 orlessthatdonotmeetSBA'Sminimum creditscore
    requirementsfor7(a)SmallLoans.Currently,theminimum equityrequired forsuch
    transactionsisapro-formaequity position afterthechangeofownership ofatleastten (10)
    percentofthetotalassets,ortheremainingownerts)mustprovideanadditionalequityinjection
    thatwillresultin atleasta 10 percentnetworth (maximum pro formadebt-to-worth ratio of9:1).
    Effectivewith theissuance ofthisPolicyNotice,in orderfora7(a)loan to finance greaterthan
    90% ofthepurchasepriceofapartnerbuyout:(1)theremaining ownerts)mustcertifythat
    he/she hasbeen actively participating in the businessoperation and held the same ow nership
    interestin thebusinessforatleastthepast24 months(Lenderm ustinclude inthecredit
    mem orandum confirm ation thatthe borrowerhas made the required certitication and retain such
    certification in theloanfilel;and (2)thebusinessbalance sheetsforthemostrecentcompleted
    fiscalyearand currentquarterm ustreflecta debt-to-worth ratio ofno greaterthan 9:1priorto
    thechangeinownership.lntheeventtheLenderisunabletodocumentthatboth (1)and (2)
    abovearesatisfied,the remaining ownerts)mustcontributecashintheamountofatleast10% of
    the purchase price ofthe business,asreflected in the purchase and sale agreem ent.

    Equitv Requirem entsfor7(a)SmallLoans. Chapter4,Para/raph 1.C.2.c)ii.(b)(ii)(pa/e 178).
    For7(a)loansof$350,000 orlesstofinanceapartnerbuyout(excluding SBA Express,Export
    Express,CAptaineand EW CP),Lendersmustfollow therevised minimum equityrequirements
    identified im mediately above.

    W orkinx CapitalCA lv ines- M onitoring. Chapter7,Paragraph 1V .K .4.a)ii.(i)iii.(page 245).
    This SOP paragraph currently setsforth them inim um m onitoring requirementsforW orking
    CapitalCApLines. The sem i-annualm onitoring requirementwasincluded in them ostrecent
    version ofthe SOP in en-or. Lendersm ustcom ply with the m onthly,quarterly and annual
    m onitoring requirementssetfol'th in thisSO P paragraph,butm ay disregard the sem i-annual
    m onitoring requirement.


    SubpartC -504 f-zlczlProzram

    DemonstratetheNeedforDesiredCredit(CreditnotAvailableElsewhere)(13CFR j 120.101).
    Chapter2.Paragraph II.E.Z.(pace 275). ThisSOP paragraph currently providesthatCDCSm ust
    include in the creditm em orandum a determ ination asto the availability ofcreditfrom non-
    Federalsourcesrelated to the Applicant,including butnotlim ited to the liquidity ofow nersof
    10% orm ore ofthe equity ofthe Applicant. As stated above w ith respectto SubpartB,based on
    feedback from Lendersand CD CS,SBA isincreasing the m inim um percentage ownership at
    whichownersaresubjecttopersonalliquidityconsiderationfrom l0% to20+.Asareminder,
    the liquidity ofthe ow nerincludesthe liquid assets ofthe ow ner's spouse and any m inor
    children.


    EXPIRES:4/01/2019                                                                PAG E 3 of4
    SBA Form 1353.1(12-93)MS W ord Edition'
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    M ustbe accom panied by SBA Form 58
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    BusinessesEnxaxed inany lllegalActivitv(13CFR j 120.110 (h)). Chapter2,Paragraph
    llI.A.8.(page279).

    CDCSmustfollow theguidanceidentifiedaboveregardingMarijuana-ltelatedBusinesses.
    Leasing PartofaBuilding A cquired with Loan Proceeds(13 CFR j 120.131). Chapter2,
    Paragraph lV .J.2.a)vii.(page 307).

    CD CSm ustfollow the guidance identified above regarding a borrow erleasing space to another
    business during the life ofan SBA -guaranteed loan.


    Ouestions
    lf you have questionsorneed furtherassistance,please contacteitherRobertCarpenter,Acting
    7(a)Policy & Program Chiefatrtlbel't.carpenter@sba.ctls'orLindaReilly,504 Policy &
    Program Chiefatlindaareillycqsba.gov.




    LindaE.M cM ahon
    Adm inistrator




    PAGE 4 of4                                                                    EXPIRES:4/01/2019
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 Non-Arm s-Length Transactions
 n e Company hasengaged in severalkansactionswitlirelated parties,theterm sofwhich mny notbe as
 favorabletotheCompany aswould beavailablefrom anunrelatedthirdparty,includingwithoutlim itation:

            Engaging Duard Ventures,LLC,which isowned and managed by M ichaelKing and Lauri
            Kibby,toprovide servicestotheCompany;
            Theissuanceofthe $8.5M Note;
            The CK.E Admin Ap eement,CKE IP License Agreement and CKE Equipment Leasing
            Apeementwith CKE,the JM E Admin Agreement,JM E IP License Agreement and JM E
            EquipmentLeasingApeementwith itssubsidiaryJME (aseachtennisdefnedin%XG LLC
            Company lnformation-Material Contracts''in Annex A hereto) and certain cooperative
            cop orationscontrolledby ofscersoremployeesoftheCompany priorto 2018,
                                                                                'and
            Oboining payrollservicesfrom DesertPayrollSolutions,LLC,which isowned and managed
            by M ichaclKing and LalzriKibby.
 Competition
 n e Company faces intense competition from other companies,some of which have longer operating
 historiesand more fm ancialresources and experience than the Company. In recentyearssseverallarge
 multi-state companieshave emerged which have slate/cally ptzrchased orassumed controlofmultiple

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                                               EXECUTIVE COM PENSATION
            Summary
                    Thissection discussesthecompensation paidbyKG LLf'to itsexecutiveolxctrsandmanagers,andtobe
            paid by KGIto itsexecutiveofricersand directorsfollewing the Merger,forthefiscalyearsending December31,
            2019andbeginningJanuaor1,2019,respeclively
                  Thefollowingtableselsronh asummaryofallconpcnsationpaidto managersandcxeculiveofficersofKG
            LLC,andthc PredecessorLLCS,forthetiscalyearsendedDecember31,20l8 and 20l7.
           '



               M neip.lPe ion     Y< )              Saho               Optkm Awe                     Tpt.l
            M ichaelKing.Chief     2018           $664.461(3)1 52.758,789.98                     :3,423,250.98
            ExecutiveOfficertz)    2017           $290,0074) l     $0.00                           5290.000
            CharlesKieley.         2018           $466.64545)     1
                                                                  '      $270.991.38
                                                                          .                      $737,636.38
            ChiefOperating
            om cer                 20l7           $203.205(6)                 $0.90                :203,205
                                                                  j
            LauriKibby,Chief       20l8           $564,654f7)           $l,.225.888.63           S1.790.542.63
            FinancialOfficerlzl
                                   2017           $290,0078)                 $0.00                 :290,000

                     Thiscolurnnsetsforth the fiscalyearscoveredbythetable..*.
                                                                             11informationprovided forthttiscalycars
                     endedDecember31.2018and 2017areonacombined basisforKG LLC andtllePredeccssorLLCS.
                     n islabledoesnotinclude(i)anyfeespaidbyKG LLC toDesenPayrollSolutions.LLC.aCalitbmia
                     li
                      mitedliabilitycompanyliçDesertFayr@I*')operated.andamajori
                                                                               tyofwe
                                                                                    hichisownedby.Mr.King
                     andMrs.Kibby.inconnectionwithserviccsprovidedbyDesertPayrollto KG LLC and thePredevessor
                     LLf's;(ii)anyinlerestpaidbyKG LLC pursuanltothe$8.5M Notetoalirniled liabilitycompanyof
                     which Mr.King,an executiveofliccrand maaagerofKG LLC and an execuliveofficerand directorof
                     KGI,i
                         sthemanagi
                                  ngmember.;and(iii)anyamountspai
                                                                dbyKG LLC loMclane,inw'
                                                                                      hi
                                                                                       chMr.Kingis
                     a managerand owns 25% ofthe membeHhip intereststhereof,w'hicb in-turn owns66% ofthe 19533
                     MclaneFacility.
                     Mz.Kingreceivedcompensationequalto$664,461.whichiscomprisedof(i)$135.090oftheamounts




                     paidto DuardVenmresyLLC,inconnectionwith servicesprovided by DuardVentures.LLC toKG LLC
                     andthePredecessorLLCS;(ii)$100,(K10inconnectionwiththedesignandbuildoutofafacility;and(iii)
                     $429,461,in connectionwithMr.King'sannualsalarypursuqm tohisernploymentagreementforthe
                     peri
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                     Rrpresents$290,000oftlleamountqpaidto Duard Ventures,LLC inconnectionw-ithsenricesprovided
                     to KG LLC and tlx PredecessorLLCS.
                     Mr.Kieleyreceivedcompensationequalto$466.645,whichiscomprisedof(i)$100.000incennection
                     witbt
                         hedesignandbuildoutofafacility;and(ii)$366,
                                                                   645,wlzichisconmri
                                                                                    sedofMr.Kieley'sannual
                     salan'.partofwhich ispursuanttohisemploymenlageementforthe Nriod inwhichsuchagreemen!
                     wasineffect(seeSsExectltiveCompensation-EmploymentAgreements'-).
                     Mr.Kieleyreceivedcompensati
                                               onequalt
                                                      o$203,205,whkhiscomprisedof(i)$143,
                                                                                        205,inconnedion
                     withM r.Kieley'spnnualsalanrasanemployeeofKG LLC and certainPredecessorLLCSfortheperiod
                     inwhichsucbagreementwasi
                                            neffed;and(ii)$60,000,incormedionwithconsultingfetspaidtoMr.
                     Kieley bytw'o PredcessorLLCSincennection withsenicesprovided fâereto.
                     Ms.Kibbyreceivedcompensatione:ualto$564,
                                                            654,whichiscerzprisedof(i)$135,000paidtoDtl
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                     VenturessLLC.in connection witb services provized by Duard Ventures,LLC to KG LLC and lihe
                     PredecessorLLCS;nnd (ii)$429.
                                                 654,in connection withMs.Kibby'sannualsalarypursuantto ber
                     emplom entagretment for the period in which such agreement was in effect(see t'
                                                                                                   Executive
                     Compensation-EmploymentAgreements'').
               (8)   Represents$290,
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                     to KG LLC and tle PredecessorLLCS.



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            ExeeutiveOm cersCompensation GoingForward
                    Following theconsumrnation oftiw Mergcr,KG LLC and KGIcxpectthalMichaelKing. willrcmain ms
             KGI'sChiefExecutive Ofticer,CharlesKîeley'w'illremain asKGI'sChierOperating Oflicerand LauriKibbynill
            remam asKGI*sChiefFinancialOfficcr.Treasurerand Secretary.Eachofsuchpersom pillcontinue tobeentilled
            toreceiveanannualsalaryofS600000pursuan!totheirrespectivcemploymem agreementsandwillsen'easdirectors
            withoulcompensation.SeeExecutiveCompensation Dlscussionand Analysis-EmploymentAgreements.
            EmpleymentAgreement.
                               s
                    ln June20l8,KG LLC entertd lntoanemplolrmen:agreement,asamended,with MichaelKi
                                                                                                 ng.11,
                                                                                                      sChief
            ExrcutiveOflicer,whichprevidesfor:(a)anannualsalaryef$600,000'
                                                                         ,(b'
                                                                            )aninitialtenner5years,withuptotwo
            additionalone yearrenewalterms,(c)optionsto purcbasecertainequity ofKG LLC;and (d)ifsuch peaon's
            employqnentwith KG LLC isterminated withoutcatlseorvolunurily bytheexecutivewith good reason. tllen KG
            LLC shallpaytotheexecutivecompensation forone calendar'ymarh'om the dateoftermination. including accfued
            butunused u cationand sick time.and providebealthinsurancebenetksforthesame period oftime. ln theevenlof




            aChangeofCentrol(asdefinedinsuchemploymenlagreemcnt),suchemployeeshallhavetheoption exercisable
            within6 nwnthsofsuch employeebecomingawareofsuchevent.toimmediately receiveasa lump sum paymentan
            amounlequallo 3timestheaverageofthetotalannualcompensationpaidbyKG LLC toEmployee. withresw ctto
            thefivefiscalyeazsofKG LLC priorto suchChangeofConlol,minus$1.00.
                    ln June20l8 KG LLC entered into anemploymentagreement,asamended,with CharlesKieley.itsChief
            OperatingOmcer,whichprovidesfor:(a)anar mualsalaryof$600.000;(b)aninilialtennof5years,withuptotwo
            additionalone yearrenewalterms,(cjoptionstopurchasecertain equityofKG LLC;and (d)ifsuchpefson's
            employmcntwith KG LLC isterminated withoutcauseorvoluntarily bytheexecutive withgood reason. then KG
            LLC shallpay totheexecutivecomptnsatian foronecalendaryearfrom the dateoftermination,includingaccnzed
            butunused vacationandsicktime.andprovideheallh insurancebenefilsforthesameperiodoftime.In theeventof
            aCitangtofControl(asdetinedinsucbemploymel!agrttmentl,suchemployetslullhavttheoption,exercisable
            within6 monthsofsuch employeebecoming awareofsuchevent toimmedialely receiveasa lump sum paymentan
            ameunlequallo3timestheaverageofthe totalannualcomm mqation paidbyKG LLC to Employœ ,with respectto
            fhefive fiscalyearsofKG LLC priortosuchChangeofControl,minus5l.00.
                   In June2018,KG LLC entered into an emplom entagreemenv asamended, with LauriKibby,its Chief
            FinancialOfficer,whichprovidesfor:(a)anannualsalarjrof$600.0* )(b)aniniti
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            additionaloneyearrenewalterms,(c)opt  ionslo purchase cerlai
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            employmentwitb KG LLC isterminated withom caustorvoltmtarilyby tt'ït executivewititgood rvason, tlwn KG
            LLC shallpayto the executivecompensation foronecalendazyearfrom thedateoftermination including accrued
            but11r111mv1vacation and sicklime,and provideh*1th insurancebenefhsforthesameperiodoftime.Intlieevenlof
            aChnngeofConl
                        rol(asdetinedinsuchemploymentagreement),suchemployeeshallhavet
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            within6 nxmthsofsuchemployeebecomingawareofsuchevenqto immediately receiveasalurnpsum paymentan
            amountequalto 3timestheaverageofthetotalannualcomm nsationpaidbyKG LLC to Employee,withresN ctto
            tilefivefiscalyearsofKG LLC priorto sucbChangeofControl,minus$l.00.




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  From: MichaelKing nycregroup@icloud.com
 Subject:Fwd:W ell
                 sFargoDirectPayBi
                                 llingSummary
   Date: March5,2018at10:29 AM
     To: PaulKing paul@cannafornia.co

      FYl-may wantto update youremail
      Best,

      MichaelKing
      +1 347 996 7844
      Begin forwarded message:
        From :W ells Fargo Online <aleds@ notify.wellsfargoacom>
        Date:March 5,2018 at9:44:05 AM EST
        To:nycregroup a/icloud.com
        Subject:WellsFargo DirectPayBilling Summary
                                                                                              wellsfargo.com




          YourDirectPay billing sum m ary is now available online
          The new billing summaryforyourDi
                                         rectPay servi
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                                                                  able to view online.

               Com pany orCustomerNam e:                                   KANNAKING,uuc Accounts
               Period'.                                                    01/24/2018-02/23/2018
               Billing Account'
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          Toaccessyourbillingsummary,>jgnonandgoto theMessageCenter.
          Ifyou have questions,please contactus at1-888-245-8454,Mondaythrough Fri
                                                                                 day,5 am to 8 pm Pacific
          Time.

          wellsfargo.com lFraud lnformationCenter
          Please do notreply to this autom ated email.Signontosend asecure email.

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      Respectfully,




      MichaelKing
      Founder
      DirectorofBusinessDevelopment
      +1.347.996.7844
      Michael@ KingsGardenlnc.com




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   From: MichaelKing michael@duardventures.com
 Subject:amex2
   Date: April14,2018 at12:15 PM
     To: PaulKing paul@cannafornia,co

       yournew password is:paulkingl
       Ioginis:mbuyanovskyl

       Best,




       M ichaelKing
       Principal
       +1 347 996 7844
       Michael@ Duardventures,com
       Duardventures.com




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  From:American Express AmericanExpress@welcome.aexp.com
 Subject:W ewildeacti
                    vateyouro1dCardsoon
   Date: May19,2018at3:49 AM
     To: paul@ cannafornia.co




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                       ysess Hello,PAUL KING                                         41026
               ,:'



                Please provide this criticalinform ation to yourAdditionalCard Mem ber
                MARIANNA KING.
                W e recently mailed you a new Card foryouraccountending in 41026.As a security
                measure,we willdeacti  vate youroId Card 15 days from today.
                Please note,-yourattention is required to avoid any interruptions when using
                yourCard.
                             Confirm you have received yournew Card.Once confirmed youcan begin
                             using itimm ediately.
                              Readyto confirm ?               Or,confirm by:
                                    Yes,cGnfiric nobti'           @ Using the Amex mobil   e app
                                                                  @ Following the instructionsthat
                                                                    appearon the stickeron the front
                                                                    ofyourCard

                             Destroy youroId Card.Itwillno Iongerbe valid.

                You don'tneed to update yourCard information with merchants
                Foryourconvenience,we have notchanged youraccountnum ber.Thatmeans you
                don'tneed to update yourCard informati  on with merchantswho automatically billto
                yourCard,unlessyou are speci   ficall
                                                    y asked to do so.Since yourCard does include a
                new security code and expiration date though,youlllneed to provide these details i
                                                                                                 f
                theyare requested during future transactions.

                W e're here foryou
                IfyourCard has notarrived,orifhave any questions,you can reach us anytime by
                contacting us vi
                               a customerservice.W e're always here to help you.

                Thankyou foryourcontinued Mem bership.

                American Express CustomerCare



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                    ng@lnvi
                          ctusAccounting.
                                        com #'
 Subject:LoansRecei
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                     efrom KingsandPaulDunbar
   Date: September1O,2019at3:10 PM
     To:Dimi
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             yRomantsop(drcmantsoN@cannafornia.co)dromantsop@cannafornia.co

       HiDim itriy:

       Attached are CNW I's,CNW Il's and CNW III's listings ofLoans Receivable transactions
       with the Kings and PaulDunbar.Can you please review them ?

       Thanks.

       Regards,

       Brian King CPA,CGA
       Consultant



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       Office:604 343 3889ext104 IMobile:778840 0088
       Suite 1915 - 1030 W estGeorgia St,,Vancouver,BC V6E 2Y3
       w ww.lnvictusAccounting.com
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Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 84 of 405



   From:PaulKing paul@cannafornia.co (
                                     #'
 Subject:Re:eDi
              scoverycost-GiaI
                             nvestmentsv.PaulKi
                                              ngmatter
   Date:January28,2021at8:11PM
     To: RuthWeiss Ruth.Weiss@gmlaw.com
     Cc:Julia Stepanova Julia.stepanova@gmlaw.com,Sophia King sophiakingo6@gmail.com

       HiRuth,
       Let'sstartwith Dimitry's.Below are logindetails.Itwillsendme acode,and 1'11send toyouwhenIreceive it,and thenyou/theagency
       willbe abletoIogin.Itistimesensitive.Textme before youIoginso Iam readytosend youa code.#786-200-3429
       go to gmail.com
       username:dromantsoff@gmailcom
       password:Sophiawins!
       On Thu,Jan28,2021at4:36PM RuthW eissKRuth,W eiss@ gm law.com>wrote:




         Iam a SeniorAssociateandtheDirectorcfeDiscoveryatthefirm.Iam providing advice ontheelectronicdiscoveryto be
         performedwithrespectto thetwo gmailaccountstobe collected,reviewed and produced inthismatterandtheassociatedpricing.


         Becauseelectronicdiscoveryisdonein multiple stages,thefullanticipatedcostcannotbedeterminedwhenwe initiallycollectthe
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         Sincerely,




         Cr??2529â28lrd?r
         Ruth A .W eiss,Esq.
         SeniorAssociate and
         DirectorofeDiscovery
         GreenspoonMarderLLP
         One BocaPlace
         2255Glades Road,Suite400-E
         Boca Raton,FL33431

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       WTelephone:(954)491-1120(Ext.2910)
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       A portionofourpractice involvesthecollectionofdebtand anyinformationyou providewillbe usedforthatpurposeifweare
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 From :Sophia King sophiaki
                          ngo6@ gmail,com
Subject:Re:ALLBankAccountsi
                          nWel
                             lsFargo
  Date: February 28,2020 at9:13 AM
    To:Jlzl
          dapa:Paul'sAccountanldinara@ cannafornia.co,PaulieKing paul@cannaforni
                                                                               a.co,Dimitri
                                                                                          yRomantsoff
       dromantscff@cannafornia.co

      Hello,everyone!

      TG IF!!!

      Thisisjusta Friendly ReminderthatALLBANK ACCOUNTS inWells Fargo willbe closed
      tom orrow !

      Please rem ind aIIyourem ployees and vendors to cash theirchecks today!

      Have a greatday!

      Thank you all!




      Please feelfree to calloremailme 24/71

      Sincerely,



      Sophia Lyalya King
      President
      CENTURY 211stClassRealty
      17070 CollinsAve.,Suite259
      Sunny IslesBeach,Florida33160
      Office:(305)949-0266
      CeII:(305)401-4723
      Fax:(305)394-6080
      Email:$.Qphia.King@ CENTURY21.com
     wwwacenturyzl-lstclassRealty.org
     Clickhere forinformation on New Construction Develop-mer
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     PaulKfng,Broker/owner
     Voted one of''Top 30 under30*in America & #1in Floridal
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 From :Sophia King sophiaki
                          ngo6@ gmail.com
Subject:Re:Somewires
  Date: March 21,2021at5:02 PM
    To: PaulKing paul@cannafornia.
                                 co

      There were no bankaccounts-onl
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       Sophiewho hasthe bankstatementsforaI
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       Date:Thu,Nov 7,2019at2:36 PM
       Subject'
              .Somewires
       To:AmyMaliza<Amaliza@#tsantolaw.
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       Cc:PaulKing<p- @ultllcanll-ql
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       Routing num ber# 12100O248

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       ACC# 5516367660
       Routing num ber# 121000248

       3.
       ACC# 5516367660
       Routing num ber# 121000248

       4,
       ACC# 5516367611
       Routing num ber# 121000248

       5 . MontereyLandGroup-$100,000(LeaseNovemberandRedTag Reimbursement)
       Acc# 3623915570
       Routing num ber# 12100O248

       6.DeIRealHoldings,Inc.-$80,000(Lease)
       CHASE BANK
       Routing# 021000021
       Account# 260765703
       Thankyou,
                           .+        DimitriyRomantsoff
                     .          ?    Board AdvisoratCannaforni
                                                             a

                                     Address 26800 EncinalRoad,Salinas,CA 93908,USA
                                     Mobile (305)978-7922 Emaildromantsoff@cannafornia.co
                                     W ebsite www.cannaforni
                                                           a.co



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Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 119 of
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                                          Address 26800 EncinalRoad,Salinas,CA 93908,USA
                                          Mobile (786)2()()-342t
                                                               ) W ebsite cannaforni
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   Pleasefeelfreetocallorem ailm e24/7!

   Sincerely,



   Sophia Lyalya King
   RealtorAssociate
   CENTURY 21King Real ty
   2434 Hollywood Blvd
   Hollywood,FL33020
   CeII:(305)401-4723
   Offi
      ce:(305)651-6161
   Email:sophiakingo6@gmailqcom
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         Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 120 of
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B illing & Paym ent H istory
Billing S um m ary forA ccount#1872443974-2
Billin Address     Last Pa m ent   LastReceived   Am ountDue              Due Date
26800ENCINAL RD    $2293.50        01/19/21       $39327.
                                                        71                04/09/21
SALINAS CA 93908



Bills and Paym ents (Past24 Months)
Date               T e             Am ount        Pa m entM ethod         Status
03/23/21           Bill            $4106.89
02/22/21           Bill            $3486,77
01/21/21           Bjll            $5168.57
01/19/21           Payment         -$2293.50      rw
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12/21/20           Bill            $3630.55
12/17/20           Pa ment         -$2293. 50                             Processed
11/23/20           Pa ment         -$2000. 00                             Processed
11/19/20           Bill            $3398.08
10/28/20           Pa ment         -$10000. 00                            Processed
10/21/20           Bill            $5525.40
09/21/20           Bill            $7002.51
09/11/20           Pa ment         -$5000.00                              Processed
08/20/20           Bill            $6791.10
07/21/20           Bill            $5980.07
07/10/20           Pa ment         -$5000, 00                             Processed
06/22/20           Bill            $4925. 78
05/21/20           Bill            $4734,07
04/22/20           Bill            $3601.92
04/08/20           Pa ment         -$6495. 61                             Processed
03/23/20           Bil             $3973. 98
03/10/20           Pa ment         -$6780.00                              Processed
02/26/20           Bill            $3304.34
01/31/20           Bill            $3140. 34
12/27/19           Bill            $2880.06
11/26/19           Bil             $3237. 44
10/28/19           Bil              $4302.45
10/24/19           Pa ment         -$11113.33                             Processed
09/27/19           Bill            $5227. 41
08/28/19           Bill            $13427.96
08/23/19           Pa ment         -$11801.16                             Processed
08/23/19           Pa ment          $7606.35                              Cancelled
08/23/19           Pa ment         -$7606.35                              Processed
08/01/19           Pa ment         -$13237.00                             Processed
08/01/19           Pa ment         $13237.00                              Cancelled
08/01/19           Pa ment          -$13237.00                            Processed
07/29/19           Bill             $8993.83
06/27/19           Bil             $3742.11
06/20/19           Pa ment         -$10369.88                             Processed
05/29/19           Bil              $4760.18
05/02/19           Bill             $2845.91


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''PGXE''referstoPacificGasand ElectricCompany,asubsidiaryofPG;E Corporation.PacificGasand ElectricCompany.Allrightsreserved.




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P
B illing & Paym ent H istory
B illing S um m ary forA ccount#4131507824-0
Billin Address     LastPa m ent   LastReceived   Am ountDue          Due Date
26800ENCINAL RD    $10000.00      01/21/21       $245182.73          04/12/21
SALINAS CA 93908



Bills and Paym ents (Past24 Months)
Date               T e            Am ount        Pa m entMethod      Status
03/24/21           Bil            $36713.31
02/23/21           Bil            $44268.59
01/22/21           Bil            $32411.06
01/21/21           Payment        -$10000.00     eçhrgjjjWlChecki
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12/22/20           Bil            $45950.68
12/17/20           Pa ment        -$10000.00                         Processed
11/20/20           Bil            $31430.12
11/10/20           Pa ment        -$5000.00                          Processed
11/03/20           Bil            $8473.91
10/22/20           Bill           $0.00
09/22/20           Bill           $14993.81
09/11/20           Pa ment        -$10000.00                         Processed
08/21/20           Bill           $6939.84
07/22/20           Bill           $8608.72
07/10/20           Pa ment        -$10000.00                         Processed
06/23/20           Bill           $8300.65
05/22/20           Bill           $8515,76
04/23/20           Bill           $13599.35
04/09/20           Pa ment        -$18809.20                         Processed
03/24/20           Bill           $15282.96
03/10/20           Pa ment        -$17446.31                         Processed
02/23/20           Bill           $16056.85
01/31/20           Pa ment        -$16000.00                         Processed
01/23/20           Bill           $18926.52
12/22/19           Bill           $19016.01
11/21/19           Bill           $11104.63
10/23/19           Pa ment        -$134.22                           Processed
10/23/19           Bill           $1845.47
09/24/19           Bill           $69.74
08/23/19           Pa ment        -$31933.48                         Processed
08/23/19           Pa ment        $31997.96                          Cancell
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08/23/19           Pa ment        -$31997.96                         Processed
08/23/19           Bill           $81.98
08/01/19           Pa ment        -$25000.00                         Processed
07/24/19           Bill           $14176.74
07/23/19           Pa ment        -$42738.00                         Processed
06/23/19           Bil            $87.10
05/23/19           Bil            $84.99
04/24/19           Bil            $87.52



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''PG&E''referstoPacificGasand ElectricCompany,asubsidiaryofPGdE Corporation.PacificGasand ElectricCompany.A1lrights resewed.




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                                        405

  From; Sophia King sophiakingo6@gmail.ct)m
Subject:Re:PG&EStatementsfrom 12/21/2020
  Date: December29,2020 at2:31PM
    To: Lisa Pukhyrlisa@cannaforni
                                 a.co

        Recei
            ved!TY
        On Tue,Dec29,2020at1:58 PM Lisa Pukhyrxjisapcannaforni
                                                             avco> wrote:
 r r'              '   ? .               .                                                                                         AccountNo: 1872443974-
  .                               .,

                       ENERGY STATEMENT                                                                                     Statem entDate:                      12/21/202
        tk- ). wèwwpge.com/vyEnergy                                                                                                    Due Date:                01/07/201

        Service For'
                   .                                                        YourAccountSum m ary
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                                                                                                                                                                           521C
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        Mon-Fri:7am to 6pm
        1-877-311-3276
        www pge com/MyEnergy

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Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 126 of
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  CustomerService (AIILanguages;Relay Calls Accepted)1-800-743-5000
  TTY 7-1-1
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                        àoh(spandsh)                1-800-6604789                  Dlchvukhéchtlèng V1
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                                                                                                                              AccountNo: 1872443974.
                    ENERGY STATEMENT                                                                                      Statem entDate: 12/21/20G
        lk'L.'i www.pge.com/MyEnergy                                                                                           Due Date: 01/07/201

                                                                                                                          Service Inform ation
        Details ofPG&E Elèctric Delivel Charges                                                                           M eter#                        500003606
                                                                                                                          TotafUsage               29,346720000 kkl
        11/19/2020 -12/20/2020 (32 billing days)                                                                          Serlas
    Servlce For 26800ENCINAL RD                                                                                           Rotatlng Outage Biock
    ServfceAgreementID 1878765309
    Rate Schedule AG5B LargeTlme-of-useAgrlculturaiPower
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    Customercharge                                                       days @ $119446
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            ENERGY STATEMENT                                                                          ccoun o:41112/
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  > 4.000Therms/
               month        255Or875O0OTherms@ ,
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  GasPPPSurcharge($O05861Jherml                                                 1.64651
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                                       405

 From: Dimitri
             y Romantsoffdromantsoff@cannaforni
                                              a.co
Subject:Re:CALIFORNI
                   A NEW WAVElLLC -ACCOUNT#4131507824-0
  Date: August26,2019 at2:18 PM
    To: Enriquez,Anna AME7@pge. com
   Cc:JanieSanchezjulk@pge.com,VeronicaMel
                                         goza veroni
                                                   ca@cannafornia.co,PaulKi
                                                                          ngpaul@cannaforni
                                                                                          a.co

     Anna,



     Thankyou,
                      +
                      .      DimitriyRomantsoff
          4.         *4/ BoardAdvisoratcannafornia
                             Address 26800 EncinalRoad,Salinas,CA 93908,USA
                             Mobile (305)978-7922 Emaildromantsoff@cannafornia.co
                             W ebsite www.cannafornia.eo



       OnAug 26.2019.at7:37AM Enrlquez,Anna<SVX7.
                                                V pgf:ç.
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                                                         )
                                                         n>wrote:
       HiDim i
             triy,
       Attached is the banking inform ation fOrsubm itting ach Orwire paym ents to PG&E.

       Thanks,

       Anna Enriquez
       Pacific G as and Electric
       Paym entResearch Unit
       AC H/W IRE
       TeI916-375-5054
       Fax 916-375-5102
       Em ail:am e7@ pge.com


       From :Dimitriy Romantsoffudromantsop@ cannafornia.co>
       Sent:Friday,August23,2019 10:53 AM
       To:Enriquez,Anna <AM E7@ pge.com >
       Cc:Sanchez,Janie <JU1K@ pge.com >;Veronica M elgoza <veronica@ cannafornia.co>
       Subject:Re:CALIFORNIA NEW WAVE ILLC -ACCOUNT #4131507824-0
       *****CA UTIO N:This em ailw as sentfrom an EXTERNAL source.Think before
       clicking Iinks oropening attachm ents.*****
       Anna,

       W ould you please so kind and resend m e the w ire details foryouraccount? By som e I
       couldn'tfind them .

       Thank you,

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                               Address 26800 EncinalRoad,Salinas,CA 93908,USA
                               Mobile (305)978-7922 Emaildromantsoff@ cannafornia.co
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Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 134 of
                                      405




        O n Jul23,2019,at1:43 PM ,Enriquez,Anna <AM E7@ pge.c0m > wrote:

         HiDim itriy,

         Iwillsend you confirmation once we receive the $42,738.00 payment.
         Thank you,

         Anna Enriquez
         Pacific Gas and Electric
         Paym entResearch Unit
         AC H/W IRE
         TeI916-375-5054
         Fax 916-375-5102
         Em ail:am e7@ pge.com


         From :Dim itriy Rom antsoff<drom antsop@ cannafornia.col
         Sent:Tuesday,July 23,2O19 11:36 AM
         To:Enriquez,Anna <AM E7@ pge.cOm >;Sanchez,Janie <JUIK@ pge.com >
         Cc:PaulKing <paul@ cannafornia.co>
         Subject:Re:CALIFORNIA NEW WAVE ILLC -ACCOUNT #4131507824-0
         *****CA UTION:This em ailw as sentfrom an EXTERNA L source.
         Think before clicking Iinks oropening attachm ents.*****
         DearJanie and Anna,

         Please see attached the wire confirmation for$42,738.The senderis
         California New W ave ILLC .Please kindly confirm receiving it.

         Thank you foryourpatience.

                            +      DimitriyRomantsoff
           ,
               4                / BoardAdvisoratCannaforni
                                                         a
                                   Address 26800 EncinalRoad,Salinas,CA 93908,USA
                                   Mobile (305)978-7922 Emaildromantsoff@ cannaforni
                                                                                   a.co
                                   W ebsite www.cannaforni
                                                         a.co




                   O n JuI22,2019,at 1:01 PM ,Enriquez,Anna <AM E7@ pge.c0m >
                   wrote:

                   Hello Dim itriy,
                   Attached is the banking inform ation forsubm itting ach orw ire
                   paym ents to PG &E.

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                                      405


              Thank you,

              Anna Enriquez
              Pacific G as and Electric
              Paym entResearch Unit
              AC H/W IRE
              TeI916-375-5054
              Fax 916-375-5102
              Em ail:am e7@ pge.com



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                                        405

  From: MichaelKing mi
                     chael@kingsgardeni
                                      nc.com
Subject:i
        ntro
  Date: August19,2019 at6:13 PM
    To: Li
         zC Li zc@damafinancial.
                               com
   Cc: PaulKi ng paul@cannaforni
                               a.co,Steve Morss stevem@damafi
                                                            nanci
                                                                al.
                                                                  com

      HiLi
         z/stevewanttcintroduce youto my brother-Paul.
      Pauihas a l
                argecompany inCali
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                                                    y using otherbanki
                                                                     ng services.
      Wanted to makean intro.
      Youcan leave me outasitsPaulprivate business.Thanks


      Respectfully,




      M ichaelKing
      Founder
      Chairm an & CEO
      +1.347.996.7844
      Michael@ KingrGardeninc.com

      KingsGardenlnc.com




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                                       405

 From : Sophia King sophi
                        aki
                          ngo6@ gmai
                                   l.com
Subject:Fwd:Welcometo DamaFi
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  Date: April2,2021at4:53 PM
    To: PaulieKing paul@cannaforni
                                 a.co

     CHAM P,

      Pl
       ease cli
              ck on the link below to registerforCNW IIIonline account!

      Have a greatweekendll!

     ----------   Forwarded message ---------
     From :<D rlporta)damafin..@.O.
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     Date:Sun,M ar28,2021 at10:28 PM
     Subject:Welcometo DamaFi
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                                al!
     To:Kr phiaklngo6@ gmailcp-rp.>

      Dam a Financi
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                       DearSophia King:
                       W e Iook forward to providing y0u access to secure banking services that
                       help you betterm anage and grow yourbusiness,California New W ave
                       111,L-L-().

                      To getstarted,please click on the link below to setup yourO nline
                      AccountCenteraccountand to selectyourusernam e.A tem porary
                      passw ord w illbe em ailed to you separately afteryou com plete this step.
                      You willbe required to change yourpassword when y0u log in to your
                      accountforthe firsttim e.

                       Ifyou don'treceive yourpassword,please check yourSPAM folder
                       before contacting Dam a Financialat
                       clientservices@ Dam aFinancial.com .



                      V psr//secure.damafinancialxcom/#/set-username/3oaezz4d-3sds-
                       4309-9478-572b66c7f0bf


                       W elcom e!
                       Dama FinancialClientServices




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  Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 139 of
                                        405

  From:SophiaKing sophiakingo6@gmail.com T
Subject:Re:Cali
              forni
                  aNew Wave111-Appli
                                   cationHasbeensubmitted
  Date: March 24,2021at7: 27 PM
   To: AlexisE alexise@ damafinancial.com
   Cc: PaulKi ng paul@ cannafornia.
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      OnWed,Mar24,2021at4:
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        From :Sophia King <x phiakingo6@ gm ail.com >
        Date:W ednesday,M arch 24,2021 at6:17 PM
        To:Alexis E <alexise@ dam afinancial.com l
        Cc:Jason Wang <jason@ damaone.com>,CsTeam qcsteam@ damaone.com>,
        Lisa Pukhyr<lisa@ cannafornia.co>,PaulKing <paul@ cannaforniasco>,Steve M
        <stevem @ dam afinancialacom >
        Subject:Re:California New W ave 111-Application Has been submitted

         H ow Iong does it usually take? Thank you,A lexis!

        On Wed,Mar24,2021at4:05 PM Alexis E <alexlse@damafinancial.com> wrote:
           HiAlI,


           Assoonasthi
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                              sapproved lwilprovi
                                                de youallthe details!Congratsonanotherappto the bank.t.p'
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           -Alexis



           From :Sophia King qm phiakingo6@ gm ail.com >
           Date:W ednesday,M arch 24,2021 at6:00 PM
           To:Jason W ang <jason@ damaone.coml
           Cc:Alexis E <alexise@ dam afinancial.com >,CsTeam
           <csteam @ dam aone.com>,Lisa Pukhyrqlisa@ cannafornia.co>,PaulKing
           <paul@ cannafornia.co>,Steve M <stevem @ dam afinancial.com >
           Subject:Re:California New W ave 111-Application Hasbeen submitted

            G reat New s,Jasonll!

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       IDanK yOu A LL îOr aIIyourDeIp!!!

      OnWed,Mar24,2021at6:40PM JasonW angxcjasont
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                                                  xktmaonenqc >wrote:
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        HeyLisaandTeam,


        Greatnews!Cali  forniaNew W ave ll1hasbeensubmitted to the Bankfora Premi
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        introducing you toourclientsuccessteam ancjSteve,ourV.P.ofCash Operations.




        Thankyouforchoosin: Dama Financial-itwasa pl
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                                                                   th you.




        Besl,


                                                        Jason W ang
                                                        C.O.R.E.Team
                                                        ClientOnboardingResolutionExperts

                                                        650-319-3222(C)



          ilx
            FI$lhCIlL www.damafinancial.com
                                                        Jasonw @ damafinancial.com


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                                       405

  From :SophiaKing sophi
                       akingo6@gmai  l.com #?
Subject:Fwd:BankStatementsCaliforniaNew WaveIII
  Date: August16,2021at11:07 AM
    To: Pauli
            e Ki
               ng paul@cannaforni
                                a.cc

      TD BA NK -statem ents forC NW 3

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                 Forwarded message---- --
          From:Sophia King Kr phiaklngo6 pgmailcom>
          Date:W ed,Jun9,2021at10:01AM
      Subject:Fwd:BankStalementsCal
                                  iforni
                                       aNew Wave III
      To:RachelW right<rwright@ abfinwrightcoml
      Cc:LisaPukhyr<lisa@ cannafornia col




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Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 143 of
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 Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 144 of
                                       405

  From:JasonW JasonW@damafinanci
                               al.com T
Subject: Re:
  Date: September13,2021at11:19 AM
    To: PaulKing paulkingceo@gmail.
                                  com

      Paul,

      W ho requested this inform ation? lwillforward this to yourrelationship m anager.

      Best,

                                        Jason W ang
                                        C.O.R.E.Team
                                        CllentOnboarding ResolutionExperts

       dam a
         F IN A N C IA L
                                        650-319-3222(C)
                                         Jasonw@ damafinancial.com

                                        Schedule a Consultation
                                        www.damafinancial.com
                                        www.ppytender.com




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                   onthati   s confidentialto Dama Fi   nancial.Any unauthori zed review,use,pri nting,saving,copying,
      disclosure,ordistribution is strictly prohibited and may resultin IegalIiabili
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                                                                                                  fyou have received this
      message in error,pl ease immediately notify the senderby return e-mailand erase aIlcopies ofthe message and/orany
      attachments.




      From :PaulKing <paulkingceo@ gm ail.com >
      Date:M onday,Septem ber13,2021 at8:15 A M
      To:Jason W <lasonW @ dam afinancial.com >
      Subject:<no subject>
      Hilason,
      Please connectm e with the appropriate person atthe bank -Iam Iooking to getthe
      accountinformation forthe ''A2A''transfers in these statem ents.

      Thank you.




                                                                                                              143of384
  Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 145 of
                                        405

  From:JasonW JasonW @damafinancial.com (#'
Subject:Re:
  Date: September13,2021at6:30 PM
    To: PaulKing paul
                    kingceo@gmail.
                                 com

      Paul

      Iwastold thatthose A2A transactionsare transfers between interestbearing account
      and checking.

      Best,

                                        Jason Vfang
                                        C.O .R.E.Team

        dam a
         F l N A N C IA L
                                        ClientOnboarding Resolution Experts
                                        650-319-3222(C)
                                         Jasonw @ dam afinancial.com
                                        Schedule a Consultation
                                        www.damafinancial.com
                                        www.p-
                                             qytendeccom




       DAMA FINANCIAL CO NFIDENTI       A LI
                                           TY NOTICE:Thisel    ectronic mailmessage and any files transmitted with itare
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      have information thatis confidentialto Dama Fi  nancial.Any unauthori zed review,use,pri
                                                                                             nting,saving,copying,
      di sclosure,ordistri
                         bution i
                                s strictl
                                        y prohibi
                                                ted and may resultin legalIiabil
                                                                               ityon yourpart.Ifyou have received this
       message in error,please immediately noti fythe senderby return e-mailand erase aIIcopiesofthe message and/orany
       attachments.




      From :PaulKing <paulkingceo@ gm ail.com>
      Date:Monday,Septem ber13,2021 at 10:20 AM
      To:Jason W <lasonW @ dam afinancial.com >
      Subject:Re:
      Alexis?

      O n M on,Sep 13,2021 at8:29 AM Jason W <lasonW @ dam afinancial.com > wrote:
         Paul,

         Ihave sentthisto yourrelationship m anagerwho willreach out.

         Best,

                                            Jason W ang
                                            C.O.R.E.Team
                                            ClientOnboardingResolutionExperts
                                            lsn-n4mappp ff-
                                                          :h

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Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 146 of
                                      405
                                                           h. /
                                         Jasonw@ dam afinanci
                                                            al.com




      11:1
                                        Schedule a Consultation
                                        www.dam afinancial.com
                                        www .x ytendeccom



        Flhl$CIlL




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                                                                                   ty on yourpart.I
                                                                                                  fyou have recei
                                                                                                                ved this
     message in error,please immediately notify the senderby return e-m ailand erase alIcopies ofthe message and/or
     any attachm ents.




     From :PaulKing <paulkingceo@ gm ail.com >
     Date:M onday,Septem ber13,2021 at8:27 AM
     To:Jason W <lasonW @ dam afinancial.com l
     Subject:Re:
     W hatdo you mean?

     Itwas my accounts -california new wave
     O n Mon,Sep 13,2021 at8:19 AM Jason W <lasonW @ dam afinancial.com > wrote:
        Paul,

        W ho requested this inform ation? lwillforward thisto yourrelationship m anager.

        Best,

                                            Jason Vvang
                                            C.O .R.E.Team
                                            ClientOnboarding ResolutionExperts
                                            650-319-3222(C)
                                            Jasonw@ dam afinancial.
                                                                  com

                                                                                                            145of384
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                                      405

                                           Schedule aConsultation
                                           www.dam afinancial.com


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       saving,copying,discl  osure,ordistribution is stri
                                                        ctly prohibited and may resultin Iegalli
                                                                                               abili
                                                                                                   ty on yourpart.lfyou
       have received this message in error,please immediately notify the senderby return e-mailand erase aIIcopiesof
       the message and/orany attachments.




       From :PaulKing <paulkingceo@ gm ail.com >
       Date:M onday,Septem ber13,2021 at8:15 A M
       To:Jason W <lasonW @ dam afinancial.com >
       Subject:<no subject>
       HiJason,
       Please connectm e with the appropriate person atthe bank -Iam Iooking to getthe
       accountinform ation forthe ''A2A''transfers in these statements.

       Thank you.




                                                                                                             146of384
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                                       405

  From:CoRl@cannabis CoRl@ cannabis.ca.
                                      gov (j7
Subject: RE:OwnerChangetoCal
                           iforni
                                aNew WaveCompani
                                               es
  Date:September24,2021 at4:20 PM
    To: Ki
         eran Ringgenberg kieran@ringgenbergl
                                            aw.com
   Cc:cnwli censing@ gmail.com

      HiKieran,
      There are many delegate contacts with perm ission to discuss these Iicenses,butyou are
      notone ofthem .Please have Paulprovide a delegate authorization as described below
      and also have him Ietus know i
                                   fthe priordelegates should be rem oved.

      The Departm entofCannabis Controldoes nothave authorization to discuss this
      cultivation application/license w ith you.
      lfthe applicantentity/licensee would Iike to grantthis authorization,the Designated
      Responsible Party(PAUL KING)mustupload a documentto theiractiveapplications
      and/orlicenses with the following inform ation:
      * Nam e,cont actphone num ber,and emailofthe delegate contact
      * W het herthe delegate contacthas the authority forany oraIIofthe following:
      -
        Speak on behalfofthe DRP and the business applicantentity
      -
        Requeststatus updates on application and/orIicense
      - Retrieve copies ofthe application and/orIicense records
      -
       Take actionon anapplicationand/orIicense (i.e.,withdrawalofan applicationor
      surrenderofIicense)
      Instructionsforuploading the docum entcan be found on oureLearning website:
      https://www.cdfa.ca.gov/calcannabis/training/

          Stephanie Buck
          AG PA
           844-61-CA-DCC (844-612-2322)
           info@ cannabis.ca.gA
           www.cannabis.ca.gA

                   Deportm entof
                   ConnobisControl
                   C A t 1FO R N lA




      From :Kieran Ringgenberg <kieran@ ringgenberglaw.com >
      Sent:W ednesday,September22,2021 3:01 PM
      To:Licensing@ cannabis <licensing@ cannabis.ca.gA >
      Cc:ChristopherBonham <chrisbonham3o@ gmail.com>
      Subject:OwnerChange to California New W ave Companies
      (EXTERNAL):kr@ ringgenberglaw.com
      CAUTIO N:THIS EM AIL O RIG INATED O UTSIDE THE DEPARTM ENT O F CANNABIS

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Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 149 of
                                      405

   CO NTRO L!
   DO NOT:click links oropen attachm ents unless you know the contentis safe.
   NEVER:provide credentials On websites via a clicked Iink in an Em ail.

   DearDCC:
   Attached please find owneramendmentform s and a form 27 change form forthe
   licenses listed below,each adding a new owner,ChristopherBonham .

   Thank you in advance foryourattention.
   License          Entity                     Type
   C11-0OO0268-LIC Californi
                           a New Wave 1,LLC    Commerci
                                                      al-Di
                                                          stri
                                                             butor
   CCL19-0000766 Cal
                   ifornia New W ave 1,LLC     Cul
                                                 tivation -SmallMixed-LightTi
                                                                            er2
   CCL19-0OOO767 Cal
                   ifornia New Wave 1,LLC      Cul
                                                 tivation -SmallM i
                                                                  xed-LightTi
                                                                            er2
   CCL19-0000923 Cali
                    fornia New W ave 1,LLC  Cul
                                              tivatior -SmallMixed-l
                                                                   -ightTi
                                                                         er2
   CCL19-000102O CALIFORNIA NEW W AVE 1,LLC Cul
                                              tivation -SmallMixed-l
                                                                   -ightTi
                                                                         er2
   CCL19-O001399 CALIFORNIA NEW W AVE 111,LLC Cul
                                                tivation -Nursery
   CCL19-OO01525 CALIFORNIA NEW WAVEh(LLC Cultivati
                                                  on-Smal
                                                        lMixed-l-ightTier2
   CCL19-O0O1561 CALIFORNIA NEW W AVE V,LLC Culti
                                                vation -SmallMixed-Li
                                                                    ghtTi
                                                                        er2
   CC1-XX-XXXXXXX CALIFORNIA NEW W AVE 1,LLC Cultivation -Processor



   Kieran Ringgenberg
   Ringgenberg Law Firm PC
   1940 Embarcadero Oakland,Cali
                               forcia 94606
   (510)775-7000 (main)
   (510)775-7001(direct)
   www ri
        n enber Iaw com




                                                                                  148 of384
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                                        405

  From:PaulKing cnwli
                    censing@gmail.com (
                                      #'
Subject:Re:OwnerChangetoCaliforni
                                aNew WaveCompanies
  Date: September30,2021at12:08 PM
    To:CoRl@cannabi  s.ca.gov
    Cc; Ki
         eran Ringgenberg kieran@ri
                                  nggenberglaw.com

      Kieranhasno rightstodo anything wi
                                       ththe Ii
                                              cense.Theyare tryingtowrestl
                                                                         e controlfrom me.Please keepsecuri
                                                                                                          tymeasuresonmy
      Iicenses.
      Thankyou,
      PaulKing
      OnFri,Sep24,2021at4:20PM CoRi@ cannabis<(l
                                               -Q!
                                                 à1lJ
                                                    Aç-
                                                      qn()
                                                         .
                                                         Q-t
                                                           ).
                                                            4>.ç.
                                                                @.g.
                                                                   qy>wrote:
        HiKieran,
        There are m any delegate contacts with perm ission to discuss these Iicenses,butyou
        are notone ofthem .Please have Paulprovide a delegate authorization as described
        below and also have him Ietus know ifthe priordelegates should be removed.


        The Departm entofCannabis Controldoes nothave authorization to discuss this
        cultivation application/license with you.
        Ifthe applicantentity/licensee would Iike to grantthis authorization,the Designated
        Responsible Party (PAULKING)mustupload a documentto theiractive applications
        and/orIicenses with the follow ing information:
        .   Name,contactphone num ber,and em ailofthe delegate contact
        *   W hetherthe delegate contacthas the authority forany orallofthe following:
        -   Speak on behalfofthe DRP and the business applicantentity
        -   Requeststatus updates on application and/orIicense
        -   Retrieve copies ofthe application and/orIicense records
        -
         Take actionon anapplication and/orIicense (i.e.,withdrawalofan application or
        surrenderofIicense)

        lnstructionsforuploading the documentcan be found on oureLearning website:
        https://www.cdfa.ca.gov/calcannabis/training/



            Stephanie B uck
            AG PA
             844-61-CA-DCC (844-612-2322)
             info@ cannabis.ca.gqy
             www.cannabis.ca.g>

                     Deportm entof
            %        Connobis Control
                                                                                                           149of384
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                                      405

                     C A t 1F O R N tA




    From :Kieran Ringgenberg <kieran@ ringgenberglaw.coml
    Sent:W ednesday,Septem ber22,2021 3:01 PM
    To:Licensing@ cannabis <licensing@ cannabis.ca.gpvl          -

    Cc:ChristopherBonham <chrisbonham3o@ gmail.com>
    Subject:OwnerChange to Cali
                              fornia New W ave Companies

    (EXTERNAL)kr@ringgp-qc lglaw.com

    CAUTIO N:THIS EMAIL O RIG INATED O UTSIDE THE DEPARTM ENT OF CANNABIS
    CO NTRO L!
    DO NOT:click Iinks oropen attachm ents unless you know the contentis safe.
    NEVER:provide credentials on websites via a clicked Iink in an Em ail.




    Attached please find owneram endm entforms and a form 27 change form forthe
    Iicenses Iisted below,each adding a new owner,ChristopherBonham .


    Thank you in advance foryourattention.


     License                 Entity               Type
     C11-0000268-LIC California New W ave 1,LLC   Commerci
                                                         al-Di
                                                             stributor
     CCL19-O0OO766 Californi
                           a New W ave 1,LLC      Cul
                                                    tivati
                                                         on -Sm allM i
                                                                     xed-l-ightTier2
     CCL19-OO0O767 Californi
                           a New W ave 1,LLC      Cultivati
                                                          on -Sm allM i
                                                                      xed-LightTier2
     CCL19-OOOO923 Californi
                           a New W ave 1,LLC  Cultivati
                                                      on -Sm allM i
                                                                  xed-t-ightTier2
     CCL19-OOO1O2O CALIFORNIA NEW W AVE 1,LLC Cultivati
                                                      on -Sm allM i
                                                                  xed-LightTier2
     CCL19-O0O1399 CALIFORNIA NEW W AVE 111,LLC Cultivati
                                                        on -Nursery
     CCL19-OOO1525 CALIFORNIA NEW WAVE% LLC Cultivati
                                                    on-SmallMixed-l-ightTier2
     CCL19-OOO1561 CALIFORNIA NEW W AVE V,LLC Cultivati
                                                      on -Sm allMixed-l-ightTier2
     CC1
       -XX-XXXXXXX CALIFORNIA NEW W AVE 1,LLC Cultivati
                                                      on -Processor




    Kieran Ringgenberg
    Q inrafaoraianr/a I=:âzNirm D f'7

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Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 152 of
                                      405

      =Y      Y
    1940 Em barcadero Oakland,Cal
                                ifornia 94606
    (510)775-7000 (main)
    (510)775-7001(direct)
    www nn enber Iaw com




                                                                       151of384
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                                       405

  From: Bond,Andrew AndrewBond@ dwt.com
Subject:RE:SEC Form D forCannaforni
                                  a
  Date: August23,2019at2:45 PM
    To: GarrettLee Gl-ee@dumoul inblack.com,Dimi triy Romantsoffdromantscff@cannafornia.
                                                                                       co
   Cc: LindsayHamelin Iindsay@ takeitpublicservi
                                               ces.com,PaulKing paul@cannafornia.co,Spiro Klelas kletasvspiro@gmail.com,
        Leighton Bocking I
                         bocking@ nbcap.ca,Tim Lobanov tl obanov@cannaforni a.co

     Thanks Garrett.The Form D has been successfully filed.

      Bestregards,
     Andrew

     From :G arrettLee <G Lee@ dum oulinblack.com>
     Sent:Friday,August23,2019 11:21 AM
     To:Dim itriy Rom antsoff<drom antsoP@ cannafornia.co>'
                                                          ,Bond,Andrew
     uAndrew Bond@ dwt.com>
     Cc:Lindsay Hameljn <lindsay@ takeitpublicservices.com>',PaulKing <paul@ cannafornia.co>;
     Spiro Kletas <kletas.spiro@ gmailacom>;Leighton Bocking <lbocking@ nbcap.ca>;Tim
     Lobanov <tlobanov@ cannafornia.co>
     Subject:RE:SEC Form D forCannafornia




      Please proceed to file.


     G arrett Lee
     Associate


     From :Dim itriy Rom antsoffudrom antso#@ cannafornia.co>
     Sent:Friday,August23,2019 9:39 AM
     To:Bond,Andrew <AndrewBond@ dwt.com>
     Cc:GarrettLee <G l  -ee@ dum oulinblack.com>;Lindsay Ham elin
     <lindsay@ takeitpublicservices.com >'
                                         ,PaulKing <paul@ cannafornia.co>;Spiro Kletas
     ukletas.spiro@ gm ail.com l;Leighton Bocking <lbocking@ nbcap.ca>;Tim Lobanov
     <tlobanov@ cannafornia.col
     Subject:Re:SEC Form D forCannafornia
     H ello Andrew,

     Iam good w ith it.

     Thank you,

       o w j/-i, B
                 Do
                  i
                  m
                  ar
                   i
                   trA
                   d iydR
                        vi
                         o
                         so
                          mr
                           aa
                            ntC
                              so
                               af
                                n
                                fnaforni
                                       a
                              Address 26800 EncinalRoad,Salinas,CA 93908,USA
                              Mobile 4305)978-7922 Emaildromantsoff@ cannafornia.co
                              W ebsi
                                   te www.cannafornia.co




            On Aue 23.2019.at9:29 AM .Bond.Andrew 'cAndrew Bondl dwt.com> wrote:

                                                                                                                152 of384
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                                      405


       Thanks G arrett.Revised Form D attached.

       Please Ietme know ifthere are any furthercom m ents orifwe are authorized to fil
                                                                                      e
       this w ith the SEC.

       Bestregards,

       Andrew

       From :GarrettLee <G l -ee@ dumoulinblack.com >
       Sent:Thursday,August22,2019 4:23 PM
       To:Bond,Andrew <Andrew Bond@ dwt.com>;Lindsay Hamelin
       <lindsay@ takeitpublicservices.com>'
                                          ,Dim i
                                               triy Rom antsoff
       Mdrom antsop@ cannafornia.col
       Cc:PaulKing <paul@ cannafornia.col;Spiro Kletas <kletas.spiro@ gm ail.com >;
       Leighton Bocking <lbocking@ nbcap.ca>
       Subject:RE:SEC Form D forCannafornia
       IEXTERNAL)
       Thank you Andrew.

       Jose Delascasas is also a directorofthe com pany.His Iisted address is 907-1030
       W .Georgia StVancouver,BC V6E 2Y3 Canada.
       Otherthan thatchance,everything Iooks fine to file.

       Regards,

       G arrettLee
       Associate


       From :Bond,Andrew <Andrew Bond@ dwt.coml
       Sent:Thursday,August22,2019 3:29 PM
       To:G arrettLee <G l-ee@ dum oulinblack.coml;Lindsay Hamelin
       <lindsay@ takeitpublicservices.com>',Dim i
                                                triy Rom antsoff
       <drom antso#@ cannafornia.co>
       Cc:PaulKing <paul@ cannafornia.co>;Spiro Kletas <kletas.spiro@ gm ail.com >;
       Leighton Bocking <lbocking@ nbcap.ca>
       Subject:RE:SEC Form D forCannafornia


       I'
        ve enclosed a revised Form D reflecting the new com pany name and the new
       directors and officer.

       Please Ietm e know ifyou have any questions orifwe are authorized to file itwith
       the SEC.

       Bestregards,

       Andrew

                                                                                      153of384
Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 155 of
                                      405


       From :GarrettLee <G l -ee@ dumoulinblack.coml
       Sent:Thursday,August15,2019 11:05 AM
       To:Bond,Andrew <AndrewBond@ dwt.com l'        ,Lindsay Ham elin
       <lindsay@ takeitpublicservices.com >'
                                           ,Dim itriy Romantsoff
       <dromantsop@ cannafornia.col
       Cc:PaulKing <paul@ cannafornia.col'   ,Spiro Kletas <kletas.spiro@ gm ail.com>;
       Leighton Bocking <lbocking@ nbcap.cal
       Subject:RE:SEC Form D forCannafornia



       The sol
             e office ofthe com pany is PaulKing. Paulis Presidentand C EO .

       Thanks.


       G arrett Lee
       Associate


       From :Bond,Andrew <AndrewBond@ dwt.com >
       Sent:Thursday,August15,2019 10:36 AM
       To:G arrettLee <G Lee@ dum oulinblack.com>;Lindsay Ham elin
       <lindsay@ takeitpublicservices.com>'
                                          ,Dim itriy Rom antsoff
       <drom antso#@ cannafornia.col
       Cc:PaulKing Mpaul@ cannafornia.co>;Spiro Kletas <kletas.spiro@ gm ail.com >;
       Leighton Bocking <lbocking@ nbcap.ca>
       Subject:RE:SEC Form D forCannafornia
       HiGarrett,
       I'm updating the Form D to reflectthe new nam e and the new directors Iisted On
       the Notice ofArticles.Can you please Ietm e know the IistofOfficers to also
       include on the Form .

       Thanks,

       Andrew
       From :G arrettLee <GLee@ dum oulinblack.com >
       Sent:W ednesday,August14,2019 2:41 PM
       To:Lindsay Ham elin <lindsay@ takeitpublicservices.com>',Dim i
                                                                    triy Rom antsoff
       <drom antsop@ cannafornia.co>
       Cc:Bond,Andrew <AndrewBond@ dwt.coml;PaulKing <paul@ cannafornia.co>;
       Spiro Kletas <kl
                      etas.spiro@ gm ail.com >;Leighton Bocking <lbocking@ nbcap.ca>
       Subject:RE:SEC Form D forCannafornia
       IEXTERNAL)
        HiLindsay,
       Thatis correct. E#ective yesterday Cannafornia changed its nam e to Big Hugs
       Holdings lnc. Attached is the Certificate ofNam e C hange,Notice ofAlteration and
        Klexêiomx n k h r#iolzxo

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                                      405

       1%EJklkaU LJI Wn ItlkaIU AD .


       Please Ietus know i
                         fyou need anything further.

       Regards,

       GarrettLee
       Associate


       From :Lindsay Hamelin <lindsay@ takeitpublicservices.coml
       Sent:W ednesday,August14,2019 2:19 PM
       To:Dim itriy Rom antsoff<drom antsop@ cannafornia.col
       Cc:Bond,Andrew <Andrew Bond@ dwt.coml'     ,PaulKing Mpaul@ cannaforniasco>;
       Spiro Kletas <kletas.spiro@ gmail.com>'
                                             ,Leighton Bocking <lbocking@ nbcap.ca>;
       GarrettLee <G l-ee@ dum oulinblack.coml
       Subject:RE:SEC Form D forCannafornia
       HiDimitriy,
       lhave notbeen made aware ofthe nam e change effective date butlhave copied in Garrett
       who can confirm .Thank you.

        Kind regards,
       Lindsay Ham elin
        B 604.682.2928 D 778.945.0348 F 604.685.6905
        E: Ii
            ndsaK@ takeitpubli
                             cservices,com


       From ;Dim itriy Romantsoff<drom antso#@ cannafornia.co>
       Sent:August14,2019 2:17 PM
       To:Lindsay Ham elin <lindsay@ takeitpubli
                                               cservices.com >
       Cc:Bond,Andrew <AndrewBond@ dwtpcom l;PaulKing <paul@ cannafornia.col;
       Spiro Kletas <kletas.spiro@ gmail.com>;Leighton Bocking Mlbocking@ nbcap.cal
        Subject:Re:SEC Form D forCannafornia
        Lindsay,
        Perm y understanding,we changed the Corporate nam e forCannafornia Holding
        Inc Canada yesterday.Are you aware ofthat?

             '
             '
                              +        DimitriyRomantsos
             4                     ' BoardAdvi
                                             soratCannafornia
                                       Address 26800 EncinalRoad,Salinas,CA 93908,USA
                                       Mobile .(305)978-7922 Emaildromantso#@ cannafornia.co
                                       W ebsite www.cannafornia.co



                 O n Aug 14,2019,at9:43 AM ,Lindsay Ham elin
                 <lindsay@ takeitpublicservices.com > wrote:
                  HiAndrew,

                                                                                               155of384
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            Ibelieve Leightonisa promotertoo(item 3).Idon'thaveanyothercomments.
            Thank you.

            Kind regards,

            Lindsay Ham elin

            B 604.682.2928 D 778.945.0348 F 604.685.6905
            E: lindsay-@takei
                            tpublicsewices.com


            From :Bond,Andrew <AndrewBond@ dwtxcom l
            Sent:August14,2019 9:33 AM
            To:PaulKing qpaul@ cannaforni    a.co>'
                                                  ,Spiro Kletas
            <kletas.spiro@ gm ail.coml
            Cc:Dim i triRom antsoff<Drom antsoff@ cannafornia.col'
                                                                 ,Leighton
            Bocking <lbocking@ nbcap.ca>;Lindsay Ham elin
            ulindsay@ takeitpublicservices.com >
            Subject:RE:SEC Form D forCannafornia
            H iPauI,

            DraftForm D attached.

            Bestregards,

            Andrew

            From :PaulKing <paul@ cannaforniapco>
            Sent:W ednesday,August14,2019 9:07 AM
            To:Spiro Kletas <kletas.spiro@ gm ail.com>
            Cc:Bond,Andrew <Andrew Bond@ dwt.coml;Dim itriRom antsoff
            <Drom antsop@ cannafornia.co>' ,Leighton Bocking
            <lbocking@ nbcap.ca>;Iindsay@ takeitpublicservices.com
            Subject:Re:SEC Form D forCannafornia


            H iguys,nothing attached

            On Tue,Aug l3,2019 at3:46 PM Spiro K letas
            <kletas.spiro@,/
                           glmail.coln> wrote:
              Andrew,lhave ccd PaulK ing,the ceo ofthe com pany and Lindsay
              andLeighton(Director).
              Looksgood to m e.Do you guyshaveany com m ents?

              Spiro K letas
              604-723-0710

              Sentfrom m y iphone

              On Aug l3,2019,at2:14 PM ,Bond,Andrew
              <AndrewBond@dwt.com> wrote:

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                                      405


                      H iSpiro-

                      l'N'e enclosed forresbien'and approq'althe Form D u'
                                                                         e
                      intend to fileu'ith the SEC on behalfofCannafornia
                      Holdings(Canada)in conncctionnrith theClassB shares
                      issued pursuantto the Contribution Agreenlent.

                      Please 1etlne k'nou'ifyou have any questionsor
                      colnluentsorifu'e have authorization to file on behalfof
                      the colnpany.

                      Bestregards,

                      Andrew
                      <CAN NA FORN IA HO LD IN G S IN C-FORM D -
                      DRAFT (8-13-l9).pdf>



                 '
                                  PaulKing
             .
                 q,       e .? Founder&CEOatCannafornia
                                  Address 26800 EncinalRoad,Sali nas,CA 93908,USA
                                  Mobil
                                      e j786)2(:)-3429 W ebsite wwwqcannaforni
                                                                             axco



       <Big HugsHoldingslnc.-FonzlD -Draft(08.23.2019).pdf>




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     CIK(FilerIDNumber)                              PreviousNamels) (C None              EntityType
 $
 1                                         7
 .0001785283                               t
                                           C
     Nam e ofIssuer
 j
 (Cannafornia Holdings,Inc./CAN            l
                                           I

     Jurisdiction ofIncorporation/organization

 lBRITISH COLUMBIA,CANADA                  )
 t.-           -           ---- ..--   --- z
 YearofIncorporation/organization

     C overFiveYearsAgo
                                                 )          ;
     % withinLastFiveYears(SpecifyYear)          I
                                                 j
                                                  2019      '
                                                            ,

     C YettoBeFormed




     Name ofIssuer

 jCannafornia Holdings,lnc./CAN                                  1
     StreetAddress 1                                                    StreetAddress 2

      907-1030 W EST GEORGIA STREET

     City                                      State/province/country        Zlp/postalCode          Phone No.oflssuer

      vAscouvER                                iI
                                                'CBA
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                                                                            '                         604-307-8225




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                                              405
LastNam e                        FirstNam e                              M iddle Nam e



      etAddress 1                                    StreetAddress 2
r'-                                            n
l907-1030WestGeorgiaStreet                      i
City                             State/province/country                  Zlp/postalCode

)Vancouver                     )
                               ,'
                                !BRITISH COLUMBIA,CANADA               '
                                                                       Mt1
                                                                         gV6E2Y3                     ';j




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                                              405                                                                  7

C*Agriculture                             HeaIthCare                              (..wRetailing
                                          (--Biotechnology
   Banking&Financialservices                                                      (-
                                                                                   **Restaurants
    f--com mercialBanking                 C Healthlnsurance
                                          C Hospitals&physicians                     Technology
    f--Insurance
    f'-
      h lnvesting                         C-pharmaceuticals                           C computers
                                          C otherHealthcare
    C InvestmentBanking                                                               C Teiecommunications
    C pooledlnvestmentFund                                                            C otherTechnology

    C OtherBanking&FinancialServices
                                                                                     Travel

C Businessservices                     C Manufacturing                                f'ëh Airlines&Airports
                                          RealEstate
    Energy                                                                            C Lodging&conventions
    C coalMining                          C commerci
                                                   al
                                                                                      C Touri
                                                                                            sm &Travelservices
    C    Electricutili
                     ties                 C construction
    C    Energyconservation               C REITS&Finance                             C otherTravel
    C    Environmentalservices            C Residential                           C. other
    C    oiI&Gas                          C otl
                                              aerRealEstate
    C    otherEnergy



Revenue Range                                       Aggregate NetAssetValue Range

G*No Revenues                                          C NoAggregateNetAssetValue
C $1-$1,000,000                                        C $1-$5,000,000
C $1,000,001-$5,000,000                                C $5,000,001-$25,000,000
C $5,000,001-$25,000,000                               C $25,000,001-$50,000,000
C $25,000,001-$100,000,000                             C $50,000,001-$100,000,000
C Over$100,000,000                                     C over$100,000,000
C DeclinetoDisclose                                    C DeclinetoDisclose
C NotApplicable                                        C NotApplicable




                                                                                                       16O of384
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                                            405

    Rule 504(b)(1)(not(i),(ii)               W
    ()r(iiil)                                    Rule 506(b)
    Rule 504(b)(1)(i)                        r- RulescGtc)
C Rui
    es()4(b)(1)(ii)                          r- securitiesActsection4(a)(s)
    Rul
      e 504 (b)(1)(iii)                      C InvestmentCompanyActSection3(c)



W New Notice              Date ofFirstSale    U2019-07-26
                                              j                               -7l     FirstSale Yetto Occur
'                                             L---- .- .-- -..--..--.......--..xm.l

r Amendment



DoestheIssuerintendthisofferingtolastmorethanoneyear?                                     C Yes C* No




                                                                                                              161of384
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                                            405
r PooledlnvestmentFundlnterests             V Equity
C*'Tenant-in-commonSecuri
                        ties                re Debt
j MineralPropertySecurities                 r- option,warrantorotherRighttoAcquire
                                               Anothersecurity
    Security to be Acquired Upon Exercise
C*ofOption,WarrantorOtherRightto            r-'other(describe)
  Acquire Security




I
sthisofferingbeingmadeinconnectionwithabusinesscombinationtransaction, r. yes C No
such as a m erger,acquisition orexchange offer?

ClarificationofResponse (ifNecessary)
C
l
1ilassBvotingsharesoftheIssuerwereissuedtotheshareholdersofCannaforniaj
)Holdings,lnc.(''USCO'')in exchangeforaIIshares ofcommon stockofUSCO  l
lpursuantto the Contribution Agreementbetween the IssuerUSCO and each          t
                                                                               j
@shareholderofUSco .
r
                                                                               k




Minim um investm entaccepted from any outside       $f
                                                     l0                                       tUSD
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  IVestor                                            L---
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                                                405
    Recipient                                     RecipientCRD Num ber


'


    Smssociated)BrokerorDealer       None                                           None

    l                                         (
    ;                                         j


    StreetAddress 1                                   StreetAddress 2


                                                  '
                                                      State/province/country
                                                  j                             l '
                                                                                î l            t
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                                                  l                             ;    :-        '

                                                                               AlIStates




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TotalOffering Am ount                                                                  W lndefinite

     .IAm ountSoId

TotalRemaining to be Solcl                                                             C-
                                                                                       #'Indefini
                                                                                                te




         selectifsecurities in the offering have been orm ay be sold to persons who do
    C N
      notqber
       um uali
             fysuch
             ofasacc redi
                    non-tedi
                        accrnve
                           editstoir
                               ed  s, ors w ho already have invested in the
                                   nvest
         offering
         Regardless ofwhethersecurities in the offering have been orm ay be sold to
         persons w ho do notqualify as accredi ted investors.enterthe totalnum berof
         investors w ho already have invested in the offering:




    zide separately the am ounts ofsales com m issions and finders'fees expenses,ifany.Ifthe amountofan expenditure is
,.w(known,provide an estimate and check the box nextto the am ount.


                Sales Com m issions $ l0
                                       l   ...    -     ..-       .. A
                                                                         lUSD   C Estimate
                        Finders'Fees $ 0                                 USD    r- Estimate
ClarificationofResponse(ifNecessary)
=                                                                 l
                                                                  j!




Provide the amountofthe gross proceeds ofthe offering thathas been oris proposed to be used forpaym ents to any of
the persons required to be nam ed as executive officers,directors orprom oters in response to Item 3 above.Ifthe amountis
unknown,provide an estimate and check the box nextto the am ount.

                                                 $L
                                                  p0          -
                                                                                .Uso       r Estimate
Clarification ofResponse (ifNecessary)




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                                                405


    Please verify the information you have entered and revi
                                                          ew the Terms ofSubmission bel
                                                                                      ow before si
                                                                                                 gning and clicking SUBMIT
    '
    -'hl
       ow to file this noti
                          ce.
'
    ,erms ofSubmission
    In subm itting this notice,each Issuernam ed above is:
     * Notifying the SEC and/oreach State in which thisnotice isfiled ofthe offering ofsecurities described and undedaking to furnish
       them,upon written request,the information furnished to offerees.
     * lrrevocablyapqointingeachoftheSecretae oftheSECand,theSecuritiesAdministratororotherIejallydesignatedofficerof
       theState in whlch thelssuermaintains its principalplace ofbusinessand any Stateinwhich this notlce Is filed,as its agenl
       forserviceofprocess,andagreeinjthatthesepeoonsmayacceptse-iceoni           tsbehalf,ofanynotice,processorpleading,
       and furtheragreeing thatsuch sermce may be madeby reglstered orcertifiedmail,in any Federalorstateaction,administrative
       proceedinj,orarbitrationbroughtagainsti  tinanyplacesubjecttothejurisdictionoftheUnitedStates,iftheaction,proceeding
       orarbitratlon(a)arisesoutofanyactivityinconnectionwiththeofferinjofsecuri    tiesthatisthesubjectofthi    snotiçe,and(b)
        isfounded,directlyorindirectl
                                    y,upontheprovisionsof:(i)theSecuritlesActof1933,theSecuritiesExchangeActof1934,
        theTrustlndentureActof1939,the InvestmentCompanyActof1940,orthe InvestmentAdvisers Actof1940,orany rule or
        regulationunderanyofthesestatutes,or(ii)theIawsoftheStateinwhichtheissuermaintainsitsprincipalplaceofbusinessor
        any State inwhich this noticeis filed.
      * Certi
            fying that,ifthe issuerisclaiming a Regulation D exemption fortheofering,the i
                                                                                         ssueris notdisqualified from relying on
        Rule504orRule506foroneofthereasonsstated inRule504(b)(3)orRule506(d).

        Each Issueridentified above has read thi
                                               s notice,knows the contents to be true,and has dul
                                                                                                y caused this notice to be si
                                                                                                                            gned on
        i
        ts behalfby the undersigned duly authorized person.
        Forsignature,type in the signer'
                                       s nam e orotherIetters orcharacters adopted orauthorized asthe signer's signature.

    lssuer       '.            Siqnature                   Name ofSinner               Titl
                                                                                          é                        Date                 1
,c                                                        j                           !
                                                                                      ,                           ;                     j
   annafornia Holdings, ï
 Inc.                   @lslLeighton Bocking              )
                                                          kLeighton Bocking           '
                                                                                      f                           ,2019-08-13
                                                                                                                  !                     j
     /CAN               r                                                             lDirector                   '                     /
                        :                                 l                           2                           t                     j




                                                                                                                          165 of384
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                                      405


     Prepared By

     SHAUNA W ATKINS
     787 N .PA LM CANY ON DRIVE
     PALM SPRING S,CA LIFO RNIA
     92262

     After Recording Return To

     M ICHAEL KIN G
     18975 COLLIN S AVEN UE,UNIT 3203
     SU'N NY ISLES BEACH ,FLORIDA
     33160




                                 FLO RIDA O UIT CLA IM DEED


     STATE OF FLORIDA
     M IAM I-DADE COUNTY



     KN OW ALL M EN BY THESE PRESENTS,thatforand in consideration ofthesum of
     Seven HundredThousandDollars($700,000.00)and/orothervaluableconsiderationtothe
     below in handpaid totheGrantorts)knownas:
     PA UL KIN G,asingle individual,residing at 18201COLLIN S AVENUE #503,SUNN Y
     ISLES BEACH,Florida,33160.

     Thereceiptwhereofishereby witnessed and acknowledged,theundersigned hereby
     quitclaim sto M ICHA EL KIN G and M ARIA'
                                             N NA KING,am arried couple,residing at18975
     COLLINSAVENUE,UNIT 3203,SUNNY ISLES BEACH,Florida,33l60(hereinafter
     calledthe''Granteetsl'')asjointtenants,a1ltherights,title,interest,andclaim inortothe
     follow ing described realestate,situated in M IAM I-DAD E County,Florida,to-w it:

     Condom inium UnitN o.503,TRUM P ROYALE.acondom inium ,according to the
     Declaration ofCondom inium thereof,asrecorded in OftscialRecordsBook 26542,Page 626,
     ofthe Public Records ofM iam i-Dade County,Florida,togetherw ith a1lappurtenances
     thereto,including an undivided interestin theCom m on Elem entsofsaid Condom inium ,as
     setforth in the Declaration.Parcelldentitication N um ber:31-2211-080-1120



                                                                                           Page l
                                                                                         166 of384
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     To have and to hold,the sam etogetherwith alland singularthe appurtenancesthereunto
     belonging orin anpvise appertaining,and al1the estate,right,title,interest,lien,equity and
     claim whatsoeverforthe said firstparty,eitherin law orequity,to theonly properuse,
     benefitand behoofofthe said second party forever.



     G rantor'sSignature                                          Date Decem ber,22 2020

     PrintNam e:PAUL K ING




                                            Date December,22 2020

     W itness's Signature




     Nam e ofW itness




     StreetAddress




                                            Date December,22 2020

     W itness'sSignature




    N ame ofW itness




     StreetA ddress


                                                                                           Page 2
                                                                                         167 of384
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                                      405




     State ofFlorida



     County ofM IA M I-DAD E


     1,theundersigned,aNotaryPublicin andforsaid County,in said State,hereby certifythat
                                                                                            whose
     namesaresignedtothisQuitClaim Deed,andwhoisknonm tome,ackmowledgedbeforemeonthis
     day that,being informed ofthecontentsoftheinstnunent,they,executedthesamevoluntarily onthe
     day thesam ebearsdate.




     N otaryPublic



     M y Com m ission Expires:




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                                           405          CFN;20210106967 8OOK 32344 PAGE 2806
                                                                          DATE:02/1O/2O21 11:23:02 AM
PREPARED BY :                                                             DEED DOC 0.60
Name: AriannaGoldman.ESq.                                                 HARVEY RUVIN,CLERKOFCOURT,MI
                                                                                                     A-DADECTY
Address:320 SE lBthStreet
        170rtLauderdale,FL 333l6

FileNo: King QCD
AN D RETURN TO'    .
M ichaelKing
l8975 CoilinsA N'e.,#3203
Sunny lS1eS Beach,FL 33160
                                   (spaceAbOs'eTbisLineFOrRecordingData)

                                              QuitClaim Deed
        THISQUIT-CLAIM DEED ismadeasofthis22nddayofDecember,2020.byPaulKing,asingleman('Grantor'')-
whosepostofsceaddressis18201CellinsAve.,#503,Sunny lglesBeach,FL 33160,givento second partyaM ichaejK ing and
M arianna King,a m arried eoupleswhose postofficc addrcss is 18975 Collins Ave-,#3203,Sunny lsles Beach.FL 33l60

(''Grantee'')
                                                W 1T N E S S E T H:
        Forgoodandvaluableconsideration toGrantor,thereceiptwhereofisherebyacknowledged-Grantordoeshereby qnit-
claim,grant.bargain,sell,alien,remise,releascand convey unto Granlec,itssuccessorsand assignsa11ofGrantorlsright.title
anëinteresti1)andtothateertainpropertyimerest(the''Property''linsliami-DadeCounty,Florida.asmorepanicularlydescribed

asfollows:
         Condominium UnitNo.503 in TRUM P ROYALE,a cond/m inium ,aceording to theDeclaratien
         ofCondom inium thereof,asrecorded in O ffieialRecordsBook 266429Page 626,ofthePublic
         RecordsofM iam i-DadeCounty,Florida,togetherwith aIlappurtenancksthereto,including an
         undivided interestin theComm on Elem entsofsaid Condom inium ,assetfortllin theDeclaration.
         to time,togetherwith an undivitled interestin thecom m on elementsappurtenantthereto.
         ParcelID No31-2211-080-1120
         Transferofunencum bered property between related partiesand m inim um transfertaxesare
         being rem itted.
         Preparer oftbis deed did notconducta title search in connection w ith thistransaction.
           SUBJECT to taxes for 202l and subsaquent yearssnot yet due and payable; covenants,restrictions,easements.
  reservationsand lim itationsofrecord,îfany,whhoutintemion ofcrcation orreimposing same.

                                          *%SIGNA T'67/?f P.
                                                           4GE TO F0LLO r
                                                                        'r'**




                                                     QU1'l
                                                         'CLAIM DEED                            Plge!Of2
                                                                                                     169 of384
   FileNo.:KingQCD
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                                                    Docket  11/04/2021 Page 171 of
                                                       20210106967 BOO K 32344 PAG E 2807
                                      405
           %



      To haveand to hold,thc samc togethetwith a11and singularthe appurtenancesthereunto
      bclonging orin anyw iseappertaining,and a1ltheestate,right,title,interest,Iiensequity and
      claim whatsoeverforthe said firstparty,eitherin Iaw orequity.to theonly properuse,
      benefitand behoofofthesaid second party forever.


      Grantor'sSignature             '                             DateDecenaber,22 2020

      PrintNam e:PA UL KING
      Address:18201CO LLIN S AVENUE #503,SIJNNY ISI,ES BEACH.Florida,33l60



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       W          .
                        z'                   Date December.22 2020
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           Vx'
      W itness'sSignature


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       w r. v. .
               y y>....
                      z
      Name ofW itness


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      StreetAddress




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      Name ofW itncss


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      State ofFlorida



      CountyofM IA M I-DADE


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      day the samebearsdate,


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      Notary               1ic


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              LEA SE /PU R C H A SE C H EC K LIST


                           FO R M AN A G EM ENT U SE O N LY

       Lease/purchaseApplication

       Copy oflD's

       Background Check

       Copy ofa Lease

       AccessPermission Form

       Package Release Form

       PetRegistration

       SalesContract

       M ortgage Y ank A pproval

       Security Deposit

       Application Fee

       M aintenanceAccountStatus

       M ove in Deposit


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    Received By :                                         Date:

     18201CollinsAvenue,Sunny lslesBeach,FL 33160 *T 305.917.0300 *F 305.917.0333

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                                        405




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                     LE A SE /PU R C H A SE A PPLIC A T IO N
         Com plete aIlquestions.Ifany question is notansw ered or leftblank.application willbe
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        Please printlegibly.M issing or illegible inform ation w illcause delays.Allinform ation w ill
                                                 be verified.


Building N am e:TR UM P            UnitN umber:                  Application Date /lkeceived:
ROYALE                                                 503
Lease/Purchase         u rC aSe                    A lication fee received:
Antici ated M ove in/Close Date:                   Rent/Lease Term :

LastName:        Kin                   FirstName: M ichael
Dateofbirth:         1 7 SSN: 1 -74-71              CellPhone#:     - -
Currentaddress: 18975 Collins Ave #3203
Cit : unn lsles                        State: Florida           ZlPCode: 33160
Own/Rent OW n Monthl a mentorrcnt;                   How Lon ?     1 ear
Pass ort#                    Count :                                     Ex iration date:
Driver'sLicense #                     State lssued;                      Ex iration date:
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Cit :                   '             State:                             Z1P Code:
Position:     Presiden                Hourl /Salar                       Annualincome:          400k/ r

LastName:            Kin                                FirstName:       M     i n
Date ofbirth;                                  SSN :     -   -          CellPhone #;            -     -
Currentaddress:                   '
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            18201CollinsAvenue,Sunny lslesBeach,FL 33160 * T 305.9l7.0300 * F 305.9I7.0333


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      Currentem lo er: m om /house W ife
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      Cit:            unn Isles             State: FI ri                         ZIPCode:          1
      BankName: I I r i ni                   Address:
      Cit :                               State:             '                 ZlP Code:
      Phone:                              ContactNam e:                       '
      Have ou orthe co-a licanteverfiled forBankru tc ?                        lfYes,when:
      Have you orthe co-applicanteverbeen Evicted from any tenancy?     EverBroken a     EverSued?
                                                                   NO   Lease? N O           NO

     N am e:                          '                                 Phone:        -      -
      Relationshi: Business A ssociate
            N am e:             ' '                                     Phone:        -      -
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      Vehicle l M ake:                                   M odel:                    Color:
      Year:                                  License Plate #                        State:
      Vehicle 2 M akt:                                   M odel:                    Color:
      Year:                                  License Plate #                        State:

     Have you orthe co-applicanteverbeen arrested orconvicted ofany crim e? Include m isdem eanors,DUI,etc.or
     are any crim inalchargesnow pending? YES /NO

      IrvEs,city:               NO
      State:


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                    l8201CollinsAvenue,Sunny lslesBeach,FL 33l60 * T 305.917.0300 * F 305.917.0333


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Nam e:                                                               Relationshi :
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Nalne:                                                               Relationshi :

Iherebyauthorize l820lCollinsAvenueCondominium AssociationdbaTrumpRoyaleto obtainaconsumerreport,andany
otherinformation itdeemsnecessary,forthepurposeofevaluatingmy application.Iunderstand thatsuch information may
include,butnotlimitedto,credithistory,civilandcriminalinformation,recordsofarrest,rentalhistooqemployment/salary
details,vehiclesrecords,licensing records,and/orany othernecessal    y inforlnation.lunderstandthatsubsequentconsumer
repol'tsm ay be obtained and utilized underthis authorization in connection w ith an update,renewal,extension orcollection
withrespectorinconnectionwiththeleaseorpurch%eofaresidenceforwhich thisapplicationwasmade.lherebyexpressly
releaseTrump Royaleandany procurerorfurnisherofinformation from any liability what-so-everin theuse,procurement.or
fulmishing ofsuchinfonnation,and understand thatmy application inforlnation maybeprovided tovariotlsIocal,state,and/or
federalgovernmentagenciesincluding withoutlilnitation,variouslaw enforcementagencies.
l/W efurtherstatethisApplication andAuthol    izationwassigned by me/usand wasnotoriginated with fraudulentintentby me
/usoranyotherpersonthatthesignaturets)below aremy/ourownpropersignature.l/Wecertifyunderpenaltyofperjurythat
1hefore oin istrueand correct.       .
Signature ofapplicant                                                                    Date:
                                                                                               12/15/2020
Signature ofco-applicant                                                                 Date:
                                                                                               12/15/2020




            18201Collins Avenue,Sunny Isles Beach,FL 33160 * T 305.917.0300 * F 305.917.0333


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                                 PET R E G IST R A T IO N
UnitNo.                                        NA       Date
LegalOwnerName(tiownerf')

Primary ResidentfoccupantNameT amily                    Lessee(ifapplicable)




Name:
Type:D og /Cat/Bird
Breed
Age
W eight
Gender
Serviceanimallicense(ifapplicable)
Vaccination recordsreceived:
Picture received:

      Acknow ledgem ent& Agreement
      l/W eam /are aw are oftheA ssociation rules,regulationsand l'
                                                                  estrictionsregarding petson the
      property and agree to abide by them .
      signed                                                           Date 12/18/2020

      Signed                                                           Elate




          18201Collins Avenue,Sunny Isles Beach,FL 33160 * T 305.917.0300 * F 305.9I7.0333


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         BA C K G R O U N D C H E C K A U T H O R IZA TIO N
                              FO R M
   You are hereby authorized to release any and allinform ation requested with regardsto
   verificationofmy bankaccountls),credithistoryscrim inalrecord history,employment
   verification and characterrefercncesto A ssociation'sthird-pal'
                                                                 ty screening com pany.This
   inform ation isto be used form y /burcreditrepol-tformy /ourApplication forOcctlpancy.

   I/W e hereby waive any privileges1/W e may have with respectto the said inform ation in
   reference to itsrelease to the aforesaid pally.lnform ation obtaincd forthisrepol-tisto be
   released to the screening com pany,Property M anagersBoard ofDirectorsand the Landlord for
   theirexclusive use only.

   PLEASE INCLU DE A CO PY OF YO UR D RIVER'S LICEN SE AND SOCIA L SECURITY
   CA RD TO CON FIRM IDENTITY .IF YOU D O N OT HAV E A SO CIA L SECU RITY CA RD ,
   PLEA SE IN CLUDE A CO PY OF YO UR PA SSPORT /CURRENT IDENTIFICATION CA RD .

   I/W e furtherstate thisA uthorization is signed by m e /usand w asnotoriginated with fraudulent
   intentby me/usoranyothtrperson and thesignaturets)below aremy/ourown proper
   signature.

   I/Wecel-tifytlnderpenaltyofperjurythattheforegoingistrtleandcorrect.
   Ifyou orthe co-applicanthave falsified,deliberately m islead orom itted to m ention any
   inform ation on yourapplication,you m ay notbe approved fora purchaseslease and or
   occupancy.
    M ichaelKing                                                              Date 12/18/2020
   (ApplicantNamePrinted)               (Applicant'ssignatttre)


    M arianna King                                                            oate 12/18/2020
   (ApplicantNamePrinted)               (Applicant'ssi
                                                     gnalure)




       18201CollinsAvenue,Sunny lslesBeach,FL 33l60 * T 305.917.0300 * F 305.9l7.0333


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         O W N ER S /T E N A N T S A C C E SS PE R M ISSIO N
                               FO R M
   This form isto be sublnitted to the M anagem entOffice in orderforaccessto begranted to any
   individualorentity.FrontDesk klkeceiving Desk isnotallowed to acceptchangesto existing
   accessperm issionsform sunderany circum stances.
    NA                                                 F
                                                           theundel-signeddoherebycertif-
                                                                                        ythat
   w e arethe owners/legalresidentsofUnitNo.                        in TRUM P RO YALE A
   CON DOM INIUM and we hereby authorize thefollowing individuals and /orcom paniesto enter
   upon the property maintained by the residentialcom m unity know n asTRU M P RO YALE A
   CON DO M IN IUM .

               GuestNam e                        Relationship                   Expiration Datt
      1.
      2.
      3.
      4.
      5.

   W e understand thatby signing thisA ccess Perm ission Form ,we are granting access withouta
   phone callto personslisted on thisform . Access is granted up to the unitonly. A sow ner,we
   w illtake responsibility forproviding ourguestsand service contractorw ith accessto our
   individualunitas necessary.Pursuantto the Declaration ofCondom inium forTRUM P
   ROY ALE A CON DOM INIUM and the Declaration ofCovenants,Restrictionsand Easem ents
   forTRUM P ROYALE A CON DOM IN IUM ,we w illbe respoasible forthe expense ofany
   l
   naintenance,repairs orreplacements rendered necessal-y by the act,neglectorcarelessnessof
   any and alIofthe foregoing persons.ln connection therew ith,we do hereby irrevocably and
   unconditionally agree to indem nify and hold harm lesstheTRUM P ROYA LE A
   CON DO M INIUM ,the A ssociation,theirrespective affiliates,ow ners,pal-tners,successors,
   assigns,agents,directors,officersand em ployees,from any and allclaims,liabilities,dam ages,
   andexpensesarisinjfrom orrelatedtothepresenceofanyoftheforegoingpersonsonthe
   property.Accesswlllnotbe granted by verbalrequest. THIS FORM IS NO T USED TO
   A LLOW A CCESS NO R AN Y SERV ICE TO BUILD ING 'S COM M ON AREA S AND IT'S
   SERVICES.

   Owner'sy'renantSignature                                             Date: 12/18/2020

   Received by M anagem ent                                            ()ate:

      I820ICollinsAvenue,Sunny IslesBeach,FL 33l60 * T 305.917.0300 * F 305.917,0333


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           PA C K A G E A C C EPTA N C E/R EL EA SE FO R M

   UnitNumber 503

   I/We,     M ichaelKing                          ,    bysigningthisaddendum,giveTrump
   Royaleem ployees,itsagentand affiliatespennission to sign and acceptpackage deliveries
   addressed to my/ournam e and unitnum ber.

   IunderstandandagreetoholdTrumgRoyale,itsagent,employeesandaffiliatesharmlessofany
   dam age to delivered packagesand w lllnothold them responsible forpackage dam age,m issing
   package item s,theft,etc. Residentshave an option ofrequesting a package to be delivered and
   leftatthe frontdoorofthe unit. Should Ichoose thisoption thatisavailable to m e,lw illnot
   hold Trum p Royale,itsemployees,itsagentand affiliatesresponsible forthe package/sonce left
   atthe frontdoor.

   Iajreeandunderstandthatanypackageleftwithmanagement/receivingmorethan30daysfrom
   dellvery datew illbe returned to sender.

   1agree and acknowledge thatonly a reasonable num berofpackages can be held forlny unit.




                                                          12/18/2020
   R s' entSignature                                    Date




   ResidentSignatnre                                    Date



      l8201CollinsAvenue.Sunny lsles Beach,FL 33 I60 * T 305.917.0300 * F 305.917.0333


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                                      405
     Jones,C arm en                                              June 17,2021
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                 THE CIRCUIT          THE ELEVENTH JUDICIAL CIRCUIT
                      IN AND FOR MIAMI-DADE COUNTY, FLORIDA                       :




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           M ICHAE L K ING ,
                       Defendant .                                                r
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                                      405
     Jones,Carm en                                            June 17,2021
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           APPEARANCES'
                      .              Videoconference)
                                                                              (
           MENACHEM MAYBERG, ESQUIRE                                          (
             Seltzer Mayberg
             10750 NW 6th Court                                               C
             Miami, Florida 33168
              (305)444-1565                                                   )
             menachem @smfirm .com
               Appearing on behalf       Plaintiff                            (


                              ESQUIRE
                             Boulevard




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     Jones,C arm en                                              June 17,2021
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           Exhibit          6/3/21    King/lones E-Mai1....                      i
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    Jones,C arm en                                                                                                                                                                                                June 17,2021
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                                                                                                              PROCEEDINGS                                                                                                                                             J
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                                                           THE COURT REPORTER ;                                                                                   attorneys

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                                                        Florida Supreme                                                                                                   parties                                             their                                    '
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                                         counsel consent                                                                                arrangement                                                         waive any                                                  7
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                                                        counsel                                       Michael King, the Defendant ,                                                                                                                                    ;
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                                                                          attorney for                                                           King.                                                                                                                 (
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                                      405
    Jones,C arm en                                                       June 17,2021
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                                               attorneys specifically                   i

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                               MAYBERG :           understand that, but why              :
                                                                                        y'
                         deponent                     office?                           ;
                       THE COURT REPORTER :                                  this
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                               MAYBERG :       didn 't agree                            1
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                       Perhaps Mr. Buratti can enlighten us .                           #
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                efforts                 need      make      order        clear           j
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                                     deposition .                                       i
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                         file for              Paul King,         understand            j
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                     your client; however,                       clear these            !
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                dates                  other co-counsel                                 '
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                record                       with them         advance                   l
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                            MAYBERG '
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                            BURATTI :              proceeding according                     )
                      handbook             Florida Courts.                                  '
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                            MAYB ERG :                 that 's                              '
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                asking .               deponent
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                agreement            attorneys .                                             !
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                          the          reporter .                                           )
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                                BURATTI :         believe             following
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               Florida procedures                                              place
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                       deposition,                                     objection,
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                                MA YBER G :        then       M adam Cou rt Rep orter ,          i
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                                                  statement again .

                       THE COUR T RE PORTER :                   atto rne ys                      E

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                       THE CO URT RE PORTER :                   a ttorney s                      )
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                               MAYBERG :                understand that,                         j
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                p roceedings                administering       oath remotely .             :

                                arrangement         pursuant                                t:

                      Florida supreme                                                       '
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                counsel consent               this arrangement and waive                    k

                objections                                                                  7
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                       THE COURT REPORTER :                                                 j
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                                    m inute .                                                                                            we have gone without

                                     statement being                                                                        before .                                                                 qust

                                     clarify                                                                    put                           the

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                                                                          MAYBERG :                                 Right.                                                              acknowledging                                                                 i
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                                                          THE COURT REPORTER :                                                                                                                                   around
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                                                          MR. MAYBERG:                                                            reference                                                                                                                           (
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                                     administrative order we 're talking                                                                                                                                                                                              r
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                                                          THE COURT REPORTER:                                                                                      have                              just Google                                                      )
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                                                                          MAYBERG :                                  Sure.                                         trying                                                  that                                       (
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                                                  speak                                 save time, but ..                                                                                                                                                             '
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                                                          MR . BURATTI ..                                            Is that                                   procedural oblect t.on,                                                 .
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                                                                          MAYBERG:                                                                                              just don't                                                                            (
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                                     understand                                                         I 'm being asked                                                                                                                                              '
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                                                          MR . BURATTI :                                             We have                                   witness here                                                                                           (
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                                                                          MAYBERG :                                               it 's something the Court                                                                                                           )
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                                     allowing,                                              course .                                                                                                                                                                  *
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                                                                           BURAT TI :                                                                                                                    procedural                                                    )
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                                     objection,                                                         register                                                                                     deal                                                              ;
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                           MAYBERG:                 procedural objection                 !
                          being asked      acknowledge

               administrative                      don 't know what that                 E
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                      MR. BURATTI: Actually you're just being                            '
                                                             don 't

               with         statement about               whether
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               she 's administering a remote oath , right?
                           MAYB ERG :       stat em ent               statemen t         ;
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               doesn 't                                                                  !
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                      MR . BURATTI :             might                                   j
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                           rules of procedure , court orders                             )
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               opinions applicable to remote testimony ,                                 q
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               depositions and other legal testimony                                     )
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                           COU RT RE POR TER :                                           )
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                      MR . BURATTI :             -- Sorry?                               g
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                      THE COURT RE PORTER :                                              l
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                                                                ARS 41-375,              )
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                           MAYBERG:     z'll look                                        è
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                           BURATTI:                                 like it , s          :t
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               SC2O-23, Comprehensive                                  measures          ,
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                                                                                 11 :
                      the Florida State Courts.               governs

               deposition practice,                              know              )
                                                                                   è

               the                                            which one

                      second amendment .                                           :

                                 understanding                Florida
               S                                                                   )
                upreme                                              that           j
               designed         protect          administer         remotely .     )
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                      like      proceed with the deposition                        r
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                             MAYBERG :                like                         '

               read that                            referencing .
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                             BURATTI :                   court reporter            :
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                                  the witness, please .                             l
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                             MAYBERG: 1'm objecting.                               )
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      16                     BURATTI:    Understood .                              )
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                                                      swearing                     î
               W itness?                                                           l
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                       MR . MAYBERG :    Procedures and swearing                   è
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               witness                   wants      retract                         t
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               Stateme nt .                                                        l
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                             BURATTI :   What statement?                           .
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                             MAYBERG :   Whatever statement         asked me       l
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                     acknowledge .               acknowledging                     '
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              Administrative Order 41-375
                                                                                             t

                               BURATTI:         the other            said

                           other Florida Supreme Court --                                    t
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                               MA YBERG '
                                        .            That 's                                 i

              sa id               ap pl icab le b ecause I 'm go ing

              The court reporter                asking              a statement

                      asked             acknowledge            statement .    This
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                                  said her statement             based                       '
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                                               41- 375 .                                     '
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                               BURA TTI :                                                    ;

                                  swear              witness             started ,

              please .
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                               MAYBERG :             Court Reporter, were you                y
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              speculating              did              that that came from                  t
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                      business?                                                              '
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                      THE COURT REPORTER :             It 's not     business.               l
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                  was           This          statement that we              created         l
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                                   general              but there                            i
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              administrative order,                                                          :
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                      MR   .   MAYBERG :     Right .    And do                               )
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                      THE COURT REPORTER                                                     )
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              Remote administration                  legal oaths, SC20-l6.                   t
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                      statement,                                                             j
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                      MR                                                                     7
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                               MAYBERG: Okay.              I'm objecting                     y
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                                                                                        13
                deposition           multiple grounds,               I can 't                è

                acknowledge that statement                     don 't know what

                                 don 't want               anything else based

                            statem en t .                                                    )

                          But       objecting                record, before                  y
                witness gets               this witness                deposition

                            unilaterally .               notice             amended

                notice                 deposition came             today .                   .
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                filed               16th          June                  and today            :
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                deposition           not           24                                        )
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                deposition           being started .                                         )
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                            such      am          prepared .   Plaintiff has                 !
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                     notice                and Plaintiff 's counsel                          '
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                agreed           this and      haven 't           anything that              i
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                objecting                  witnessr deposition                               t
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                      MR . BURATTI:         Will the court reporter please                   t
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                swear           the witness                                                  )
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                                COURT REPORTER :           Jones r   will                    (
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                raise your right                                                             1
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          THE REU PON /
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                                        CA RMEN JONE S ,                                     ',
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                              a Witness herein , having been first duly

                                                  truth, the                                                                         truth ,                                               nothing                                                                        truth,



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                                            M R . BURA TT I :

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                                                      A                       Good afternoon .
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                                                                               This                                   my first Zoom deposition .
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       11                                                                                              you been deposed before?                                                                                                                                                                                               t
       12                                             A                       Ye s .                                                                                                                                                                                                                                         1
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       13                                                                     How many times?                                                                                                                                                                                                                                )
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       14                                             A                       Twice in my lifetime .                                                                                                                                                                                                                         l
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       15                                                                                                                                                                                  ten years?                                                                                                                        è
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       16                                             A                       Ye s .                       Well , maybe not .                                                                                                                                                                                                l
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       17                                                                     Ye s .                        Yes . One yes , and another one was 20                                                                                                                                                                           i
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       l8                    y ears ago .                                                                                                                                                                                                                                                                                    .)
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       20                     with your providing notary services?                                                                                                                                                                                                                                                           ,
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      25                                         dispute?                                                                                                                                                                                                                                                                    t

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                                                     *704...'.;>,,.T t'ttâfù.C8:tt..t'%IL....$$..*<5..:.r:t%.%.:'t:;0*' ..rM.t..t':1lzkz'z''''.2.r1J:1.ô3,''%'.%33+'5t,r+''':' ''.''%::ht.
                                                                                                                                                                                         qf:54').qvt.Totfq9t:kt1@efktT:y.'h..%.*..û:t . 'no''''' *%'ey%''we': '' à'' .:g. ..NJ;..;'
                                                                                                                                                                                                                                                                                                                             l
                                                                                                                                                                                                                                                                                  Jl.'1kkh..t' $1:.L'.....â.....$e'î$.+21<%'%*'Jl


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 '




                                                                                         15 '
                                                     into any confidential
           isformziioR .                                                                      J

                                 MAYBERG :            Buratti,                                è

                 just              moment,                   give      heads up,
                                                                                              E
                because                                               deposition
                                                                                              )
                 started , I 1m having                                                        r


                chamber                           clarification      whether

                      Judge wants                 intervene           point     hear          q
                                                                                              .




                            terms                 deposition going forward .                  ï

                                          letting                          reaching           C
                                                                                              (
                                                                                              )
                             Judge Thomas' chambers                                           :
                                                                                              '
                                 BURA TTI :                                                   l
                                                                                              )
                                                                                              '
                                                                                              )
                    BURA TT I '                                                               ,
                                                                                              1
                                                                                              t.
                                                                                               ,
                                     proceed with               answer .                      )
                                                                                              i
                A       The question again .             I don 't know what the               !
                                                                                              )
                                                                                              r
           question is . Repeat the question .                                                l
                                                                                              l
                                          again .                                             )
                                                                                              '

                                                                                              ï)
                        What                  general                the deposition           j
                                                                                              '
                                                                                              t
                                                                                              )
                                                                                              :
                                                                                              1
                                                                                              .
                                          pertained                   services?               )
                                                                                              )
                                                                                              ,
                A       T                                                                     l
                            o verify that I notarized the doc:lment .                         )
                                                                                              7
                                                                                               )
                                                                                               .
                                                                                               l
                                                                                               l
                                                                                              )t
                A       I 1m a realtor                                                        t:
                                              ,   so I 'm an independent                      f
                                                                                              )'
           contractor .                                                                        l
                                                                                              (
                                                                                              t
                                                                                              )
                                                  nOta ry?                                    ,
                                                                                              1
                                                                                              i
                                                                                              lt
                                                                                              )
                A       Ye s .                                                                t
                                                                                              !
                                                                                              i
                                                                                              r
                                                                                              !

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                                                                               16
                                                                                    '
                                                                                    (
                                                                                    g
                                do anything                      presently?

                  A   I 'm a real estate instructor .                               '

                      Anything
                                                                                    )
                  A   That 's it .
                                     wo rk                                          l
                                                                                    t
                                                                                    r
                  A   EXP Realty as a realtor, and Optimum School
           of Real Estate as a real estate instructor .                             ?

                      Anyone else?                                                  )
                                                                                    i
                  A   That 's         No one else .
                                                                                    i
                             long             worked       those entities?          )
                                                                                    ,



                  A   How -- For who?                                                ?
                                                                                     7
                                                                                     :
                             those entities               qust described             )
                                                                                     l

                                                                                    .ë
                                                                                     :
                                                                                     k
                  A   Since Decomher.                                                )
                               December?                                             '
                                                                                     i
                  A   Since Decem her 28th .                                         i
                                                                                     #
                                                                                     !
                                                                                     )
                                    working for anyone              that time        ;
                                                                                     l
              December                                                               l
                                                                                    )
                  A   No .                                                           1
                                                                                     l

                                    working       those businesses,                 j
                                                                                    j'
                                                                                    kl
           were       employed                                                      :è
                                                                                    j'
                  A   Paul King and Sophia King .                                   ''
                                                                                    '
                                                                                    j'
                                                                                    2.
                             there            business associated with              î
                                                                                    t
                  and Sophia                                                        !
                                                                                    j
                                                                                    t
                  A   A b usiness of what?        I 'm sorry .                      )
                                                                                    i
                                                                                    !
                                                                                     ;
                                                                                     .




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 *




                                                                               :

                      WaS there a1SO

           Services          yOu Were providing
                                                                               (
                                                                               (
           Sophia King?                                                        .

                A     Yes . Century 21 1st Class Realty and Real
           Estate Schools of America .

                      Anything

                A     That 's it .                                             ;

                                                                               1
                                                                               !
                                                                               l
                A     Ten years .
                                  approximately                                q
                                                                               (
                A     August 17th , 2010 .                                     J
                                                                               ,
                                                                               ,
                                                                               q


                                                                               i.
                                                                               l
                                                                               '
                                                                               y
                A     Decmmher 15th , 2020 .                                   '
                                                                               !
                      What       you         Paul         Sophia King from     !
                                                                               y
                                                                               '
           August            sorry, August        2010 until                   )
                                                                               '
                                                                               .

                                                                               ),
           December                                                            t
                                                                               l
                A     I was their office manager .                             '
                                                                               l
                                                                               )
                                                                               .
                                continue     provide        services           '
                                                                               .
                                                                               i
                                                                               (
                                                                               è
                                                                               l
                                       of 2020?                                1
                                                                               l
                                                                               )
                                                                               4
                                                                               .
                A     On a freelance basis . On an hourly basis .              t
                                                                               i
                                                                               t
                                                                               r.
                      For how long             continue      provide           :
                                                                               1
                                                                               i
           services          hourly basis after December 15th, 2020?           i
                                                                               '
                                                                               f
                                                                               l
                A     I don 't romemher the last time I did some               $
                                                                               t(
           work for Sophia .    I don 't remomher .                            j
                                                                               '


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                                                                                18
                                      anything        you can

           would help remind                     that was?
                                                                                      )
                    A      I     Nothing to rem ind me .   I don 't remember          '
           the exact last time I spoke to Sophia .
                                                                                      :


                    A      This year , yes .
                                         if it was

           calendar quarter?
                                                                                      t
                    A      After the first what?
                                                                                      2

      10                   calendar quarter .
                                                                                      J
      11            A      Probably . I really don 't remember .    I don 't          :
                                                                                      i
      12   remember the last time I did some work for her .           It 's           1
                                                                                      ;
      13   like minor jobs. Like an hour, $25.                                        t
                                                                                      '
                                                                                      l
      z4                                 much they                                    )
                                                                                      !
           2015, 2020 period?                                                         )
                                                                                      l
                    A      Yes . She wanted me to help her occasionally               '
                                                                                      yö
           W hen        you know , to prepare a contract or change a                  l
                                                                                      t
                                                                                      ,
                                                                                      lr
           listing on the MLS, and I told her minimum $25 for an                      t
                                                                                      i
                                                                                      1
           hour .       Even if I did 15 minutes she would still owe me               )
                                                                                      j
                                                                                      .
                                                                                      è
                                                                                      i
                                                                                      l
           $25 .                                                                      7
                                                                                      1
                                                                                      ,

                                                                                      j
                                                                                      .
                                            paid by her            hourly             i
                                                                                      l
                                                                                      )
           work?                                                                      1
                                                                                      )
                    A     After she let me go , by Zelle or        or cash .          l
                                                                                      l
                                   submit invoices?                                    !
                                                                                       î
                                                                                      :)
                    A     xo . xo invoices .                                           t
                                                                                      (



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                                                                                   19
                                          COnVey



                   A    Just tell her. She just Zelle's it. Zelle
           is easy .
                                                                        paid you

               hourly                      December                                     )

                   A    $50 was the last time I did any work, and I
           rememher she             Oh, actually $25, but she gave me 50
                                                                                        :
           because that 's al1 she had .            And I said okay .   I can

      10   live with $50.
      11

      12        A       And that was cash in person .                                   '
                                                                                        )
                                                                                        :
      13                       I       t rying              approximately               l
                                                                                        à
                                                                                        i
      14           she rs paid                   December                               .
                                                                                        è
      15       h                                                                        l
                   undreds?        Thousands?                                           (
                                                                                        t
                                                                                         C
                                                                                        ).
      16        A       No .       Not even -- Not even a hundred .                     )
                                                                                        )
                                                                                        p
                                                                                        ii
      17                           you provide notary                                   t
                                                                                        l
                                                                                        l
      18               Sophia?                                                          ï
                                                                                        l
      19        A       Just one time                                                   i
                                                                                        .

                                            ,   yes .                                   j
                                                                                        l
      20                                                                                i
                                                                                        I
                                                                                        r
      21        A       Ye s .                                                          !
                                                                                        1
                                                                                        :
                                                                                        t:
                                                                                        .
                                                                                        (7
      22                         you also provide notary services                       l
                                                                                        !
                                                                                        t
           subsequent to December                   2020?                               )
                                                                                        l
                                                                                        .
                                                                                        j
                A       No . That was the docnment that Sophia                          l
           brought me to notarize .                                                     :
                                                                                        j
                                                                                        ,
                                                                                        i


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                                                                                   20
                                 sorry,                           for Paul and          ,

                                                               December 15th,

           2020?                                                                        j
                                                                                        t
                                                                                        .

                  A     Not for Paul . Only Sophia .             I don 't -- I
           mean , I haven 't taïked to Paul .          Sophia is the one that           7

           hires me for random jobs.                                                    q
                                                                                        !
                                            end of January         2020,                '
                                                                                        :
                      working with Paul             Sophia King ,                       )
                                                                                        )
           providing notary services?                                                   '
      10          A     No . The last time I did a notary service was                   i

      11   in Decmmher .                                                                '
                                                                                        l
      z2                                            2()2 ().                             t
                                                                                        1.
      l3                                                                                )
                                                                                        l
      14          A     Oh       I thought you meant this January .                     )
                                                                                        :
                             ,
                                                                                        )
      15                               take                     want to take you        t
                                                                                        i
                                                                                        !
           back              January 2020          period . Before                      l
                                                                                        l
                                                                                        ..
                                                                                         '
                                                                                        k
                  A     Okay .                                                          #
                                                                                        l
                                                                                        1
                                                                                        i
           normally .                                                                   t
                                                                                        7
                                                                                        !
                                                                                        ,

                  A     I haven lt done any notary because we closed                    1
                                                                                        .
                                                                                        t:


           our office in May              or actually in March is when they             I
                                                                                        )
                                                                                        .

                                                                                        i
           closed and then we went -- went back in May but only                         '
                                                                                        )
                                                                                        i
                                                                                        '
                                                                                        )
           opened for a week and they sent me home .                                    l
                                                                                        i
                        A                                                               '
                                                                                        è
                            nd I 've been working from home from I would                '
                                                                                        :
                                                                                        j)
           s                                                                            )
            ay May      May 18th is when they closed the                                I
                                                                                        1



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                                                                                                                                                                                                                                                     21
                         physically closed the office and I came home and worked

                         until December -- December 15th .                                                                                                              I remember because                                                                    E

                          that 's the day she let me go . So I was surprised .                                                                                                                                                                                è

                                                                 You were surprised?

                                            A                   Yeah .                    I wasn 't expecting to be fired .                                                                                                         I                         (
                                                                                                                                                                                                                                                              :
                         worked for them for ten years .

                                                                 Did they give you                                                                    reason?

                                            A                   They can 't afford me anymore .
                                                                Anything else?
                                                                                                                                                                                                                                                              )
                                                                                                                                                                                                                                                              '
                                            A                   That 's it .
                                                                                                                                                      Worked With                                                                                             '
                                                                                                                                                                                                                                                              h


                         Sophia King during                                                                             ten years leading                                                                                  December
                                                                                                                                                                                                                                                              l
                                     2020,                                                     regularly asked                                                                     provide notary                                                             !

                                                                                                                                                                                                                                                              (
                         services?                                                                                                                                                                                                                            g
                                                                                                                                                                                                                                                              )

                                                                                                                                                                                                                                                              '
                                                                What processings did they use                                                                                                                order for                                        t
                                                                                                                                                                                                                                                              j
                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                              g

                                                    provide notary services?                                                                                                                                                                                  1
                                                                                                                                                                                                                                                              )
                                                                                                                                                                                                                                                              )
                                                                                                                                                                                                                                                              )
                                                                                                                                                                                                                                                              r
                                            A                   What                         What                                                                                                                                                             l
                                                                                                                                                                                                                                                              1
                                                                           curious                                                                                                         business                                                            t
                                                                                                                                                                                                                                                               l
                         processes were used                                                                            the Kings                                              your work with                                                                  @
                                                                                                                                                                                                                                                               l
                                                                                                                                                                                                                                                              ,1
                         when you were notarizing things.                                                                                                               Was there a process?                                                                  :
                                                                                                                                                                                                                                                              1-
                                            A                   A process? No. They just had to be present                                                                                                                                      .             )
                                                                                                                                                                                                                                                              )
                         They 'd have to sign in front of me and provide ID and I                                                                                                                                                                             jl
                                                                                                                                                                                                                                                              t
                                                                                                                                                                                                                                                              k:
                        would notarize documents . Whether it 's a closing or --                                                                                                                                                                              )
                                                                                                                                                                                                                                                              'j
                        Whatever documents that they needed                                                                                                                        as long as they                                                             l
                                                                                                                                                                                                                                                               (
                                                                                                                                                                           ,
                                                                                                                                                                                                                                                              1
                                                                                                                                                                                                                                                              E
      t''r'' ' eh>9'.. ..t:,t'k......ï.... .. ...).44'........1,: ....    -.   ...:z
                                                                                   .. ::',:.1$.s:z'r:.z...,>...:gzr:;: ...r>.... t..t......$.:.o..j   .tî.*%.1. ..1T'   : .......J.Q:....-..;.'......1...o,.. .$w.   ... ).*.o .. .. . . pxs .%p .   v.... . g).l


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 '




                                                                            22 i
           were there .

                                                                worked
                                                                                 :
           with              Sophia King              notarize

                 person?                                                         )
                                                                                 Lr
                  A    Cor re ct .                                               è

                       And that 1s every single notarization                     1
                                                                                 ,


           made       only                                 present               '
                                                                                 7

                                                                                 l
                                                                                 )
                  A    Yes . M ost of the time until Decemher .     The          :
                                                                                 l
      10   document in question for this lawsuit , he was not                    )
                                                                                 k
                                                                                 '
                                                                                 è
           present. Sophia is his mother and he brought -- she                   )
                                                                                 (
           brought the document, Sign this for -- please notarize                )
           this for Paul .                                                       è
                                                                                 l
                       I didn 't think any thing of it . You know , I            ï
                                                                                 '
                                                                                 i
           worked for them for ten years. They're brothers.                      )
                                                                                 (
           That 's his mom .     So I had any -- no worries .   I thought        è
                                                                                 t
                                                                                 )
                                                                                 :
           I was notarizing Paul 's signature .                                  l
                                                                                 i
                           during COVID                                          i
                                                                                 )
           h                                                                     i
            ad         outside                                                   l
                                                                                 i
                                                                                 l
                  A    Not w ith the notary , because I didn 't do much          y
                                                                                 i

           notary . That was not my main Jo
                                         ' b . My main job was                   1
                                                                                 j
                                                                                 7
                                                                                 ).
           training and recruiting and handling the school and                   l
                                                                                 k
                                                                                 '
                                                                                 l
                                                                                 )
                                                                                 r
           things like that . Notary is nothing .                                b
                                                                                 ,
                                                                                 $
                                      marketing,                                 j
                                                                                 j
                                                                                 '
                  A    Marketing .   Promotion . E-mail blasts.                  l
                                                                                 l
                                                                                 l
                                                                                 1

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                                                                                   23    ;

          M ostly training , training the agents .
                            many agents                 trained                          ,
                                                                                         :

               period?

               A        It was about 90 .         90 agents .
                                                                                         L




          Royale                 prior                                                   ,

               A       Not at all .                                                      ,
                                                                                         7

                                 Sophia had said that                busy
          marketing                             2018, she would have been                C



               A        In 20 -- What year?          You 're saying --                    :

                                                                                          J
               A        2018 .    It 's        Marketing is not , you know ,              '

          what I did for her listings . Maybe I added to the MLS ,
          you know , but I was definitely not actively marketing                          l
                                                                                          )
          Unit 503 .     That 's her -- Or Paul 's property .            It was          1
                                                                                         j7
                                                                                         )
                                                                                         )
                                                                                         l
          rented .                                                                        :

                                                                                          f
                                                                                          .
                                                                                          .



               A        It was rented          so I haven I t done any                    l
                                                                                          j
                                           ,
                                                                                          t
          marketing .     It was on the MLS for sale and for rent .                       )
                                                                                          j
                                                                                          !
                                                                                          1
                                                                                          :
          That 's all I -- I know about it .                                              )
                                                                                          lb
                                                                                          j
                        For years it's been on the m arket .                              1
                                                                                          7
                                                                                          j
                                                                                          '
                                                                                          '
                                                                                          I
                                                                                          i
                                                                                          .
                            many times                think       have                    '
                                                                                          l
                                                                                          ,
                                                                                          (
                                                                                          :
                                                                                          (
          notarized Paul King '           signature?                                      1
                                                                                          )
               A        Over the last ten years I would not even                          ;


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                                                                              24
           know .   I 've -- I 've done a lot of notaries .

                       M ore

                A      In ten years?        Maybe . Maybe in ten years 50 .        )

           Maybe. It's possible. Not for him , but just in
                                                                                   )
           general .                                                               k
                                   you would notarize       general
                                                                                   .
                                                                                   (


                                                                                   i
                                                                                   )
                A      For Sophia King mostly , because she was the                q
                                                                                   )
                                                                                   )
           one that was always there .
                                                                                   q
                                                                                   .
                                                                                   ;
                                                                                   '
                                      notarizing documents          Sophia?

                A      For Sophia , not Paul . Anything that Sophia                g
                                                                                   t
           would give me for notary would be clients or come to                    t
                                                                                   )
           her office and notarize , things like that .                            )
                                              applies        times that            '
                                                                                   i
           You :ve notarized         Paul        Sophia together?                  f
                                                                                   j
                                                                                   )
                A      In general . Just notarizing Period .                       l
                                                                                   (
                                                  how many times you 've           i
                                                                                   l
      18                              signature?                                   i
                                                                                   (
                A      P                                                           i
                        aul , I wouldn 't even have a n'Amher in my                (
                                                                                   )
           head .   I don 't remember specifics at all .                           )
                       More than                                                   )
                                                                                   !
                                                                                   .


                                                                                   )
                                                                                   '
                                                                                   :
                                                                                   !
                A      Ten years,            I can barely remeaber.                j
                                                                                   )
                                                                                   '
                               many times      you think you rve                   l
                                                                                   l
      24                                                                           l
                    signature?                                                     )
                                                                                   l
      25        A      Paul?                                                       )
                                                                                   .
                                                                                   j
                                                                                   lk
                                                                                   r



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                                                                                  25
                                                        documents .

                A        Over ten years, a lot .        I mean -- But not              y

           notary .    I mean , I 've seen his signature .        Sophia ran           j
                                                                                       )
                                                                                       .
           the office for Paul. So I'd just do what Sophia tells                       )
                                                                                       1
                                                                                       !
           me to do .
                               Sophia brings                          documents
                                                                                       )
                                                                                       :
                                                                                       t
                                                                                       )
              notarize                  working
                                                                                       )
                                                                                       l
                                                                                       (
                A        That would never happen . She would never do
      10   that .    It 's -- It 's a transaction .       It could be a sale ,         y
                                                                                       )

      11   a closing for one of her clients , or they 'd come to my                    à
                                                                                       :)
      12   office and I 'd notarize documents for closings .                           l
                                                                                       j'
      lJ                 One person , he always comes to me for closing                 i
                                                                                       i
      14   was a client of Sophiafs. So, yeah , it's just random .                     ,
                                                                                       !
      15   It 's not like a normal every day thing of notarizing                       @
                                                                                       )
                                                                                       .
                                                                                       )
           documents .     It's not my job description.            just happen         ,
                                                                                       )
                                                                                       i
           to have a notary .                                                          )
                                                                                       .
                                                                                       y
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           Exhibit                           document,            electronic           !
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            ocument, that                                          HLS share           )
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                             MAYBERG:    don't see           anywhere.                 t
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                             BURATTI: one second.                                      )
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                te rribly proficient       this,                                       )
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                         MR. MAYBERG:     problem .          just wanted               j
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                                                                                      26
                      you know .

                              BURATTI :                              work through
                        little           together .

                   SURA T Ti :                                                             '

                                                       d ocum ent ?                        7

               A       Are you asking me something?                                        '

                                                                                           !
                              JOn e S,                          Sc re en

          document titled

               A       Ye s .

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                                              document .                     when          i
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                              right .                                                      T
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          recorded            claim deed pertaining            Trump Royale                k
                      that I s                    this litigation .                        l
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               A       I don 't see how to move it up and down.                            )
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                                    You tell me .          have to                         l
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                     m OVe                                                                 l
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          for me       move                                                                !
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               A       You can move it up .                                                i
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                       You can move it up .                                                )
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                                                                                           j.
                       You can move it up .                                                )
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                                                                                           i
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                                                                                   27
                          Okay .

                          Okay .           recognize           document?                 )
                                                                                         )
           marked         Exhibit                                                        q
                                                                                         è

                  A       Ye s .                                                         ë
                                                                                         l


                  A       It 's a quit claim deed .                                      y


                  A       It 's a quit claim deed from Paul King to
           Michael and Marianna King , signed and witnessed by me                        '
                                                                                         !.
           and Sophia and Paul .                                                         )
                                                                                         i
                                                                                         .
                                                            the witnesses                9
                                                                             .           y
                                                                                         )
                                                                                         '
                                                   second             There 's           '
                                                                                         :
           signature               grantor , s                                           t
                                                                                         (
                                                                                         (
                  A       Ye s .                                                         :
                                                                                         t
                                                                                         à
                              you recognize           signature?                         )
                                                                                         )
                                                                                         )
                  A       Yeah . That 's the one I 've always seen .                     '
                                   So let me                through                      i
                                                                                         l
                                                                                         )
           C1u e st ion s .                                                              l
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                          Whose signature                                                i
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                                                                                         (
                  A       Paul King .                                                    j
                                                                                         i
                                                                                         l
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                                                                                         j
                  A       As far as I know it 's Paul King . I lve always                l
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           seen this signature as Paul King .                                            l
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                                                 Signature a                             i
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                 ten years                                                               l
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                                    A                   Yes.                    Ahsolutely .

                                                                                                                 say more                                         a thousand

                                    A                   No               not a thousand times .                                                                                                                                                    ë
                                                        Hundreds

                                    A                    I can 't say a hundred times , because the only                                                                                                                                           :

                 time I ever see signatures is when there 's a notary                                                                                                                                                                              )
                                                                                                                                                                                                                                                   t.
                docnment or , I don 't know , maybe when they get
                 insurance , somebody signs the declaration or --
                                                                                                                                                                                                                                                   E
                                                         I really can 't even rememher what kind of

                 documents I 've seen this , but                                                                                               definitely recognize
                 it .                                                                                                                                                                                                                              ;
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                                                                                                                                                          you worked                                                                               i
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                                         did                                                         familiar                                                         signature?                                                                   1
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                                    A                   Yeah .                                                                                                                                                                                     )
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      16 December 22nd, 20209
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                                    A                   The what?                                    Signature?                                                                                                                                    )
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                                                                                                     King 's signature                                                                                                                             F
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                 witness signature section?                                                                                                                                                                                                        l
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                                    A                   That 's me . My signature and my -- my nmme .                                                                                                                                              i
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                                                        O kay .                                                                                                                                                                                    !
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                                    A                   And my home address .                                                                                                                                                                      (
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                                                                                                                                                                                                  7
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                                    A                 December                             December 22nd .
                                                                                           your signature?
                                                                                                                                                                                                   i
                                    A                  I remember this , doing this . This is the

                   last notary I ever did for Paul . Sophia brought it to
                                                                                                                                                                                                   :

                  m e and asked me to notarize it aiong with other work                                                                                                                            '
                                                                                                                                                                                                   )
                   that I had to do for her that day .                                                                                                                                             ;
                                                      We were here about an hour and didn 't think                                                                                                 )
                                                                                                                                                                                                   )

                   anything of it. This is his mother, my boss. I just
                   did it for her .                                         I definitely -- I definite ly confirm                                                                                  C
                                                                                                                                                                                                   )
                   that I did notarize it without him being present                                                                                                                                ;
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                   because I thought Sophia needed me to do that for her .                                                                                                                         (

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                   because                                      told you                                                                                                                           l
                                    A                   She told me . She told me , Hi , Carmen , I ,m                                                                                             #
                                                                                                                                                                                                   )
                                                                                                                                                                                                   y'
                   bringing you a notary to sign and I need some help                                                                                                                              j
                                                                                                                                                                                                   i
                   W ith                  you know , a listing change , some listings on the                                                                                                       l
                                  ,                                                                                                                                                                y
                   MLs               change pricing .                                                                                                                                               r
                                                                                                                                                                                                   )
                                                                                                                                                                                                   i
                                                        Let me see , what else did she ask me to do                                                                                                j
                                                                                                                                                                                                   1.
                                                                                                                                                                                                    ,
                    that day. Yeah, we just went over in the computer all                                                                                                                          )
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                    the listings to make sure they were correct . Because                                                                                                                          1
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                    she had fired me on the 15th and she said, I just need                                                                                                                         I
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                   you for a couple of hours , when can I come , and she                                                                                                                           1
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                                                                                                                                                                                                   )
                    came that date. This was right before my vacation was                                                                                                                          )
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                    supposed to start, but she already had let me go.                                                                                                                               )
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                                                        Do                  see                                             witness signature                                                       g
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                                                                                                                                                                            r



                        A             Sophia King . I definitely know that
                                                                                                                                                                            )
                signature forever .

                                                                                                                                                                           ).
                        A             Because I 've seen her sign it and I 've                                                                                             t

                learned her signature because she tells me to help her
                                                                                                                                                                           j'
                sign things when she 's not there . She -- She gives me                                                                                                    '
                that kind of trust . So                                    have no cause and I remember                                                                    $
                her signature for sure .                                                                                                                                   C
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       12               A             Yeah . We 're talking about a family I 've                                                                                           l
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                                                                                                                                                                           j
       13       loved for ten years, all -- all three of them .                                                                                                            t
       14       Actually four , Danny , too . But I don 't know Danny                                                                                                      l
                                                                                                                                                                           l
       15                                                                                                                                                                  l
                much , I know Michael , Paul and Sophia . They 're my
                                                                                                                                                                           )
       16       employers .                 I called Sophia mom .                                    So I have no reason                                                    I
                                                                                                                                                                            j
       17       to doubt that this was -- this was for her , for Paul .                                                                                                     l
       18                                                                                                                                                                  )
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       19                       mean family?                                                                                                                               l
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       20                                                                                                                                                                  )
                        A             No , no , no .             They 're --                                                                                               è
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       21                             Employers. Employers .                                         1 gotcha .                                                            à
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       22               A             Employers , yeah . For ten years .                                                     called                                        i
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       23       S                                                                                                                                                          ;
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                 ophia m om . So I had no hesitation or doubts about ,                                                                                                     j
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                                                                                                                                                                           t
       24       you know, when they needed something. I would help                                                                                                         i
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       25       them .                                                                                                                                                     l
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                                                                                                                                                                                                           31            :
                                                                                                                                                                                                                         (
                                             When Sophia came                                                                                                           documents,

                                                      nervou s?

                               A             I 'm sorry , say it again .
                                                                                                                                                                                                                         è
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                                                      nerv ou s ?

                               A             No .                                                                                                                                                                        è
                                             Uncom fortable?                                                                                                                                                             1
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                               A             No , not at all .
                                              Fearfu l?                                                                                                                                                                  :
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                               A             CYXCUUiV
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                                              Fearful.                     Scared .                                                                                                                                      ?
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                               A             No .                                                                                                                                                                        )
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                               A             No , not concerned . I was Just sad about                                                                                                                                   j
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                                                                                                                                                                                                                         j
                                                                                                                                                                                                                         '
                 being let go and -- but other than that I didn 't see                                                                                                                                                   t
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                                                                                                                                                                                                                         ik
                 anything wrong with this at all .                                                                                                                                                                       !
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      l8                                                                                                                                                                                                                 )
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                               A              I mean, you 're talking two brothers and a                                                                                                                                 l
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                                                                                                                                                                                                                         i
                 m om .            Like why would I even dotlh t anything . I didn It                                                                                                                                    t
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                 see anything wrong .                                                                                                                                                                                     l
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                                                       going                          go                                      third page.                                                                                 t
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      23         trying                                the whole thing                                                                   screen for                                                                      t
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      24                                                                                                                                                                                                                 )

      25                                     The third page                                               Exhibit                            bears                          the                                          '
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                                                                                      t

           there CFN : 20210106967                       sorry,        Page           @
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           2808.


               A        What that is?         No , I have no idea .                   E
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               A        What notary block?                                            t
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          questions .                                                                 (
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                              Sophia        been upset       scared when              '
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                        M R . MA YBERG :                                              ;
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                              M AYB ERG :                                             )
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                               BURATTI:             have      objection?              l
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                        MR . MAYBERG :            We       an e-mail                  i
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                            with regard --                                            )
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                   don 't                                                             1
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               about         motion            emergency motion regarding             i
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                        Being that we started ,                   w ant               l
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               confirm ,           you have any objection                             @
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                                                                                      ;
               going to cross-examine                       because obviously         i
                                                                                      l
                                                                                      ,
                                                                                      l
                         u nawa re                                                    l
                                                       noticed it yesterday,          )
                                                                                      ')
               at least              amended notice, but if you 'll                   (


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                                                                                                                                   33 )
                                                                                                                Jone s r

                                                      think that                       would be best                                         è

                                      Judge 's                                    the emergency motion                                       )
                                     d                                                                                                       )
                                      eposition .                       Because
                what it would entail .                                                                                                       /
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                         MR . BURATTI:                You rre going to stay within the                                                       @
                                                                                                                                             l
                                my direct, right?                                                                                            (
                                                                                                                                             l
                                                                                                                                             L
                                MAYBERG :                          know ,             would stay with                                        7

                                     course                              I                                      right                        )
                                                                                                                                             '
                                                                                                                                             (
      lo                                                                                                   uepose                            @
                                                                                                                                             )
      lz                                                                     Th.i.s                                                          l

      12        witness .                                witness                                                                             )
                                                                                                                                             )
      13        third- party witness .                                                                                                       (
                                                                                                                                             .
                                                                                                                                             :
                                                                                                                                             '
                                                                                                                                             t
      14                 MR. BURATTI:                       have                 objection                      long as                      (
                                                                                                                                             t
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      15                           right                 follow up .                                                                         )
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                                                                                                                                             @
      16                        MAYBERG :                                      mean ,                                                        t
                                                                                                                                             t
      17        deposition                                                                                                                   j
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      18                                                                                                                                     i
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      19        C                                                                                                                            :)
                 ourt ls                                                                                                                     jï
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      20                redepose               witness                                 whatever                                              i
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                questions            would have the right                                     do                    been                     lr
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                            ne who 's noticing her                                       on any given                                        j
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                         MR .                                                                                                                t
                                BURATTI: No objection as long as                                                                             j
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'




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                               MAYBERG :          long as         Pardon?
                                                                                             L

               couldn 't                                                                     p
                                                                                             y?
                        MR . BURATTI:             long as            redirect                '

                         examination,                      objection
                                                                                             i
                                                                                             E
              doing                                                                          .

                                                                                             )
                                                                                             .
                                                                                             '
                                                                                             j
                         MR . MAYBERG:                 mean recross           just           )
                                                                                              )
                                                                                             (
                                                                                             !'
                                                                                              ;
                                                                                             ('

                               BURATTI:      Right .        long                              )
               examine                depose her,            long                             !
                                                                                             l
               examine                    examination ,                                      ;

               objection                          don 't                                      I
                                                                                              !
                                             or more                                          è
                                                                                             )
               th at stu ff .                                                                (
                                                                                             7
                                                                                             :)
                         MR . MAYBERG :      Right.     Okay .        then                    )
                                                                                              l
                        don , t m ind ,       going                           pause           l
                                                                                              y
                                                                                              l
                                                                                              /
                                                                                              )
                              moment,         going         1et                               q
                                                                                              ;
                                                                                              i
                                                                                              .
                                                                                              '

               assistant reach                          Judge                                 y
                                                                                              j
                                                                                              )
                               because               minutes                                  )
                                                                                              q.
               going                      Zoom,                     Judge know that           )
                                                                                              ?
                             reached an agreement              would                          1'
                                                                                              t
                                                                                              .

                                                                                              l
                                    the necessity                   emergency Judge           )
                                                                                              j
                                                                                              '
                                                                                              (
                                                                                              1
                    .    m                                                                    '
                                                                                              é
                    Jlû J)                                                                    )
                                                                                              1
                                      work?          you want          take                   )
                                                                                              1
                                                                                              !
                                                                                              1i
                                                                                              Y)
                                                                                              f
                         MR . BURATTI:                                                           :
                                                                                                 (
                                                                                                 .


                                                                                              j:



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 '




                                                                                  35 :
                       MR . MAYBERG :       Okay .                                     (

                        (Break        taken.)
                              MAYBERG '
                                      .     Judge                  record,


                                                                                       2
                                                             Thomas' chambers          1
                                                                                       i
                                                                                       ,
                                                                                       .
                                                                                       @
                      they 're letting Judge Lopez                        he

                doesn 't have               available        that emergency            )
                                                                                       L
                                                                                       )
                hearing because we reached an agreement .                              î
                                                                                       ,
                                                                                       '



                       MR . BURATTI:            right .            go back             '
                                                                                       1
                                                                                       .
      iO                                                                               )
                                                                                       .
                re sum e ?                                                             6
      11                      MA YBERG :                                               )

      12                       -- court Reporter,                                      t
                                                                                       '
                                                                                       (

      za                                   record,                                     )
                                                                                       i
      14                                                                               :
                                                                                       )
                                                                                       i
                                                                                       :
                                                                                       l
                                                                                       '
                                                                                       (:
      15               M R . MAYBERG :      Qkay .           Absolutely we can         j
                                                                                       '
                                                                                       .

                                                                                       t
                                                                                       j
                                                                                       l
                                 questioning .       Thank you .                       t
                                                                                       l
                    BURAT TI :                                                         t
                                                                                       y
                                                                                       l
                                                                                       l
                                                                                       '
                                                                                       r
                                             question          asked prior             l
                                                                                       ,1



                exchange                       Sophia        been upset when           )
                                                                                       j
                                                                                       '
                                                                                       i
           she brought           document                  notarize,                   t
                                                                                       i
                              able                                                     !
                                                                                       è
                                                                                       1
                                                                                       1
                A      I don 't know. I -- If she was upset, I would                   (
                                                                                       !
                                                                                       :
           see it in her face I guess.                                                 t
                                                                                       )
                                                                                       !'
                                                              befo re ?                l
                                                                                       )
                A      Not really .        I mean , I don 't romemher any --           ;
                                                                                       ?


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                                                                                       )
                                                                                  36
          her being upset.             just don't remmmher any occasion                 l
          where           Except when she fired me .
                                                                                       ),
                                was upset because
                                                                                        !
               A            Well, she was sad .     I was sad .   I was , you          )
                                                                                       l
                                                                                       p.
          know , hurt .        No warning .    There was one -- Not even a
          day 's notice . You know , right before my vacation ,                         '
                                                                                        )
                                                                                        )
          right before the holidays . That 's about it . And she                        :
                                                                                        )
          just said that she's               she 's broke, everybody 's broke.          !
                                                                                        :
                                                                                        l
            said , Okay , no problem .                                                  ?
                            But at least -- You know , I warned her two                 t
          months before if she was going to 1et me go to let me                         C
                                                                                        )
                                                                                        q
          know so that I could start looking . Because I could                          (
                                                                                        t

          get a job instantly, I've been in business a long time.                       l
                                                                                        è
          And she didn 't .         She didn 't give me any notice . So I               T
                                                                                        )
                                                                                        j'
                                                                                        ,7
          know that she was upset.              I was upset .   I was teary             j
                                                                                        il
                                                                                        :

          eyed. But that was, you know, December 15th.                                  )
                                                                                        t
                                                                                        l
                                                                                        l
                                                                  notarizing            )
                                                                                        j
                                                                                        j
                                                                                        '
                      E                                                                 1
                          xhib it                                                       j
                                                                                        è
                                                                                        )
                                                                                        .
                                                                                        '
                  A         Not at all .                                                j
                                                                                        ;
                                                                                        !
                                                                                        .

                                                                          YCCY          i
                                                                                        i
          that 's Exhib it                 being signed by        King?                 l
                                                                                        !
                                                                                        )
                                                                                        .

                  A         I -- Just the fact that she said that they                  l
                                                                                        j

          were broke and that she fired me I was thinking they                          t
                                                                                        y
                                                                                        i)
          were selling the property -- or transferring the                              j


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                                                                                  37 t
                                                                                      )
                                                                                      i
           property on their own decision , you know , to make money                   !
           or --           don 't know .   I have no idea .                           '
                                                                                      J
                                                                                      E


                                                                                      l
                      A      All of this is new to me , this thing between            )
           them   .       All of this is brand new to me .      Never heard of        )
                                                                                      (
           such a thing . I would have never thought of all of                        '
           this .         I 'm shocked .                                              l
                                                                                      )
                                                                                      l
                                                                                      I
                                Sophia didn lt give you a reason why the              '
                                                                                      '
                                                                                      q
                                                                                      (
                                                                                      .
                                                                                      ,
                            being signed?                                             )
                                                                                      è
                    A        No .                                                     1
                                                                                      '
                                                                                      #
                                                                                      !
                                      discuss      Did                                )
                                                                                      (
                                                              about this              )
                                                                                      1
           Exhibit           quit claim deed                                          t
                                                                                      ;
                                                                                      (
                                                                                      (
                                                                                      '
                                                                                      )
           notarized                  anyone?                                         !
                                                                                      1
                                                                                      .
                                                                                      t
                                                                                      '
                                                                                      l
                    A        No .                                                     j
                                                                                      j
                                                                                      '
                                                                                      (
                                      never talked            about     quit          1
                                                                                      :
                                                                                      )
                                                                                      l
           claim                                                       December        l
                                                                                      .1

                                                                                      l!
                                                                                      lè
                                                                                       '
                                                                                       9

                                                                                      )
                  A          Not at all .                                             )
                                                                                      1
                                                                                      .
                                                                                      l
                             Had Sophia?                                              t
                                                                                      t
                                                                                      è
                  A          Sophia, no, not at all. Not until I was                  1
                                                                                      t
                                                                                      l
           served . Or not even served , the e-mail from Michael                      $
                                                                                      i
                                                                                      ..
                                                                                      '
           was the first time              heard about any of this .                  q
                                                                                      :
                                                                                      ',
                                                                                      f
                                                                                      j
                                            e-mails?                                  j
                  A          N                                                        )q
                              o e-mails .                                             '


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                                                                                 38
                                                                                       @
                                                                                       .
                                                                                       )
                          tex ts ?

               A       Sophia called -- Sophia called me only after                    '
                                                                                       1
          I tell her , What are you -- what is              what is                    (
                                                                                       7

          happening . That was my words to her . M d she said ,                        )
                                                                                       )
          I '11 call you tomorrow . M d          was upset because I                   $
                                                                                       '
                                                                                       g
          didn 't understand what was happening .                                      r
                       She called me the next morning and said that                    '
                                                                                        (
                                                                                        .


          she didn 't know that this was happening , that                that          )
          Michael told her that this was an agreement between                          l
                                                                                       )
          Paul and Michael,     that she didn 't        know that this                 )
                                                                                       :
                                                                                       '
                                                                                       j
                                                                                       )
          this was a quit claim deed that Paul didn 't agree to .                      y
                       A nd z said , z 'm going to tell the truth , he                 y
                                                                                       l
                                                                                       )
          wasn 't in front of me .        I 1m not playing any games                   i
                                                                                       ,
                                                                                       )
                                                                                       t
          whatsoever, be completely truthful. Lack of judgment,                         )
          you know , doing           but after ten years with a family I               j)
                                                                                       j'
          had grown to love , you know , I didn I t expect any of                      lt(
                                                                                        '
                                                                                        )
          this .    So I said , I 'm telling the truth , I don 't care                  l
                                                                                        y
                                                                                        )
          and I don 't want any of them to ever call me or contact                      #
                                                                                        )
          me again .                                                                    )
                                                                                        j-
                                                                                        j'
                       And I think I responded to your e-mail to                        j7
                                                                                        l
                                                                                        .#

          tell them don It           I blocked them .     I don It want to              -
                                                                                        'q
                                                                                        i
                                                                                        -1

          talk to anyone. I'm going to tell the truth, period.                          j
          I have nothing to hide. Nothing I did wrong as --                             j
                                                                                        !
                                                                                        )
                                                                                        )
          except notarize it. But I did it out of trust, out of                         )
                                                                                        $
                                                                                        1
          ten years of locality to a family that I                I grew to                )


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                                                                                                                                                                                                                                                           39
                          love .                      That 's about

                                                                  After that I never spoke to them again and I
                          blocked them .                                                I 'm not picking sides to this at all .

                          I 'm telling you exactly what happened and the truth .                                                                                                                                                                                          j
                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                          7
                          That I 'm not part of this .                                                                                                                                                                                                                    !
                                                                                                                                                                                                                                                                          )
                                                                                                                                                                                                  Sophia that                                                             :
                                                                                                                                                                                                                                                                          )
                                                       describing                                                                                Carmen?                                                                                                                  :
                                              A                    I 'm trying to remee er the exact date .                                                                                                                                                               l
                                                                                                                                                                                                                                                                          l
                                                                               would have                                                                                you heard
                                                                                                                                                                                                                                                                          t
       10                 Michael                                                                                                                                                                                                                                         i
                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                          r
                                                                                                                                                                                                                                                                          (.
       11                                     A                   Maybe the next day , the next morning , the                                                                                                                                                             (
                                                                                                                                                                                                                                                                          '.


       z2                 first contact .                                                  But like I have to check my e-mail .                                                                                                                                           f
                                                                                                                                                                                                                                                                          )
                                                                                                                                                                                                                                                                          ).
       13                 Because the only e-mails I have from M ichael are the                                                                                                                                                                                           @l

       14                 e-mails from -- about this .                                                                                          That 's it .                                      Three e-mails .                                                         '
                                                                                                                                                                                                                                                                          )
                                                                                                                                                                                                                                                                          l
       15                                                                                       didn lt use your                                                                                                                                                          !
                                                                                                                                                                                                                                                                          j'
                                                                                                                                                                                                                                                                          )1
       16                                     A                   Lawsuit -- This lawsuit. And then the next                                                                                                                                                              )
                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                          )
       17                 d                                                                                                                                                                                                                                               )
                           ay he e-mailed me the lawsuit he filed against Paul                                                                                                                                                                                            y
                                                                                                                                                                                                                                                                          1:
       18                 and sent me that . And I read it and I 'm flabbergasted ,                                                                                                                                                                                       1)
                                                                                                                                                                                                                                                                           .

                                                                                                                                                                                                                                                                          !.
       19                but - . Wow .                                                                                                                                                                                                                                     )

                                                                  And the last message I sent to Michael after                                                                                                                                                            !
                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                          j
                                                                                                                                                                                                                                                                          i
                          the third e-mail was, I'm at a loss for words. Because                                                                                                                                                                                          )
                                                                                                                                                                                                                                                                          t
                                                                                                                                                                                                                                                                          .
                          after I read all that                                                                                 was like what is this .                                                                                                                   1
                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                          )
                                                                                                                 ,

                                                                  And then the last e-mails were from you as                                                                                                                                                              l
                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                          l
                          the attorney telling me about preservation of                                                                                                                                                                                                   t

                         documents. I don 't have any documents whatsoever . I'm                                                                                                                                                                                          )
      'p8xO'Rop' 'n''f-Mmop*'J..er'F;:.:....j:....%t'd..r'.$.r,I..IJ.*7,.7.t.$...%kêC.t3. :%.:;I:..1..*,$$.t:.'.tT.Lr...;ât''1%trps.T'
                                                                                                                                     /:.:çïûLly;s?.:...;.v1.'
                                                                                                                                                            ..;.....t:.2..*...t. * ..u. . .s*. .. '..v.<.s.ç.a .e... ..4...wws. l.g(.T.<.?....o... ..tft. t?î?r..;$... . ...1


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                                                                               40
          working from home so I don 't have any files or copies
                                                                                     :
          of anything .                                                              '
                                                                                    )
                        And Michael , the last e-mail he sent I didn 't
                                                                                    (
          reply . He tried calling , I didn 't answer and I blocked
                                                                                     i
                                                                                     T
          and       said , I don 't want to discuss this with                        j

          ab solutely anyone excep t whoever wants to depose me .                    .

          That 's all .

                           I'm just going         go ahead and mark
          Exhibit                    document                                        i

                A       These are the       Yeah . These are the e-mails             (

          that I -- that I was sending you . Those are the ones

          did preserve because you were sending them . So                But         )
                                                                                     ,

          I don 't have anything else . I even Googled Michael 's                    )
                                                                                     l
          name to see if there 's any old e-mails, but I didn 't                     '
                                                                                     è
          find anything because I don 't communicate with M ichael .                 !
                                                                                     è
                            MA YBERG :   Jason,             send     e-mail          )
                                                                                     ),
                                                                                     j
                                                                                      l
                        e-mail                  and the                              (
                                                                                     ;:
                                                                                     1.
                                                    deponent .                       !
                                                                                     !
                                                                                     rg
                            BURATTI :                haven 1t received               ;
                                                                                     l
                                                                                     !
                                                                                     .
                                                                                     q
                anything except                           string .                   j
                                                                                     2
                                                                                     l
                                                                                     1
                                                                                     :)
                                                                                     .

                            MAYBERG :    whatever                                    è
                                                                                     ,)
                                                                                     /
                                                                                     C
                                                                                     )
                            BURATTI:                   this stuff.                   r
                                                                                     l
                                                                                     !
                                                                                     '
                                                                                     .
     24                 MR . MAYBERG :   -- e-mail string                            l
                                                                                     i
                                                                                     )
                                                                                     I
                                                                                     !.
                                                                                     )


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                                                                                   41
                         read it while you 're questioning

                            whatever                                today so

                                                                     when the

                          time

                                 BURA TTT :

                          This         I 'm going      send you right
                                                                                         l
                                Se1 it iive .

                                MAYBERG :     Thank                                      '
                                                                                         E

                                 DEPONENT :                    seconds .                 )
                                                                                         :
                                                                                         (
                     oing to                                               screaming     (
                                                                                         ;
                                                                                         (
                 outside .                                                               '
                                                                                         l

                                MA YBERG :                                               )
                                                                                         (
                     B URA TT i :                                                        ô
                                                                                         i
                          Okay.          Carmen,      have                               :

           what's been marked             Exhibit                                        )
                                                                                         j
                                                                                         .
                                                                                         j.
           2021,                    e-mail from you                           string     )
                                                                                         l
                                                                                         )
                                                                                         lr
                                      the period             June 5th .                  #
                                                                                         ;
                                                                                         1
                                                                                         $
                                                                                         :

                 A       Y es                                                            )
                                                                                         '
                                                                                         !
                                                                                         )
                          This            e-mail that           referred                 ,
                                                                                         p
                                                                                         t
                                                                                         t.
                                                                                         j
                                                                                         g'
           moment          in your testimony?                                            (
                                                                                         l
                 A       Ye s .                                                          t
                                                                                         ,
                                                                                         .

                                                                                         j
                                                                                         '
                                                                                         I
                                                      today that you have                )
                                                                                         '
                                                                                         y
           X'i)Ci)iVCY                                                                   1
                                                                                         7

                 A       Nothing .      I check my mailbox every day . I 'm              i
                                                                                         ')
                                                                                         :


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                                                                                    42 .
                                                                                         #
           home everyday .           I don 't go anywhere .   I 'm a diabetic ,
           so I 'm scared of COVID . So no , nothing .
                                                                                         )
                                                                                         l
                   response                        question aS Some Sori

                   confidential                    contains potentially                  '

                p rotected
                                                                                         1
                             Can we agree                  Mendy?                        )
                                                                                         l
                                   MAYB ERG :   Yes ,   course .                         y
                                                                                         '

           BY MR                                                                         j
                                                                                         y
                   .   BURA TT I :                                                       '
                                                                                         (
                                                                                         l
                                                                                         i
                A            I don It m ind .    Everyone knows I fear because           i
                                                                                         i
           I'm a diabetic. And it's a big killer, COVID, for a                           )
           diabetic .           Seventy percent of diabetics died with                   )
                                                                                         '
                                                                                         )
                                                                                         (
           COVID .      So I 've been home .                                             )
                                                                                         l
                                                               e-ma i1                   t
                                                                                         )
                                                                                         !
                                                                                         j
                                                                                         '
                                                        didn 't have any                 (
           documents              e-mails regarding        matter .                      j
                                                                                         t
                                                                                         i
                                                                                         )
                                                                                         .



                X           CYOSUS *                                                     l
                                                                                         !
                                                                                         -
                                                                                         l
                            Apart from              the e-mail from Michael              )
                                                                                         1
                                                                                         )i
                            mentioned before              exchange                       it
                                                                                         l
                                                                                         )'
               have any other documents that are material                                t
                                                                                         !
                       th                                                                )
                            at are related              quit claim deed or               p
                                                                                         '
                                                                                         )
                                                                                         '
           issues                   litigation?                                          r
                A           N                                                            t
                                                                                         '
                                ot at all .                                              @
                                                                                         k

                                                                                         1(


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                                                                        43
                              because      don 't      this

                                             for work with Sophia and         '

               King prior      December
               A    Yeah .   This is an e-mail I 've had all my               '
          life . Well , at least untii gmail came around .                    '
                                                                              r

                    What            e-mail that      used prior

          being
                                                                              l
               A    This e-mail .                                             :
                                                                              )

                                                                              )

               A    There were      There were three e-m ails I               ;

          used , but this one is mine . The other two e-mails are
                                                                              )
          real estate school , schoolsofamerica@gmail .com and                l
                                                                              y
                                                                              è
          Czllstclassrealty@gmail.com that Sophia has access to .             '
                                                                               r
                                                                              y
                            I changed the passwords when she let me           )
                                                                              !
          go because I didn 't want       on my computer , and I said ,       @
                                                                              è
                                                                               l
          Here , I put a simple password , you 've got to change it .          )
                                                                               è
                                                                               )
          And that was about December 15th .                                   (
                                                                              è
                    Because I didn't want to get any more                     )
                                                                              (
                                                                              '
          e-mails . You know , I didn 't work for her anymore , so I          )
                                                                              1
                                                                              'j
                                                                               )
          changed the password so that she could access it and                 (

          change the password for her use . I don 't have access              '
                                                                              j'


                                                                              (
          to those e-mails at all .                                           l
                                                                              j
                                                                              t(
                                                                              i
                                                                              l
                                                                              '
                                                                              .

               A    O                                                         t
                     nly mine .                                                j
                                                                               l
                            th                                                 1
                                                                               .
                               e broker                                        '
                                                                               j
                                                                               I



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                                                                                                                                                                                                                                                        44
                                        Sophia run , right?

                                           A                   Yes.

                                                                              isn 't he ultimately accountab le

                        everything that                                                                   office does?

                                           A                    I guess so .                                                                                                                                                                                            ,
                                                                                                                                                                                                                                                                       (
                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                        y

                                           A                    I 'm sure he does .
                                                                Did you also have this                                                                                     this e-mail
                                                                                                                                                                                                                                                                       r
                        address,
                                                                                                                                                                                                                                                                       (
       10                                  A                   Yeah , but I don 't use                                                                                          It 's a forwarding                                                                     )
                                                                                                                                                                                                                                                                       7
                                                                                                                                                                                                                                                                        (
       11               e-mail .                            It 's an e-mail                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                       )
                                                                                                                                                                                                                                                                       ,

       12                                                                                     forwarding --                                                                                                                                                            i
                                                                                                                                                                                                                                                                       7.
                                                                                                                                                                                                                                                                       4'
                                                                                                                                                                                                                                                                       q.
       13                                  A                   Yeah .                         It ls like -- In the Century 21 system                                                                                                                                   :

       14               they give you like a brand e-mail and it has just                                                                                                                                                                                              i
                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                       )
       15               forwarding . So anything that goes from there                                                                                                                                                                                                  1
                                                                                                                                                                                                                                                                       l
                                                                                                                                                                                                                                                                       (
       16                                                      Which nobody knew it. You know , nobody                                                                                                                                                                 (
                                                                                                                                                                                                                                                                       t
       17                                                                                                                                                                                                                                                              l
                        really knew that e-mail because I never really gave it                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                       l
       18                                                                                                                                                                                                                                                              )
                        out and nobody ever sent e-mails to it .                                                                                                                                I 've always                                                           (
                                                                                                                                                                                                                                                                       )
       19              been a proponent of using my own e-mail , but they do                                                                                                                                                                                            y
                                                                                                                                                                                                                                                                        )
       20              provide it at Century 21 or Remax .                                                                                                                 They always give                                                                            i
                                                                                                                                                                                                                                                                       )
                                                                                                                                                                                                                                                                       )
       21                                                                                                                                                                                                                                                              l
                        you an e-mail .                                                                                                                                                                                                                                p
                                                                                                                                                                                                                                                                       7)
       22                                                                                                                                                                                                                                                              !
                                                                                                                                                                                                                                                                       :
                                                                        don 't like them because if I ever leave ,                                                                                                                                                     p
                                                                                                                                                                                                                                                                       ,

                                                                                                                                                                                                                                                                       1
                                                                                                                                                                                                                                                                       .

       23               they just cut off the e-mail. So you 'll never get                                                                                                                                                                                             l
       24 e-mails from your clients again. So I don't use it.                                                                                                                                                                                                          )
                                                                                                                                                                                                                                                                       l
       25                                                                                                         whe re that e- mail forwarded                                                                                                                        l
                                                                                                                                                                                                                                                                       ë
                                                                                                                                                                                                                                                                       1(
      '. ..   < ..... N.
                       .....T1. ..,.... làl . lt..!..:.11tï:.41..1.........   ...... ..1..v..%8....f ..8t ..Y&'
                                                                                                                                                                                                                                                                       i
                                                                                                                                                                                                                                                                       )
                                                                                                              ,3A'K4f*%.':8#'$''ï#e1.*'2 %:'he.<. '''..!o4rûhe':'.11d'ts,z r . .... Nz.. t .vp'à'w.wê .... '...>.<.4 .. ww .....,. ......,ç.ï.'d. .stwh!t'..é.z..tr*'2 '' 1


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                                                                              45 .
                                                                                    è
                                17lace?                                             E

                A        To my e-mail .



                A        Yes.                                                        '

                                          sen ten ce                                 '
                                                                                     i

           Sophia King                                                              '
                                                                                    (
                A        Uh-huh .
                         Sophia King brought              document Paul             7
           signed        notarize                                                   '
                                                                                    j'

                                                  person .                           .

                                                                                     l
                                                                                     (
                A        Yeah . She cnme to my house with the                        )
                                                                                     :
           doclAment .                                                               1
                                                                                     l
                         Had you notarized other things               from           i
                                                                                     '

           outside         office because              pandemic                      y
                                                                                     1
                                                                                     l
           reason ?                                                                  ;
                                                                                     '
                                                                                     1
                A        No . Oh , yes , yes , I have .    I have a customer         )
                                                                                     )
           that always comes when he has closings . His nnme is                      )
                                                                                     l
                                                                                     l
           Fedor Baryshnikov and he comes to my house. When he                       )
                                                                                     I
           purchases property , I do his closing docnments .                         )
                                                                                     '
                                                                                     1
                                                                                     I
                             going         back           minute                    t
                                                                                     !
                                                                                     l
                                                                                    .!
      22   conversation that you           with Sophia King the week                 f
      23   after you heard            Michael about          disputes that           )
                                                                                     j
                                                                                     )
                                                                                     l
      24            oing                                                             )
      25        A        Uh-huh . It wasn 't a week , it was the next                I
                                                                                     l
                                                                                     l


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                                                                                      L
                                                                                 46 i
           day .
                                                             after?

                   A    The day after .
                               Sophia
           signature                     claim deed            Exhibit

                   A    She didn 't ever mention it .       It wasn 't part

           of the conversation . I just said, What's happening.
           That 's all .                                                              .
                                                                                      ('
                               she ever tell                was        Paul 's

           signature?                                                                 )
                   A    No .                                                          '
                                                                                      )
                                                                                      )
                                                                                      ,

                                                you that     was not Paul 's          l
           signature?                                                                 l
                                                                                      i

                                                                                      )
                   A    No .                                                          y
                                                                                      '
                                                                                      i.
                        During          conversation that                             ,
                                                                                      '
                                                                                       l
           Sophia King the day after Michael reached               earlier             i
                                                                                      ,(
                                   di                                                 )
                                        scuss    quit                    all?         t
                                                                                      l
                   A    Not at all .                                                  1
                                                                                      )
                                                                                      i
                        What       Sophia        to you     that call about           )
                                                                                      )
                                                                                      .

               lawsuits between the brothers?                                         è
                                                                                      )
                                                                                      )
                   A    She 's heartbroken , can 't believe her sons are              l
                                                                                      )
                                                                                      l
           fighting . That she had no idea . That she did not                         @
                                                                                      l
                                                                                      )
           agree       That he did not agree to this.                                 l
                                                                                      t
                                                                                      l
                                                                                      j'
                        I was shocked as well .       I 'm out of my mind             )

           shocked. I never saw that coming.                                          )
                                                                                      i
                                                                                      .




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                                                                                   47
                                                                                        )

                              MAYBERG:        object     it a11 being
                  hearsay .

                         THE DEPONEN T :                                                !

                                   know, talking , chatting .
           B Y MR . B URA TT I :                                                        :
                                                                                        è
                                she say anything else                  lawsuit          t
                                                                                        (.
                      disputes?                                                         ;

                                                                                        i

                              MA YBERG '
                                       .
                                                                                        :

      10                      DEPONENT :            said was                            E
                                                                                        y'

                        conversation           I'm going to
                                                                                        !.
                                                                                        1.

                                                                                        è
                                                                                        l
                       reason               And Sophia said that she                    :
                  thought                                                               j
                                                                                        ù
                                                                                        -
                                                                                        )
                                                                                        .
                                                                                        )
                 Michael .                    only thing she                            i
                                                                                        !
                                                                                        (
                              know ,      wouldn 't have doubted                        )
                                                                                        .
                                                                                        )
                                                                                        l
                                                                                        l
           Z Y MR . BURAT TI :                                                          l
                                                                                        1

                         What was                                                       è
                                                                                        )
                                                                                        '
                                                   question back                        t
                                                                                        '
                                                                                        .
                                                                   ,                    t
                                                                                        (
                                                                                        i
                     last answer .                                                      '
                                                                                        .
                                                                                        js

                         (Record                       court reporter.)                 '
                                                                                        .
                                                                                        l
           BY M R . BU RA TT I :                                                        !
                                                                                        t
                                                                                        l
                                                                                        i.
                                              understanding of                          @
                                                                                        1
                                                                                        1
                                                                                        )
           agreement                                                                    (
                                                                                        )
                                                                                        l
                 A       No . That 's the only word that she used was                   '


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                                                                                 48
           an agreement .          dian 't go into details , but she said
           that they agreed . Both brothers agreed to do this quit
           claim deed . That 's it . That 's as far as she said .

                         I 'm going back
           actually        Exhibit                                     deed

           C1uestion .

                                                         the notary pub lic
                                                                                      t
                                                                                      E
                                                                                      1
                A        Ye s .
                                                                                      è
                                    your notary stamp that 's                         ,
                                                                                      E

                A        Ye s .                                                       .
                                                                                      )
                              brought          a document to your home                )
                                                                                      '
                                                                                      )
                    December                                                          !
                                                                                      )'

                A        Uh-huh .    Yes .
                                                                                      (
                                                                                      1
                                                   original signatures                )
                                                                                      .
                                                                                      '
                                                                                      t
                                                                                      L'
           right?                                                                     i
                                                                                      (
                                                                                      -
                                                                                      !
                                                                                      .
                A        Ye s .                                                       @
                                                                                      l
                                               knowledge about        prepared        )
                                                                                      C
                                                                                      .
                                                                                      è.
                                                                                      I
           Exhibit                   its execution?                                   q
                                                                                      !
                                                                                      .


                                                                                      !
                A        No , but I can see that it 's Arianna Golaman .              i
                                                                                      è
           She 's the title company we used a lot in the office .                     !
                                                                                      )
                                                                                      i
                                               you discuss                            !
                                                                                      !
                                                                                      (
                                                                                      .
                                     you didn 't                                      (
                                                                                      1

           document        anything .       Like     first                            )
                                                                                      l
               when               brought                signature?                   l
                                                                                      t
                                                                                      l
                                                                                      ;


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                                                                        49
                 A      Exactly , yes .

                                      anything           application

                 Trump Royale homeowners association with respect

           Trump Royale Unit 5032
                 A      Nothing .   Not at all .                               '

                                                          listing
                                                                               E

           MLS                                                Trump            :

           Royal property?
                 A        don 't remember the last time I edited her           :
                                                                               i.

           listing .    I 'd have to check online on MLS .
                                                                               (
                                Sophia?                                        '

                 A      Because it will -- It usually tells you a              C
                                                                               (
           status change . So if there 's a status change , whether            j
                                                                               '
                                                                               )
                                                                               )
                                                                               :
           it went pending or canceled or rented , it will -- it               i
                                                                               i)
                                                                               7
           has a time stamp and a history . So I could check that              j
                                                                               !
      16   if you 'd like .
                                                                               fï
                             sorry,                     explain that
                                                                               )
                                                                               (
                     didn I t quite follow .                                   )
                                                                               ,
                                                                               y
                                                                               )
                                                                               ,
                                                                               .
      19         A      When the -- When you add a listing to the              i
                                                                               l
                                                                               1
      20   MLs , every thing is time stamped or date stamped .      So if      )
                                                                               )
      21   I made any changes                                                  1
                                                                               1
      22                                                                       j.
                        I can remmmher looking at the history of the           !
                                                                               1,


      23   listing itself . And a listing will appear as long as               y
                                                                               '
                                                                               i
      24   the property has been on -- since day one .       It will           C
                                                                               t
                                                                               t
                                                                               .

      25   have the history of how long a property has been on the             '
                                                                               )
                                                                               t
                                                                               )

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                                                                                50
          market . You know , for years .         It will tell you every
           time it 's been listed , pending , rented , things like
           that .
                                                                                     l
                                                                      y              '
                                                                  you re             F
           referring to Sophia 's listings, right?

                 A    Well , the listings are in Paul 's nnme . All
           of the listings are Paul 's . Sophia did the work , but                   ;
           Paul was the listing agent .                                              ;
                                                                                     )

                      Right .    Okay .              actually                        ,

           trying     confirm , was that these               really Paul 's          ,

           listings

                 A    Exactly .                                                      l
                                                                                     '
                                                                                     ;
                                                                                     .


                                                      discussed                      1
                                                                                     q
                                                                                     i
                                                                                     '
                                                                                     t
          Royale Unit 503 with             King                                      '
                                                                                     ,

                 A    No .                                                           7
                                                                                     )
                                                                                     .
                                                                                     l
                      Have                discussed Trump Royale                     i
                                                                                     !
                                                                                     .
                                                                                     i
                                                                                     l
                 Sophia King other than in           conversation          we        (
                                                                                     l

          discussed                                                                  i
                                                                                     l
                                                                                     k
                                                                                     :
                                                                                     t
                                                                                     '
                                                                                     l
                                                                                     )
                                                                                     l
                 A    As to like what?                                               !
                                                                                     l
                      And        signing      the quit           deed .              l
                                                                                     t
                                                                                     :
                      Have                  Except       those       days,           ,
                                                                                     i

          okay,              that you talked to Sophia, the day after                y
                                                                                     '
                                                                                     )
                                                                                     )
                                                                                     !
                                                                                     :1
                                                                                      j
                                                                                     )
                                                                                     ,
          came                              claim deed to notarize                   ,
                                                                                     '
                                                                                     kl
                                                                                     ')


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                                                                               51 l
                                                                                     )



                                        discuss Trump Royale
           S                                                                         )
               ophia King             other time?                                    (
                                                                                     l
                  A    Not at all .

                                                  King 's e-mail address             j
                                                                                     )
                       while          was doing                     doing            ;
                                                                                     )
           notary work for her?
                                                                                     (
                                                                                     )
                                                                                     .
                  A     Sophiakingo6pgmail .com .
                                                                                     t
                                                     e-mail addresses                i
                                                                                     $
           Sophia King?                                                              ,

                  A     Sophia -- I don 't know her other .       I know             )
                                                                                     l
                                                                                     (
           she -- she made another e-mail with her middle name .                     ('
                                                                                     1

          Sophialyalya--l don't know how to spell it--king@gmail.                    è
                                                                                     .
                                                                                     è
                                                                                     l
                                                                                     .

           I 've never known how to spell her middle name .                          i
                                                                                     )
                              it L-y-a-l-y-a?
                                                                                     )
                                                                                     l
                                                                                     @
                                                                                     rt
                  A     Say it again .                                               :
                                                                                     )
                        L-                                                           )
                             y-a-l-y-a .                                             (
                                                                                     )
                                                                                     t
                  A    Yes .       It 's like Lily but not really . Lyalya .         7
                                                                                     )
                                                                                     )
                       When Paul               California and wanted                 t
                                                                                     $
          change                    listing,                communicate              l

                                                                                     l

                  A    If he wanted to make a change?                                :
                                                                                     )
                                                                                     l
                              an       listing, how would      communicate           l
                                                                                     :/
          that        you?                                                           l
                                                                                     )

                  A    He wouldn 't .      so hia did .                              @
                                             p                                       j
                                                                                     t


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 *




                                                                              52 '
                                          How would Sophia

           communicate                         wanted?

                 A      Sophia would tell me .

                             MAYBERG: Objection                  form .           )
              M R . BURA TT I :
                                                                                  @
                           you have an understanding                              l

                 A        don 't understand the question . M aybe
           don 't understand .                                                    )
                                                                                  ;)

                              try       a different                               ;
                                                                                  l
      1c                                   understanding                          (
      11              i                                                           (
                       nstructions                                                '
                                                                                  (
                      for the office?                                             (
                                                                                  !
                 A      I don 't know what they talk about . No , I               r
                                                                                  è
                                                                                  .
                                                                                  é
           don 't .                                                               y
                                                                                  )
                        When you would get instructions             Sophia,       l
                                                                                  1
                                                                                  .
                                                                                  #
                                                                                  .
      16                          understanding that       Strike that .          l
                                                                                  l
                                                                                  '
                        When Sophia             Sophia asked                      )
                                                                                  !
                                                                                  (
      18   change      listing under Paul 's             number,                  l
                                                                                  (
      19        consider                                                          1
                                                                                  )
                 A      Sophia .                                                  i
                                                                                  l
                                                                                  (
                                                                                  .
                        Okay.                          office manager,            !
                                                                                  l

           right?                                                                 t
                                                                                  l
                                                                                  l
                 A      Because she for me was the actual listing                 l
                                                                                  i
      24   agent for everything but under Paul's name.                            t
                                                                                  )
      25                          Paul 's broker license?                         !
                                                                                  ë
                                                                                  l

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'




                                                                              53 ë
                                                                                   7

               A     She wanted everything under Paul 's name and
          that 's how it 's been for ten years.

                                because                                            L

               A     Listing agreements . MLS listings .
          Everything was done as if Paui did it, but it 's Sophia .
                                                                                   )

          Sophia got the listings, but the listings were in                        :
          Paul 's name .    The contracts were in Paul 's name .
                                                                                   i
                                                                                   1
          Everything was always Paul 's name .           It was nothing new

          to me for ten years .
                           your knowledge          Sophia            broker 's     j
                                                                                   )
                                                                                   .
          license?                                                                 :
                                                                                   ;
                                                                                   r
                                                                                   l
               A     She has a sales person 's license . Sales                     (
                                                                                   )
                                                                                    )
          associate . Not a broker .       Paul 's a broker , Sophia 's a           t
          sales associate .                                                         ù
                                                                                   9

                           that why Paul 's                  these                 :
                                                                                   i

          materials?                                                                q
                                                                                    i
               A     No. She just -- They were her listings and                     ,
                                                                                   t:
                                                                                    1'
          she just wanted them in Paul's name. It's always been                    )
                                                                                   '
                                                                                   18
          lik                                                                      )
             e that .                                                              t
                                                                                   j
                                                                                   '
                                                                                    t
                            right .                                                k
                                                                                   )
                                                                                   '
                                                                                   j
               A     There ls never been a listing that I 've added                 l
                                                                                    t
          to the MLS that was not Paul rs . Any thing that Sophia                   l
                                                                                    )
                                                                                    (
                                                                                    !
          listed , it was in Paul 's name .                                         )
                                                                                    j
                                                                                    t
                                                                                    .
                                          years              worked for them        )
                                                                                    ,
                                                                                    j
                                                                                    !
                                                                                    1
          leading           December              2020           the hourly         '
                                                                                    1
                                                                                    i
                                                                                    1
                                                                                    .
                                                                                    .




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                                                                                                                                                                                                                              )

                                                                                                                                                                                                                  54
                                         thereafter Sophia was                                                                                                     agent

                                                    broker                                                      business?                                                                                                     '

                                         A                  Co rrect .

                                                                                              generally

                      during                                                                                                                                                                                                  ;
                                                                                                                                                                                                                              '
                                                                                                                                                                                                                              .



                       instructions on behalf of                                                                                                     behalf
                      right?                                                                                                                                                                                                  (
                                                                                                                                                                                                                              )
                                         A                  Correct .                                                                                                                                                         '
                                                                                                                                                                                                                              !
                                                                                              King                                                                              listen
                                                                                                                                                                                                                              :

                      Sophia?
                                                                                                                                                                                                                              !
                                         A                  N                                                                                                                                                                 i
                                                                o , neve r .                             N ever .                                                                                                             :

                                                                                                                                                                      follow her                                              q
                      instructions                                                concert                                                                                                                                     :
                                                                                                                                                                                                                              6
                                                                                                                                                                                                                              i
                      period?
                                                                                                                                                                                                                              :

                                         A                 When they hired me?                                                      He was there when they                                                                    r
                                                                                                                                                                                                                              '
                                                                                                                                                                                                                              l
                                                                                                                                                                                                                              1
                                                                                                                                                                                                                              )
                      hired me , yes .                                                                                                                                                                                        !
                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                              )
                                                                                                                                                                                                                              '
                                                            A                                                                                                                                                                 l
                                                                nd he                                                           follow Sophia 's                                                                              j
                                                                                                                                                                                                                              )
                      instructions while you work with them ?                                                                                                                                                                 (
                                                                                                                                                                                                                              )
                                                                                                                                                                                                                              l
                                        A                  Ab solutely .                                     Sophia and him are my boss ,                                                                                     y
                                                                                                                                                                                                                              l
                                                                                                                                                                                                                              )
                      yeah                                                                                                                                                                                                    l
                                      .                                                                                                                                                                                       )
                                                                                                                                                                                                                              1
                                                            okay .                                   looking                          Exhibit 1                                                                               1
                                                                                                                                                                                                                              ')
                                                                                                                                                                                                                              '(

                      grantor 's signature .                                                                                                                                                                                  )
                                                                                                                                                                                                                              j
                                                                                                                                                                                                                              '
                                                                                                                                                                                                                              t
                                                                                                                                                 believe that that 's                                                         t
                                                                                                                                                                                                                              )
                                                        Ki                                                                                                                                                                    i
                                                          ng 's signature that 's on the screen right                                                                                                                         )
                                                                                                                                                                                                                              l
                                                grantor's signature                                                             Exhibit                                                                                       t
                                                                                                                                                                                                                              '
                                                                                                                                                                                                                              )
                                                                                                                                                                                                                              :
                                                                                                                                                                                                                              '
      . ..e.
           :   aa *. ..'rJr:pr *: : rzzz :.zz.-94ez.... vzâ:qzqr. . gvn.rz.zâ..tr11zp.r7z..z.tuzprsâ''':tlenzzx'tzt:rtâ vq''ï   ,   '''%   1                                                                                  )
                                                                                                                                               r'v %'A#%%< 2:r'.m' ..,%..11 ..'..ù.J $...1l:w'4: t4 1 ?::> % 'R''<','=v,@''''' t
                                                                                                                                                                                                                               I


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                                                                                    55 '
                                                                                       )
                                                                                       :
                                                                                          )
                                                                                          t
                 A        Not that I -- That 's the signature I 've
            alway s seen .

                                                         to believe

                Paul 's original signature that was on
            docume nt ?                                                                   ë
                                                                                          l
                 A        Not at all .
                                                                                          1
                                                                                          .
                                  Sophia           instructions                           )
                                                                                          )
                                                                                          L
                                                                                          .

            behalf while                      California while          worked

                                                             talking                      ,
      10              h                                                                   l
                          ourly            afterwards?
      11         A        N                                                               )
                              o , only Sophia . Sophia instructed me in                   q
      12    everything I did in the office .                                              ?
                                                                                          l
      13                                                                                  )
                                                                                          'i
                                                                                           j
                                                                                           '
      14                  Did Sophia           instruct                anything            l
                                                                                           j
                                                                                           )
      15             Paul was        California?                                           1

      1(;        A        No .                                                            .l
                                                                                          à
                                                                                          .@
      i-/                 Sophia                                                          l
                                                                                          ).
                                                                                          .

                      of the state?                                                       @
                                                                                          )
                                                                                          )
                 A        Well , Paul 's always out of the state .                        1
                                                                                          l
                                                                                          )
                          Okay .              sorry,            misunderstood             )
                                                                                          i
                 other just                                                               t
                                                                                          i
                                                                                          t
                 A        Sophia was my boss and Paul was the broker of                   j
                                                                                          :
                                                                                          l
            that office and Paul was always traveling .               I saw him           j
                                                                                          j
                                                                                          '


            maybe two or three times a year when he's visiting or                         ,
                                                                                          )
                                                                                          t
                                                                                          .

            his sons are visiting or Michael is visiting or Danny                         t
                                                                                          j


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 '




                                                                            56 )
           is visiting .
                      And                                  for the

                                                                                  )
                                                                                  .



                                                                                  è
                                                                                  .

                  A   A ll ten years .    Sophia was the big boss .
                                                  p rett y regu la r
                                                                                  )
           practice        Sophia to bring        things

                                                                                  j'
                  A   Yeah . Because the bank account is in Paul 's               '
                                                                                  )
                                                                                  .



           nnme , the brokerage is in Paul 's nnme . Never dollhted               :

           it .                                                                   k
                                                                                  i
                                                                                  .




                                three of them ?                                   è
                                                                                  l
                                                                                  !
                  A   For M ichael I 've notarized I think once .      I          !
           don lt remmmher what it was , but I rememher notarizing                :
                                                                                  (
           something for M ichael . But       don 't rememher what.               f
                                                                                  .:
                                                                                   '
                      Anything                                                    :
                                                                                  7
                                                                                  i
                  A   Beyond that --                                              )
                                                                                  '
                                                                                  l
                            for Sophia?                                           )
                                                                                  j
                  A   It's very rare I did Paul. I did closings in                )
                                                                                  l
           the office . Notaries for clients or closings .                        y
                                                                                  :j
                            Your knowledge                                        è
                                                                                  l
                                                                                  i
                                                                                  %'
                                                                                  y
                                                                                  ht
                      Besides the quit claim deed that we 're                      (
                                                                                  )
                                                                                  (
                                                                                  .
                                                                                  '
                                                                                  l
                                                                                  .;
           looking     right now , have you           notarized anything          k,
                                                                                  %
                                                                                  j:
               Paul 's absence?                                                   l
                                                                                  l
                  A   NO .   I don 't rmmemher notarizing anything .              l
                                                                                  1
                                                                                  t
                                                                                  .




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                                                                                                                                                                                             57
                                                                                                                      analyze
                    business                                                                                                         business unit, for the
                                                                                                                                                                                                   )

                                                                                                   shouldn 't

                                                                                        during those                                              three times



                                         A                    Yeah . Exactly .
                                                               Did anyone                                                                                                                          :

                    direct                                                                                                                                   quit claim deed

                                                      Exhib it
                                                                                                                                                                                                   l
                                         A                    No .

                                                               Did anyone                                                 discuss                   with                                           r

                                                                                                                                                                                                   :
                                                                                                                                                                                                   l
                                        A                    N eve r .                                                                                                                             l

                                                              Did you                                                                                                                              :
                                                                                                                                                                                                   i
                                          respect                                                       witness                                           signatures                               :
                                                                                                                                                                                                   l
                                                                                   deed that 's Exhibit                                                                                            '
                                                                                                                                                                                                   :
                                                                                                                                                                                                   l
                                                                                                                                                                                                   E:
                                                                                                                                                                                                   .'
                                        A                    No .                                                                                                                                  '
                                                                                                                                                                                                   )
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                                                                                                                                                                                                    :
                                                             M R . BU RA TT I :                                                                                                                    1
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                                                                       See                                            Wrap                                                                         i
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                                                 BURA TT I :                                                                                                                                       !
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                                                             Okay .                        During                              b reak counsel                             Plaintiff                l
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                                                                                                                                                                                                   1.
                                                             witness                                    provide                       couple                   e-mails                             1
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                    think
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'




                                                                                                                58
                                                                                                                            i
                                Carmen,                         send

                                                                                       today?
                                                                                                                            ;
                   A           No . Not at all .                  I only replied to your

              e-mail .
                                                                                                                            ;.
                                              y ou 're g oing          send th em

              counsel                                         deposition?
                   A            Ye s .                                                                                      '
                                                                                                                            ,
                                                                                                                            1

                                              MAYBERG :           right

                                              DEPONENT :           right now or after                                       7
                                                                                                                            l
                   deposition?
                                                                                                                            1
                                              MAYBERG :                                   I'd                               l
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                                                                 conduct                                                    ,
                                                                                                                            (,
                                                                         limited                                            i
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                                   VZVC             YCZY                                                                    5
                                                                                                                            è
                   subsequent deposition                                           time .                                   l
                                                                                                                            j
                                                                                                                            l
                                              BURATTI :       Totally                    Mendy .         fact ,             è
                                                                                                                            l
                                                          questions                you need                                 t
                                                                                                                            t
                   minutes                                                     fine with me                                 '
                                                                                                                            '
                                                                                                                            j
                                                                                                                            l
                                            take them .                                                                     t
                                                                                                                            !
                                              MA YBER G                                                                     )
                                                          :                ready                                            (
                                                                                                                            )
                                                                                                                            l
                   limited ability                                                        we don 't,                        l

                                                longer the next time.                                                       t
                                                                                                                            l
                                              DE PONEN T :    Okay .
                                                                               ,
                                                                               Just sent the first                          l
                                                                                                                            j
                                                                                                                            l
     24            e-mail.                                                                                                  l
                                                                                                                            l
     25                         MR            BURATTI:        Mendy,                                 the                    t
                                                                                                                            s
                                                                                                                            t
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          .              a. . . . .. . ....           ... e              . .       .      . .. .   o *     :    .. ..   .



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                                                                                59 )
                    actual exhibit          used       Number

                       using the

                           MAYBERG: Number                      e-mail chain?         )
                                                                                      y'
                    MR . BURATTI:                      quit claim
                                                                                      i


              period                beginning .

                                                            contained

               earlier.
                           MAYB ERG :     O kay .                                     '

                     THE DE PON ENT :                                                  '

                                                    back         screen .
                                                                                      ('
                                                                                      1:
                                      three e-mails                  Michael          ?
                                                                                      ('



                    M ena ch em ,               receive
                                                                                      .
                                                                                       ;

                           MA YBERG :                                                  )
                                                                                       '
                                                                                       1
                           DEPONENT:                                 went             t
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                                                                                       q:
               through .                                                              )
                                                                                       :)
                    M R . MA YBERG :                                                   ,
                                                                                       t
                                                                                       i
                                                                                       l
                           DE PONEN T :                                                l
                                                                                       (
               communications          received .                                      l
                                                                                       y
                                                                                       1:
                                                                                       '
                           M AYBER G :                                                 (
                                                                                       j
                                                                                       l
                                                                                       l
                           DEPONENT :            only one response from me,            )
                                                                                       )
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                                                                                       i.
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                                     re spond                                          ;
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                                                                                    60
                                                                                          1
                                BURATTI :          still waiting             third        '
                                                                                         ;
                                    can start , Mendy.
                                                                                         1
                      MR . MAYBERG :                   Hold
                                            EXA M INA T ION                              (
                                                                                         '
                                                                                         t
                                                                                         J'

           RY ZR . XAYBERG :                                                             j
                      Okay .             Carmen ,      don 't                            '
                                                                                         à.
                                                                                         :
           that say             resp onse .                                              (

                A     Let me check .          I 'm going to Google         I 'm          '
                                                                                         :

          going to gm ail search it because I know I said it , so                        ,
                                                                                         ;
                                                                                         ;
          it has to be in there .                                                        )
                                                 different folder.                       t
                                                                                         l
                                                                                         è
                                                                                         ('
                A     No , but I sent you like the e-mails like from                     )
                                                                                         E
          the bottom up . Meaning , it will include everything                           j
                                                                                         !
                                                                                         è.

          above it, you know, like the responses.                                        t
                                                                                         l
                      Let me see .          Yeah , I searched the word loss ,            )
                                                                                         q
                                                                                         t
          because I said I 'm at a loss for words.                                       l
                                                                                         t
                                                                                         )
                                                                                         '
                      Oh        here it is . Oh , your e-mail is not                     l
                                                                                         l
                           ,

          saving the three e-mails .             You 'll have to -- I 'm                 1
                                                                                         )
                                                                                         2
                                                                                         l
                                                                                         è
                                                                                         s
          sending it again . You did receive it, you just have to                        .
                                                                                         0
                                                                                         t
                                                                                         f
                                                                                         '
          scroll down                                                                    l
                                                                                         r
                                                                                         t
                                                                                         )
                                okay .                                                   !
                                                                                         l
                                                                                         l
                                                                                         è
                                                                                         t
                A              and you bll see the responses . That was                  t:
                                                                                         l
                                                                                         .
          the only response I had .                                                      )
                                                                                         p
                                                                                         Jr

                                                              ready   beg.
                                                                         i.n.            ),
                                                                                         )
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 '




                                                                                        61
                  we 're still                                                                l

                                                      record, right, Madam

           Reporter?                                                                          :
                                                                                              (

                             COURT REPORTER :                                                 (

                   MAYBE RG :                                                                 (

                         Okay .    Just,            know,      reiterate, Jason
                     Buratti and Ms .                                 wasn 't aware           h
                                                                                              !
              this.               notice and          objected                depo.
              Buratti has             taking the deposition                                   )

             not                  a Judge           have       jump           emergency       )
                                                                                              '
                                                                                              (
                                                                                              .
          hearing                                                                             f
                     .                                                                        j
                                                                                              l
                         We , ve agreed             Buratti              that we              l
                                                                                              )
                                          ,
                                                                                              .
                                                                                              ,


                                    redepose           without                                ,
                                                                                              i
                                                                                              :
                                                                                              i
                                                                                              t
              I'm going                       get                         done today          !
                                                                                              i

             perhaps we can                          shorten              need be .           !
                                                                                              l
                                                                                              )
                         Okay,       Jones?            that           right                   )
                                                                                              l
                                                                                              !
               A         That's fzne.                                                         t
                                     my name           Menachem Mayberg .                     ;
                                                                                              1
                                                                                              j'
               King's attc)rney.                                  questi()ns,                 i
                                                                                              )
                                                                                              r
                                                                                              li
              don 't understand anything, please                       me know .              )
                                                                                              t
                              shouldn 't              oppressive,                             l
                                                                                              )
                                                                                              .
          point                                 questions make                                !
                                                                                              j
                                                                                              )
                                                                                              '
                                                                                              @
          uncomfortable, just let                                 shouldnlt                   j
                                                                                              '
                                                                                              (
                                                                                              )
          happening .                                                                         )
                                                                                              )
                                                                                              l
                                                                                              l
                                                                                              t
                                                                                              i

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 *




                                                                                     62
                 A    Okay .
                                         start                I 'm going

                        going

          before .                                                                        )
                                                                                          !
                                                 th at       e-m ai l                     ,
                                                                                          T
                                                                                          .



                 you and        Buratti?                                                  r

                 A    Ye s .                                                              t
                                                                                          )
                      okay .             going                             three ,        !
                                                                                          )
                            lines        the -- from         top           where          :
                                                                                          t

              says,    have also          received         summons                        i
                                                                                          )
          whatsoever .                           King brought

          document          signed       notarize                  since
                                                                                          l
                                                                                          )'
                                                                                          l
                                                                                          l
                                Buratti questioned           and we                       q
                                                                                          '
                                                                                          j
          d iscussed and we went over            and you answered clearly                 7

                       Paul King wasn 't there .         And the only thing               #
                                                                                          1
                                                                                          l
                      Buratti questioned          about                                   /.
                                                                                          i
                                                                                          l
                                                                                          :,
                      And                            could                 lawyers        1
                                                                                          l
                                                                                          :
                                                                                          l
          sometimes               question                    says                        1
                                                                                          y
                                                                                          .



                                                                                          t
          Sophia King brought me             document Paul signed .                       )
                                                                                          t.
                                                                                           (
                                                                                           l
          clearly over          course       this deposition explained                    l
                                                                                          )
                                                                                          1'
          that                                             see him                        t
                                                                                          k'
                                                                                          Ct
          document, correct?                                                              )
                                                                                          t
                                                                                          )
                 A    Correct .     Correct .                                             i
                                                                                          j
                                                                                          '
                                                                                          i
                                                                                          l
                                                                        Buratti,          j
                                                                                          :
                                                                                          1
                                                                                          i
                                                                                          .

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 '




                                                                                          63 )'
                                                                                              ,
                                                                                              '
           Sophia brought me               document Paul signed, that 's what                   :

                assumption was based on                            going                        )

           transaction, correct?
                                                                                                î

                A     Exactly . Yes .                                                           r
                                                                                                l
                      You d idn 't                                                              !
                                                                                                ;

                                                                                                @
                A     No .                                                                       l
                                                                                                 l
                                                                                                 l
                      And            don r t ,       fact, know                                 ri

                                                                                                )
                                                                                                ).
                                                                                                f
                A     I do not know that .                                                      i
                                                                                                '
                                                                                                1.
                                                                                                i
                                                         just                                   )
                                                                                                l
                                                                                                .,

                                                                                                )
              have      been -- have                                                            i
                                                                                                l
                                                                                                l
                              seem         have had a relationship                              )
                                                                                                )
                                                                                                J
           Michael King, correct?                                                               1
                                                                                                '
                                                                                                1
                A     No .                                                                      j
                                                                                                '
                                                                                                j
                                                                                                '
                      And when                    relationship ,       mean business            t
                                                                                                l
                                                                                                j
                                                                                                l
           relat ionship .     sorry.                                                           1
                                                                                                )
                                                                                                t
                A     Not much , but yes .             I 've talked to him over                 1
                                                                                                j
           the last ten years , yes .                                                           i
                                                                                                @
                                                                                                )
                      And what            When                          e-mail                  (
                                                                                                8
                                                                                                .
                                                                                                1
                                                                                                !
                                                                                                l
                                                                                                i
                                                                                                ë
                                                                                                à
                                                                                                -
                                                                                                '
                                                                                                ë
                      And I 'm going                             I 'm going      pull           )
                                                                                                j
                                                                                                '
                                                                                                :
           up the e-mail that he sent                           guess it 's the first           )
                                                                                                t
                                                                                                l
           e-mail that he sent you .                                                            l
                                                                                                (ï
                             Michael                   an e -                                   )
                                                                mail     Tuesday,               j
                                                                                                (
                                                                                                '
                       I 'm going                try to share that .                            7
                                                                                                j
                                                                                                q
                                                                                                .
                      And                                       Amended complaint,              .
                                                                                                1.
                                                                                                '
                                                                                                ?

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'




                                                                                                                                                    64
                                                                                                                                                               (
          Carmen Jones                          Menachem Mayberg,

                                e-mail                   Michael?                                                                                              )



                     A            Yes .         Yes .       Yes .                                                                                              F
                                           MA YBER G :                                                                                                         !

                                                                                  the Plaintiff. And                                                           j
                                                                                                                                                               )

                         send that                            Madam Court Reporter, after this                                                                  ;
                                                                                                                                                                )
                         deposition .                                                                                                                          i
                                                                                                                                                                )
                                                                                                                                                                )
                                           COURT REPORTER :                         Okay .                                                                     )
                                                                                                                                                               '

                           ZAY ZERG :                                                                                                                           '
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                         C arm en .                                                                                                                            i
                                                                                                                                                                )
                                  MR. BURATTI: Object                                        form .                                                             y
                                            DE PONEN T :                                                  Ca rm en ,                                            )
                                                                                                                                                                '
                                                                                                                                                                )
                                                                                                                                                                q
                                                                                                                                                                )
                         what this p iece                                                                                                                       y
                                                                                                                                                                )
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                                                                                                                                                                .
                         attached                        sorry,                   need glasses .                                                                )
                                           small .                  attached                                                  named                             i
                                                                                                                                                                1@
                                                                                                                                                                .

                                                                                                                                                                (
                                                  the lawsuit .                                                                                                 @
                                                                                                                                                                lq
                                                                                                                                                                !
                         have had issues                                                           including him                                                 2
                                                                                                                                                                1
                                                                                                                                                                .



                         filing             falsified police report                                                                                             (
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                                                                                                                                                                l
                                                                                                                                                                t
                                                                                                                                                                l
                                          can 't see because                                          Zoom boxes                                                (
                                                                                                                                                                l
          B Y M R . MA YB ERG ;                                                                                                                                 i
                                                                                                                                                                @

                                            okay .                                                                                                              '
                                                                                                                                                                j
                                                                                                                                                                )

           .. ...... .     .z4.... ..,-     .        .. .4.$:4. . .ff$.'5:3%..E   o /19!rftùl4%# $* q<:    C t:î 1$3914:CC$pl1ï#*1C>' e4rkk?. '#''. 1&$1.:rae elafl

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                                                                                     l
                                                                             65 '
               A          on the right .    After against I can 't see           )
                                                                                 '
          anything . And --                                                      )
                                                                                 :


                      Okay . Against him . This was released today ,
          and he sent the link .                                                 !
                                         prior                 2021              i
                                                                                 L'
                                                                                 !
                                                   Michae l                      t
          documents, correct, Michael King?                                      '
                                                                                 (
               A      In the past , yeah .                                       )

                                past .                                           '
                                                                                 k'
                                                                                 !!
                                                                                 i
                                                                                 (
          Michael      those documents,                                          y

          Michael's signature that           notarized                           )
                                                                                 h
          people 's documents                    10th ?                          t
                                                                                 ,1

               A      That I wouldn 't rememher .                                !
                                                                                 t
                                                                                 l
                      Right.                                                     t
                                                                                 1
               A      It was Very long .     I would not rememher .              è
                                                                                 l
                                                                                 l
                      Okay .                                                     l
                                                                                 ;
                                                                                 ?
          documents                  other people when                           @
                                                                                 :
                                                                                 1
                                                                                 )
                                                                                 !

                                                                                 l
                                  because             deal                       t
                                                                                 1
                                                                                 l
          correct?                                                               j
                                                                                 l
                                                                                 )

                           BURATTI: Object          form       misleading.       )
                                                                                 l
                                                                                 .1

                           DEPONENT .-                                           )
                                                                                 '
                                    .                                            j
                                                                                 i
             MR . M AYBE RG :                                                    1
                                                                                 )
                                                                                 .
                                                           documents             ,
                                                                                 (
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                                                                                 i
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                                                                                      66 )
                  IDeople 's
                                                                                            )
           present?
                   A      NO .                                                              C

                                         have                          document
                                                                                            :
           Michael -- Have                       signed a document         Michael
                                                                                            (
           where the person                 signature                 notarizing            :
                                                                                            )

           wasn 't present?
                                                                                            )
                                 BURATTI: Object            form.
                                                                                            t
                                 DE PON ENT :                                               t
                                                                                            !

                       MAYB ERG :                                                           y
                          Have                  signed     document       Michael           i
                                                                                            !
                                                                                            '
                                                                                            k
           where his                      signature when he               present?          l
                                                                                            .
                                                                                            !
                                                                                            y
                   A      Possibly .     Actually , no .                                    )
                                                                                            .
                                                                                            j
                          Wait a m inute .       No , I never got to notarize               )
                                                                                            ?
                                                                                            )
           it .    He sent me a document for his son 's, what do you                        l
                                                                                            )
                                                                                            l
           call          driving permit , and Sophia said the date --                       i
                                                                                            l
                                                                                            )
                                                                                            .

           the birthday was wrong , and I said ,               can 't change                '
                                                                                            i
                                                                                            i
          and I never heard back after that .                                               '
                                                                                            l
                                                                                            1
                                                                                            8
                                                                                            j
                                                                                            ,
                               - -
                                     But what he wanted you           do had the            .
                                                                                            !
                                                                                            )
                                                                                            '
          birthday             been wrong           sign                                    i
                                                                                            1
                                                                                            l
           though the son wasn It                                                           l
                                                                                            y

                          MR. BURATTI: Object              form .                           !
                                                                                            j
                                                                                            )
                                                                                            '
                   speculation .                                                            )
                                                                                            t
                                                                                            )
                                                                                            )
                                                                                            l
                          THE DEPONENT:             not the           Michael.              j
                                                                                            :
                                                                                            )
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                                                                                                                                                              67
              BY MR . M AYBER G :                                                                                                                                      )

                                                              was for Michaei 's iicense?

                         A            No . Michael 's signature as a parent .
                                      M ichael 's signature                                            a parent .

                                                                    go ing                       s ign a do cum ent                                                    7

              Michael,                         signature                               parent,                                                     going               r
                             present , co rrect ?                                                                                                                      1
                                                                                                                                                                       ;

                         A            Right . Correct .                                                                                                                )
                                                                                                                                                                       t.
                                       Okay .                                    Michael                            Did Michael                                        )
              Before he                                                                                       May                                                      è
                                                                                                                                                                       @
                                                                                                                                                                       .

              h e ca ll                                                                                                                                                l
                                                                                                                                                                       (
              issues that we 're
                                                                                                                                                                       (
                                                                                                                                                                       .

                         A            No .          Not at all .                                                                                                       q
                                                                                                                                                                       )
                                                                                                                                                                       .

                                                                                                                                                                       l
                                                                                                                                                                       )

                                      And after he                                                                                                                     l
                                                                                                                                                                       l
                                                                                                                                                                       !
                                    at all?                                                                                                                            i
                                                                                                                                                                       (
                                                                                                                                                                       .


                                                                                                                                                                       )
                         A            No. I only got one phone call. I'm trying                                                                                        l
                                                                                                                                                                       ).
              t                                                                                                                                                        @
                                                                                                                                                                       è
                  o remember .                      It was recent , but I don 't remmmher the                                                                          (
                                                                                                                                                                       1
              actual date that I saw his caller ID and I didn 't                                                                                                       )
                                                                                                                                                                       (

              ansWer                                                                                                                                                   )
                             .                                                                                                                                         (
                                                                                                                                                                       )
                                      O kay .                                                                                                                          '
                                                                                                                                                                       )
                                                                                                                                                                       )
                         A            And he left a voice message .                                                         think .                                    )
                                                                                                                                                                       .
                                                                                                                                                                       )
                                                                                                                                                                       l
             don , t even think I read it                                                                                                                              t
                                                                                 ,     I just immediately blocked                                                      :
                                                                                                                                                                       !
             hi                                                                                                                                                        ;
                                                                                                                                                                       (
               m.            Because I didn 't want to talk to anyone .                                                                                                ;
                                                                                                                                                                       j
                                                                                                                                                                       '
                                      And                              after                                                                                           i
                                                                                                                                                                       ,


      )   . ât p%9
                 ..   54 >v s zt zg6 rK %+r: $181    tâ   . ::..::;%s.1',.:.2c R&.)41s%$...( $14ojv T?;: ïv   ù:      qzt g,szy b zJà % : ,gpr è   g:%.k:          .


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                                                                              68 )
                 A       Not Paul . Not Sophia . Anyone .                          è
                                     Fhhone           voice message                '
                                                                                   (
                                                                                   f
                                  contact            Buratti,                      )
                                                                                   r.

          recaii?
                                                                                   )
                                                                                   )
                 A       I don 't remember .       have terrible mem ory .
                                                                                   ;
          But I don 't remember .           I think it was                         q
                         Th e third e-mail , that 's the date he called .          (
                                                                                   )

          Because when I didn 't answer , he e-mailed . So check                   y
          the most recent e-mail that is -- I don 't think he even
                                                                                    è
                                                                                    t
          left a message, I just know that I immediately got an                     !
                                                                                    (
                                                                                   ).
          e-mail right            a few m inutes after .     So check the date     l
                                                                                   ):
          for the third e-mail or the most recent e-m ail , that 's                ,
                                                                                   1
                                                                                    )
                                                                                    1
          the time he called .                                                      .
                                                                                    g
                                                                                    1
                                                                                    .


                         Okay .             have                                    j
                                                                                    )
                 A       Yeah .    It was recent .    It was like very              (
                                                                                    #
                                                                                    i
          recent .                                                                  #

                                                                                    l
                                                                                    !
                                                                                    1
                                                                                    .
                                                                                    .

                   A      It says , Call me back , Carmen , please call me          )
                                                                                    !
                                                                                    l
                                                                                    i
          back .       I didn 't think it was proper to talk to anyone ,            j
                                                                                    l
                                                                                    ).
                                                                                    )
          except Sophia because she was my boss .                                   #
                                                                                    t
                                                                                    i
                                                                                    !
                                  Carmen Estrada?                                   (
                                                                                    '
                                                                                    j
                   A      Carmen Estrada?      My daughter . But I used to          !
                                                                                    j'
          b                                                                         )1
              e Carmen Estrada .                                                     #
     24                       because therers        Carmen      There's            j
                                                                                    '
     25                                                                             t
                                                                                    r,
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                                                                                                                                                                                                                      )
                        A              That 's my daughter . She 's a Paralegal .                                                                                                                                               '
                                       Okay .                                                                           forwarded the message                                                                                   :
                                                                                                                                                                                                                                ;
                        Michael                                                             that                            Carmen Estrada?
                        A              Yeah , my daughter .                                                                                                                                                                     !
                                                                                                                                                                                                                                .
                                       Ok                                                                                                                                                                                       ;
                                                                                                                                                                                                                                .
                                                ay .
                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                (
                                                                                                                                                                                                                                '
                        A               I was asking her about it . She works for a                                                                                                                                             .
                                                                                                                                                                                                                                è.
              law office .                                                                                                                                                                                                      ,
                                                                                                                                                                                                                                ll
                                       Okay .                                                                           there 's a date                                                                                         ?
                                                                                                                                                                                                                                )
                                        Thursday,                                                                                                                                                                               #
                                                                                                                                                                                                                                :
                                                        going                               share                                        e- mail.                                                                               l
                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                l
                        A              One of the e-mails says , Please call me .                                                                                                                       It                      è
                                                                                                                                                                                                                                7
              was very short.                                       It wasn 't explaining anything , it was                                                                                                                     ,
                                                                                                                                                                                                                                l

               just after he called me                                                       .          And as soon as he called me I                                                                                           i
                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                !
              blocked him. I 7'ust didn't Want to deal With anyone                                                                                                                                                              )
      15      until this deposition .                                                                                                                                                                                           i
                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                )
      16                                                                                                                                                                                                                        i
                                                                                                                 showing                                                              screen .                                  /:
                                                                                                                                                                                                                                ).
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      l8                                                                                                                                                                                  first                                 t
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               thing as                                 scrolling                                                                                                                                                               E
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                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                (
                                       Madam                                            Reporter,                                                                       make                                                    )

               Plaintiff                                                                                                                                                                                                        l
                                                                                                                                                                                                                                i
                                                                                                                                                                                                                                !
      22                A               This is two m inutes after he called me .                                                                                                                                               :
                                                                                                                                                                                                                                1
                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                .

                                                                                                                                                                                                                                )
      23                                Right.                                                      minutes after that missed                                                                                                   j
                                                                                                                                                                                                                                )
      24      phone call .                                      the date                                                                                  Thursday,                                                             i
                                                                                                                                                                                                                                )

      25                                                                                                                                            called you within                                                           t
                                                                                                                                                                                                                                 ?
           Yt çt.   z/%ve p'1 >=   <':'% .+:w. ti .ds!$1D' .'l>!$%
                                                                 hï/%44*eB&xAA4%1xMvx'r''&''x,es%A'''$111P''*''.11,%*ïff
                                                                                                                       NQs$'!*'1.8'ëç@6'<M%@y*%'>   ':yk9''' >-*''''''d$1C t/*:361.d%ö'.'QY' v &Z*' '>''
                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                -;
                                                                                                                                                                                                       $*'%$'i'''kk'4ï***''@**'''31
      .



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                                                                               70
               m inutes before

                A      Ye s .

                                  he                  e-mail

                Carmen,                                   thanks?
                A      Right .   Because the e-maii before that was                  '
                                                                                     )
           May 26 and then all of a sudden I get a phone call and                    '
                                                                                     :
           then I ignore it and I got an e-mail soon thereafter .                    è

                          gotcha .                   chain here .    Now ,

                          finding                                    words .
                                                                                     t
                A      Like a chain , yeah . Any response -- I m ade                 )
                                                                                     '
                                                                                     )
           only one response , and it was , Loss -- I 'm at a loss                   i

           for Words .                                                               l
                                                                                     )
                                                                                     i
                                                                                     .

                                                 Mr . Buratti                        '
                                                                                     ,
                                                                                     (
                                                                                     7
                                  speak          Buratti other                       ?
                                                                                     j
                                                                                     y
                                                                                     k:

      15       e-mail chain?                                                         )
                                                                                     ;
                                                                                     )
                            You have telephone conversations                         :
                                                                                     )
                                                                                     )
                                                                                     .
                                                                                     '
               Buratti?                                                              j
                                                                                     i
      18        A      I think I got a call a couple of days ago ,                   î
                                                                                    -(
                                                                                     '


           and I didn 't        I did not answer the phone and I got a               (
                                                                                     1
                                                                                     '
                                                                                     )
                                                                                     )
           voicemail and I said I didn 't want -- I heard he had                     ?
                                                                                     j
                                                                                     )
           said that I didn 't want to talk to anyone until I 'm                     l
                                                                                     1
      22   deposed .                                                                 !
      23                                                                             l
                                                                                     j
                                                                                     i
                                                                                     -
      24        A      I wanted nothing improper.                                    (
      25                                  glad                   Thank               1
                                                                                     .
                                                                                     7
                                                                                     :




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                                                                                                                                                                                                                     t




                      that .
                                                                                                                                                                                                                     (
                                                                                                                                                                                                                     .

                                        Did                   Prior                                                                                Buratti 's

               e - mail                                                              did                             speak                          anybody from                                                     !
                                                                                                                                                                                                                     2
                      office                         him ?

                           A            No , I did not .                                                                                                                                                             )

                                        MR . MAYBERG :                                   Okay .                                         Madam                                                                        )
                           R                                                                                                                                                                                         (
                               eporter,                                                                                                                                                                              :

                    M R . MAYB ERG :
                                                                                                                                                                                                                     7
                                        I 'm sharing                                             screen .                                                                                                            i
                                 Carmen,                                              See                                        Screen your e-maiis                                                                 (
                                                                                                                                                                                                                     @
                                                                                                                                                                                                                     .

                                                                                                                                                                                                                     (
                                                                                                                                                        Buratti?                                                     p
                                                                                                                                                                                                                     )
                                        MR BURATTI: Exhibit                                                                                                                                                          )
                                                                                                                                                                                                                     '
                                                                                                                                                                                                                      )
                                                     MAYBE RG :                                                                                                                                                      g
                                                                                                                                                                                                                     )
                                                                  what you 're seeing                                                               the screen                                                       t
                                                                                                                                                                                                                     )
                           right now?                                                                                                                                                                                )
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                                                     COURT REPORTER :                                                                            asking                                                              (
                                                                                                                                                                                                                     #
                                                                                                                                                                                                                     l
                           court reporter?                                                                                                                                                                           j
                                                     MAYBERG :                                                   Court Reporter,                                                                                     )
                                                                                                                                                                                                                     j
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                                                                  E xhibit                                                                                                                                           l
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                    MR . MA YBER G :                                                                                                                                                                                 ,!
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                      shared screen Exhibit                                                                                 e-mail chain                                                                             )
                                                                                                                                                                                                                     !
                                 B                                                                                                                                                                                   I
                                     uratti?                                                                                                                                                                         t
                                                                                                                                                                                                                     l
                           A            I                                                                                                                                                                            )
                                                                                                                                                                                                                     :
                                              see the e-mail, but I don lt -- I don 't see                                                                                                                           /
                                                                                                                                                                                                                     t
               where it says what exhibit it is .                                                                                                                                                                    )
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          1 . . '
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                                                                                 72 :
                                                     was        clarifying .

                      Madam         Reporter,                    Sorry .

                      This is Exhibit

                            BURATTI:     Defendant 's

                p robably clarify .      Sorry .

                      MR . MAYBERG :             Plaintiff's           sorry ,         .
                                                                                       ,

                                                                                       '(
                                                                                       :
                        Plaintiff 's               Madam          Reporter?            )

                            BURATTI :    Defendant 's                                  '
                                                                                       (
                            MAYBERG :    Defendant rs            I wanted to
                             Plaintiff's exhibit                                       i
                                                                                       i
                            BURATTI :    Plaintiff's
                                                                                       f
                            MAYBERG :            believe       was     Madam           ,
                                                                                       q.
                                                                                       l
                Court Reporter,         believe                                        !
                                                                                       d
                                                                                       1
                Correct ?                                                              @
                                                                                       i
                                                                                       !
                            COURT REPORTER .                         e-mazz as         l
                                           .
                                                                                       y
                                                                                       1
                Plaintiff's                                                            t
                                                                                       )
                                                                                       )
                                                                                       1
                                                                                       )
                                                                                       /
                            MAYBERG :   Right .         Plaintiff's                    '
                                                                                       1
                                                                                       !
                                                                                       i
                                                                                        l
                e-mail chain between Carmen A .                                         (
                                                                                        ;
                                                                                        1
                                                                                       l.
                Buratti .                                                              J
                                                                                       è
                                                                                       .

                                                                                       l
                                                                                       1
                                             Madam          Reporter?                  (
                                                                                       f
                                                                                       l
                That 's Piaintiff                                                      '
                                                                                       )
                                                                                       )
                                                                                       l
                                                                                       ;
                      THE COURT REPORTER:             right.                           t
                                                                                       l
                                                                                       )
                            MAYBERG :   Okay .        Plaintiff 2                      )
                                                                                       )
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                                                                                       j
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'




                                                                                                                                                                                                                                                   73
                                                                                                                                                                                                                                                              :
                                                                                COURT REPORTER :                                                           Okay .

                                                 MAYBERG :

                                                                                                                                                                                        (
                                                                                                                                                                                        gOj.IR(4       .                                                       :
                                                                                                                                                                                                                                                               ?

                                   going                                                                   showing
                                                                                              first e-mail

                                   Buratti                                           you ,                                                                                    and there 's

                                    Jones,                               'm M ichael King 's
                                                                                                                                                                                                                                                               )
                                                                                                               that?                                           that what 's showing                                                                            r

                                    screen right

                                        A                     Yes . Yes .                                           It 's in green?

                                                                                                                             green .                                                                                                                           (
                                                                                                                                                                                                                                                               l
                                                                                                                                                                                                                                                                :
                                        A                     Y es .                                                                                                                                                                                           '
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                                                               Oka y .                                                                                                                                                                                         ,
                                                                                                                                                                                                                                                               i
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                                                                                                                                                                                                                                                               ;'
                                                                                                                                                                                                                                                               .t

                                                                                                                                                        first time                                            heard from                                        t

                                    Buratti                                                                                                                                                            attorneys?                                               '
                                                                                                                                                                                                                                                               (
                                        A                      I -- I think so.                                                                                                                                                                                )
                                                                                                                                                                    called you on behalf                                                                        y
                                                                                                                                                                                                                                                                )
                                Michael                                                                                               Buratti                                     reached                                                                       @
                                                                                                                                                                                                                                                                é
                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                ;
                                tried                                   contact                                              on behalf                                            Michael                                                                       1
                                                                                                                                                                                                                                                                ?
                                                                                                                                                                                                                                                                1
                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                1,
                   than                                   Buratti?                                                                                                                                                                                              )
                                                                                                                                                                                                                                                                (
                                                                                                                                                                                                                                                                i
                                        A                      No .                                                                                                                                                                                             1
                                                                                                                                                                                                                                                                )
                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                l
                                                               Now,                                those                                       years that                                              worked                                                   ;
                                                                                                                                                                                                                                                                )
                                                                                                                                                                                                                                                                .
                                     Kings, what                                                           M iehael King 's position and                                                                                                                        j
                                                                                                                                                                                                                                                                l
                                                                                                                                                                                                                                                                7
                                                                                                                                                                                                                                                                .

                                                                                                                                            company,                                                                 recall?                                    4
                                                                                                                                                                                                                                                                j)
                                                                                                                                        -
                                                               MR . BURATTI.
                                                                           .
                                                                                                                              Obqect                                                                                                                            !
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                 b*..$l,t:>r.%;.e1t='tf'ysu'''<''''î.2:''e...0.r9:S..,1%.#:k1.'3.'F'NP*'mvu.
                                                                                           '%.*3..$..t.$ :;tC>>'%'' A''''s'.:.t1t4t.$.j.;.ïî
                                                                                                                                           7.:5'''@''o'''q8n   . t.o.,...'....
                                                                                                                                                                             è..e. :..vv. ltiïJ...<:: ê:/....z1.rr..w.!'>'+.îâcit.7:...7:ï....1r   <)1à.32:5:'ï.t:il

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                                                                                 74
                             DEPONENT :   Nothing .           didn 't have

               position

          BY MR . MAYBERG :


               A       It was his brother .                                           i

                             brother.

                             h ow many                        ten yea rs ,
                                                                                      i
               recall,          Michael         you       notarize things

              other than            driver 's license
               A       N                                                              )
                           one . Sophia is the one that always told me
          to notarize things.                                                         )

                       Okay .             Sophia asked                                ,
                                                                                      '
                                                                                      ;
             notarize things             Michael              business                1
                                                                                      j
                                                                                      r

          dealings            had                Michael?                             ;
                                                                                      '

               A           don 't rememher .                                          )
                                                                                      t
                       Okay .                                                         )
                                                                                      l
                                                                                      ;
                                                                                      !
                                                                                      '
               A       Ten years . Very rare if he ever communicated                  (
                                                                                      i

          at all with me . Sophia did .                                               )
                                                                                      )
                       Right .                                                        i
                                                                                      l
          M ichael .                question       sophia .                           '
                                                                                      è
                       H ow many                   the        years has Sophia        )
                                                                                      r
                                                                                      'p
          asked you                 notarize things           have people come        i
                                                                                      '
                                                                                      l
                                                                                      l
                            documents          Michael?                               j
                                                                                      l
                                                                                      é
                                                                                      .
               A       I have no idea . Not -- Not M ichael . Sophia .                i
                                                                                      lt
                                                                                      :.
          Not - -                                                                     jr
                                                                                      '
                                                                                      j

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 '




                                                                               75
                        Right .

                 A      Not docnments for Michael, just Sophia gave
           me        I would notarize documents for closings, things                 '

           like that over ten years .          I don 't remember exactly ,

           but yes .
                                    remember

           Sophia asked                notarize ,            those documents

                       Michael             deals        Michael     working



                 A      I don 't recall .                                            t
                                                                                     )
                        Okay.                                                        L

                             BURATTI: Object                                         i
                                                                                     l
                 qUCSYYOS .                                                          î

                     MAYBERG:                                                        t
                                                                                     J
                                                                  beginning          t
                                                                                     !
                this depo opposing counsel            asking      some               l
                                                                                     l
           questions about           summons, and you 've referenced                 C
                                                                                     .f


                                                                                     lt
                 e-mail .                                                            .
                                                                                     ;
                                                                                     '

                                                                                     j
                                                                                     y
                                                                                     ;E

                        What was           regarding?                                1
                                                                                     :
                                                                                     j
                                                                                     '
                 A      Well       once I saw the e-m ails from Michael ,            !
                                                                                     :
                                                                                     k
                               ,
                                                                                     l
           they said that they filed a lawsuit against me , so , you                 t
                                                                                     t
                                                                                     )
                                                                                     i
           know, I'm a realtor, I could check that on Clerk of                       )
                                                                                     t
                                                                                     1
           Courts and I see something , and then I started reading                   ,
                                                                                     1
                                                                                     r
                                                                                     i
           all of the e-mails and links about it and that 's it .                    f
                                                                                     ?
                                                                                     (
           That ls how I found out about this .         I didn 't have no            î
                                                                                     '
                                                                                     1



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                                                                                   76
           idea about this .                                                             '
                                                                                         )

                             MAYBERG :     Okay .           may have a moment,           k
                                                                                         )
                                                                                         $
                Counsel .                                                                ;
                                                                                         )
                             BURAT TI :         cou rse .

                                      proceedings .)
                       (Discussion                             record.)
                                                                                         L

                             MAYBERG .          what        going                        t
                C oing to share my screen .                                              è
                                                                                         k
                                 exhibit, Madam Court Reporter,                          i
                                                                                         :
                asked Carmen                 Exhibit                        going        :
                                                                                         è
                                                                                         '
                                                                                         .
                     make                 e-mails independent e-mails                    :
                                                                                         :
                Exhibit
                                                                                         )
                                                                                         l
                             BURA TTI :                                                  l
                                                                                         t
                                                                                         (
                                                                                         è
                       THE COUR T REPOR TER :       I                                    i
                                                                                         )
                                     screen .               know what you 're            @
                                                                                         '
                                                                                         i
                                                                                         .
                                                                                         :
                XCUCVVYSM                                                                q
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                             MAYBERG :                                  it now?          )
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                                                                                         i
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                      THE COURT REPORTER '
                                         .                      this                     è
                                                                                         l
                                                                                         l
               Number                                                                    l
                                                                                         l
                      MR . MAYBERG:       This                      Where                1
                                                                                         q
                                                                                         t
               Right         front                                  a loss for           )
                                                                                         '
                                                                                         )
                                                                                         .



                                                                                         l
               words.           above                   Michael Kingr
                                                                                         )
               Thursday , June                  2 :16, Hey, Carmen , please              I
                                                                                         j
                                                                                         )



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                                      we                     that and       asked her
                questions                    make           Number                         #
                                                                                           )
                       THE COURT REPORTER :             Okay .                             )

                                MA YBERG :



                                Carmen,                          wrap                      :
                                                                                           '
                                                                                           .
                                                                                           k
               Buratti asked a whole bunch of general questions

           about some procedures that                            and you answered          '
                                                                                           )'
                                                                                           .
                                                                                           i

                                                                                           ;
                                   wanted                                document          '
                                                                                           ).

                                                                                           )
                                                                                           )
                                                                                           1
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                                                                 deed?                     !
                                                                                           j

                                COU RT RE POR TER :                                        j
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                                                                                           j
                                                                                           l
                    MA YB ERG :                                                            )
                        D                                                                  i
                          efendant 's Exhibit                                              (
                                                                                           i
                                        clarify         on Defendant 's Exhibit            l
                                                    ,                                      y
           you didn , t speak          Paul King prior                   having            i
                                                                                           k
                                                                                           l
                                                                                           )
           document brought                     Sophia, correct?                           )
                                                                                           l
                A      No       I did not .                                                7
                                                                                           i
                                                                                           l
                            ,
                                                                                           (
                       Okay .                 didn r t speak               King            2
                                                                                           T
                                                                                           1.L
           after having Sophia bring                         document?                     .
                                                                                           j
                                                                                           '

                A      No , I did not .                                                    (
                                   And you              received any written               )
                                                                                           j
                                                                                           i
                                                                                           1
                                                                                           ;
                                                                                           .

           any other                                         from Paul                     1


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                                                                                  78
          regarding           document before                                          :
                                                                                       :

               A      No .

                                 after?                                                )

               A      No , I did not .                                                 ê
                                                                                       '
                                                                                       (
                                                                                       .




                                                                                       l
                                                          signing                      i


          Sophia was                when
          Sophia when Sophia was explaining                               said         (

                                 thought there           some deal based
                                                                                       1
                                                                                       ,

               document between                brothers and that 's why                '
                                                                                       r

                                                                                       (
                                                                                       )
               A      Yes .      She called it an agreement , that they                !
                                                                                       14
          had an agreement between each other .                                        '
                                                                                       !
                       O kay .                                                         )
                                                                                       l
                                                                                       ')
          don 't know what                                 didn 't hear                t

          Sophia what            terms                agreement were, correct?         )
                                                                                       t
                                                                                       )
               A      No , she did not .                                                y
                                                                                       l
                                                                                        l
                                  Until this               haven 't heard              )
                                                                                       !è
                                                                                       )t
                                                                                       à.
                                                                                       1
                                                                                       1)
               A       No . A fter my last conversation that day , I                   :
                                                                                       (
                                                                                       1
                                                                                        .
          blocked everyone .                                                           )
                                                                                       j
                                                                                       l
                        MAYBERG          :   Okay .            time,
                                                                                       )
                                                                                       )
                                                                                        )
                                                                                        l
                have a moment,               secretary just Stepped                     )
                                                                                        l
                                                                                        1
                                                                                        )
                         wrap             Hold                 second .                 1
                                                                                        9

                             DEPONENT:                                                  !
                                                                                        ?
                                                                                           (




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'




                                                                                        79
                           (Pause      proceedings.)                                          ,
                              MAYBERG :      Okay .               purposes
                              have nothing --           have nothing

                                course         reserving          right       general

                                      agreement,          Buratti,
               need          retake this         or retake          take an hour              i

               depo,                 examinavion          response
                           limited amount             I                     questions         ,

                               round .                                                        )

                               BURATTI:        have        check          thing .             h
                                                                                              (
                                         have         check        thing .    We 're          )
                                                                                              T
                                                                                              :

                                                                                              t
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                                                                                              7
                                                      everyone for your                        '
                                                                                               r
                                                                                              i
                           Carmen,               very                 your time .             l
                S                                                                             )
                    orry                                                                      l
                                                                                              )
                           THE DEPONENT :        worries .                                    i
                                                                                              );
                               BURATTI:      Linda,                                            l
                                                                                               i
                           THE COURT REPORTER :       Read         waive?                     )
                                                                                               k

                               BURATTI:      Carmen ,              want      read and         i
                                                                                              )
                                                                                              ,
                                                                                               l
                                                                                               ;
                sign this transcript,                     means           review               I
                                                                                               l
                                                                                               )
                and sign                 send an              sheet        there 's            t
                                                                                               :
                                                                                               f
                                                                                               l
                errors              things                                                     q
                                                                                               l
                                                                                               )'
                                                                                               :
                               DEPONENT: Are              going                                1
                                                                                               t
                                                                                               l
                                                                                               )
                e-mai1                                                                         l
                                                                                               t
                                                                                               l
                                                                                               !
                               BURATTI: So Henderson                  send                     k
                                                                                               ?


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                                                                                                                                                            80 )
                               regular process                                      basically Henderson will send a                                                 '
                                                                                                                                                                    )
                               transcript                                                                                   witness             generally
                                                                                                                                                                    )
                               given an opportunity                                                                                       sign it,

                               you 'll                                notary                                                    and you

                               identify                          errors,                                                 will be a little

                                                     end                                                                                      Maybe
                                                                                                                                                                    !
                               you 've                                     before,                                          process before .                        7

                                                           Mendy,                                                        you don 't agree with                      è
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                                                                 said it .
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                                                        MA YBERG :                                                                                                  1
                                                                                  t                                                                                 i
                                                               you don t                                             corrections,                                   r
                                                                                                                                                                    (
                                                                                                                          notarize
                                                                                                                                                                    t
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                               think the                                                                                 you think there was                        h
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                                                                                                                            th                                      )
                                                                                                                                 en you sign and                    7
                               notarize                                                                                                           the               i
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                              process .                                                           means                                                             )
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                               review it before                                                                  official .                                         1
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                                            THE DEPONENT :                                                                  problem .                               k
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                                            THE COURT REPORTER :                                                                                                    )
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                                       read                                         waive?                                                                          t
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                                            THE DEPONENT :                                                                      now would be                        l
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                                                fo r awhile                                                               read                   own and
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                                                       BURATTI:                                                          Later there will                           )
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                              transcript                                       distributed                                                      read                )
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                                                                                                                                                                                                                                                1
                                                                                   And                                 somewhere between

                                        weeks, depending                                                               how Mendy                                                 decide                            take
                                                        speed                                              return,                                                   depends

                                                           probably                                                                                                                                                                             J
                                         evidentiary hearing .

                                                            THE DEPONENT :                                                     can read                                                                                                         ?


                                                                                                                                                                                                                                                ;
                                                                            BURATTI :                                                                  They have                                  make                                          :
                                                                                                                                                                                                                                                l
                                         transcript first .

                                                            THE DEPONENT :                                                             okay .                            thought                                                                i7
                                                                                    misunderstood .                                                        totally
                                                                                                                                                                                                                                                 :.

                                         misunderstood .                                                                           No problem .
                                                                                                                                                                                                                                                 )
                                                                            BURA TT I :                                                                                                                                                          è
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                                                 don lt                                                                                                                                                                                          !
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                                                                            MA YBERG :                                                                                                                                                           r
                                                                                                                                                                                                                                                 f
                                                                            BURATTI:                                           think                                 will                   that                                                 1
                                                                                                                                                                                                                                                 !
                                                                            DEPONENT :                                          thought she was typing                                                                                           y
                                                                                                                                                                                                                                                 y
                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                )1
                                         right there                                                                                                          her screen . Okay .                                                                (
                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                 q
                                                                                                    problem .                                                                                                                                    :
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                                                                            M AYBER G :                                                                                                                                                          )
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                                                             THE DEPONENT ;                                                            go ing                                                            going                                   7
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                                                                                            t own from                                                               hold                                                                        l
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                                         looking                                                calendar, from June -- June 25th                                                                                                                 (
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                                                                                                                                                                      anything .                                                                 l
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     :. .pw :4Kt.C.'>.:..   rd7T1 J:' oo'' *<...<1.,...,v.z.tet..*):zrq t, zz, '>o' ''.Z#ï;C, :r:vt$:.1k'tâx- 'e'*' 'xww.ù.è.%'.ttjï :z.Cï7:::?l+zv t èzm'<'' * t:   $   zïf 'ev' ''''x..Lr t:': Jr '' .Q. ..1%:tJ Az   '''.*>''.. 4.:)4.. q'; 'w'r'J
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                                                                                          82 '
                                                                                             r
                                                                           orlando .           l
                                                                                               i
                                                                                               .
                               need     deposition at

              be

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                              MAYB ERG :
                                                                                               i
                    MR   .    BURATTI :                        day in July?                    i
                                                                                               :
              Sorry .                                                                          y
                              DE PON ENT :    B etween June                                    1
                                                                                               j
                    28th                                                                       i

                              BURA TTI :                                                       (
                                                                                               '
                                                                                               !
                              DEPONENT :          going                  Orlando               y
                                                                                               )
                                                                                               )
                             grandchildren .             their birthdays .                     )
                                                           '
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                                                           Just 1et            know in         l
                                                                                               i
                                                                                               )
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              advance,                     clear my schedule .                                 è
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                                                                                               1
              realtor                         schedule          flexible .                     y
                                                                                               t
                   teaching , and I Im              doing              yet .                   l
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                    Okay?                                                                      à
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                    MR . BURATTI :           Very good .                                       l
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                    THE COURT REPORTER :                         ordering                      k
                                                                                               q!
                        Counsel?                                                               )
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                                                                                               )
                    MR * BURATTI:                   send         Kim                           t
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                                                                                               i
                                                                                               j
              our order                                                                        j
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                                   planning        expedite                    point,          t
              Mendy ,                                                                          1
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                                                                                               l
                   MR . MAYBERG :            Please.                                           .
                                                                                               i



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                                                                                        83 '
                                                                                             1
                           BURATTI :         Okay .

                       THE COURT REPORTER :                  copy



                       MR . MAYB ERG :
                                                                                             :
                                         '
                                         Just         While         do

               bookkeeping here ,                                                            (
                                                                                             î

                then                                         reporter
                                                                                             i
                exhibits and                          them                  whatnot.         j

                                                                                             :
                            MAYBERG :        Carmen, thank

                                   hold                      while we work                   J
                                                                                             E

                        going                            exhibits.                           f
                                                                                             i
                                                                                             '
                                                                                             .

                       THE DEPONENT :                                     Bye-bye .          )
                                                                                             ).
                                                                                             ).
                            MAYBERG :                        very much .                     '
                                                                                             .
                                                                                             .1



                       (Discussion was                                                       t
                            MAYBERG :        Back                                             )
                                                                                              ;
                                going                           Menachem Mayberg             i
                                                                                             t
                                                                                             t
                                                                                             .
                                                                                             )
                                                       your statement                        !
                                                                                              l
                acknowledge your statement                       taking                       )
                                                                                              )
                                                                                              )
                         deponent                                                            l'
                                                                                             1
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                                                                                              @
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                                  undersigned authority, certify that              ë
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Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 282 of
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 Jones,Carm en                                                                                June 17,2021
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                                       405

  From : MichaelKing mi
                      chael@ kingsgardeni
                                        nc,com
Subject:Re:EngagementLetterCannafcrnia,LLC (King,Paul)
  Date: March 16,2020 at9:16 PM
   To: PaulKing paul@cannafornia.co
   Cc: Sophia King sophiakinglf@gmail
                                    .com

      1'11splitaIIpaymentswith you -when youwin aII
      1wilWanti    s money back.Youcan have everythingelse
      Respectfully,




      MichaelKing
      Founder
      Chairman& CEO
      :
      #t) 347496 7844
      Michael@ KingsGardenlnc.com
      lvGgsGa.
             rdenlnc.ct
                      p.
                       m
        OnMar16.2020,at6:06 PM,PaulKing<paul@ cannafornia.co> wrote:

        Heydude it's25kyousure aboutthisguy?
               Forwarded message---------
        ----------

        From :Tonya Daleyutdaley@ bollaw com>
        Date:M on.M ar16,2020 at5:58 PM
        Subject:EngagementLetterCannaforni
                                         a,LLC (King,Paul
                                                        )
        To:rlaul@cannafornia.co <paul@ cannatornia.co>
        CC:StephenZ Boren<sboren@bollaw.coml,Anu Lundberg <alundberg@ bollaw com>


        DearMr.King,


        Please find attachedourEngagementLetterforyourreview and si
                                                                  gnature.Pl
                                                                           ease do revi
                                                                                      ew i
                                                                                         tcarefully,si
                                                                                                     gnwhereindicated,and
        return itto usinwhatevermannerismostconvenientforyou.Please letusknow ifyouwould preferforusto send you the
        EngagementLettervia Docusi gn.


        Additionally,youwillsee inthe EngagementLetterthatwe typically requestafinancialrelainer;inthisinstancewerequesta
        retaineri
                n theamountof$25,000.00.You may remi
                                                   tpaymentbycheck,ACH,orwiretransfer.Bel
                                                                                        ow are thewire inslructi
                                                                                                               onsfor
        ourClientTrustAccount,should youwishto remitpaymenlbywire transfer:


        AccountName:Boren,Osher& Luftman,LLPClientTrustAccount
        Bank Name:FirstRepublic Bank
        BankAddress:1888Century ParkEast,LosAngeles,CA 90067
        Account#:80000880527
        Routing#:321081669


       The Firm requiresa si
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                                      405




    Please Ietusknow ifyou haveanyquestions.We Iookforward to working withyou


    Best,
    Tonya


    Tonya Daley
    O ffice Coordinator


    222 N .Pacit-
                ic CoastH iglpw ay,Suite 2222
    ElSegundo,California 90245
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    Sincerely,
    PaulKing
    <2020-03-16EngagementLetterCannaforni
                                        aLLC (KingPaul
                                                     )pdfl




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         Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 285 of
                                               405
    Subject:W ire transferemail
    From :''Steven F.Kuehl'<skuehl@ bollaw.com m
    To:
    -'
        ''Am aliza@ disantolaw.com >''<Am aliza@ disantolaw.com >
      c:''Stephen Z.Boren''<sboren@ bollaw.com n,PaulKing Cannafornia <paul@ cannafornia.co>
' Jate Sent:Thursday,April 2,2020 1:38:57 PM GM T-04:00
  D ate R eceived :Thursday,April2,2020 1:38:58 PM G M T-04:00

HiAm y,

We were Iooking atthe Iedgerand the em ailsand could notfind an emailinstruction forthe $496kwire
transfertoJane,Inc,on 8/14/2019. Do you have one?
Thanks!
Steve
'
Steven F.Kuehl,Esq.
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                                       405

 From: Sophia King sophiakingo6@ gmail.com
Subject: Re:Wi
             retoJanelnc.
  Date: April2,2020at12:37 PM
    To: Steven F.Kuehlskuehl@bollaw.
                                   com
   Cc: PaulKing Cannafornia paul@cannaforni
                                          aqco

      HappyQ Thursday,Steve!HopeaI
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                                                       sledgeragainbuttoundncthingRE $496K.Iwillsendyou
      anotheremai
                lIaterontoday-unlessyoutellme:stop*'C
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                                                    1CV.'V wi
                                                            thnewfindings.Thankyouforhelpingoutll!StayHeal
                                                                                                         thyll!..1
                                                                                                                 ..
      Sentfrom my iphone




       Sentfrom my iphone




           Thank youll!




                                                       *
                                                       u ,




                                                                            skuehl@ bollaw.com



                   Thanks! The wire was senton August14,2019. ButDR keptchecking
                   in July to see iffunds had come in from DuMoulin Blackto Am y Maliza
                   and outfrom Amy Maliza's clienttrustaccount.

                   As a result,Ibelieve itwas som etime between July 1,2019 and August
                   14,2019.

                                             x phiakingo6@ gmail.com

                                                 skuehl@ bollaw.com




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                                      405




                     skuehl@ bollaw.com

                  HiSophia,

                 You have access to DR's Cannafornia em ails,right? W ould
                 you mind searchingthem for11$496,017''orId$496''? Iam
                 trying to find the instruction from DR to Amy Maliza
                 authorizing awire of$496,017 to Jane Inc.
                 Thanksll!

                 Steven F.Kuehl,Esq.
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                 ElSegundo,California 90245
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                                       405

  From:Steven F.Kuehlskuehl@bollaw.com (#'
Subject:Wireinstructi
                    onsloAmyMali
                               zafor$496*wiretoJaneInc.
  Date: April1,2020 at9:
                       26 PM
    To: PaulKing paul@cannaforni
                               a.co,Sophia King sophiakingo6@ gmail.com
    Cc: StephenZ.Boren sboren@ boll
                                  aw,com

      Paul,

      W e are Iooking forthe wire instructionsfrom DR to Amy Maliza forthe $496kwire. One
      issue is thatthe emails we have from Am y Maliza do nothave attachments                                                                                    .




      Can you check the attached em ailfrom DR to Amy to see ifithad an attachm ent?

      Thanks,

      Steve

      Steven F.Kuehl,Esq.
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      ElSegundo,California90245
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                                       405

  From:StephenZ.Boren sboren@bollaw.
                                   com (#'
Subject:FW:Cannafornia,LLC
  Date: March 24,2020 at3:
                         34 PM
   To: PaulKing paul@cannafornia.co,Steven F.Kuehlskuehl@ bol
                                                            law.com , MichaelKing michael@kingsgardeninc.com

      Paul-

      Can you checkthe attached Iedgerand confirm thatthe only transaction which you did
      notapprove wasthe oneto Janefor$496,107 on8/14/19?
     Thanks,
     Steve

     Stephen Z.Boren,Esq.
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     E1Segundo,California 90245
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     From :Am y Maliza <Am aliza@ disantolaw.coml
     Sent:Tuesday,M arch 24,2020 7:41 AM
     To:Stephen Z.Boren <sboren@ bollaw.com>
     Cc:PaulKing <paul@ cannafornia.co>;Steven F.Kuehl<skuehl@ bollaw com l                                                         .

     Subject:RE:Cannafornia,LLC
     HiSteve,

      Paulhas asked m e to send you the attached IedgerofaIlfunds transferred in and outof
     ourescrow accounton behalfofCannafornia Holdings,Inc.
      Ihave also gone through m y em ailand found 75 emails confirm ing thatPaulwas cc'd on
     each ofDim itriy'
                     s w ire requests and,afterPaulasked m e to confirm aIIwires with him ,
     separately confirm ed them . Iam notsure ifyou need those orofthe bestway to send
     them to you?

     Iam happy to help in any way Ican. Please Ietme know ifthere is anything else you
     need from m e.

      Am y K.M aliza,Esq.
      diSanto Law IPartner
      FLORIDA
      429 Lenox Ave,Suite 417 M iam iBeach FL 33139
      +1305.587.2699
                                                                                     nl$ANTae
                                                                                                                                              288 of384
Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 290 of
                                      405
      N Ew XORK
     6:9 Greenwicb m reet,4th Floor,New York, NY
     10014
     Adm itted in New York and Florida
    This message is intended to be confidentialand may be Iegall
                                                               y privleged. Itis intended solel
                                                                                              y forthe addressee. Ifyou
    are notthe addressee,please delete this message from yoursystem and notify us imm ediately. Any disclosure,copying,
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     stributionoraction takenoromitted tobetakenbyan unintendedreclpientinreli
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    may be unlawful.




   From :Stephen Z.Boren <sboren@ bollaw.com >
   Sent:Monday,March 23,2020 2:43 PM
   To:Am y M aliza <Am aliza@ disantolaw.com>
   Cc:PaulKing <paul@ cannafornia.col;Steven F Kuehl<skuehl@ bollaw.com >          .

   Subject:RE:Cannafornia,LLC
   Amy -

   Let's use m y firm 's dialin num ber- 310.322-2021 Ext. 302.

   1Iook forward to speaking with you at5:00 p m .EST/2:00 P.M .PST.       .




   Thanks,
   Steve


   Stephen Z.Boren,Esq.
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   222 N .Pacific CoastHighway,Suite 2222
   E1Segundo,California 90245
   *T:(310)322-2021ext.223 *F:(310)322-2228
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   From :Amy Maliza <Am aliza@ disantolawacom >
   Sent:Monday,March 23,2020 11:42 AM
   To:Stephen Z.Boren <sboren@ bollaw.com>
   Cc:PaulKing <paul@ cannafornia co>' ,Steven F.Kuehl<skuehl@ bollaw.com l
                                                           .


   Subject:RE:Cannafornia,LLC
   5pm EST works form e. Do you wantto callm e ordo we need a dial-in?

   From :Stephen Z.Boren <sboren@ bollaw.com l

                                                                                                                                   289 of384
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                                      405

   Sent:M onday,M arch 23,2020 2:40 PM
   To:Amy M aliza <Amaliza@ disantolaw.coml
   Cc:PaulKing <paul@ cannafornia.co>;Steven F.Kuehl<skuehl@ bollaw.com>
   Subject:RE:Cannafornia,LLC
   Unfortunately,Ihave a conference callatthattime. Are you available at5:00 p.m .EST
   orany time thereafter?

   Thanks,
   Steve

   Stephen Z.Boren,Esq.
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   From :Am y Maliza <Am aliza@ disantolaw.com>
   Sent:M onday,March 23,2020 11:38 AM
   To:Stephen Z.Boren <sboren@ bollaw.com>
   Cc:PaulKing <paul@ cannafornia.co>;Steven F.Kuehl<skuehl@ bollaw.com>
   Subject:RE:Cannafornia,LLC
   HiSteve,

   Iam available at4pm ET today. Does thatworkforyou?
    Am y K.Maliza,Esq.
    diSanto Law IPartner
    FLORIDA
    429 Lenox Ave,Suite 417 Miam iBeach FL 33139
    +1 305.587.2699
    NEw YORK
                                                                                   BI$âNT0 '
    609 G reenw ich Street,4thFloor, New York,NY
    10014
     Adm itted in New York and Florida
   This message isintended to be confidenti aland may beIegallyprivileged. Itisintended solely forthe addressee. Ifyou
   are notthe addressee,please delete this message from yoursystem and notify us immediately. Any di   sclosure,copying,
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        bution oraction taken oromitted to be taken by an unintended recipientin rel
                                                                                   iance on this message isprohibited and
   may be unlawful.




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                                      405


   From :Stephen Z.Boren <sboren@ bollaw.com l
   Sent:M onday,M arch 23,2020 2:35 PM
   To:Amy M aliza <Amaliza@ disantolaw.com>
   Cc:PaulKing <paul@ cannafornia.co>;Steven F.Kuehl<skuehl@ bollaw.com >
   Subject:Cannafornia,LLC
   HiAmy,

   Myfirm has been retained by PaulKing (who iscopied onthis email)and Cannafornia,
   LLC. W e are in the process ofinvestigating potentialclaim s againstcertain form er
   em ployees ofC annafornia and w ould like to speak w ith you atyourearliestconvenience.

   Please Ietme know youravailability fora phone callthis afternoon.

   Thanks,
   Steve

   Stephen Z .Boren,Esq.
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                                       405

  From ; matt@ cannafornia.
                          cc
Subject:RE:W iretransfersthi
                           smorning
  Date: April1,2020at4:53 PM
    To: PaulKing paul@ cannafornia,cc,StephenZ.Boren sboren@bollaw.com,Steven F.Kuehlskuehl@ bollaw.com

      lchecked w i  th Paul,on July 12,2019 a stock purchase agreem entw as sentfrom Dim itrito
      Am y,Paulneversaw itorsigned it,buthis signature is on i    t This em ailchain below
                                                                             .

      references a wire transferthatIbelieve is pursuantto thatstock purchase agreement It's a             .

      w ire transferw here nothing is m entioned and Dim itriseem s to be being carefulaboutnot
      spelling outexactly whatAmy is supposed to do.Amyeitherfigured itout, was com plicit,or
      they had a phone conversation.
                               M attStevens
                        W
                        .                                              jc
                        N4? Vice-presidentofCompli
                                                 anceandSeniorLega ounsel
                               Address 26800 EncinalRoad,Salinas,CA 93908, USA
                               Mobile (714)280-7097 EmailMatt@ cannafornia.co
                               W ebsite www.cannaforni
                                                     a.co



     From :PaulKing <paul@ cannafornia.col
     Sent:W ednesday,April1,2020 1:5O PM
     To:Stephen Z.Boren <sboren@ bollaw,com l;Steven F. Kuehl<skuehl@ bollaw .com >;M att
     Stevens <m att@ cannafornia.co>
     Subject:Fwd:W iretransfersthismorning
     nevercopied on this chain by am y
            Forwarded m OSSagO ---------
     .- - -- - - -- -

     From :Dim itriy Rom antsoff<drom antsoff@ cannafornia.co>
     Date:W ed,Apr1,2020 at1:49 PM
     Subject'
            .Fwd:Wire transfersthismorning
     To:PaulKing qpaul@ cannafornia.co>




            Forwarded m essage ---------
     -- - - -- - -- -


     From :Dim itriy Rom antsoff<drom antso#@ cannafornia co>           .

     Date:Fri,Jul19,2019 at7:15 AM
     Subject:Re:W iretransfersthismorning
     To:Amy Maliza <Am aliza@ disantolaw.com >


     You m ade the wire to 2000BB before The w ire instructions are attached.
                                                 .


                        +      DimitriyRomantsoff
        S''                 / Board Advi
                                       soratCannaforni
                                                     a
                               Address 26800 EncinalRoad,Salinas,CA 93906, USA
                               Mobile (305)978-7922 Emaildromantsoff@ cannaforni
                                                                               a.co
                               W ebsite www .cannafornia.co




                On JuI19,2019,at7:13 AM,Amy Maliza <Amaliza@ disantolaw.com l wrote:


                                                                                                          292 of384
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                                      405

          W illdo.There was one recipientw ithoutwire instructions.Shalllsend a check?


          On Fri,JuI19,2019 at10:12 AM -0400,''Dim itriy Rom antsoff''
          qdrom antsoP@ cannafornia.col w rote:

            Good morning Am y,
            Please send m e the wire confirm ations once it'
                                                           s done.

            Thank you,
                          +       DimitriyRomantsoff
               '#        gj4? BoardAdvi
                                      soratCarnaforni
                                                    a
                                Address 26800 EncinalRoad,Salinas,CA 93908,USA
                                  Mobile (305)978-7922 Emaildromantsoff@ cannafornia.co
                                W ebsite www.cannafornia.co




                 +     PaulKing
                       Founder& CEO atCannaforni
                                               a
      ,         N4?
                       Address 26800 EncinalRoad,Salinas,CA 93908,USA
                       Mobile /786)200-3429 W ebsite www cannafornia.co




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                                       405

  From:StephenZ.Boren sboren@bol
                               law.com (#'
Subject:RE:FW:Compl
                  eted:dSLEscrow Agreement-CannaforniaHol
                                                        dings(00025342xC084A)-4
  Date: April2,2020 at2:33 PM
    To: PaulKi ng paul@cannafornia.co,Steven F.Kuehlskuehl@ boll
                                                               aw.com

      Paul-

      In comparing yourem ailand Am y'  s emailInote thatyou are referring to an em ail
      exchange on August2 and she is referring to one on August14. The documents are
      diperentincluding the places to wire funds Do you have a record ofdocusigning the
                                                                          .

      docum entsentby Amy on August14? Heremailindicatesthatitwas sentto you and
      signed by you at3:26 p.m .
      Please advise as there are severaldiperences between the documents.

      Thanks,
      Steve


      Stephen Z.Boren,Esq.
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      222 N.PacificCoastHijhway,Suite2222
      ElSegundo,California 90245
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     From :PaulKing <paul@ cannafornia.col
     Sent:Thursday,April02,2020 10:58 AM
     To:Stephen Z.Boren <sboren@ bollaw.coml;Steven F.Kuehl<skuehl@ bollaw com >                                                       .

     Subject:Fwd:FW :Completed:dSL Escrow Agreement-Cannafornia Holdings
     (00025342xC084A)-4
     Looks Iike ldid sign this butm y version neverhad any instructions with it.



             Forwarded message ---------
     . - - . ..- - - - .


     From :Stephen Z.Boren <sboren@ bollaw.com>
     Date:W ed,M ar25,2020 at9222 AM
     Subject:FW :Completed:dSLEscrow Agreement-Cannafornia Holdings
     (00025342xC084A)-4
     To:PaulKing <paul@ cannafornia.co>,M ichaelKing <m ichael@ kingggardeninc com > ,                                                .

     Steven F.Kuehl<skuehl@ bollaw.com >


                                                                                                                                      294 of384
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   Paul-

   Please review the attached thatwas signed by you.

   Thanks,
   Steve


   Stephen Z.Boren,Esq.
   Boren.O sher& Luftman,LLP
   222 N .Pacific Coast Highw ay,Suite 2222
   EISegundo,California 90245
   .
       T:(310)322-2021 ext.223 *F:(310)322-2228
   web:www.boilavk?com
   This message and any attached documents contain information from the Iaw firm ofBoren,Osherd
   Luftman,LLP thatmay beconfidentialand/orprivileged. Ifyouare nottheintended recl
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   notify the senderI'
                     m m ediately by reply em al'
                                                land then delete this message.



   From :Amy Maliza <Amaliza@ disantolawacom>
   Sent:Monday,M arch 23,2020 3:15 PM
   To:Amy M aliza <Amaliza@ disantolaw.coml
   Subject:FW :Completed:dSL Escrow Agreement-Cannafornia Holdings
   (00025342xC084A)-4


   From :PaulKing <paul@ cannafornia.co>
   Sent:Friday,August2,2019 10:24 AM
   To:Amy M aliza <Amaliza@ disantolaw.com>;Dim itriRom antsoff
   <drom antso#@ cannaforniaxco>
   Subject:Fwd:Completed:dSL Escrow Agreement-Cannafornia Holdings
   (00025342xC084A)-4
   Amy please see attached

          Forwarded message ---------
   - - -.- ... -.. ...


   From :Docusign via Docusign <dse naz@ docusign.net>
                                             -

   Date:Fri,Aug 2,2019 at10:23 AM
   Subject:Completed:dSLEscrow Agreement-Cannafornia Holdings
   (00025342xC084A)-4
   To:PaulKing <paul@ cannafornia.co>




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                                      405




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      AIIsigners com pleted dSL Escrow Agreem ent-Cannafornia Holdings
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                                      405


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   Sincerely,
   PaulKing
   Sincerely,
   PaulKing




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                                       405

  From: matt@ cannaforni
                       a.co
Subject:RE:WireinstructionstoAmyMali
                                   zafor$496*wiretoJanelnc.
  Date: April2,2020 at9:28AM
    To: PaulKing paul@cannaforniaacc,Stephen Z.Boren sboren@ boll
                                                                aw.com
   Cc: Sophi a King sophiakingo6@gmail
                                     .com,Steven F.Kuehlskuehl@ bol law.com

      Yep,Iactually gotan em ailfrom them on Dinara's claim Iastnight.No settlement
      conference orhearing has been setyet.
                                     M attStevens
          4              N4, Vice-presidentofComplianceandSeniorLegalCounsel
                                     Address 26800 EncinalRoad,Salinas,CA 93908,USA
                                     Mobile (714)280-7097 EmailMatt@cannafornia.co
                                    W ebsite www.cannafornia.co



      From :PaulKing <paul@ cannafornia.co>
      Sent:W ednesday,April1,2020 7:02 PM
      To:MattStevens <m att@ cannafornia.co>;Stephen Z.Boren <sboren@ bollaw.com >
      Cc:Sophia King <sophiakingo6@ gm ail.com>;Steven F.Kuehl<skuehl@ bollaw.coml
      Subject:Re:W ire instructionstoAmy Malizafor$496*wiretoJane Inc.
      M attyou handled the laborclaim forDinara right?
      On W ed,Apr1,2020 at7:01 PM Stephen Z.Boren <sboren@ bollaw.com l wrote:
         Thanks Paul. Also,follow up with Lance ofmy office On the em ploymentissue when
         you have a m inute. There are deadlines to respond to LaborBoard claim s so Iwantto
         m ake sure you connectw ith him .

         Steve


         Stephen Z.Boren,Esq.
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                                  llal-1,Ll-P
         222 N .Pacitsc CoastHighw ay,Suite2222
         E1Segundo,California 90245
         *T:(310)322-2021ext.223 .F:(310)322-2228
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        From :PaulKing <paul@ cannaforniavco>
        Sent:W ednesday,April01,2020 6:35 PM
        To:Steven F.Kuehl<skuehl@ bollaw.com>
        Cc:Sophia King <x phiakingo6@ gmail.com >;Stephen Z.Boren
        <sboren@ bollaw.com>
        Subiect:RerW ire instructions to Am v M aliza for$496k wire to .lane Inc                                           .




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                                      405



     Ididn'tIook atherdropbox butthey are in m y google drive thatIshared w ith the
     attachm ents



     On W ed,Apr1,2020 at6:34 PM Steven F.Kuehl<skuehl@ bollaw.com > wrote:
       Thanks Paul. No rush.

       Ireviewed the emails thatAmy sentto us which was purportedly everything between
       herand D R. How ever,m any ofthe em ails referto attachm ents butdid notcom e
       w ith attachm ents.

       From :PaulKing <paul@ cannafornia.co>
       Sent:W ednesday,April1,2020 6:33 PM
       To:Steven F.Kuehl<skuehl@ bollaw.com >
       Cc:Sophia King <m phiakingo6@ gmail.com l;Stephen Z.Boren
       <sboren@ bollaw.com >
       Subject:Re:W ire instructionsto Amy Maliza for$496*wire to Jane Inc.
       HiSteven,1'11check when I'm back on Iaptop in a couple hours butitshould also be
       in the google drive folderIsetup.

       lf ldon'thearfrom you 1'11Iook atitin a few hours.

       On W ed,Apr1,2020 at6:26 PM Steven F.Kuehl<skuehl@ bollaw.com> wrote:
         Paul,

         W e are Iookingforthe wire instructionsfrom DR to Amy Maliza forthe $496*
         wire. O ne issue isthatthe em ails we have from Amy M asiza do nothave
         attachm ents.

         Can you check the attached em ailfrom DR to Amy to see ifithad an attachm ent?

         Thanks,

         Steve

         Steven F.K uehl,Esq.
         Boren,O sher & Ltlt'
                            tlllall-L 1-P
         222 N .Pacific CoastHighway,Suite2222
         ElSegundo,California 90245
         .T:(310)322-202lext.242 .F:(310)322-2228
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       Sincerely,
       PaulKing

     Sincerely,
     PaulKing

   Sincerely,
   PaulKing




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                                       405

 From : SophiaKing sophiaki
                          ngcf@gmai
                                  l.com
Subject:Re:WiretoJaneInc.
  Date:Aprii2,2020at12:37 PM
    To: Steven F.Kuehlskuehl@ bol
                                lawxcom
   Cc: PaulKing Cannafornia paul@ cannafornia.co

      Happy<:Thursday,Steve!HopeaI
                                 Iiswell!IdoublecheckedAmy'sIedgeragainbutfoundnothingRE$496K.Iwillsendyou
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                                                                 ndings.Thankyouforhel
                                                                                     pingoutll!StayHealthyll!zi
                                                                                                              o
      Sentfrom my iphone


        ThanksSophia!Iappreciateyouchecking
        Sentfrom my iphone




            Thank youll!




                                                         C,


                                                                         skuehl@ bollaw.com



                   Thanks!The wire was senton August14,2019. ButDR keptchecking
                   in July to see iffunds had com e in from DuMoulin Black to Am y Maliza
                   and outfrom Amy M aliza'  s clienttrustaccount.

                   As a result,lbelieve itwas som etime between July 1,2019 and August
                   14,2019.

                                               x phiakingo6@ gmail.com

                                                   skuehl@ bollaw.com




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                    skuehl@ bollaw.com


                 HiSophia,

                 You have access to DR'
                                      s Cannafornia emails,right? W ould
                 you mind searching them for$;$496,017''or11$496''? Iam
                 trying to find the instruction from DR to Am y Maliza
                 authorizing a wire of$496,017toJane lnc.
                 Thanksll!

                 Steven F.Kuehl,Esq.
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                                       405

  From : Stephen Z.Boren sboren@boll
                                   aw.
                                     com
Subject:RE:Cannaforni
                    a
  Date:July27,2020at1:39 PM
    To: PaulKing paul@cannaforni
                               a.co,Mi
                                     chaelKing michael@ kingsgardeninc.com,Sophia King sophi
                                                                                           akingo6@gmail.com

      Paul -

      lunderstand yourconcern.

      The problem presented isthatyou have m ultiple pieces ofIi tigation in two differentstates,
      a D.A.Iawsuitand an SEC investigation occurring simultaneously. Mark is working on
      the crim inalinvestigation and the SEC investigation on yourbehalfso he also needs
      answ ers to certain questions.

      O ne ofthe m ain issues thatcrosses aIIofthe cases and investigations is an explanation
      ofhow the condos in Florida were purchased and why m oney w entfrom Amy M aliza'    s
      accountto 1401 in 2019.

      Thanks,
      Steve


      Stephen Z.B oren,Esq.
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      From :PaulKing <paul@ cannafornia.co>
      Sent:M onday,July 27,2020 10:33 AM
      To:M ichaelKing <m ichael@ kingsgardeninc.com >'
                                                     ,Sophia King
      <sojhiakingo6@gmail.com>;StephenZ.Boren<sboren@bollaw.com>
      Subject:Re:Cannafornia

      Stephen,

      Ican'
          ta#ord to keep piling on the Iegalfees,that'sthe issue.

      Every tim e we talk it's superexpensive so we're trying to lim itthat.



     On M on.Jul27.2020 at10:30 AM SteDhen Z.Boren <sboren@ bollaw.com> w rote:

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                                      405


     Ithink we Ioop in Mark now.

     Ifyou have the tax returns,please send them over.

     Do you have any documents showing m onies advanced by Paulto Cannafornia in
     2018?

     Iw illtalk to you at 11 a.m .

     Thanks,
     Steve


     Stephen Z.Boren,Esq.
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     From :Sophia King <x phiakingo6@ gmail.com l
     Sent:M onday,July 27,2020 9:51AM
     To:Stephen Z.Boren <sboren@ bollaw.com>
     Cc:MichaelKing <m ichael@ kingggardeninc.coml'
                                                  ,Paulie King
     <paul@ cannafornia.co>;Steve Kuehl<stevekuehl8z@ gm ail.com>
     Subject:Re:Cannafornia
     Hello,Stephen!BEFORE we talk to Mark,Ietm e getIncom e tax returns from M arina
     Coppens,ourFL accountantand Horace Inbraham ,ourCA accountant.W hatdo you
     think? IT.) Please callme directly at305.401.4723,ifneeded!Thankyou!Sincerely,
     Sophia

     O n Mon,JuI27,2020 at9:41 AM Stephen Z.Boren <sboren@ bollaw.coml wrote:
       Mike,Paul,Sophia and Mark-

        Ithink we need to have a conversation this morning to discuss a couple ofissues
        which e#ectthe pending Iitigation in Florida and California,the crim inalinvestigation,
        the SEC and the D.A.


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           Is everyone available at11 a.m .?

           Thanks,
           Steve

       '

           Stephen Z.Boren.Esq.
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           ElSegundo,California 90245
           telephone:(3l0)322-202lext.223
           e-mail:sborentèbollaw.com
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     Please feelfree to callorem ailm e 24/7!

     Sincerely,



     Sophia Lyalya King
     President
     CENTURY 21 1stClass Realty
     17070 Collins Ave.,Suite 259
     Sunny lsles Beach,Florida 33160
     Office:(305)949-0266
     CeII:(305)401-4723
     Fax:(305)394-6080
     Email:Sophia.King@ CENTURY21.com
     wwwacenturyzl-1stclassRealty.org

     Click here forinform ation on New Construction Developm ents
     PaulKing,Broker/owner
     Voted one of ''Top 30 under30*in A m erica & #1 in Florida?
     D p30 under30 -Realtor.com (Clickfordetails).


   R innprplv

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                                      405

          J
   PaulKing




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 Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 308 of
                                       405

  From:RichardEpstein Richard.Epstein@gmlaw.com T
Subject:RE:KingetaI.v.RomantsoffetaI./Substi
                                           tuti
                                              onsofATtorney
  Date:September23,2021 at11:15 PM
    To:PaulKing paulkingceo@gmail.
                                 com

      G reenspoon M arderare no IongeryourIawyer. Yourinquiry is to be directed
      to the Iawyers who succeeded G reenspoon M arder.



      R ichard W .Epstein

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      200 EastBrow ard Boulevard
      Suite 1800
      FortLauderdale,Florida 33301
      Telephone: 954.491.1120
      DirectFacsim ile: 954.343.6958
      M obile: 954.214.5624

      From :PaulKing <paulkingceo@ gm ail.coml
      Sent:Thursday,Septem ber23,2021 9:41 PM
      To:Richard Epstein <Richard.Epstein@ gm law.com >
      Subject:Fwd:King etaI.v.RomantsoffetaI./Substitutions ofATtorney
      ButTurken doesn'texistdoes he Richard
      ----------
                   Forwarded mOSSagO ---------
      From :Jeremy J.Osher<josher@ bollaw.com>
      Date:Thu,Sep 23,2021 at9:32 PM
      Subject:King etaI.v.Romantso:etaI./SubstitutionsofATtorney
      To:paul@ cannafornia.co <paul@ cannafornia.co>
      CC:JeremyJ.Osher<josher@ bollaw.com>

      Mr.King,

      Please see the attached substitutions ofattorney which were signed by you on O ctober
      3O,2020 and were filed in the King v.Rom antsoffactkoo on Novem ber2,2021. AII
      docum ents along with ourentire clientfiles were provided to the attorney who substituted
      into the action on behalfofyou and yourentities,Jam es Turken atG reenspoon M arder.
      Please refrain from lgoogl
                               e.com)contacting Mr.Boren further.
                                   -




      Thanks,

      Jerem y J.Osher,Esq.
      Borel),O shcr& Lutïl-
                          nall,L1-P
      222N.PacificCoastHighway,Suite2222 ggoogle.coml
      L'1 Q xxcv,,.azlrx f'n11m v..a1o (An 'n,4 < razxrxzxlsx oz-x,..,.1

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Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 309 of
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   Telephone'
            .(310)322-2021ext.225
   email:joshert/hbollaw.com
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   attemptingto collectadebtfrom you.




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                                       405

  From:SophiaKing sophi
                      akingo6@gmail.
                                   com T
Subject:Fwd:FW:ProposedAmendedAgreement
  Date: May24,2021at6:57 PM
    To: Pauli
            e Ki
               ng paul@cannafcrni
                                a,co

      Please see attached


     ----------   Forwarded message ---------
      From :Kcesar@xominguezassociateslaw.coml
      Date:Mon,May 24,2021at8:43AM
     Subject:FW:ProposedAmendedAgreement
     To:PaulKi
             ngKpaul@cannafornjaxcor
     Cc:Sophia King<m phi
                        akingo6aggmailcom>


      Paul,please sign thi
                         stollingagreement.


      CesarDom inguez J.D./M .B.A.
     Law O ffices of D om inguez & A ssociates,P.A .
     2000PoncedeLeon/ Suite600
     CoralG ablesyFL 33134
     Phone:305-529-6273
     Fax:305-260-6346
     cesarclrdom inguezassociateslavr.colr
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     (ii)promoting,marketingorrecommendingtoanotherpadyanytransactionormatteraddressedinthise-mailor
     attachm ent.




     From:cesar@ domi
                    nguezassoci
                              ateslaw.com <cesar@dominguezassoAql/aw.com>
     Sent:Sunday,May 23,20218:14 PM
     To:'XavierA.Franco'qxfranco@ mcper.com>
     Subject:FW:ProposedAmendedAgreement

     Xavier,


     Youare referringto theattachedamendedtolling agreementcorrect?



     CesarD om inguez J.D ./M .B.A.
                                                                                                               3O9 of384
Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 311 of
                                      405

   Law O flices of D om inguez & A ssociates,P.A .
   2000PoncedeLeon/ Suite600
   CoralG ables,FL 33134
   Phone:305-529-6273
   Fax:305-260-6346
   cesarç#'dom inguezassociateslaxAv
                                   .con:
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   (ii)promoting,marketingorrecommendingtoanotherpadyanytransactionormatteraddressedinthise-mailor
   attachm ent.




   From :XavierA.Franco<xfranco@ m cper.com>
   Sent:Thursday,May2O,2021 2:36 PM
   To:cesar@dominguezassociateslawqcom
   Subject:RE:ProposedAmendedAgreement

   Cesar,Iam resending because therewasatypo inthesignature blockofthe FirstAmendmenttotheTolling Agreement.




   XavierA.Franco
   M cArdle,Perez& Franco P.L.
   255AlhambraCircle,STE 925 ICoralGables,FL33134
   T 305.442.2214 lF 305.442.2291
   WWW.mCper.COm IXfranco@mcper.com



   From :XavierA.Franco
   Sent:Thursday,May20,2021 12:23 PM
   To:cesar@dominguezassociatesl
                               aw.
                                 com
   Subject:RE:ProposedAmendedAgreement

   Cesar,here arethe documentsthatneedto be executedbyyourcli  ents. First,there isthe Second Amendmentto theSettl
                                                                                                                 ement
   Agreement.Imade no addi  ti
                             onalchangesto the Iastversi
                                                       on Isentyou,beyond reformatling.TheSeconddocumenti    sthe First
   AmendmenttotheR lli  ngAgreement,whi  chextendsthelolli
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   atypo i
         n the Iastparagraphwhere Ireferredto the''
                                                  Second Amendment'when i   tshould have saidthe 'Fi
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   Please haveyourcli entsignthe dsecond Amendmenttothe SettlementAgreement'on behal   foftheaIIofthe i dFirstPar
                                                                                                                li
                                                                                                                 es'and lwill
   have mv clientssianonbehalfofaIIofthe''Second Parties''. Also.oleasehavevourclientsexecute theddFirstAmendmentloTollinc

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Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 312 of
                                      405

   Agreement''on behalfofCalifornia New Wave 1,LLC,CannaforniaHoldings,Inc.,1401 Investments500,LLC,803 Investments,Inc.
   and PaulKing Indi
                   vidually. Iwillhave mycli
                                           ent,Gia lnvestments,LLC al
                                                                    so executethatdocument.


   Thanks,




   XavierA.Franco
   McArdle,Perez& Franco P.L.
   255 AlhambraCircle,STE 925 ICoralGables,FL33134
   T 305.442.2214 lF 305.442.2291
   Gww.mçp-ql.
             com Iyfrancoz-
                          nxpv
                             G mm.



   From :XavierA.Franco
   Sent:Wednesday,May 19,2021 3:56 PM
   To:cesar@domingx zassociateslaw com
   Subject:RE:ProposedAmendedAgreement

   Cesar,Iapologize Ihavebeenindeposition. Here itistracked andclean.Pleaseapproveand iwillreachouttothe mediatorto see
   ifhe canfurnish itto the partiesthroughdocusignforexecution.


   Best,




   XavierA.Franco
   McArdle,Perez& Franco P.L.
   255 Alhambra Circl
                    e,STE 925 lCoralGabl
                                       es,FL33134
   T 305.442.2214 IF305.442.2291
   WWW.ITICrXC COY IXfranco@ mcp-or.com



   From :cesar@dominguezassociateslaw.com <cesar@ dominguezassociateslaw,com>
   Sent:W ednesday,May 19,2021 11:28 AM
   To:XavierA.Franco<xfranco@ mcper.com>
   Subject:RE:ProposedAmendedAgreement

   iXavier,


   Thanksforthe emailandthe documents. Upon review ofthe proposed affidavit,Ifound ittoo harshand would Iike foryouto review
   theattached changes,that1believe helpsyourclient,while nothurting mine.


   Bestregards,



   CesarDominguez J.D./M .B.A.

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                                      405

   Raw t.
        J111CeS 01 U om lnguez & ASSOCIateS,Iœ.A.
   2000 PoncedeLeon/ Suite600
   CoralGables,FL 33134
   Phone:305-529-6273
   Fax:305-260-6346
   cesar/ dom ingtlezassociateslaNNv
                                   .colaa
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   (ii)promoting,marketingorrecommendingtoanotherpartyanytransactionormatteraddressedinthise-mailor
   attachment.




   From:cesar@dominquezassociatesl
                                 aw com qgesar@ domiqguezassocjqleslaw.cor >
   Sent:Tuesday,May 18,2021 1:O0 PM
   To:'
      XavierFranco'<xfranco@ mcper,> ql>'
                                        ,'
                                         Roman Temki
                                                   n'Kromantemkin77-
                                                                   tjcl
                                                                      oud com>
   Cc:'PaulKing'<paul@cannafornjavco>
   Subject:RE:


   Gentl
       emen,


   I'm readyto workwithXavierto getthisaddendum done.Pleasesend me therevised document.


   Bestregards,


   CesarDominguez J.D./M .B.A.
   Law O fficesof D om inguez & Associates,P.A .
   2000PoncedeLeon/Suite600
   CoralG ablesyFL 33134
   Phone:305-529-6273
   Fax:305-260-6346
   cesar@ dom inguezassociateslavr.com
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                                      405

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   (ii)promoting,marketingorrecommendingtoanotherpartyanytransactionormatteraddressedinthise-mailor
   attachm ent.




   From:PaulKi ng<paul@ cannaforr
                                lla co>
   Sent:Tuesday,May 18,2021 11:49AM
   To:RomanTemkin<romantemkin73@ icl
                                   oudvcom>'
                                           ,cesara'jAp ingpeza%%qçi
                                                                  ate-
                                                                     yl
                                                                      avéqc
   Cc:XavierFranco <xfranco@ mcp- qrcoml
   Subject:Re:

   Oksoundsgood.Cesarishere


   OnTue,May 18,2021at7:48 PM RomanTemkin <.tqnàg.
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                                                                        '
                                                                        r)> wrote:
      HiPaul,
      Again,lagreedto extendti
                             llJul
                                 y2nd.Idon'
                                          tchange my deci
                                                        sions.But!!!!!!!!PLEASEIII!Askyourattorneytoworkwith Xavi
                                                                                                                er.
      BestRegards Roman.
      > OnMay 18,2021,at11:33 AM,PaulKing<paulalcaqnafornia.co> wrote:
      >
      > Hello Xavier,
      >
      > Iheard aboutthedefamationhearing thismorning.
      >
      > Romanand Ihadagreed byemailto postpone untilJuly2ndso Idonotunderstandyourposition.
      >
      > Roman,Ietmeknow whatyou wantto do.I'm finewith batllingtoo,eventhoughIhave enoughatthe moment.Buti
                                                                                                         fthat'swhat
      youwish,so be it.
      > --
      > Sincerely,
      > PaulKing


   Sincerely,
   PaulKi ng




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 Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 330 of
                                       405

  From:PaulKing paul@cannafornia.co #'
Subject:Re:
  Date: Seplember22,2021at4:47 PM
    To: AryehKaufman aryeh@ akaufmanl
                                    egal.ccm,Bl
                                              akeOsborn Bl
                                                         ake.osborn@gml
                                                                      aw.com

      Lying bastards




       Unicoud

             Case Details                Parties                               Dockets

        D ocket Entries

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            90012,
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Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 331 of
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   On Wed,Sep 22,2021at4:46 PM PaulKing qpaul@cannaforniaco> wrote:
     Nextstepisreportingyouto1he bar.
     OnWed,Sep22,2021at12:56 PM PaulKi  ng<paullcannaforni a,co> wrote:
      Clearl
           ythe case wi
                      thRussiansisNOT stayed and i
                                                 songoing in l
                                                             a.-
      Sincerely,
      PaulKing
     Si
      ncerely,
     PaulKing




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 Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 332 of
                                       405

  From : PaulKing paul@ cannaforni
                                 a.co
Subject:
  Date:September28,2021at5:40 PM
    To:JamesTurkenjamesturken@gmlaw.com,Juli
                                           aStepanova Julia.stepanova@gml
                                                                        aw.com,Bl
                                                                                akeOsborn
           Blake.osborn@ gmlaw.com

      M r.Turken,
      Apparentlyyou're my attorney,eventhoughIneverspeaktoyouand accordingtootheratt
                                                                                   orneysthe case i
                                                                                                  s stayed thoughitseems
      to be cngoing i
                    nIa!
      anyfeedbackasto whatsgoingon?


                          +
                          .          paulKing
            ,4                ' Founder& cEo atcancafornia
                                     Address 26800 EncinalRoad,Salinas,CA 93908,USA
                                     Mobile (786)2(1
                                                   (1-3429 W ebsite cannafornia.
                                                                               world




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 Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 333 of
                                       405

 From: MichaelKing mi
                    chael@ kingsgardeninc.com
Subject:KingsGardenSharehol
                          derUpdate
  Date: March4,2021al11:42 AM
    To: MichaelKing michael@kingsgardeninc.com
   Bcc: paul@cannafornia.co

      DearShareholders,
      W e have receivedmultiple requestsin regardstoa Iiqui
                                                          dityevent.Pl
                                                                     ease understand thatthe
      companyhasbeen inmany discussionsoverthe Iast6 monthsandcontinuesto pursue these
      conversations.The conclusionlhusfaristhatwedo notintendto gopublic in Canada and we
      are investi
                gati
                   ngtheprocessforIi  sti
                                        ngonthe OTC,whi   chwe have been tol
                                                                           d can take 10 to 16
      monthstocompl
                  ete(al
                       thoughthereisnoguaranteeaI
                                                istingwilbecompl
                                                               eted).
      Wi ththatsaid,wehave received mul tiplerequeststc buy backshares.KingsGarden isoffering
      to considerbuying backupto 15% ofaIIthoseshareholdersholdingboth Preferred and
      Common Shares.This isa limited timeoffer.The repurchase price willbetheamountinvested
      plus10% annualsimple interestonsuchamountfrom the dayofinvestment.Ifholders ofmore
      than 15% ofthe Preferred andCommon shareswantto participatein1he buy-back,Kings
      Gardenwillprorate the numberofsharespershareholderbased on thetotalnumberofCommon
      shareswhichare requestedtobe boughtback.If1he buy-back isnotfully subscribed,
      the FnF round ofshareholderswillbe ableto take advantageofthisbuy-back.

      We willneed to receive an answerfrom you byMarch 11th ifyouwishtosellyourshares. W e
      expecttocomplete the buy-back no Iaterthanthe endofMarch.
      Please understand thatthe buy-backisin I
                                             ieuofpayi
                                                     ngdi
                                                        videndsgoingforward.
     Thankyou andGod Bl
                      ess!

      Respectfully,


     M ichaelKing
     Founder
     C hairm an & C EO
      +1.347.996.7844
      Michael@KingsGardenlnc.com

      KingsGardenlnc.com




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                 They were offered money back :)


                 Hey,w e have an investor buying
                 shares.He is only buying
                 preferred shares w hich is foraII
                 ''m oney invested''people.You
                 have 50 shares.Ican see if Ican
                 getyou 1OOk ifyou want.Let m e
                 know - w e need to finalise by
                 11th.




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  Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 335 of
                                        405

 From : Mi
         chaelKing mi
                    chael@kingsgardeni
                                     nc.com
Subject:Shares
  Date: March5,2021 at2:00 PM
    To: PaulKing paul@ cannafornia.
                                  cc

      Hey,we have aninvestorbuying shares.Heisonlybuyingpreferred shareswhichisforalI''money invested''people.You have50
      shares.Ican see i
                      flcangetyou 1OOkifyouwant.Letme know -we needtofinal  iseby11th.That' swhenitcloses.
      Respectfully,

      MichaelKing
      Founder
      Chairman& CEO
      + 1,3.4.
             79$.
                :.7844
      Michael@ KingsGardenlnc.com
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  Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 336 of
                                        405

 From: MichaelKing michael@ ki
                             ngsgardeninc.com
Subject;Deadli
             neforShareSale
  Date: March 11,2021al7:03 PM
    To: Mi
         chaelKing michael@kingsgardeni
                                      nc.ccm
  Bcc: paul@cannafornia.cc

      Dearshareholder,
      Please note thatthedeadline to notifyusendstomorrow.
      Funding wiltake placeon Monday.

      Thankyou!

      Respectfully,


      M ichaelKing
      Founder
      Chairm an & CEO
      +1.347.996.7844
      Michael@KingsGardenlnc.com

      KkqgsGardenlnc.com




                                                                        336 of384
  Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 337 of
                                        405

  From: MichaelKing michael@ kingsgardeninc.com
Subject:closingtoday
  Date: March 19,2021at10:23 AM
    To: PaulKing paul@ cannafornia.
                                  co

      fyi-therewas abalanceoffunds available...can getyou 350*...

      todayisdealdline

       Respectfully,


       M ichaelKing
       Founder
       Chairm an & C EO
       +1.347.996.7844
       M ichaellKingsGardenlnc.corn

       àsjngsGardenlnc.com




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  Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 338 of
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 From :Sophi
           a King sophi
                      aki
                        ngo6@gmai
                                l.com
Subject:Fwd:RequestforMediation
  Date: April6,2021 at8:18 PM
    To: PaulieKing paul@ cannafornia.co

      FYI
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      From:MichaelKing x
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      Date:Tue,Apr6,2021at8:16 PM
      Subject:Fwd:RequestforMediation
      To:Sophia King'cgpphi
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      From:MichaelCindrich<mikeOlmlchaelciqd--qj   -
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      Date:Tue,Apr6,2021at4:37 PM
      Subject:RequestforMediation
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      M ichael,


      IhopeaIIi swell.Iwas recentl ycontacted by yourbrotherPaulregardinganapparentdi  spute betweenthe two ofyou concerning
      KingsGarden.Paulisseekingtofil    eaIawsui tagainstyou and Iindicatedthatlwouldnotrepresenthi   m since you and Ihavea prior
      business relationship.Idi
                              d,however,offerto medi  atethisdispute.Asyou areaware,Iitigati
                                                                                           on i s extremelytime-consuming,costly,
      and stressful.Itwould benefitthe twoofyouto seekmediation priorto movingforward withlitigation.Please Ietmeknow ifyou
      would Iiketo schedulea callto discussthisfudher.


      Regards,




      M ichaelE .Cindrich
      Law OfhcesofM ichaelE.Cindrich APC
      225 Broadway,Suite2100
      San Diego,CA 92101
      Phone:(619)262-2500
      Fax:(619)819-7342
      www -m ichaelcindrich-com


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      Respectfully,



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                                      405

   M ichaelKing
   Founder
   Chairm an & C EO
   +1.347.996.7844
   Michael@KingsGardenlnc.conh

   KingsGardenlnc.com
   Please feelfreeto calloremailme24/7!
   Sincerely,



   Sophi a Lyalya King
   RealtorAssociate
   CENTURY 21 King Realty
   2434 Hollywood Blvd
   Hollywood,FL33020
   CeII:(305)401-4723
   Office'
         .(305)651-6161
   Email:sophiakingo6 ang-r-pail,com
   www.centuryzl-lstclassRealty.org
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                                       405

  From:DarrenCarrigan dcarrigan@anahi
                                    ti
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                                      ca #'
Subject:Fwd:Informati
                    onaboutPaulKing(Cannaforni
                                             a)
  Date: April11,2021 at6:37 PM
    To: PaulKing paul@cannafornia.co


      ----------   Forwarded message -------
      From:Mi
            chaelKing<pichaeëlkingggqrdenlç.com>
      Date:Sun.,Apr.11,2021,5:48p.m.
      Subject:Informati onaboutPaulKing(Cannaforni
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      TO:<4!.
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        Good Darren.
        My name i
                s Mi
                   chaetKi
                         ng,Iam theco-founderofKi
                                                ngsGarden(a I
                                                            icensedCali
                                                                      forniacannabisoperator).PaulKing ismy younger
        brother.lthasbeen broughtlo myattentionnow c)n severaloccasionsthatPauihas and continuesto engage inillegalactivity.
        Ultimatelythisputsthecompany and yourinvestmentathighrisk,Hecurrentlyhastwo DA cases.SEC case anda multitudeofcivil
        Iawsuits and California and Florida.
        Additionally.below youwillfind informationona propertyhe purchasedin Florida.Thispropertywaspurchased in hisname,
        however,fundsfrom Cannaforniaand itssharehoidersweredivertedfrom the companyforthispurchase.Itwaspaidforbythe
        company.Subpoenaofbankstatemenlswi
                                         llprovethi
                                                  s.Hecontinuestousefundsfrc)m thecompanytofundhispersonalproject.
        Property informationisinthe attacheddocs.Ibelieve thereare pending Iawsuitsin regardsto Paulpurchasingcondosin Miamiwith
        companyfundsaswell.Ihave morepaperwork ifyou needit.

         lam reaching outbecause Paulhasa substance (drug)abuseprobiem.i
                                                                       sinvolved inmany I
                                                                                        awsui
                                                                                            ts(criminaland ci
                                                                                                            vil)-whichare
        m aking him reckless.Thlsincludestheinfarmation lprovideclabave.lunderstand there isanothergroup thatisinterested in
        removing him from thecompanyinorderto savetheirinvestment.Icanputyou in touch ifyou're interested.

         inregardstome -he isputting mynameand mycompanyalriskby runningaroundandtryingto raise moneyforhim byclaiming
        heisKjngsGardenabsit'sfOrKi     ngsGarden,1wantnothing ttltjtlwith him oçhà
                                                                                  s basi
                                                                                       ness.l'
                                                                                             m reachingoutsimplyto l
                                                                                                                   etyouknow
        that1have ncthing to do withthis and wantnothing from anyofthis.Thanksforyourtime.


         Respectfully,

        MichaelKing
        Founder
        Chairman& CEO
        +1.347996.7844
        Michael@ KingsGardenlnc.com
         KingsGarden.com
        l




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       Rl):Purcll- of17550DavenportRoad,svinterGarden,FL 347:7

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                             .PaulKing

                                                                                         RECEIPT
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                                                      A:it.subjecttpcledramt'et)1*saidfunds.
        DATE OF RECEIFI':                                                                                 KELLEY KRONEN BERG,P.A.


        Septzmber22-2020                                                                     By'--.r,fgwreIA -Faz




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                           ForPaulKing




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                      FW :lnform ation aboutPaulKing
                       (Cannafornia)
                      G uys,

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                       ofthe attorneys atouffirm .

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            FW :Inform ation about PaulKing
             (Cannafornia)
            GuYS,

            Do you know this person - PavelKorolev?
            He's been sending the sam e em ailto m any
            ofthe attorneys atourfirm .

            lfIegit,this appears to be fora different
            property?

             Please advise.

            Jared



             From :PavelKorolev <p.
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            Sent:Thursday,April8,20213:15 PM
            To:Jared W ahins<jg-rp.4-
                                    @s
                                     -çypressllp-ziom>
            Subje :InformationaboutPaulKing (Cannafom ia)
             Please be advised thatPaulKing diveded
             Cannafom ia funds to acquire a propedy in Florida for
             his personaluse,and is buying ie ughtitunderhis
             D rsonalnam e.

            Thp fllndA rA m . in from hiA tb nnafornia Acnollntor

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                  stopping.
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             m e. U nderstand m e???

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             to harm m e,m y fam ily,m y
             comqany,etc-Iwillstopat
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                                DIVISIONTHREE                     F IL E D
                                                                   Jun 11,2021
                                                                  DANIEL P.POTTER,Clerk
    M ICHA EL K IN G et al.,                    8 312704          Z.c layton         Deoutvclerk

         Petitioners,                           (Super.Ct.No.
                                                21STCV15487)

                                                (W illiam Fahey,Judge)
    TH E SU PERIOR CO U RT O F
    LOS A N G ELE S COU N TY ,
                                                TEM PO RARY STAY O RD ER
          R espondent;                          A N D OR D ER



    PA U L K IN G et al.,

          R ealParties in lnterest.

    TH E CO U R T:
         W e have read and considered the petition for w ritofm andate filed
    M ay 27,2021.
         The petition alleges that petitioners tim ely filed a statem ent of
    disqualification under Code ofCivilProcedure section 170.6
    (peremptory challenge)againstJudge W illiam F.Fahey on M onday,
    M ay 10,2021.The notice ofall-purpose case assignm enthad been
    served on A pril23,2021.
          lfcounselfor the superior court w ishes to bring any additional
    relevant facts to this court's attention,counselm ay do so by serving and
    filing a letter in this court on or before June 24,2021.Realparties in
    interest m ay file a response to the petition by the sam e date ifthey w ish
    to do so.



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         ln the interim ,allfurther proceedings in this m atter before Judge
    Fahey are hereby stayed pending further order ofthis court.
    N otw ithstanding the stay,however,Judge Fahey m ay vacate his M ay
    11,2021 order denying the perem ptory challenge if,upon further
    consideration,he determ ines that itw as tim ely filed.




    LAV IN ,J.,A cting P .J.     EG    TO N ,J.          1(A RA ,J.*

        Judge ofthe Los A ngeles Superior Court,assigned by the Chief
    Justice pursuantto article V1,section 6 ofthe California Constitution.




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                                                    IN TH E CIRC UIT CO U RT OF TH E
                                                     lIthJU D ICIA L CIRCUIT IN AN D FO R
                                                    M IAM I-DA D E CO UN TY ,FLO RIDA

        K IN G S GA RD EN ,IN C.                    CA SE N O :
        M ICHA EL KIN G ,
        CHA RLES K IELEY ,and
        LAU RIK IBBY ,

                Plaintiffs,



         PA U L K IN G ,and
         CAN N A FO RN IA HO LDIN G S,IN C.,

                Defendants.



                                                   COM PLA IN T

                PlaintiffsKingsGarden,lnc.(tiloingsGarden''),M ichaelKing(ûtM ichael''),CharlesKieley
         (tûKie1ey'')and LauriKibby (tûltibby'') (collectively,*ûplaintiffs'') sue and file thisComplaint
         against the Defendants,Paul King (iûPaul'') and Cannafornia Holdings, Inc. (ûtcannafornia
         Holdings'')(collectively,tlDefendants'')andallegeasfollows:


                                                    SUM M A RY

                DefendantPaulK ing,a M iam iresident,has taken a giant leap offthe deep end as legal

         (criminalandcivil)troublesmountagainsthim.Hehasturnedon hisfamily- morespecifically
         hisolderbrotherM ichaelK ing - hisbrother'sbusinesspartners,and theircom pany,K ingsG arden.

         Paulis falsifying records and docum ents,filing a false police repol'
                                                                             t,hacking e-m ailaccounts of

         K ingsGarden'sinvestors,using false and stolen identities,im personating KingsG arden's investors

         and bankers,and straight-outtelling liesto attack M ichael,hispartners and theirbusiness,am ong




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 other bad acts. Paul's downw ard spiral included the attem pted extortion of his own brother for

 m illions ofdollars. M ichaelrefused to be extorted,and,afterPaulthreatened to stealtûhalfofthe

 companyandhalfofgM ichael'slassets''ifPauldidnotgethisillegalpayday,M ichaelfiledapolice
 repol'
      t to docum ent the extortion. M ichael's personal concerns and allthe Plaintiffs' business

 concerns have been realized, as illustrated by the course of Paul's bad acts described in this

 Com plaint. Paul'srecklessand unlaw fulactions and hisuse ofhisCannafornia H oldingsbusiness

 toperpetratethosebadactshavecauseddamagesto thePlaintiffsthatcould exceed $5,000,000.



                                   GEN ERAL /JURISD ICTION

                  isan action formoney damagesin excess ofthejurisdictionalrequirements,
 exclusive ofinterest,attorneys'fees and costs.

               Venue in thisaction isproperin M iam i-Dade County,Florida asD efendantresides

 in M iam i-Dade County,Florida,Paul'sfalse policereportw astiled in theCounty,and Defendants'

 actionshave dam aged Plaintiffsin the County.

               Plaintiff K ings G arden is a N evada corporation with its principal oftices in

 California.

               PlaintiffM ichaelisan individualthatissuijuris.
               PlaintiffKieley isan individualthatissuijuris.
               PlaintiffKibby isan individualthatissuijuris.
               M ichaelisthe CEO ofKings G arden;K ieley the CO O ;and K ibby the CFO .

               DefendantPaulisan individualresiding in M iam i-DadeCounty,FL and issuijuris.
               D efendant Cannafornia Holdings is a foreign entity operated by D efendant Paul

 King in California and in Florida,including in M iam i-Dade County.




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                Cannafom ia Holdings,through its executive and ow ner,D efendantPaulK ing,has

 taken actions in Florida to harm the Plaintiffsand continuesto take actionshere in Florida to harm

 Plaintiffs.

                Paulhasgotten himselfinto significantlegal(civiland criminal)trouble and is
 attem pting to harm his brother, M ichael, w ho w ould not be extorted by Paul and w ould not

 participatein Paul'spersonallegal(civilandcriminal)problems.
         l2.    Based on available inform ation, the M onterey D istrict Attorney seeks a Seven

 M illion($7,000,000.00)dollarfineagainstPaulandCannafom iaHoldingsfor,amongotherthings,
 failuretoobtainproperpermitsand licenses.SeePeopleoftheStateofcalforniav.PaulKinget.
 aI,M onterey County Superior CourtCase No 20CV 001507.

         l3.    Based on available inform ation, the U nited States Securities and Exchange

 Commission(SEC)isconductinganinquiryintopotentialviolationsoftheFederalsecuritieslaws
 byPaulandCannaforniaHoldings.SeeIntheMatterofcannaforniaHoldings,Inc.(M D-03935).
                Based on available inform ation,the United States Fish and W ildlife D epartm ent

 brought claim s against Paul and Cannafom ia H oldings for violations, w hich he settled for

 $100,000.SeeCDFW CaseNo.AD2024270.

         l5.    Based on available inform ation,the Superior Courtof California issued a Search

 W arrant related to and is further pursuing Paul for state tax evasion, including related to

 Cannafornia Holdings.

         l6.   D uring Paul's downward spiral,he attem pted to extorthis brother M ichael into

 giving him m illions ofdollars. M ichaelrefused,and to protecthim selfand his business interests

 laterfiledapolicereporttodocumenttheextortion(tçM ichael'sPoliceRepo14''l.A trueandcorrect
 copy ofM ichael's Police Reportis attached hereto as ExhibitA .




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                On A prill1,202 l,Paulw rotethathe w asgoing to starthisattack on M ichael,whom

 Paulcalled a ûûsociopath''and openly threatened thathe wasgoing to ttexpose''him . N otonly did

 he w rite this to M ichael,buthe m ade sure to include M ichael'sw ife,theirm other,theirfatherand

 theiraunt.

         18.    Paul w as aw are that spreading false inform ation, including falsely stating that

 M ichaelisaconvicted felon,wasgoing to significantly im pactPlaintiffs,asthey operate in a highly

 regulated industry and M ichaelisthe CEO ofK ings Garden.

         19.    ln April202 l,M ichaelbecam e awarethatPaulw astelling athird party thatM ichael

 needed to give Paul m oney, othenvise he w as going to tell K ings Garden's shareholders that

 M ichaelw as tcooking the books',stealing from the company,and selling illegalproducts from

 KingsGarden (violatingbusinessregulationsandlicenses).
        20.     In A pril 2021,Paul took another step in the execution of his pattern of illegal

 conductthatincludeshis extortion threat,thistim e filing a police reportthatfalsely claim s M ichael

 committedfraudandgrandtheft(ttpaul'sFalsePoliceReport'').A trueandcorrectcopy ofPaul's
 False Police Reportisattached hereto asExhibitB.

                O n oraboutM ay 15,2021,Paulsentan em ailto third parties,including shareholders of

 Kings Garden,claim ing Plaintiffsw ere participating in bbdeliberately neglecting facts''in an kûattem pt

 to m isdirectshareholders''and dtfrivolously spending scarce shareholderfunds tow ard their ow n self-

 interest''(collectively,the ttEmailStatements'').A true and correctcopy ofa group ofthe Email
 Statem ents are com piled and attached hereto as ExhibitC.

          22. Paul and Cannafornia H oldings used false pretenses and im proper m ethods that,on

  inform ation and belief, included hacking a K ings G arden's investor, m isappropriating K ings

  G arden's contidentialinform ation,and using such infonnation to inflictharm on Plaintiffs.



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                ln M ay 202l,Paulpublished to the internetsites M edium ,Squarespace and Substack,

  the hom e addressand otherpropel'ty addressesofM ichael,Kieley and K ibby. Paulm ade claim sthat

  these individualsw ere ûûdiverting m uch ofthe upside ofK ings Garden's success''to theirrealestate

  purchases,thatM ichaelttmusthaveforged gsomeonel'ssignature and stolen themoney''and that
   Michael was convicted of the felony of first degree grand theft (collectively,the tûlnternet
   Statements''). A true and correctcopy ofexemplary lnternetStatements are attached hereto as
   ExhibitsD and E.

          24. ln one ofthe lnternet Statem ents,besides claim ing m isappropriation by M ichael,Paul

   statesthatM ichael'sfam ily hom e çtisbelieved to have m illionsin cash and diam onds....''SeeExhibit

      M ichaellived atthathom e w ith hiswife and three young children.Paulputa11f5ve oftheirlives

   atjeopardy bywritingthatthereweremillionsofdollarsatcash atthehome.Thisinvitesviolence
   and robbery to theirhom e.

          25. Upon inform ation and belief,Defendants have published furtheruntrue and inaccurate

   inform ation aboutPlaintiffs.

                Plaintiffs recently learned of a YouTube Channel in which D efendants have posted

   edited videos of M ichael, regarding Kings G arden, and placed defam ing and untrue com m ents

  regardingboth(tçYou-l-ubeStatements'').
                M any of the Y ouTube Statem ents are m ade to appear as attacks directed at Kings

  G arden'sshareholdersand otherindustry professionals.

                TheEmailStatements,lnternetStatementsandYouTubeStatements(collectively,the
  ttstatements'')madeandpostedbyDefendantsareclearthatPlaintiffsarethepersonsandcompany
  to w hom they are referring.




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               The Statem ents w ere published on m ore than one occasion to m illions of third parties

   w orldw ide including, but not lim ited to Plaintiffs' business associates, investors, shareholders,

   custom ers,Vendorsand acquaintances.

          30. lt is clearthatthe Statem ents are intended to portray Plaintiffs in a false and negative

   lightto bring harm and ridicule upon Plaintiffs'reputation and relationships.

               K ingsG arden hasrecently learned thatnum erousbusinesspartnersareconcelmed about

   the Statem ents,and thisw illdirectly im pacton-going business.

          32. Plaintiffsw illbe seeking punitive dam ages againstD efendants in lightofthese actions

   and the factthatD efendants putthe livesofM ichaelKing's fam ily atrisk by publishing thatthere

   werelûmillionsincashanddiamonds''atthehome.SeeFI.Stat.j'768.72.
               The actionsofPauland Cannafornia Holdingsappearto be sufscientto plead Racketeer

   lntluenced and CorruptOrganization claim (1ûRlCO'')againstthem.Based on discovery,Plaintiffs
   w illcontem plate am ending to bring the RICO and punitive dam agespartoftheirclaim s.

               A 11conditions precedentto the filing of this action have occurred,been perform ed or

   have been waived.

                                          CO UN T l
                                      Defam ation Per Se

        Plaintiffs sue Defendants and repeat and reallege the allegations contained in paragraphs

  through 34,and furtherallege:

          35. Defendants published the Statem ents aboutPlaintiffs including,butnot lim ited to,the

   false statem ents about im properly diverting com pany funds and forging signatures and the false

   statem entthatM ichaelis a convicted felon.




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                The Statem entsare false,inaccurate and untrue and are intended to portray Plaintiffsin

   a false and negative lightto bring hanm and ridicule upon Plaintiffs'reputation,including business

   relationshipsand shareholders.

                Paul's blitz offalse inform ation is significantin light ofthe factthatthe Plaintiffs are

   w ithin a highly regulated industry and M ichaelisthe CEO ofK ingsG arden.

                The Statem ents were published on m ore than one occasion to m illions ofthird parties

   w orldw ide, including but not lim ited to Plaintiffs' investors, professionals, business associates,

   vendors,custom ersand acquaintances.

          39. Defendantsacted know ingly,recklessly,and/orw ith wanton disregard in publishing the

   Statem ents and had no reasonable basisto m ake such Statem ents.

          40. Defendants m aliciously,willfully or negligently published,or caused to be published,

   the Statem entsto third parties in totaldisregard ofPlaintiffs'rights,privacy,truth and safety.

          41. Defendants ow ed Plaintiffs a reasonable duty ofcare to investigate the truthfulness of

   the Statem ents.

          42. The Statem entsm ade by Defendantsw ere unprivileged and w ere m ade w ith m alice,ill

   w illand bad intenttow ards Plaintiffsand to cause harm and dam ageto Plaintiffs.

          43. A s the writings contained allegations of crim inality of Plaintiffs,the Statem ents are

   defamationperseandwereintendedbyDefendantstoinjurethePlaintiffsandtheirreputation inthe
   com m unity,asw ellaspersonaland businessdealings.

          44. A s a directand proxim ate resultofD efendants'false publications,Plaintiffshave been

   and willbedamaged,including injuryto reputation,shame,humiliation,mentalanguish,and hurt
   feelings,w hich entitlesPlaintiffsto recover dam agesagainstDefendants.




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                The Statem ents have caused Plaintiffs to suffer distrust, ridicule and scorn in the

   com m unity as a resultofpublication ofthe Statem ents.

        W HEREFORE,Plaintiffsdemand ajudgmentfordamagesagainstDefendantsPaulKing
 and Cannafornia H oldings,including actual,specialand consequentialdam ages,taxable costs,and

 forsuchotherandfurtherrelieftheCourtdeemsjustandproper.

                                               CO UN T 11
                                   Public D isclosure ofPrivate Facts

        Plaintiffs sue Defendantsand repeatand reallege the allegations contained in paragraphs 1

 through 34,and furtherallege:

                Defendantspublished on-line and by e-m ailprivate factsaboutthe individualPlaintiffs'

   personalaffairsand the handling ofbusiness affairsofK ingsG arden,including in the Statem ents.

          47. The Statem ents are highly offensive as they portray Plaintiffs as,am ong other things,

   frauds,persons who m ism anage and w aste corporate assets,a forger,a felon,and/or liars.

                The Statem ents consist of private inform ation about Plaintiffs' living an-angem ents,

  businessaffairs,fam ily and assets.

          49. Paul's blitz of false inform ation, including the false statem ent that M ichael is a

   convicted felon,is significant in light of the fact that the Plaintiffs are w ithin a highly regulated

   industl'y and M ichaelisthe CEO ofKingsG arden.

                The Statem ents were published on m ore than one occasion to potentially m illions of

  third parties w orldw ide, including but not lim ited to, Plaintiff s business associates, investors,

  vendorsand acquaintances.




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                D efendantspublished thatM ichaelhad ûlm illionsin cash and diam onds''atthe hom e of

   hisfam ily,including hisw ife and threekids.These statem entsw erem adeto thepublicw ithoutregard

   to the safety ofM ichael'sw ife and kids.

          52. In m aking the Statem ents in the public forum ,Defendants intentionally,w illfully and

   m aliciously offended Plaintiffs'rightto privacy.

                The Statem ents are unprivileged and notofa public concern.

          54. Plaintiffshave been dam aged by Defendantsactionsrelated to private inform ation being

   disclosed to the public.

        W HEREFORE,Plaintiffsdemand ajudgmentfordamagesand injunction againstDefendants
 PaulK ing and Cannafornia H oldings,including actual,specialand consequential dam ages,taxable

 costs,andforsuchotherandfurtherrelieftheCourtdeemsjustandproper.


                                              COUN T l1I
                                         Tortious lnterference

        Plaintiffs sue D efendants and repeat and reallege the allegations contained in paragraphs

 through 34,and furtherallege:

                Plaintiffs have m aterial and beneficialbusiness relationships that are being directly

 affected by the Statem entsand continued threats by Defendants.

        56.     Defendants knew of these relationships and purposefully directed m any of the

 Statem ents at K ings G arden's shareholders, investors and professional relationships, including the

 claim softhe individualPlaintiffs'm isuse ofcorporate funds and m anagem entofthe business.

                The Statem entsare im pacting the regularbusiness operations ofK ings G arden.




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        58.       Paul's blitz of false inform ation, including that M ichael is a convicted felon, is

 significantin lightofthe factthatthe Plaintiffs are w ithin a highly regulated industry and M ichaelis

 the CEO ofK ings Garden.

                  M ostrecently,Kings Garden has been advised that severalcom panies,Falcon Brands

 and M atada,are lim iting their relationship,including ceasing purchases,in light of the intbrm ation

 found in the Statem ents.

        60.       Defendantsknew thatthe Statem entsw ould im pactthe Plaintiffs'businessand personal

 relationships.

        6l.       Defendants knew thatposting thatM ichaelhad ttm illionsin cash and diam onds''atthe

 hom e ofhis fam ily,including his w ife and daughter,would adversely im pactthe fam ily's safety and

 relationship.

        62.       D efendantshave intentionally interfered w ith Plaintiffs'relationships.

                  Defendants'actionsarewithoutjustification andhavecauseddamagestoPlaintiffs.
        W HEREFORE, Plaintiffs demand a judgment for damages and an injunction against
 DefendantsPaulK ing and CannaforniaH oldings,including actual,specialand consequentialdam ages,

 taxablecosts,andforsuchotherandfurtherrelieftheCourtdeemsjustandproper.
 M ay21,2021                                              RespecfullySubmitteJ


                                                          By:
                                                             Jason .Buratti,Esq.
                                                             Florida B arN um ber73756
                                                             BurattiP.A .
                                                              l7111 Biscayne B oulevard U nit l708
                                                             A ventura,Florida 33160
                                                              Tel.(954)683-1072
                                                              E-M ai1/Fax:Jason@ Burattil-aw.com
                                                              2d:ks/lBurattil-aw.com


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                                CER TIFIC ATE O F SER V IC E

 lHEREBY CERTIFY thata true copy ofPlaintiffs'Com plaintisbeing served on D efendants PA U L
 KIN G and CANN AFORN IA H OLDIN GS,IN C.on this21stday ofM ay,2021via Service ofProcess
 attheaddresstes)listedbelow:
                                          PaulK ing
                                   801 South M iam iA venue
                                       Apartm ent 1401
                                    M iam i,Florida 33l31

                                          PaulK ing
                                     26800 EncinalRoad
                                   Salinas,California 93908

                                  Cannafornia Holdings,lnc.
                                     26800 EncinalRoad
                                   Salinas,California 93908

                                  Cannafornia Holdings,lnc.
                         (Offcer/Director/RegisteredAgent,PaulKing)
                                   801 South M iam iA venue
                                       Apartm ent 1401
                                    M iam i,Florida 33131

                                   Cannafornia H oldings,Inc.
                        via Officer/D irector/ltegistered Agent,PaulK ing
                                       34l1 Silverside Road
                                     TatnallBuilding,Suite l
                                  W ilm ington,D elaw are 19810


                                                     By:A '            S
                                                         K im berly Stratos




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     Dm *            Andrei<andreimuravievM @ gmail.com >
 znt.
 w                   Saturday,M ay 15,2021 5:55AM
To:                  Iauri@ kingsgardeninc.com
Subject              Concerned Shareholders




                  C oncem ed S hareholders W am that K inqs
                             G arden C ontinues to M islead

            Palm Springs,Calihrnia,May 15,2021- Kings Garden lnc.('W ngsGarden''
            orthe Tr ompapys.

            The Concerned ShareholdersofKings Garden (KG Shareholders'')are
            disappointed thatthe entrenched board ofdirectors ofKings Garden (the
            ''Board'')continue to mislead shareholderswith inaccurate and distracting
            ''statem ents''w hile deliberately neglecting im podantfacts.In a Shareholder

            Update issued by M ichaelKing,C hairm an and CEO on M arch 4,2021,the

            incum bentdirectors have yetagain dem onstrated theirplan to selectively

            disclose certain inform ation in a transparentattem ptto m isdirectshareholders

            into selling shares fora significantly discounted price due to alleged Iengthy

            tim elines to go public.



            The M arch 4 ShareholderUpdate is directly contradictory to a M av 13.2020

            Shareholder Update.Ratherthan address Iegitim ate shareholderconcerns




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  and avoid lengthy and expensive Iawsuits,the Board has instead attem pted to

  discreditthe Concerned Shareholders in orderto retain theirIucrative positions

  in the face ofnon-perform ance.



  As evidenced by public coud records,tw o shareholderdisputes w ere settled in

  A pril2021 afterincurring 7 figure Iegalfees plus the 7 figure payouts,atthe

  directexpense ofKings G arden shareholders.The Concerned Shareholders

  expectthe Com pany to continue to spend hundreds ofthousands of

  shareholderdollars in ongoing Iegalbattles,specifically orchestrated by the

  Board forthe sole purpose ofnothaving to open theirbooks and records to

  theirC oncerned Shareholders.



  G iven Kings G arden's continued prom ises overm any years forIiquidity

  events,the Concerned Shareholders are stunned thatthe Board would issue

  updates contradictory to the prom ises m ade w hen the Com pany w as soliciting

  investm ents.



  The Concerned Shareholders urge the incum bentdirectors to stop frivolously

  spending scarce shareholderfunds tow ards theirow n self-interest,to open

  theirbooks and records to shareholders,and to rem ove and replace the three

  Board M em bers /operators,M ichaelKing,LauriKibby and C harles Kieley.

  The shareholderupdate from M arch 4,2021 offering investors m uch different




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   term s than w hen they invested is yetanotherexam ple ofpoorand self-

   interested m anagem ent.



   Despite the Board's m isleading ''positive''spin on new s,Kings G arden has no

   institutionalcoverage orsupport,a dw indling realestate portfolio value,

   disenfranchised stakeholders,and inexcusable expenses including egregious

   directorand executive com pensation.




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 .nt.             Saturday,May 15,20212:16 PM
To:               I
                  auri@ kingsgardeninc,com
gubject           M ichaelKing'sFirstDegree Grand Theh - Felony Conviction in M iam i-Dade County




               M ichaelK inq's First Deqree G rand TheR -
                Felonv Co nviction in M iam i-Dade C ounW

          Palm Springs,California,May 15,2021- W ngs Gardenlnc.('W ngs Garden''
          or:he 'Dompany'k.
          The Bureau ofCannabis Controlstates thatany padnerorow nerofa Iicensed

          cannabis facility in California m ustrepod w ithin 48 hours any crim inal

          convictionorciviljudgmentagainstanypadnersorowners.


          According to Miami-Dade criminalrecords,MichaelBuyanovsky King (Iater
          changed to King)wasconvicted offirstdegree grand theft-a felonyoffense
          punishable by im prisonm ent.The conviction stated thatM ichaelKing illegally

          transferred the proceeds from the sale ofa condom inium in the Trum p Tow ers

          to him selfratherthan to his clients account.M ichaelKing w as m ade to pay the

          victim restitution of$800,000 and flew from California to Florida to turn himself

          in.King madethe paymentandwasreleased from jailhoursafterhisarrest.




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                  rich?
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                  From co-owningastruggling Crossfit:ym in2015,by2019 MichaelKingwasworth$50,/
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                                           PAL/ SPRINGS,CA 92262-16O6(RIVERSIDECOUNTY)Owner;MICHAEL
                  KING Owner:VARIANNAKING Owner:CHARLES F(lELEY Owner:COURTNEYKIELEY

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                            CharlesKleley realest4teholdlngs

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                 C annabis E ntrepreneurs'Fam ily Fig hting S pills Into
                 C o urt
                 By Diana Novak Jones

                 Law360 (May 24,2021,9:44 PM EDT)--A sim mering dispute between brothers and cannabis
                 entrepreneurs Michaeland PaulKing ratcheted up after Michaelfiled a Iawsuit in Florida state court
                 Friday alleging Paulwas trying to hurthis business with false claim s oftheft and fraud.

                MichaelKing and otherexecutives atCalifornia cannabis com pany King's Garden accuse PaulKing
                and his com pany Cannafornia ofattem pting to extort King's Garden through a barrage ofem ails,
                YouTube postings,and websites accusing Michaeland his colleagues ofIooting theirown com pany.

                The suit claim s PaulKing hacked into a King's Garden investor's account and used confidential
                inform ation about the com pany to sm earit,He created websites to hosthis allegations offraud and
                posted the hom e addresses ofMichaelKing and otherKing's Garden executives,claim ing they had
                cash and diam onds,the suitsays.

                 'MichaelIived at that hom e with his w ife and three young children,''the suitsaid.''PaulputaIIfive of
                theirIivesatjeopardy by writing thatthere were millions ofdollarsatEsic)cash atthe home.''
                The fighting between the brothers seem s to have begun in earnest in April,according to court
                records,It spans severalIawsuits,with m ore potentially on the horizon,records show .

                In April,the pairexchanged lawsui
                                                ts in state courts across the country.

                First,Michaelsued Paulin California state court,claim ing he never repaid hundreds ofthousands
                Michaellent him to coverthe Iegalcosts ofIitigation againstsom e form er Cannafornia business
                partners.

                A few days later,Paulsued Michaelin Florida,claim ing Michaelforged Paul's signature on a quit claim
                deed forPaul's apartm entatthe Trum p Royale building in Miam i,according to court records.

                Now,MichaelKing's IatestIawsuitagainsthis brotheralleges the pair's fighting also involved a false
                police report,em ails that purported to com e from investors,and doxxing.

                The suitaccuses PaulKing ofdefam ation,public disclosure of private facts and interference with
                King's Garden.PaulKing's cam paign ofdisinform ation targeted King's Garden's business partners and
                is having an im pacton the com pany's ability to function,the suit says.

                MichaelKing says he w illseek punitive dam ages against his brother,and estim ates he's done at least
                $5 m illion in damage to the business,There isa possibility thata RacketeerInfluenced and Corrupt
                Organizations Actclaim could be added to the suitas well,depending on whatdiscovery reveals,
                MichaelKing's attorney,Jason Burattiof BurattiPA,told Law 360 on Monday.

                In an em ailon Monday,PaulKing said he hadn't seen the suit untilLaw360 provided it.
                ''Defam ation is hard to prove ifeverything is true,''he said.

                The Iatest Iawsuitcom es a few days after PaulKing senta Ietterto King's Garden dem anding Michael
                King resign as CEO ofthe com pany orface a Iawsuit alleging he has used the com pany as his
                ''personalpiggy bankz''according to docum ents reviewed by Law360.
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             A draft copy ofthatcom plaintseen by Law360 claim s PaulKing is an investor in King's Garden,and
             MichaelKing's alleged conduct costhim m illions ofdollars.

             Asked aboutthose allegations againstMichaelKing,Burattitold Law360,''I'm not aware ofany
             Iawsuit being filed to this effect.'

             ''PaulKing's statem ents are untrue and partofthe basis ofthe Florida action,'he said.

             In an em ailon Monday,MichaelKing said there are m ore Iawsuits com ing in California.

             He sent a Ietterto the com pany's investors overthe weekend,he said.

             'As prom ised,we acted quickly in orderto stop these attacks on the com pany,''he wrote.
             MichaelKing and King's Garden are represented by Jason BurattiofBurattiPA.

             Counselinform ation forPaulKing was not im m ediately available.

             The case is MichaelKing and King's Garden et aI.v.PaulKing and Cannafornia Holdings Inc,,case
             num ber 2021-012141-CA-01,in the CircuitCourtofthe 11th JudicialCircuit forMiam i-Dade County.
             --
                  Editing by Janice CarterBrown.

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               'Cannabis King'Ow es $203K ForU rgentW ork,O re.
               Firm S ays
               By Em ilie Ruscoe
               Law360 (August2,2021,8:46 PM EDT)--A Portland,Oregon-headquartered Iaw firm sued a
               cannabis entrepreneurin California state court,claiming he owes itm ore than $200,000 in unpaid
               Iegalfees and costs.
               ln the suit,Em erge Law Group cfaim ed that Monterey County,California,residentPaulKing owes it
               m oney forwork itscram bled to peform for him on tightdeadlines to battle eviction and enforcem ent
               proceedings in California state court.
               On Monday,King told Law360 via em ailthatthe case was in m ediation butdid not com m entfurther.

               In its July 21 suit,the firm claim ed that King,who has been referred to in cannabis trade m edia as
               the ''California Cannabis King,' retained Em erge in Aprilto handle a set ofsuits his com panies were
               facing thatthe firm described as unlawfuldetainer,oreviction,proceedings,Those suits accused his
               com panies offailing to pay rent between October2020 and February 2021 forgreenhouses,
               warehouse and office space his com panies Iease.
               And in June,Em erge becam e King's counselon a civilenforcem entcase thatMonterey County's
               districtattorney broughtagainsthim in state court.Details about that case weren't included in its
               suit.
               According to Em erge's com plaint,King told its Iawyers in Aprilthat there was ''particular urgency''in
               the unlawfuldetaineractions,and indeed severalofthose m atters had answer briefs due the very
               next day.AIlofthose cases also involved ''a com plicated array offacts,''and atthe request ofthe
               Iandlord who filed them,trialsforthem were scheduled forjustthree weeks afterEmerge became
               King's counsel,the firm 's com plaint said.

               Em erge said italso invested ''a considerable investm entoftim e''in am ending a com plaint in one civil
               action King faced,noting thatthe cannabis entrepreneurviewed the eviction cases as enterprise-
               threatening and asked thatthe firm ''pursue aIIavailable avenues and strategies''to fightthem ,He
               also asked its Iawyers to ''engage in extensive,costly discovery''in those m atters,according to the
               firm ,
               ''Throughoutthe representation,defendants,through King,heaped praise on the Em erge team ,
               informing gEmerge partnerTimothy L.Alger)on severaloccasionsthatAlgerwasthe bestlawyerhe
               had everhad,''the firm noted.
               King had fullvisibility into the work thatwas going into the cases, Em erge said,noting that its
               attorneys worked 'm any tim es Iate into the night and on weekends''to m eetthe deadlines,and that
               King neverpushed back on the firm 's approach to m anaging the cases.

               The firm em phasized thatw hen itagreed to represent King,ittold him he would need to pay his
               Iegalbills ''in realtim e''because ofthe expected intensity ofthe work.King has paid the firm
               $40,000 in retainerfeesand a Iittle over$22,000 in 'realtime''paymentsso far,itsaid,butowes
               m uch m ore.

               In June,Em erge told King it had no choice butto stop representing him ,claim ing that atthe tim e it
               suedhim,heowednearly$203,000,includingabout$15,700inout-of-pocketexpenjjjoyqj/irm
https://-   .law36o.com/adicles/l4o8667/print?section=cannabis
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                took on Iitigating his case,and which doesn't405
                                                              include interest,

                The firm accused King ofbreaching theircontractand soughtforhim to pay forservices italready
                provided.Em erge described King and his com panies as ''form erclients/''butalso described King as
                having an open book account with the firm .

                Alongside King,the com plaint nam es five com panies,including four LLCS that King is described as
                the m anaging m em berof,and Cannafornia Holdings Inc.,a com pany King allegedly heads,

                The com plaint also included 10 unnamed ''Doe''defendants as stand-ins forcom panies and
                individuals w hose nam es m ay be added in the future,and claim s thatthere's a 'unity of interestand
                ownership between each ofthe defendants such that any individuality and separateness between
                each ofthem ceased.''

                The case has been assigned to SuperiorCouo Judge Stephanie George.
                King has also been em broiled in Iitigation in California and Florida state court with som e ofhis
                form er business partners and in separate disputes w ith his brother,MichaelKing.

                Representatives forEm erge declined to com m ent Monday,

                Emerge is represented in-house by Timothy L,Algerand Delia Rojas.
                Counselinform ation forKing and the otherdefendants wasn'tim m ediately available Monday.
                The case is Em erge Law Group vs.King,case num ber 30-2021-01211551, in the Superior Court of
                the State ofCalifornia,County ofOrange,
                --
                     Editing by Adam LoBelia.


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     WARRWA T TYPE : ARREST WARPJ/CT
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     'OURT CASE NUMBER :                                      REFILE INDICATOR :
                                                              DIVISIQN :
     TO ALL AND SINGULMR SHERIFFS OF T
     YOU ARE HEREBY COMMJUVDED TO IM   HE STATE OF FLORIDA , GREETINGS :
                                    MEDIATELY ARREST THE DEFENDANT AND BRJNG HIM OR
     HER BEFORE ME , A JUDGE IN THE IITH JUDICIAL CIRCUI
     WITH ACCORDING TO LAW ;                            T OF FLORIDA , TO EE DEALT

   DEFENDAXT 'S NAME : KING
                       LAST                                         MTCRAEL                        BUYAZ7OVSKY
                                                                    FIRST                          MIDDLE
  AKA(S);
  STR/APT/CITY/ST/ZIP: 1160 N FEDERAL HWY                  /
  DOB: 06/20/1978 RACE: W SEX: M               HEIGHT : 6O0    92l /
                                                               WEIGHT        FT LAUDERDALE / FL/ 333041412
  SOC SEC #: XXX-XX-XXXX               ClN #                                : 19O HAIR : ELK EYES: BRO
  SCA RS , MARKS , TATTOOS :            :                  S7D #:                       FBl # : 631698L88
  DRIVERS
  VEH       LICENSE  #: K520 -
                               540-78-220-0          STATE : FL                          TDS #: 3139426
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  COMMENTS :                                       '
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HARVEY RUVIN ,   CLERK OF THE COURT
 Case 1:21-cv-23889-JLK Document 1-1 Entered on FLSD Docket 11/04/2021 Page 387 of
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        Through investigation, YourAfGanthas detennilaed thatKJN G di
                                                                         rected the sale ofa
 condom inittm , l5811 CollinsA venuc
                                      , Uni
                                          t3101, Sunny Isles, Beach,Florida
 Soroki                                                                      r owned by A lexey
       n(hereinalkerthevictim)withouthisapprovalozknowlezgc
                                                                    KIN G then received the
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proceedsofthe sale ofthe condozninitun via hiscom pany
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 unds have since been signifcantly depleted th                                            rhe
victim is a R                                 rough transact i
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             ussian foreign nationalwho wasi
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                                                                                                            Real
                                                        ln approxim ately Decem ber 2O1l,thc
         selected a condorninium located at l5811 Collins Avenue, Unit 3I01, in Sunny lsles
  Beach,Florida(hereinalxerthecondominium)topurchase The victim subsequently rettlrned to
                                                              .


  Russia.Before leaving the Uzlited States, the victim executed a Lim ited Nondurable Power of
  Attorney authorizing Sophia Kingn a licensed realestate agentand owner oflnternationalSales
 Team ofAmerieaa RealE'stateCorporation (hereinaftcrIS'
                                                      F), located at 17070 CollinsAvenue,
 Suite 259,to actas his ûiAttorney in Facf;in the purchase ofthe ctsndom inium Sophia Kiug is
                                                                                       .


 the m otherofIQIN G On M arch 21, 2011,Sophia Kingrrepresenting the victim , executed allthe,
                      .



 closing docum ents and com pleted the purchase ofthe condom inium .
         Shortly thereafterrthe victim decided to sellthe condominium artd eontacted lWs. K-ing to


 term ofone(1)year.The victim wasunderthe beliefthatIST,underthe direction ofMs K ing               .


 and K IN G,wasm arketing and shozving the property and thatallofferswould be conveyed to the
 victim sothathemayapproveoyrejecttheoffers.Thisdidnotoccur            .


        Jn early 20)2,at-torney D aniel W urtenberger w as conlacted by KING to representthe
 victim in sale of his propert'
                              y. M r.W urtenberger testified that KING told him the victim had
 recently leftthe country and needed hisrepresentation to com plete the sale ofthe condom inium .
 M r. W urtenberger received the executed closing documents from KTN G M r. W urtenberger
                                                                                 .


 testified thatKJNG told him the proceedst'
                                          fom the sale should be w ired to a bank accountin the
 nam e of 5:1 lnvestm ent Services, Ll-C .M r.W urtenberger testified that he told KIN G thathe
need confirm ation from the vîctim   .
                                         K-ING provided anemailaddressofQCalexsonnail@mail.ru''
         victim .         June 29, 20l2, M r- W urtenberger em ailed a disbursem ent letter
 S'alexsonnail@ mail.ru''and received back a signed copy.M r.W urtenbergerhad previously
received thc victim 's identification             the              a passport and                   from
çt
 alexsoznnailk
             /
             Ww'lm ajl.x ''and thisindividualalso identified him selfasthe victim . Stlbquently,latey
thatday,M r.W urtenbergertestiûed thathe wired $780,931.63,the proceeds ofthe salc of the
condom illium , fiom la
                      xis escrow account to PN C Bank account in the nam e of 554 lnvestm ent
Senzices,LLC pursuantto the disbursem entletter.
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                                                                         JudgeDs1nitials t  '1---2'- -'
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                                                                   in the nazne of 51$4 lnvestment
    Services,LLC . Bank statem ents frorn PN C Balnk re
                                                         vealan incoming wirefor$780,93l.63 on
   wlune 29,20l2. On June 28, 2012,thebalancein the accountwas$7
                                                                       ,188.33.By Decem ber2012
   the balance wasdove   qato $136,258.83.Review of the w ithdraw als                             ,
                                                                        reveals purehases m ade on
   behalf of K IN G , his w ife
   KJN G 'S brother, and IST.A ccording to the F'lorida Secrct    .
                                                                             '

                                                             ary ol Staten51$4 lnvestm entServices,
   A                                                              20l0. On Septem ber 11, 2014, the
       rtieles of Orgnnlzation w ere amended r
                                                eplacing Marianna kïng asmanaging memberwith
  KTN G and PaulKing.
           The victim 7s signature was forged on allclosing docum ents and fraudulently
    S                                                                                          notarized.
     ophia K-ing and KJN G had access Io the victim 's passportanJ otherpelinentintb
   the original p                                                                          rp ation fi'orn     .

                  urdhase of the propel-ty in M arch 2Ol1. -I'   he victim was com pletely unaw are of
   Aveida,LLC 'S interest in the prope
                                        rty,did ntntexecute the Purchase and Sale A
                                  k                                                      greem enl,w as
   unaware ofthe pending sale, dld notauthorize the execution ofany x
                                                                          ofthe conveyance docum ents
   orany other closing docum ents and did notobtailz any proceeds from the sale of the p
  Additionally,the victim w asnoteven presentin th                                               roperty.
                                                        e IJ.S.atthetim e ofthe closing. As a resultt7f
  the forged CODVCJGIRCC dchklLll'
                                 ncntsv On .
                                           1ulle
                                                       2O12,tbe transaction closed, tlae property w as
  eonveyed to Aveitia, LLC, and the m oney was wired
                                                               , pur
                                                                   suant tcldisbursem ent instructions
  provided. The outstanding m ortgage held b
                                                y BAC FloridaBank in the amountof$853,533.33
  waspaidoff,and thebalanccof$190,000 to the lRS in the ordinary course ofthe
                                                                                       sale.
         Betw een June 2012 and April20l4
                                               , em ai ls and text m essages between the victim and
 KFNG
         overtly show that the victim was intentionally m isled by K
                                                                         .W G as to the status of the
 property.K IN G continued to m isrepresent to th
                                                     e victim thatthe property had notbeen sold or
                                                                                                    ,
 tha'tpotentialbuyers were interested in oz-derto keep the victim atbay foras l
                                      ,
f                                                                                  ong aspossible.ln
  act,up untilthe victim 's arrivalin the U .S.in Aprilof 20l4
                                                                    , which was the firsttim e he had
been in the Unîted Statessince December2O10
                                                  , the vi ctinnwasundel'the impression thathe still
ow ned the property.
         Eftbrts to locate the defendanthas b
                                               een metw ith negative results. The suspect has lef4
the State ofFlorida .




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            Based upon the above, youraffianthas probable callsc to believe thatM ICHA EL KING
     hasconzmitted the crime ofone (1)countofGrand Thef4Over$l00,000 in vîolation ofFlorida
     Statutej812.()l4(2)(A) .




             W HEREFORE YourAfl'    iantrespectfully re
                                                       quests a warrantbe issued forthe arrestof
     M ICI-
          IAE IXK IN G , fortheoffense as jetfor-th above
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        C IR CU IT IN A N D FO R M IAM I-D A DE C O U NTY ,FLO R ID A

        CA SE NO :2016-033252-CA -01
        SECTION :CA 21
        JUD GE:David C.M iller

         STA NISLAV ZA SLAV SK IY
         Plaintiffts)


         M IC HA EL K ING etal
         Defendantts)


                                    PAR TIA L SU M M AR Y JUD G M ENT


                TH IS CA USE having com e on to be heard before the Court,ata hearing on July 23,202 1
        at8:30 A M ,on Plaintiff,Stanislav Zaslavskiv'sM otion for Sum m arv Judgm entas to Breach of

        Contract(çiplaintiff's M otion for Summary Judgment''),filed on June 11,2021,against
         D efendant,M ichael K ing, and the Court having received and review ed the pleadings and
         supporting docum entation from the Plaintiff,having review ed the record,D efendant's Response
         in O pposition to Sum m ary Judgm ent,heard argum ents of counsel,and being otherw ise duly
         advised in the prem isesherein,the Coul'ttindsthat:


            1.Plaintiff,STANISLAV ZASLAVSKIY (''plaintifr')was the debtor in the parties'
              relationship.

            2.Defendant,MICHAEL KING (''Defendantn) was the creditor in the parties'
              relationship.

            3.O n June 14,2013,Plaintiff entered into a pre-construction agreem entforthe
              purchase ofa condom inium unitIocated at17201 Biscayne Blvd.,Unit1804,North
              Miam iBeach,FL 33162 (''unit 1804'
                                               '). The purchaser's interestunderthe

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          agreementwas eventually assigned to Marina Palm G roup 1804,Inc.,a Florida

          corporation (dMarina 1804''),whichwas owned and controlled by Plaintiff.

        4.O n June 14,2013,Plaintiffentered into a pre-construction agreem ent forthe
          purchase ofa condom inium unitIocated at17201 Biscayne Blvd.,Unit1506,Nodh

          M iam iBeach,FL 33162 (dunit 1506'
                                           ').The purchaser's interestunder the
          agreementwas eventually assigned to Marina Palm G roup 1506,Inc.,a Florida

          corporation ('
                       iMarina 1506''),which wasowned and controlled by Plaintiff.

        5.On oraboutDecem ber7,2013,Plaintiffentered into a contractto purchase with

          Marina PalmsYachtClub,LLC,forBoatSlip#097 (uBoatSIip'').

        6.Plaintiffdeposited funds of$332,000.00 forUnit1506,funds of$279,200.00 for
          Unit 1804 and $120,000.00 for the BoatSlip,respectively (''Marina Palms
          Deposits''),foratotalof$731,200.00.

        7.O n January 21,2015,Plaintiffand Defendantexecuted the following enum erated

          documents (hereinaftercollectively referred to as ddLoan DocumentsD):Balloon
          Promissory Note in the amountof$223,875.00 made by to Marina Palm Group
          1506,Inc.(dlMarina 1506'')and Plaintiffto Defendant.Balloon Promissory Note in
          the amountof$223,875.00 made by Marina Palm Group 1804,Inc.(''Marina
          1804'') and Plaintiffto Defendant.Mortgage from Marina 1506 and Plaintiff,
          individually,to Defendant.M odgage from M arina 1804 and Plaintiff,individually,to
          Defendant.corporate Resolution authorizing the sale ofPlaintiff's shares in Marina
          1804 to Defendant.corporate Resolution authorizing the sale ofPlainti frs shares in
          M arina 1506 to Defendant.Lim ited Power of Attorney from Plaintiff appointing
          Defendantas Plaintiff's attorney-in-fact regarding Unit 15O6.Lim ited Power of
          Attorney from Plaintiffappointing Defendantas Plaintifrs attorney-in-factregarding
          Unit1804.Stock Purchase Agreem entselling the shares of Marina 1506 and the
          BoatSlip.(ldstockPurchase'').
        8.Pursuanttothe Loan Documents,Defendantwasto Iend Plainti
                                                                 ff$447,750.00,ata
          m inim um ,with an increase ofthe Ioan am ountavailable through the term s and


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          conditions of the Stock Purchase Agreem ent, providing for a Ioan up to
          $542,625.00 (ddl-oan Funds'').
        9.The M arina Palm s Deposits w ere to serve as collateral under the Loan
          Docum ents.
        10.Ratherthan securing the shares,the Loan Docum ents acted to im m ediately
           transferalIofPlaintiff's interests in M arina 1804 M arina 1506 and the BoatSlip to
           Defendant,w hich gave Defendantimm ediate controloverthe corporations,which
           owned the M arina Palm s Deposits.
        11.The Loan Funds were eitherto be given to Plaintiff directly and/or used to
           contractto purchase Unit 1403 atthe Ritz Carlton Developmentin Sunny Isles

           Beach,Florida ('iunit1503 atthe Ritz'').
        12.RC S IB U nit 1403 Corp.,an entity created and controlled by D efendant,perthe
           Loan Docum ents,had entered into a Reservation Agreem entw ith Sunny Isles
           V enture LLC , the developer, for U nit 1403 at the R itz for the am ount of
           $212,500.00.
        l3.O n oraboutIate M arch orearly Aprilof2015,Defendantsuggested to Plaintiff
           that- instead of continuing w ith the contractto purchase ofU ni
                                                                          t 1403 atthe Ritz
           -
               he should contractto purchase Unit2903 atthe ArmaniCasa Projectin Sunny
           Isles Beach,Florida ('unit2903 atthe ArmaniCasa ProjectD),since the Armani
           Casa Projectwas betterand more profitable.Defendantopposed these facts in
           Defendant's Affidavitand in the Statem entofFacts.
        14.Plaintiffagreed to proceed with Defendant's plan to change the use ofthe Loan
           Fundsto contractto purchase Unit2903 atthe ArmaniCasa Project.Defendantin
           its A#idavitstated itwas Plaintiff's plan to have Korneev as the nam ed purchaser
           on the Contract. This factis controveded by Korneev's Reservation Agreement
           executed m onths priorto the padies dealings.


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        l5.On April20,2015,Defendantrequested the Cancellation ofReservation forUnit
           1403 atthe Ritz.
        l6.O n April23,2015,Defendant sent Plaintiff an em ailcorrespondence titled
           d
           'Arm ani',regarding the new am ounts needed forthe purchase ofUnit2903 atthe
           ArmaniCasa Project.
        l7.Defendant proposed m odified term s increased the loan am ount to a totalin the

           aggregate of$571,375.00 to accom modate the depositforthe contractto be
           obtained on Unit2903 atthe ArmaniCasa Project,due to its higherpurchase
           price than U nit 1403 atthe R itz. Defendant provided a calculation and advised

           thatthe new monthly paymentamountsubjectto the Loan Docum ents was
           $11,427.50 (the ddModifiedTerms'').
        18.Plaintiffagreed to the Modified Term s as stated on the April23,2015,em ailfrom
           Defendant,and perform ed underthe term s by m aking paymentofthe increased
           am ount,as directed by the D efendant.
        l9.Up untilAugustof2015 and through July of2015,Plaintiffhad m ade alltim ely
           paym ents underthe Loan Docum ents and the M odified Term s,in the totalam ount

           of$54,091.50.
        20.During the course ofthe Iitigation,Plaintiffdiscovered thaton April23,2015 - the
           same date the padies entered into the Modified Term s - RDR Seashore LLC,the

           developer,and Sergey Korneev (sùKorneev''),an unrelated third-party,entered into
           a Purchase AgreementforUnit2903 in the ArmaniCasa Project,and notRCSIB
           1403 Corp.
        21.Plaintiffin his Deposition testimony repeatedly confirm ed thathe did notknow or
           had any relationship w ith Korneev.
        22.Defendant,in his O pposition filing included a Declaration from Sergey Korneev,
           w hich stated thatPlaintiffdid know Korneev since 2005,and thatPlainti
                                                                                ffagreed
           thatKorneev's name should be on the contractforthe Arm ani.

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        23.No phone records,exacttime periods,orany otheradm issible documents were
           attached in suppod ofthe Declaration.
        24.Plaintiffpresented a Reservation Agreementdated July 16,2014,which predated
           the transaction between the padies,and was supported by a Declaration from the
           records custodian forFirstAmerican Title Insurance Com pany.
        25.T his Reservation A greem ent show ed that Korneev reserved U nit 2903 at the
           Arm aniCasa m onths before the Plaintiffand Defendanteven contem plated the
           transaction atissue.
        26.The Courtwas required to read the Loan Docum ents in parim ateria with each of
           the otherdocum ents to determ ine the structure ofthe transaction.
        27.Itwas clearand express in the Prom issory Notes thatrequired Defendantto Iend
           m oney to the Plaintiff.
        28. ltwas also clearand express in Section 4 ofthe Stock Purchase Agreem ent
           provided Plaintiff's redem ption rights in RCSIB 1403 Corp.
        29.Section 6.3 ofthe Stock Purchase Agreem entcontained and integration clause
           w hich provided that,the ''...Agreem entm ay be am ended supplem ented or
           interpreted atany tim e only by written instrum entexecuted by the each ofthe
           padies hereto''.
        30.There is no genuine dispute of materialfactthatthere was no writing,noran
           executed w riting modifying the Loan Docum ents between the parties authorizing
           Korneev's nam e to be on the contractforUnit2903 ofthe Arm aniCasa.
        31.Because Unit2903 ofthe Arm aniCasa w as not in the nam e of RCSIB 1403
           Corp.,Plaintil had no redem ption rights underthe Stock Purchase Agreement.
        32.Based on the foregoing,the Courtfinds thatDefendantwas in breach ofthe Loan
           Docum ents forfailing to ensure RCSIB 1403 Corp.,was the purchaserfor Unit
           2903 atthe ArmaniCasa,afterthe cancellation ofthe priorcontractforUnit1403
           atthe Ritz Carlton,w hich was in the corporation's nam e.

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        33.Plaintiffwas notin breach ofany ofthe Loan Docum ents atthe tim e the breach
            by the Defendantoccurred.
        34.This Coud finds thatthere are no disputed issues ofm aterialfactas to the breach
            ofthe Loan Docum ents by the Plaintiffas presented by Plaintiffin its M otion.
        35.Plaintiffm ethis burden ofproof,pursuantto FIa R.Civ P.1.510,as to the breach
            ofcontractby the Defendant,and the burden having shifted to Defendant,failed
            to m eethis burden ofproofas detailed in the opposition. The statements in both
            the Declaration and Afïidavitwere insufficientto create a disputed m aterialfactto

            prevententry ofsummaryjudgment.
            ltishereby ORD ERED A N D A D JUDG ED :


         1.ThatPlaintiff's Motion to forSum m ary Judgm entas to CountIIIofthe Com plaint
           forBreach ofContractagainstDefendant,M ichaelKing,is GRANTED in Pad as to
           Liability on CountIIIofthe Com plaintforBreach ofContract.

        2.ThatPlaintiff's Motion forSummary Judgmentis DENIED withoutprejudice,asto
          the am ountofdam ages claim ed and the amountofthe award ofattorney's fees

           and costs,the determination ofwhich shallbe subjectto furtherhearing by this
           Coud.
      DO N E and O R DER ED in Cham bersatM iam i-Dade County,Florida on this24th day of
      Septem ber.2021.


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    August3,20I7
                                                                              A203-148-20l
    Dm itry Romantsov                                                         M SC-I1-005-17334
    2I09 W 7* St 3rdFI
    Brooklyn,N Y lI223-3735
                                             DECB IO N

    DearDm itry Romantsov:

    Thank#ouforsubmittinjForm 1-485,AgplicationtoRegisterPermanentResidenceorAdjust
    Status,toU.S.CitizenshlqandImmigratlonServices(USCIS)undersection245ofthe
    Immigrationand NationalltyAct(INA).
    Ahera thorough review ofyourapplication and supporting docum ents,
    andyourtestimonyduringyourinterview,unfortunately,wemustinform youthatweare
    denylngyourapplicationforthefollowingreasonts).
    Generall
           y,toqualifyforadjustmentunderINA 245,anapplicantmust:
            Be inspected and adm itted orparoled into the United States;
            Be eligible to çeceivean imm igrantvisa;
            Be adm issible to the United Statesforpermanentresidence;and
        * Havean im m igrantvisaim mediately availableatthe time theapplication isfiled.

                  StatementofFactsandAnalysis,IncludingGroundts)forDenial
    Yotlfiled Form 1-485 based on being the benesciary ofan imm igrantpetition.

    USCISreceivedyourForm 1-485onOctoberI.20I0,andonMarchl6,20Il,youaypearedfor
    aninterview todetermineyoureligibilityforadjustmentofstatus.Duringtheintervlew and
    review ofyourapplication with an Imm igotion ServicesOfficer,you testlfied thatthe
    informationonyourForm 1-485,alongwithanyamendmentsmadeduringtheadjustment
    interview .and supporting documentswere trueand correct.

    Thegrantingofadjustmentofstatustothatofalawfulpermanentresidentisadiscretionay
    benefit.Seesection245(a)oftheINA.Mereeligibilityisnottheonjfactorconsideredln
    adjustmentofstatus.AdversefactorsmayprecludeafavorableexerclseofdiscretionbyUSCIS.
    AnaqplicantmustdemonstrateeligibilityforadjustmentofstatusasamatterofIaw andinthe
    exerclse ofdiscretion. Generally,favorable factorssuch as fam ily ties,hardship,and Iength of
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   residence in the United Statescan beconsidered in the favorable exercise ofadm inistrative
   discretion.

   Inyourcmse,USCIShasdeterminedthatyouareelijibleforadjustmentofstatus.However,
   USCIS hasalso determinedthatyourcase presents slgnificantadverse factorswhich show that
   discretion should notbe exercised in yourfavor.These factors includethere isan outstanding
   warrantforyourarrestin Russia forfailure to rettlrnofftlnds in foreign currency from abroad,
   derelectionofdutyofaFiscalAqentcommittedonanespeciallyIargescale.fraudcommittedon
   anespecialjlargescale.premedltatedbankruptcy,illegaldrawlngup,
   m isapproprlation/embezzlementand illegalcreditobtaining.

    You have provided to USCIS evidenceoffactorsto be considered in yourfavor. These factors
    includeyourUnited Statescitizen w ife,yourUnited Statescitizen son,and the factthatyou have
    notcom m itted any crimeswhile presentin theUnited States.

   A ftercarefulreview ofallthe facts,USCIS hasdetermined thatthe favorable factorslisted above
   do notwarranta favorable exercise ofdiscretion in lightoftheadverse factors.Them ultiple
   pendingchargesinRussiaareextremelyegregious.onSeptember14,20l5,arequestfor
   evidence(RFE)wmsissued.Included inthlsRFE wasarequestforinformationaboutpending,
   outstandingRussiancriminalcharges.Sqecifically,theRFErequestedapolicebackground
   clearancefrom Moscow,Russia,andcertlfiedcoqlesofthearrestingofficer'sreportand/or
   criminalinformationorindictmentscourtdispositlonls)ofaIlcriminalcasessledagainstjou,
   includingtherecordshowingsentenceimjosed/timeservedandproofofcompletion.Thls
    included chargesfiled before theLeninskly DistrictCourtofCheboksary,M oscow,Russia
    againstyourfor:l)failuretoreturnfundsin foreigncurrencyfrom abroad,2)derelictionofduty
    ofaFiscalAgentcommittedonanespecially largescale,3)fraudcommittedonanespeciallarge
    scale,4)premeditated bankruptcy,5)illegaldrawing up,6)misappropriationand embezzlement
    and 7)illegalcreditobtained.In responsetothisRFE,yousubmittedtherequesteddocuments
   andyourattorneysubmittedastatementclaimingthatthechargespendinginRussiaarepurely
   politlcaland therefore should notbe held againstyou. USCIS hasconsidered yourexplanation
   butdoesnot5nd ittobecredible.Youfailedtoprovidesufficientevidencetosubstantiateyour
   claim thattheseare purely politicaloFenses. Thesepending chargesareseriousin natureand
   relatetofraudulentanddeceitfblactivity.Thus,youhavenotmettheburdenofdemonstratingto
   USCIS thatyou warranta favorable exercise ofdlscretion.Therefore,USCIS deniesyour
   application afterconsideration ofaIlthe available evidence.


   Theevidenceofrecordshowsthat,whenyoufiledyourapplication.yonwereIawfullypresentin
   the United Statesasa B-2 nonim migrant. Yourperlod ofadm ission msa B-2 nonim m igranthas
   expired. You are notauthorized to remain in the United Statesand should make arrangementsto
   departassoonaspossible.Failuretodepartmayresultinyourbeingfoundineliqiblefor
   immigrationbeneftsandinadmissibletotheUnlted Statesinthefuture.Seesectlon 2l2(a)(9)(B)
   ofthe m A .

   You may notappealthisdecision. However,ifyou believe thatthedenialofyourForm 1-485 is
   inerror,you may Gle a motion to reopen ora motion to reconsiderusing Form I-290B,Notice of
   AppealorM otion. You mustsubm itForm I-290B within 30 calendardaysofservice ofthis
   decision(33daysifthedecisionwasmailed).IfUSCISdoesnotreceivethemotiontoreopenor
   reconsiderw ithln the required period,thisdecision willbecome Gnal. See Title 8,Code of
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   FederalRegulations(8CFR),sections103.5and 103.8(b).Note:Youmustfollow themost
   currentsling instructionsforForm I-290B,which can befound atw ww-uscis-gov.

   To access Form I-290B orifyou need additionalinformation,please visitthe USCIS W eb siteat
   w ww .uscis.gov orcallourN ationalCustomerServiceCentertollfree at1-800-375-5283. You
    mayalsocontacttheUSCISoKcehavingjtlrisdictionoveryourcurrentplaceofresidence.
    Sincerely,


     W tV
    John E.Thompson
    Acting DistrictDirector
    New York District

    cc: GennadiSedikov,Esq.
        Law Om cesofIm migration Advocates,P.A .
        1920 E Hallandale Beach Blvd,Ste 508
        Hallandale Beach,FL 33009..4723




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                                          A ttachm ent
                                   (ApplicableLawc egulations)
   INA 245

   ADJUSTM ENT OF STATUS OF NON IM M IGRANT TO THAT OF PERSON ADM IU ED
   FOR PERM ANEN T RESIDEN CE
   (a)ThestatusofanalienwhowasinspectedandadmittedorqaroledintotheUnitedStatesorthe
   statusofany otheralien having an approved petition forclasslfication asa VAW A self-petitioner
   maybeadjustedbytheAttorneyGeneral,inhisdiscretionandundersuchregulationsashemay
   prescribe,to thatofan alien lawfully admitted forpermanentresidence if
   (1)thealienmakesanapplicationforsuchadjustment,
   (2)thealien iseligibleto receiveanimmigrantvisaand isadmissibleto theUnited Statesfor
   perm anentresidence,and
   (3)animm igrantvisaisimmediatelyavailabletohim atthetimehisapplication isfiled.

   8 CFR 245.1

   (a)General.AnyalienwhoisphysicallypresentintheUnitedStates,exceytforanalienwhois
   ineligibletoapplyforadjustmentofstatusunderparagrajh(b)or(c)ofthlssection,mayapply
   foradjustmentofstatustothatofa lawfulpermanentresldentoftheUnited Statesiftheapplicant
   iselijibletoreceiveanimmigrantvisaandanimmigrantvisaisimmediatelyavailableatthetime
   offillngoftheapplication.A specialimmigrantdescribed undersection l0l(a)(27)(J)oftheAct
   shallbedeemed,forthepurposeofapplyin!theadjustmenttostatusprovisionsofsection245(a)
   oftheAct to have been paroled into the Unlted States,regardlessoftheactualm ethod ofentry
   into the United States.

   8 CFR 103.5

   (a)M otionstoreopenorreconsiderin otherthanspecialagriculturalworkerand Iegalization
   cases
   (1)W henfiledbyaFectedparty
   (i)General.ExceptwheretheBoardhasjurisdictionandasotherwiseprovidedin8CFR parts3,
   210,242and245a,whentheaFectedpartyGlesamotion,theom cialhavingjurisdictionmay,
   forpropercause shown,reopenthe proceeding orreconsiderthe priordecision.M otionsto
   reoqenorreconsiderarenotapplicabletojroceedingsdescribedinj274a.9ofthischapter.Any
   m otlon to reconsideran action by the Servlce filed by an applicantorpetitionerm ustbeGled
   w ithin 30 daysofthe decision thatthe motion seeksto reconsider.Any motion to reopen a
   proceedingbeforetheServicefiledbyanapplicantorpetitioner,mustbefiledwithin30daysof
   the decision thatthe motion seeksto reopen,exceptthatfailureto file beforethisperiod explres,
   may be excused in the discretion oftheService where itisdemonstrated thatthedelay was
   reasonableandwasbeyondthecontroloftheapglicantorqetitioner.
   (ii)Jurisdiction.TheomcialhavingjurisdictionlstheomclalwhomadetheIatestdecisioninthe
   proceedin!unlesstheaffectedpartymovestoanewjurisdiction.Inthatinstance,thenew omcial
   havinjjurlsdictionistheomcialoversuchaproceedinginthenew geographicallocations.
   (iii)Flling Requirements- A motionshallbesubmittedon Form I-290B andmay be
   accom panied by a brief.Itmustbe;
   (A)Inwritingandsigned bytheaFected pallyortheattorneyorrepresentativeofrecord,ifany;
   (B)Accompaniedby anonrefundablefeeassetforthin9 l03.7;

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   (C)Accompaniedby astatementaboutwhetherornotthevalidity oftheunfavorabledecisionhas
    beenoristhesubjectofanyjudicialproceedingand,ifso,thecourt,nature,date.andstatusor
    resultofthe proceeding;
   (D)Addressedtotheomcialhavingjurisdiction;and
   (E)Submittedtotheofficemaintainingtherecord uponwhichtheunfavorabledecisionwasmade
    forforwardingtotheomcialhavingjurisdiction.
   (iv)EFectofmotionorsubsequentapplicationorpetition.UnlesstheServicedirectsotherwise,
   the filing ofa m otion to reopen orreconsiderorofasubsequentapplication orpetition doesnot
   stay theexecution ofany decision in acase orextend apreviously setdeparturedate.
   (2)Requirementsformotionto reopen.A motiontoreopenmuststatethenew factstobeproved
    in thereopened proceeding and be supported by am davitsorotherdocumentary evidence.A
    motionto reopen an application orpetition denied dueto abandonmentmustbe filed with
    evidence thatthe decision wasin errorbecause:
    (i)Therequestedevidencewasnotmaterialtothe issueofeligibility;
    (ii)Therequired initialevidencewassubmittedwiththeapplicationorpetition,ortherequestfor
   initialevidence oradditionalinformation orappearance wascomplied with duringthe allotted
   period;or
   (iii)Therequestforadditionalinformationorappearancewassentto anaddressotherthanthat
   on the application,petition,ornotice ofrepresentation,ortbattheapplicantorpetitioneradvised
   the Service,in writing,ofa change ofaddressorchange ofrepresentation subsequentto flling
   and beforethe Service'srequestwassent,and therequestdid notgo to the new address.
    (3)Requirementsformotionto reconsider.A motiontoreconsidermuststatethereasonsfor
    reconsidemtionandbesugportedbyanypertinentprecedentdecisionstoestablishthatthe
    decision wasbased on an lncorrectappllcation oflaw orService policy.A motion to reconsidera
    decision on an application orpetition m ust,when filed,also establish thatthe decision w as
    incorrectbased on theevidenceofrecord atthetime ofthe initialdecision.
   (4)Processingmotionsin proceedingsbeforetheService.A motionthatdoesnotmeetapplicable
   requirementsshallbedismissed.Whereamotiontoreopenislranted,theproceedingshallbe
   reopened.The notice and any favorabledecision m ay becomblned.

   8 CFR 103.8

    (b)Effectofservicebymail.Wheneverapersonhastherightorisrequiredtodosomeact
   w ithin a prescribed perlod afterthe serviceofanotice upon him and thenotice isserved by mail,
   3 daysshallbe added to the prescribed period.Service by mailiscom plete upon mailing.

   8CFR 212.5(e)
   (1)Automatic.Paroleshallbeautomaticallyterminatedwithoutwrittennotice
   (i)uponthedeparturefrom the United Statesofthealien,or
   (ii)ifnotdeparted,attheexpirationofthetimeforwhichparolewasauthorized,and inthelatter
   casethealienshallbeprocessed inaccordancewithparagraph(e)(2)ofthissection exceptthatno
   written noticeshallbe required.
   (2)(i)On notice.Incasesnotcoveredby paragraph(e)(I)ofthissection,uponaccomplishmentof
   thepurpose forwhich parolewasanthorized orwhen in the opinion ofthedistrictdirectoror
   chiefgatrolagentinchargeoftheareainwhichthealienislocated,theDeputyExecutive
   Assoclate Com missionerforDetention and Rem oval,orthe Directorofthe Om ce ofJuvenile
   AFairs,neitherhumanitarian reasonsnorpublicbeneGtwarrantsthe continued presence ofthe
   alienintheUnitedStates,paroleshallbeterminatedugonwrittennoticetothealienandheorshe
   shallberestoredtothestatusthatheorshehadatthetlmeofparole.W henacharqingdocument
   isserved on the alien,the charging documentwillconstitute written notice ofterm lnation of

                                                                                                5
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    parole,unlessotherwise specised.A ny furtherinspection orhearing shallbeconducted under
    section 235 or240 ofthe Actand thischapter,orany orderofexclusion,deportation,orremoval
    previously entered shallbeexecuted.lfthe exclusion,deportation,orremovalordercannotbe
    executed within a reasonable time,the alien shallagain be released on parole unlessin the
    opinionofthedistrictdirector,chiefgatrolagent,theDeputyExecutiveAssociateCommissioner
    forDetention and Removal,orthe D lrectorofthe Office ofJuvenile Affairsthe public interest
    requiresthatthe alien be continued in custody.


    8 CFR 274a.14

    (a)Automaticterminationofemploymentauthoriution.
    (l)Employmtntauthorizationgranted underj274a.l2(c)ofthischaptershallautomatically
    term inate upon the occurrence ofone ofthe following events:
    (i)Theexpirationdatespecified by theServiceontheemploymentauthorizationdocumentis
    reached;
    (ii)Exclusionordeportation proceedingsareinstituted(however,thisshallnotprecludethe
    authorization ofemploymentpursuanttoj274a.12(c)ofthispad whereappropriate);or
    (iii)Thealienisgcantedvoluntary depa% re.
    (2)Terminationofemploymentauthorizationpursuanttothisparagraghdoesnotrequirethe
    service ofanotice ofintentto revoke'
                                       ,employmentauthorization term lnatesupon theoccurrence
    ofanyeventenumerated inparagraph(a)(1)ofthissection.However,automaticrevocationunder
    thissectiondoesnotprecludereapplicationforemploymentauthorizationunderj274a.12(c)of
    thispart.
    (b)Revocationofemploymentauthorization-
    (I)Basisforrevocationofemploymentauthorization.Employmentauthorizationgrantedunder
    Sec.274a.l2(c)ofthischaptermayberevoked bythedistrictdirector:
    (i)Priortotheexpirationdate,when itappearsthatanyconditionupon which itwasgranted has
    notbeen m etorno longerexists,orforgood cause shown;or
   (ii)Uponashowingthattheinfonnationcontainedintheapplication isnottrueand correct.
   (2)Noticeofintenttorevokeemploymentauthorization.W henadistrictdirectordeterminesthat
   em ploymentauthorization should be revoked priorto the expiration date specified by the Service,
   he orshe shallserve written noticeofintentto revoke the employm entauthorization.The notice
   w illcite thereasons indicaling thatrevocation iswarranted.The alien willbe granted a period of
   fiheen daysfrom thedate ofserviceofthenoticew ithinwhich to subm itcountervailing evidence.
   Thedecision by the districtdirectorshallbe finaland no appealshall1ie from the decision to
   revoke the authorization.




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